Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 1 of 467 Page ID
                                 #:3809



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      Attorneys for Plaintiff/Counter-Defendant Hong Liu
10

11                              UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
      HONG LIU,                                  CASE NO. 2:20-cv-08035-SVW-JPR
14
                   Plaintiff,                    Honorable Stephen V. Wilson
15
            v.                                   NOTICE OF ERRATA RE TABLE OF
16                                               CONTENTS AND TABLE OF
      FARADAY&FUTURE INC., SMART                 AUTHORITIES IN PLAINTIFF’S
17    KING LTD., JIAWEI WANG, and                MEMORANDUM OF POINTS AND
      CHAOYING DENG.                             AUTHORITIES IN SUPPORT OF HIS
18                                               CROSS-MOTION FOR SUMMARY
                   Defendants.                   JUDGMENT, AND IN OPPOSITION
19                                               TO FARADAY&FUTURE INC. AND
                                                 SMART KING LTD.’S MOTION FOR
20                                               SUMMARY JUDGMENT (FILED AS
                                                 DKT. 160)
21
                                                 HEARING ON MOTIONS:           June 1,
22                                               2021; June 21, 2021
                                                 TIME: 1:30 p.m.
23                                               CTRM: 10A
24

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                                 #:3810


      FARADAY&FUTURE INC.,
 1
                  Counterclaimant,
 2
           v.
 3
      HONG LIU,
 4
                  Counter-Defendant.
 5

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Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 3 of 467 Page ID
                                 #:3811



 1
           TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2
     RECORD:
 3
           PLEASE TAKE NOTICE that Plaintiff Hong Liu hereby submits this
 4
     Notice of Errata with respect to his Notice of Motion and Cross-Motion for
 5
     Summary Judgment on Defendant Faraday&Future Inc.’s Second Amended
 6
     Counterclaim and Defendant Faraday&Future Inc.’s and Defendant Smart King
 7
     Ltd.’s Affirmative Defenses and Partial Summary Judgment on Plaintiff’s Breach of
 8
     Contract Claim (“Cross-Motion and Opposition”) (Docket No. 160). The
 9
     Memorandum of Points and Authorities was filed with an erroneous Table of
10
     Contents and Table of Authorities. The corrected Table of Contents and Table of
11
     Authorities have been inserted into the Corrected Memorandum of Points and
12
     Authorities attached hereto. No other changes were made to the Memorandum of
13
     Points and Authorities.
14
           For the convenience of the Court and parties, Plaintiff attaches the complete
15
     Cross-Motion and Opposition, including the Corrected Memorandum of Points and
16
     Authorities, as Exhibit “A” hereto.
17

18    Dated: May 19, 2021                  FOUNDATION LAW GROUP LLP
19

20                                         By: /s/ Kevin D. Hughes
                                              Attorneys for Plaintiff
21

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                                             EXHIBIT A
 Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 5 of 467 Page ID
                                  #:3813



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     Hong Liu
11                       UNITED STATES DISTRICT COURT FOR
12
                       THE CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
13    HONG LIU,
                                            Case No: 2:20-cv-08035-SVW-JPR
14                 Plaintiff,
                                            NOTICE OF MOTION AND CROSS-
15                                          MOTION OF PLAINTIFF FOR
16                        v.                SUMMARY JUDGMENT ON
                                            DEFENDANT FARADAY&FUTURE
17                                          INC.’S SECOND AMENDED
      FARADAY&FUTURE INC.,                  COUNTERCLAIM AND
18    SMART KINGLTD., JIAWEI                DEFENDANT FARADAY&FUTURE
19
      WANG, and CHAOYING DENG               INC.’S AND DEFENDANT SMART
                                            KING LTD.’S AFFIRMATIVE
20                 Defendants.              DEFENSES AND PARTIAL
                                            SUMMARY JUDGMENT ON
21                                          PLAINTIFF’S BREACH OF
22                                          CONTRACT CLAIM
      FARADAY&FUTURE INC.,
23                                          JUDGE: Hon. Stephen V. Wilson
                   Counterclaimant,         DATE: June 21, 2021
24
                                            TIME:     1:30 p.m.
25                        v.                CTRM: 10A
26
     HONG LIU,
27                Counter-Defendant.
28
                                                  1
                      PLAINTIFF HONG LIU’S NOTICE OF MOTION & CROSS MOTION
                                 CASE NO.: 2:20- CV-08035-SVW-JPR
 Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 6 of 467 Page ID
                                  #:3814



 1
     TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2
           PLEASE TAKE NOTICE that on June 21 2021 at 1:30 P.M. or as soon
 3
     thereafter as this matter can be heard before the Honorable Stephen V. Wilson of the
 4
     United States District Court for the Central District of California, in Courtroom 10A of
 5
     the above-entitled Court, located at First Street Courthouse, 350 W. 1st Street, Los
 6
     Angeles, California 90012, Plaintiff/Counter-Defendant Hong Liu (“Plaintiff”) will and
 7
     hereby does move the Court pursuant to Federal Rule of Civil Procedure 56 for: (i)
 8
     summary judgment on Defendant/Counterclaimant Faraday&Future Inc.’s (“FF”)
 9
     Second Amended Counterclaim (ECF 95); (ii) summary judgment on FF and defendant
10
     FF Intelligent Mobility Global Holdings Ltd.’s (f/k/a Smart King Ltd. (“Smart King”))
11
     affirmative defenses in FF and Smart King’s Second Amended Answers (ECF 93 & 94,
12

13
     respectively); and (iii) partial summary judgment on Count I of Plaintiff’s Complaint.

14
           This motion is made following the conferences of counsel for Plaintiff and

15
     defendants FF and Smart King pursuant to L.R. 7-3, which took place on May 11, 2021.

16          This Motion is based on this Notice; the supporting Memorandum of Points and
17   Authorities filed and served herewith; the Declarations of Hong Liu and Amiad Kushner
18   and the exhibits attached thereto to each; the papers on file with the Court in this matter;
19   and upon such further evidence and argument as may be presented to this Court prior to
20   or at the hearing on this motion. Plaintiff also serves and lodges along with this motion
21   a proposed order pursuant to L.R. 7-20.
22

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                        PLAINTIFF HONG LIU’S NOTICE OF MOTION & CROSS MOTION
                                   CASE NO.: 2:20- CV-08035-SVW-JPR
 Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 7 of 467 Page ID
                                  #:3815



 1   Dated:    Los Angeles, California
 2
               May 18, 2021

 3

 4                                             Respectfully Submitted,
 5                                             FOUNDATION LAW GROUP LLP
 6

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12                                             HONG LIU
13

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                    PLAINTIFF HONG LIU’S NOTICE OF MOTION & CROSS MOTION
                               CASE NO.: 2:20- CV-08035-SVW-JPR
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 8 of 467 Page ID
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9    Attorneys for Plaintiff/Counter-Defendant,
     Hong Liu
10
                        UNITED STATES DISTRICT COURT FOR
11
                      THE CENTRAL DISTRICT OF CALIFORNIA
12
                                     WESTERN DIVISION
13

14
     HONG LIU,                               Case No: 2:20-cv-08035-SVW-JPR
15                Plaintiff,
                                             PLAINTIFF HONG LIU’S
16                       v.                  CORRECTED MEMORANDUM OF
                                             POINTS AND AUTHORITIES IN
17   FARADAY&FUTURE INC.,                    SUPPORT OF HIS CROSS MOTION
     SMART KING LTD., JIAWEI                 FOR SUMMARY JUDGMENT, IN
18                                           SUPPORT OF HIS MOTION FOR
     WANG, and CHAOYING DENG
19
                                             PARTIAL SUMMARY JUDGMENT,
                  Defendants.                AND IN OPPOSITION TO
20                                           FARADAY&FUTURE INC. AND
                                             SMART KING LTD.’S MOTION
21
     FARADAY&FUTURE INC.,                    FOR SUMMARY JUDGMENT
22
                  Counterclaimant,           Hearing on Motions: June 1, 2021;
23                                                               June 21, 2021
                         v.
24   HONG LIU,                               Judge:      Hon. Stephen V. Wilson
                                             Trial Date: July 27, 2021
25
                  Counter-Defendant.
26

27

28


                               MEMORANDUM OF POINTS AND AUTHORITIES
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                                      MEMORANDUM OF POINTS AND AUTHORITIES
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                                      MEMORANDUM OF POINTS AND AUTHORITIES
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 1         Plaintiff Hong Liu (“Plaintiff” or “Mr. Liu”), by his undersigned counsel and
 2   pursuant to Rule 56 of the Federal Rules of Civil Procedure, submits this memorandum
 3   of points and authorities in support of his (i) cross motion for summary judgment on (a)
 4   defendant Faraday&Future Inc.’s (“FF”) Second Amended Counterclaim (ECF 95); (b)
 5   FF and defendant FF Intelligent Mobility Global Holdings Ltd.’s (f/k/a Smart King Ltd.
 6   (“Smart King”) and collectively with FF, “Defendants”) affirmative defenses set forth
 7   in FF and Smart King’s Second Amended Answers (ECF 93 & 94, respectively); (ii)
 8   partial summary judgment on Count I of the Complaint; and (iii) in opposition to FF
 9   and Smart King’s motion for summary judgment (ECF 131) (“Defendants’ Motion”).1
10                            PRELIMINARY STATEMENT
11         By this motion, Plaintiff seeks summary judgment on liability as to his claim for
12   breach of the Employment Agreement and dismissal of Defendants’ counterclaims and
13   defenses to the extent they seek to preclude enforcement of that agreement. Defendants’
14   Motion should be denied in its entirety. A jury trial is required to resolve Plaintiff’s
15   wrongful termination claim and to fix the damages from Defendants’ breach of contract.
16         Summary judgment should be entered on liability as to Plaintiff’s claim for
17   breach of the Employment Agreement. The terms of the agreement are clear and
18   unambiguous. Defendants failed to pay Plaintiff the compensation they agreed to pay
19   him upon an early termination. No material issues of fact exist. Defendants’ purported
20   defenses to enforcement are nothing more than an impermissible attempt to evade a
21   clear and unambiguous agreement.
22
     1
23     All capitalized terms not otherwise defined herein shall have the same meanings
     ascribed to them in the Complaint (ECF 1) and Plaintiff’s Memorandum of Law in
24   Opposition to Defendants’ Motion to Dismiss (ECF 25). “¶__” are references to
25   paragraphs in the Complaint. “SUF ¶__” are references to paragraphs of Plaintiff’s
     Statement of Uncontroverted Facts, submitted herewith. “Liu Decl. ¶__” refers to
26   paragraphs of the declaration of Plaintiff Hong Liu, submitted herewith.
27    “Supple Rep. ¶__” refers to paragraphs of the report of J. Richard Supple, Jr., attached
     as Exhibit B to the Declaration of Amiad Kushner, submitted herewith. Unless
28   otherwise noted, all emphasis is added; all internal quotations and citations are omitted.
                                                -1-
                             MEMORANDUM OF POINTS AND AUTHORITIES
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 1         Defendants’ attempts to invalidate the Employment Agreement based upon
 2   purported attorney ethics violations fail. There was no ethics violation. Plaintiff never
 3   provided any legal advice to Defendants while he was employed at Mayer Brown.
 4   Defendants’ own evidence shows that Plaintiff did not bill time to FF while at Mayer
 5   Brown. FF’s post-hoc contention that it was somehow dependent upon Plaintiff
 6   collapses in the face of the overwhelming evidence that its in-house counsel and outside
 7   counsel at Sidley Austin LLP reviewed the agreement.
 8         FF offers no precedent for what it is asking the Court to do here: allow a
 9   sophisticated client with a multi-billion dollar valuation to use an alleged “attorney
10   ethics violation” to rescind a clear and unambiguous contract that the client negotiated
11   with the benefit of in-house and outside counsel. The Court should enter summary
12   judgment in Plaintiff’s favor on this claim.
13         Defendants’ summary judgment motion as to Plaintiff’s wrongful termination
14   claim should be denied. Defendants ignore or misread well-established California law
15   which allows attorneys to bring wrongful termination claims against their clients.
16   Defendants also disregard the Court’s holdings that they have waived the privilege over
17   broad categories of documents in this action.         Defendants’ waivers thoroughly
18   undermine their assertions. Summary judgment should be denied on this claim.
19         For these reasons and as more fully explained below, Plaintiff’s Cross Motion
20   should be granted, and Defendants’ Motion should be denied.
21                               STATEMENT OF FACTS
22   Mr. Liu Did No Legal Work For FF While At Mayer Brown
23         In April 2014, Mr. Liu began working at Mayer Brown LLP (“Mayer Brown”)
24   as a partner in the firm’s New York office. SUF ¶1. At all relevant times, Mr. Liu has
25   been admitted to practice law in New York. SUF ¶2.
26         In both December 2015 and May 2017, FF engaged Mayer Brown on regulatory
27   matters. SUF ¶8. Philip Recht, a partner in Mayer Brown’s Los Angeles office, led
28   Mayer Brown’s work for FF on these matters. SUF ¶¶8, 20. Mr. Liu had no
                                                -2-
                             MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 15 of 467 Page ID
                                 #:3823



 1   involvement in these engagements, which involved other Mayer Brown lawyers. SUF
 2   ¶¶4-5. Mr. Liu neither performed any legal services for FF while at Mayer Brown nor
 3   supervised any Mayer Brown lawyers who represented FF. SUF ¶¶4-5. While at Mayer
 4   Brown, Mr. Liu never billed any time to any matter in which Mayer Brown represented
 5   FF. SUF ¶¶4-5.
 6   FF Solicits Mr. Liu
 7         On October 15, 2017, Michael Wang, a representative of FF, reached out to Mr.
 8   Liu and invited him to meet with FF in California. SUF ¶6. On October 17, 2017, Mr.
 9   Liu travelled to FF’s California offices and met with FF representatives, including FF’s
10   then-CEO YT Jia (“Jia”) and defendant Jiawei (“Jerry”) Wang. SUF ¶6. At the
11   meeting, Mr. Jia indicated FF would pay Mayer Brown’s outstanding legal fees. He
12   also discussed potential work Mayer Brown could perform for FF and requested that
13   Mr. Liu send a proposal for such work. SUF ¶7. Given Mr. Liu’s professional
14   experience and reputation, Jia also suggested FF would benefit from having someone
15   like Mr. Liu but did not explicitly make an employment offer to him. SUF ¶7.
16         On October 20, 2017 and in response to Mr. Jia’s request, Plaintiff sent FF an
17   unsigned draft engagement on Mayer Brown letterhead for a range of potential legal
18   services. SUF ¶10. For over two months, FF did not sign this engagement. SUF ¶10,
19   20. Shortly after Mr. Lu sent this draft document, Jerry Wang reached out to Mr. Liu
20   to discuss Mr. Liu’s proposed employment at FF. SUF ¶11.
21         On October 25, 2017, Jerry Wang sent Mr. Liu a comprehensive proposal for Mr.
22   Liu’s employment at FF, including (i) a document entitled “DRAFT EMPLOYMENT
23   AGREEMENT TERM SHEET FOR HENRY L,” proposing that Mr. Liu serve as FF’s
24   Vice Chairman and Global General Counsel with a $900,000 annual salary and
25   eligibility to receive a minimum 2% equity interest in FF (“Smart King Options”); and
26   (ii) a spreadsheet containing FF’s projections of the value of that equity interest, ranging
27   from $42 million (before an IPO) to $1 billion (three years after an IPO). SUF ¶¶12-14.
28         In late October 2017, Mr. Liu verbally advised Jerry Wang on several occasions
                                                 -3-
                              MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 16 of 467 Page ID
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 1   that FF should seek independent counsel in connection with negotiating the terms of
 2   Mr. Liu’s potential employment at FF. SUF ¶15. During these conversations, Jerry
 3   Wang repeatedly assured Mr. Liu that, in connection with negotiating the terms of Mr.
 4   Liu’s employment, FF would be advised by its own in-house legal department as well
 5   as by its outside counsel at Sidley Austin LLP (“Sidley Austin”). SUF ¶15.
 6         In November 2017, Jerry Wang sent Mr. Liu an email under the subject line “FF
 7   US employment contract” containing several attachments, including an offer letter
 8   template. SUF ¶18. At Mr. Wang’s request, Mr. Liu modified the template to reflect
 9   the terms that had been agreed upon up to that point. SUF ¶19. No further substantive
10   employment-related discussion occurred until January 2018. SUF ¶21.
11   FF Re-Engages Mayer Brown
12         On December 22, 2017, Amanda Walker, an in-house FF counsel, sent an email
13   to Mayer Brown partner Phil Recht (without copying Mr. Liu), attaching the draft
14   engagement letter which Mr. Liu had previously sent to FF two months prior in October
15   2017 with FF’s signature.    SUF ¶20.     Although FF transmitted its signature on
16   December 22, 2017, it did not change the date on the engagement letter, which remained
17   October 20, 2017. SUF ¶20. In her cover email attaching this document, Ms. Walker
18   stated: “Attached please also find the supplemental engagement letter that one of your
19   colleagues had requested back in October to reinitate the engagement.” SUF ¶20.
20         That same day, December 22, 2017, Mr. Recht forwarded the engagement letter
21   with FF’s signature to Mr. Liu, who counter-signed it. SUF ¶20. The fully-executed
22   agreement was sent later that day back to FF. SUF ¶20.
23         During his tenure at Mayer Brown, Mr. Liu did not perform any work on this
24   engagement, as reflected in Mayer Brown’s timesheets on the matter for December
25   2017, January 2018, and February 2018 that Defendants submitted on their motion. See
26   Declaration of Jerry Wang, Exs. 1-3; see also SUF ¶¶4-5.
27   FF and Its Counsel Advance The Employment Negotiations With Mr. Liu
28         On January 1, 2018, Jerry Wang sent a draft employment agreement to Mr. Liu.
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 1   SUF ¶21. On January 10, 2018, at Jerry Wang’s invitation, Mr. Liu met with Mr. Jia in
 2   California. SUF ¶¶21-22. Mr. Jia proposed that Mr. Liu’s compensation package be
 3   divided into two agreements: the Employment Agreement (between FF and Mr. Liu)
 4   and the Director Compensation Agreement (between Mr. Jia and Mr. Liu). SUF ¶22.
 5         Between January 10 and January 26, 2018, Mr. Wang and Mr. Liu exchanged
 6   multiple drafts of the Employment Agreement and Director Compensation Agreements.
 7   SUF ¶23. During this time period, Mr. Wang repeatedly informed Mr. Liu in writing
 8   that FF’s human resources department, in-house counsel, and outside counsel at Sidley
 9   Austin were reviewing both agreements. SUF ¶23.
10         On January 26, 2018, Sidley Austin emailed Mr. Wang regarding its review of
11   the Employment Agreement and asked whether FF desired to have Sidley Austin’s
12   employee benefits specialists conduct a further review of the agreement. SUF ¶24. Mr.
13   Wang responded that Liu “will sign our standard offer letter so that should be fine to
14   cover some basic terms in there.” SUF ¶24.
15         On January 26, 2018, Mr. Liu signed the Employment Agreement. SUF ¶25. FF
16   counter-signed the agreement that same day. SUF ¶25.
17         Between January 26 and February 2, 2018, Jerry Wang and Mr. Liu continued to
18   negotiate the Director Compensation Agreement. SUF ¶32. Mr. Wang made clear to
19   Mr. Liu that Sidley Austin was closely involved in reviewing and commenting on this
20   agreement for FF. SUF ¶32. Thus, for example, on January 30, 2018, Mr. Wang
21   provided Mr. Liu with a revised draft of the agreement that Mr. Wang said was “drafted
22   by company external counsel Sidley;” Mr. Wang noted that “Sidley is happy to arrange
23   a conference call together with us to walk through and discuss solutions.” SUF ¶34.
24         On February 2, 2018, Mr. Liu signed the Directors Compensation Agreement and
25   emailed Jerry Wang the executed copy. SUF ¶35.
26         On February 7, 2018, Mr. Liu resigned from his Mayer Brown partnership. SUF
27   ¶35. On February 15, 2018, he began working at FF. On April 17, 2018, he registered
28   as in-house counsel to FF pursuant to California Rule of Court 9.46. SUF ¶37.
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 1   The Terms Of The Employment Agreement
 2         Pursuant to the executed January 26, 2018 Employment Agreement, Plaintiff
 3   would serve as FF’s Global General Counsel (“GC”), Chief Administrative Officer
 4   (“CAO”), and Global Senior Advisor. SOF ¶26. Under the terms of the agreement, FF
 5   guaranteed Plaintiff’s employment for five years. SOF ¶5.
 6         Under the terms of the Employment Agreement, FF agreed to pay Mr. Liu a
 7   package of cash and equity compensation, as follows. SOF ¶¶28-31. First, FF agreed
 8   to pay Mr. Liu a $3 million dollar signing bonus, payable in five equal installments of
 9   $600,000, with the first installment paid upon signing of the Employment Agreement
10   and the remaining four installments paid on each of the four anniversaries of Mr. Liu’s
11   first date of employment. SOF ¶29. In the event that Mr. Liu was terminated during
12   his guaranteed five-year employment term, he would receive all of the unpaid
13   installment payments in a lump sum. SOF ¶29.
14         Second, FF agreed to pay Mr. Liu a minimum annual base salary of $1 million
15   during each of the five years of his guaranteed five-year term, i.e., a minimum base
16   salary compensation of $5 million. SOF ¶30. If FF terminated Mr. Liu “for any
17   reason” during the five-year term, FF was required to pay any unpaid portion of the $5
18   million base salary in a lump sum. SOF ¶30.
19         And third, FF agreed to grant Mr. Liu 20 million shares of FF, which represented
20   two percent of FF’s total equity prior to its Series A round, with the shares to be issued
21   (at Mr. Liu’s election) in the form of restricted stock or options (the “Smart King
22   Options”). SOF ¶31. The Employment Agreement provides in relevant part:
23                FF shall grant [Mr. Liu] at a minimum cost required by law
                  and outright, 2% of FF’s total equity shares pre Series A
24
                  dilution in the form of restrictive stocks or equity option as
25                [Mr. Liu] may select based on any of FF’s available equity
                  grant forms to select from, namely 20,000,000.00 equity
26
                  shares representing 2% of the total and all of
27                1,000,000,000.00 equity shares of FF pre Series A, as FF has
                  represented and warranted, with the FF established and
28
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                  standard equity share or option vesting schedule and any of
 1
                  FF’s earliest available vesting schedules as [Mr. Liu] may
 2                select [].
 3   SOF ¶¶28-31.
 4         The Employment Agreement further provides this equity interest would “become
 5   immediately and fully vested to [Mr. Liu] upon any early termination by FF of [Mr.
 6   Liu’s] employment within the guaranteed employment term with FF.” SOF ¶¶28-31.2
 7         Concurrent with his start date, FF paid Mr. Liu the first $600,000 installment of
 8   his $3 million signing bonus under the Employment Agreement. Beginning with his
 9   date of hire, FF also paid Mr. Liu a salary at the rate of $1 million per annum, as required
10   by his Employment Agreement. SOF ¶25.
11   Plaintiff Performs His Duties For FF
12         Upon being hired at FF in mid-February 2018, Mr. Liu assumed leadership of the
13   legal and administrative functions of FF SOF ¶38.
14         On August 1, 2018, FF issued a press release that formally announced Mr. Liu’s
15   hiring. The press release stated in relevant part:
16                Faraday Future (FF) announced today that Henry (Hong)
                  Liu, renowned expert in international legal, banking, and
17
                  regulatory affairs, and former global equity partner at
18                international law firm Mayer Brown LLP, has assumed the
                  positions of Global Chief Administrative Officer (CAO),
19
                  Global Executive Vice President and Global General
20                Counsel . . .With more than 25 years of professional, business
                  and management experience in the United States and Asia
21
                  Pacific regions, Mr. Liu is a crucial asset to FF as it heads
22                toward the launch of its luxury all-electric, connected and
                  smart FF 91 and subsequent expansion of products and
23
                  services, as well as further enhancement of the corporate
24
     2
25    On or about February 2, 2018, as a further inducement to Mr. Liu to join Faraday, Mr.
     Liu entered into a Director Compensation Agreement with Mr. Jia. In the Director
26   Agreement, Mr. Jia personally agreed to pay Mr. Liu, upon certain trigger events such
27   as an initial public offering of Smart King, a cash amount equal to 1% of the value of
     Smart King shares as calculated prior to its Series A offering. SOF ¶¶32-36.
28
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                   governance. He will be leading legal, government affairs,
 1
                   administration, and capital, globally . . Prior to joining FF,
 2                 besides an equity partner at Mayer Brown LLP based in New
                   York, Mr. Liu counts more than two decades of global career
 3
                   experience in the legal, banking, and regulatory areas. He has
 4                 been partner, managing partner, and chair of China & Asia
 5
                   practice at several global law firms . . . He has been licensed
                   to practice law in the US for more than 25 years.
 6
     SOF ¶39.
 7
     Smart King Issues 20 Million Options To Mr. Liu
 8
             In October 2018, Smart King’s board of directors passed a resolution granting
 9
     Mr. Liu 20,000,000 options pursuant to the Employment Agreement. SOF ¶40. In or
10
     about January 2019, Mr. Liu confirmed that he had been issued the options by accessing
11
     his account at an employee benefits website. SOF ¶40.
12
             On or about February 11, 2019, Mr. Liu’s employment was terminated. On the
13
     same date and unbeknownst to Mr. Liu, Mr. Liu’s 20,000,000 Smart King options were
14
     cancelled. SOF ¶¶45-46. Further, FF never paid Mr. Liu the unpaid portion of the $3
15
     million signing bonus, which is $2,400,000, as required under the Employment
16
     Agreement. Nor has FF paid the unpaid portion of Mr. Liu’s $5 million in base salary,
17
     which totals approximately $4 million. SOF ¶47.
18
                                         ARGUMENT
19
             Where parties file summary judgment cross-motions, a court must consider the
20
     evidence submitted in support of both motions before ruling on either motion. See Fair
21
     Housing Council of Riverside County, Inc. v. Riverside Two, 249 F.3d 1132, 1136 (9th
22
     Cir. 2001). Because of that rule, the parties’ cross-motions should be addressed together.
23
     Rahban v. Detrex Corp., 2009 WL 10674232, at *2 (C.D. Cal. Aug. 27, 2009).
24
        I.      PLAINTIFF IS ENTITLED TO PARTIAL SUMMARY JUDGMENT
25              ON HIS CLAIM FOR BREACH OF THE EMPLOYMENT
                AGREEMENT
26
             To establish a breach of contract claim, a plaintiff must show (1) a contract; (2)
27
     a party’s performance or excuse for non-performance; (3) breach; and (4) resulting
28
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 1   damages. Fifty-Six Hope Rd. v. Jammin Java Corp., 2017 WL 2719981, at *2 (C.D.
 2   Cal. Feb. 22, 2017). Summary judgment is warranted as to each of these elements.
 3          It is undisputed that in January 2018 Plaintiff entered into the Employment
 4   Agreement with FF and Smart King and that in February 2018 he resigned from his
 5   Mayer Brown partnership and assumed the roles of FF’s Global GC, CAO, and Global
 6   Senior Advisor. It is also undisputed that in October 2018, after Plaintiff had been
 7   working at FF for eight months and pursuant to the Employment Agreement, Smart
 8   King granted Plaintiff options to acquire 20 million Smart King shares. It is also
 9   undisputed that Plaintiff was terminated on February 11, 2019, prior to the expiration
10   of the five-year term in the Employment Agreement.
11          FF breached the Employment Agreement by failing to pay Mr. Liu the
12   consideration he was promised. Specifically, under the Employment Agreement’s
13   unambigious terms and in the event of an early termination during Plaintiff’s five-year
14   employment term, FF was to pay Plaintiff the balance owed to him of his unpaid bonus
15   and annual salary and provide Plaintiff with fully vested Smart King equity. FF
16   breached the Employment Agreement by, upon terminating Plaintiff, failing to pay
17   Plaintiff all of this consideration.
18          First, FF failed to pay Mr. Liu $2,400,000, the unpaid portion of the $3 million
19   signing bonus that FF is required to pay under the Employment Agreement (the
20   $2,400,000 was required to be paid to Mr. Liu in a lump sum upon his early
21   termination). SOF ¶47. Second, FF failed to pay Mr. Liu approximately $4 million,
22   the unpaid portion of the $5 million in minimum base salary required to be paid to Mr.
23   Liu over his guaranteed five-year employment term (the $4 million was required to be
24   paid to Mr, Liu in a lump sum upon his early termination). SOF ¶47. And third, FF
25   breached the Employment Agreement’s unambiguous requirement that Plaintiff’s
26   Smart King options shall “become immediately and fully vested to [Mr. Liu] upon any
27   early termination by FF of [Mr. Liu’s] employment within the guaranteed
28   employment term with FF.” ECF 1-1; SOF ¶¶27-31. As was revealed in discovery,
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 1   Defendants cancelled Plaintiff’s 20 million Smart King options on his February 11,
 2   2019 termination date. SOF ¶46.
 3             Defendants can raise no triable issue as to any of these undisputed facts.
 4   Accordingly, Plaintiff is entitled to partial summary judgment on liability on his breach
 5   of contract claim. See Capstone Turbine Corp. v. Malkamaki, 2014 WL 12558004, at
 6   *6 (C.D. Cal. July 10, 2014) (granting partial summary judgment on breach of contract
 7   claim where contract language indisputably reflected intent of parties, and defendants’
 8   failure to pay under clear terms of contract constituted breach); Tesoro Ref. & Mktg.
 9   Co. LLC v. S&S Fuel, Inc., 2020 WL 3203057, at *5 (C.D. Cal. Mar. 30, 2020) (granting
10   motion for partial summary judgment on breach of contract claim because “[n]o
11   reasonable interpretation of this provision” could give rise to a triable issue of fact).
12   The calculation of Plaintiff’s damages should be determined at this case’s jury trial.
13       II.     SUMMARY JUDGMENT SHOULD BE GRANTED ON ALL OF
                 DEFENDANTS’ COUNTERCLAIMS AND AFFIRMATIVE
14
                 DEFENSES THAT SEEK TO RESCIND OR HOLD
15               UNENFORCEABLE THE EMPLOYMENT AGREEMENT
16               Summary Judgment Should Be Granted On Defendants’ Claims And
                 Defenses Based Upon Alleged Attorney Ethics Violations
17
               Plaintiff is entitled to summary judgment on Defendants’ counterclaims and
18
     defenses that seek to rescind, invalidate, or excuse performance under the Employment
19
     Agreement based upon Plaintiff’s alleged violation of attorney ethics rules in
20
     connection with the negotiation of the agreement.3
21

22

23

24   3
      These counterclaims and defenses are FF’s (i) first counterclaim for a violation of the
25   Rules of Professional Conduct; (ii) second counterclaim for breach of fiduciary duty in
     connection with the Rules of Professional Rules of Conduct; (iii) third counterclaim for
26   constructive fraud; (iv) eighth counterclaim seeking a declaratory judgment to the
27   extent it seeks to invalidate the Employment Agreement based upon alleged attorney
     ethics violations; and (v) FF and Smart King’s affirmative defenses that are
28   substantively duplicative of these counterclaims: 2, 3, 6, 9, 22, 23 and 26.
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 1                Only New York’s Attorney Ethics Rules Apply
 2         As a preliminary matter, Defendants maintain that both California’s Rules of
 3   Professional Conduct (“CA Rules”) and New York’s Rules of Professional Conduct
 4   (“NY Rules”) apply to Mr. Liu during the course of his negotiating his employment
 5   with FF. See Def. Br. at 14-19. Defendants are wrong.
 6         NY Rule 8.5(b) states that “[i]f the lawyer is licensed to practice only in [New
 7   York], the rules to be applied shall be the rules of [New York].” NY Rule 8.5(b)(2)(i);
 8   N.Y. State Eth. Op. 1054 (2015) (foreign ethics laws may apply “[i]f the [New York-
 9   admitted] lawyer is permitted to practice in [the foreign state]”). Under California’s
10   Rules of Professional Conduct, California ethics rules apply to non-member of the
11   California Bar only when they are “engaged in the performance of lawyer functions in
12   [California].” Calif. Rule of Prof. Cond. 1-100(D).
13         Here, during the course of Plaintiff’s employment negotiations, Mr. Liu was
14   licensed to practice law only in New York. Prior to his joining FF and in connection
15   with his negotiating the terms of his employment, Mr. Liu was not performing lawyer
16   functions in California. Accordingly, only the NY Rules apply to Mr. Liu’s conduct in
17   negotiating the Employment Agreement.4
18                Plaintiff Did Not Violate New York’s Attorney Ethics Rules
19         FF contends that Plaintiff violated NY Rules 1.8(a), 1.7 and 1.5 in connection
20   with the negotiation and drafting of the Employment Agreement. Based upon the New
21   York authorities cited below and the record on this motion, no material issues of fact
22   exist and Plaintiff is entitled to summary judgment dismissing FF’s claims under each
23

24   4
      Defendants cite Odish v. Cognitive Code Corp., 2015 WL 11347592 (C.D. Cal. May
25   27, 2015) for the proposition that an attorney based outside of California is “required to
     comply with California’s rules of professional conduct” while “providing legal
26   services” to California-based clients. See Defs’ Br. at 14. Here, however, Mr. Liu
27   provided no legal services to FF while at Mayer Brown. See SOF ¶4. Indeed,
     Defendants’ own evidence shows that Mayer Brown’s invoices to FF contain no time
28   billed by Mr. Liu. See SOF ¶4.
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 1   of these provisions of New York ethics rules. In further support, Plaintiff respectfully
 2   submits the expert report of Rick Supple (“Supple Rep.”), a partner at Clyde & Co US
 3   LLP in New York with decades of experience in attorney ethics matters, concerning the
 4   principles governing the New York attorney ethics rules and their application to Mr.
 5   Liu’s conduct. See Declaration of Amiad Kushner Ex. B (“Supple Rep.”).5
 6         a.     Plaintiff Did Not Violate NY Rule 1.8(a)
 7         New York Rule 1.8(a) prohibits a lawyer from “enter[ing] into a business
 8   transaction with a client” if the lawyer and “client” have “differing interests and if the
 9   client expects the lawyer to exercise professional judgment therein for the protection
10   of the client unless” the lawyer makes certain written disclosures to the client, obtains
11   consent for the transaction, and the transaction is “fair and reasonable.” Here there was
12   no Rule 1.8(a) violation because (i) FF was never Mr. Liu’s “client” while he was
13   employed at Mayer Brown, and (ii) FF did not expect Mr. Liu to exercise professional
14   judgment for FF’s protection while it was negotiating the Employment Agreement. No
15   material issues of fact exist concerning these issues.
16         First, FF was not Mr. Liu’s “client” at Mayer Brown. See Supple Rep. ¶¶35-40.
17   Mr. Liu did no legal work for FF while he was employed at Mayer Brown, nor did he
18   supervise such work. Liu Decl. ¶4. All work for FF was done by other Mayer Brown
19   attorneys. Liu Decl. ¶4, 5, 20. Tellingly, the Mayer Brown invoices that Defendants
20   submitted on this motion reflect no time billed by Mr. Liu. See Supple Rep. ¶¶15, 45;
21   see also SUF ¶4.
22

23

24   5
       See GemCap Lending, LLC v. Quarles & Brady, LLP, 269 F. Supp. 3d 1007, 1022–
25   23, 1028-29 (C.D. Cal. 2017) (in attorney malpractice action, reports of attorney ethics
     experts were admissible on summary judgment); id. at 1028-29 (admitting expert
26   opinion on whether attorney’s conduct aligned with “the relevant standard of care for
27   legal opinion writing” and noting that “[e]xpert witnesses are not expressly prohibited
     from rendering opinions on whether a defendant met the relevant standard of care”).
28
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 1         FF may contend that other Mayer Brown attorneys were advising FF and that the
 2   attorney-client relationship of such other attorneys should be imputed to Liu for
 3   purposes of a NY Rule 1.8(a). However, there is no basis for any such “imputation”
 4   theory under the circumstances. See Supple Rep. ¶¶35-40.
 5         The Restatement (Third) of the Law Governing Lawyers § 123, cmt. B, provides
 6   that imputation of conflicts between attorneys may be appropriate where: (1) “a lawyer's
 7   relationship with a client creates an incentive to violate an obligation to another client,”
 8   (2) “confidential information will be shared among affiliated lawyers” involved in
 9   conflicting representations at the firm, or (3) a situation where “a client would . . . have
10   difficulty proving that the adverse representation by an affiliated lawyer was wholly
11   isolated.” The Restatement cautions that “considerations of free choice of lawyers by
12   clients and the free mobility of lawyers between firms or other employers caution
13   against extending imputation further than necessary.” See Supple Rep. ¶38.
14         Here, there is no evidence that Mayer Brown’s regulatory work for FF provided
15   any “incentive” for Liu to violate any obligations to FF while Liu negotiated the
16   Employment Agreement. There is no evidence that any confidential information
17   provided by FF to Mr. Recht (or any other Mayer Brown lawyer representing FF) helped
18   Liu negotiate different, more favorable employment terms with FF. Nor is there any
19   evidence that Mr. Liu represented a client adverse to FF’s interests. Because none of
20   these concerns applies, any imputation theory in applicable. See Supple Rep. ¶¶35-40.
21         Indeed, if the NY Rules 1.8(a) were strictly construed in the context of global law
22   firms like Mayer Brown (with thousands of lawyers), extreme and unwarranted results
23   would follow. Lawyers who negotiate employment agreements with sophisticated
24   clients, with in-house legal teams, could be subject after-the-fact, draconian claims for
25   recission based on the imputation of other lawyers’ conduct, even though the lawyer
26

27

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 1   did no legal work for the client and notwithstanding that the firm’s relationship with a
 2   client was irrelevant to the negotiation or its outcome. See Supple Rep. ¶40.6
 3         Even if FF was Mr. Liu’s client (which it was not), NY Rule 1.8(a) is not triggered
 4   because it was not reasonable for Mr. Liu to believe or expect that FF was relying upon
 5   him to exercise personal judgment to protect FF’s interests in the negotiation of the
 6   Employment Agreement. See Supple Rep. ¶¶41-43. A leading New York ethics
 7   opinion sets forth the factors determinative of whether a client expects a lawyer to
 8   exercise reasonable professional judgment on the client’s behalf:
                  (i) whether the client has other counsel in the matter, for example,
 9
                  because it is a corporation or other entity with a legal department,
10                (ii) whether the lawyer is responsible for client matters in the subject
                  area, and (iii) whether the client is an individual or an entity and the
11
                  client’s level of sophistication in legal matters. We believe it is more
12                likely that an individual client or one that is not sophisticated in legal
13
                  matters is more likely to rely on a lawyer that does not represent the
                  client in that matter than would be the case with an institutional
14                client.
15   N.Y. State Eth. Opp. 1055 n. 1 (2015); see also Supple Rep. ¶41.
16         Applying these principles, it was not reasonable for FF to expect that Mr. Liu
17   would exercise professional judgment on its behalf in negotiating the Employment
18   Agreement. Mr. Liu was repeatedly informed that FF was being represented by in-
19   house counsel and outside counsel at Sidley Austin for its negotiation with Liu. Mr.
20   Liu was not responsible for FF’s matters with Mayer Brown and had never done legal
21   work for FF. Liu Decl. ¶¶4-5, 15, 20, 23. And FF was a sophisticated client with a
22   multi-billion dollar valuation. NY Rule 1.8(a) should not be applied under these
23   circumstances. See Matter of Chariff, 633 N.Y.S.2d 618, 620 (N.Y. App. Div. 1995)
24   (although attorney did not comply with disclosure and consent requirements when
25
     6
       Further, the NY Rules are “rules of reason” which “should be interpreted with
26   reference to the purposes of legal representation and of the law itself.” NY Rules,
27   Scope, cmt. [6]; Niesig v. Team I, 558 N.E. 1030, 1032 (1990) (disciplinary rules are
     “guidelines to be applied with due regard for the broad range of interests at stake”).
28
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 1   making a loan agreement with his client, the predecessor version of NY Rule 1.8(a) was
 2   not violated insofar the sophisticated businessman client was not deceived by his lawyer
 3   and was aware of all relevant information before making the loan”); NY Rule 1.8, cmt.
 4   [1] (stating that where a client “is represented by lawyers for a transaction, the client
 5   should not be heard to argue later that the lawyer on the receiving end of the transaction
 6   exercised professional judgment for the client’s benefit in the deal”). See Supple Rep.
 7   ¶¶41-43.
 8         b.     Plaintiff Did Not Violate NY Rule 1.7(a)
 9         NY Rule 1.7(a) provides that: “[A] lawyer shall not represent a client if a
10   reasonable lawyer would conclude that … there is a significant risk that the lawyer’s
11   professional judgment on behalf of a client will be adversely affected by the lawyer’s
12   own financial, business, property or other personal interests,” unless the client consents
13   to the representation. “When a reasonable lawyer would conclude that the risk of
14   adverse effect on professional judgment is not a significant one, then there is no conflict
15   …” N.Y. State Eth. Op. 1048 (2015); N.Y. State Eth. Op. 712 (1999) (no conflict of
16   interest merely because of a “fanciful, theoretical or de minimis risk that the lawyer’s
17   judgment will be affected adversely by a potentially relevant set of interests”).
18         Here, the record reflects no basis for concluding that Mayer Brown’s legal work
19   for FF somehow adversely affected Mr. Liu’s professional judgment in a manner that
20   prejudiced FF in the employment agreement negotiation. As noted above, Mr. Liu
21   performed no legal work for FF while at Mayer Brown. FF solicited Mr. Liu for an
22   employment position.       Liu Decl. ¶¶4-19, 20-22.          FF proposed equity-based
23   compensation for Mr. Liu, and FF provided projected values for that equity
24   compensation. Liu Decl. ¶¶12-14. FF repeatedly informed Mr. Liu that it was being
25   advised by its own human resources department, in-house counsel, and outside counsel.
26   Liu Decl. ¶¶15, 23. Mayer Brown’s regulatory work for Faraday bore no meaningful
27   relationship to the subject of Liu’s employment negotiations. See N.Y. State Eth. Op.
28   994 (2013) (opining that Rule 1.7 was not violated where attorney whose firm
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 1   represented a school district negotiated for employment as a sports coach at a school in
 2   the district because there was little risk “of adverse effect if … the legal work on behalf
 3   of the school district were unrelated to the lawyer’s work as coach”). See Supple Rep.
 4   ¶46.
            c.    Plaintiff Did Not Violate NY Rule 1.5(a)
 5

 6          Under NY Rule 1.5(a), a lawyer may not “collect an excessive or illegal fee.”
 7               A fee is excessive when, after a review of the facts, a reasonable
                 lawyer would be left with a definite and firm conclusion that the
 8               fee is excessive.” Whether or not a fee is excessive depends upon a
 9               non-exclusive list of factors, including “(1) the time and skill
                 required, the novelty and difficulty of the questions involved, and
10
                 the skill requisite to perform the legal service property; (2) the
11               likelihood, if apparent or made known to the client, that the
                 acceptance of the particular employment will preclude other
12
                 employment by the lawyer; (3) the fee customarily charged in the
13               locality for similar legal services; (4) the amount involved and the
                 results obtained; (5) the time limitations imposed by the client or by
14
                 circumstances; (6) the nature and length of the professional
15               relationship with the client; (7) the experience, reputation and ability
                 of the lawyer … performing the services; and (8) whether the fee is
16
                 fixed or contingent.
17          As the text of NY Rule 1.5 indicates, the test for determining whether a legal fee
18   is excessive is difficult to meet.
19          Here, there is no basis to conclude that a reasonable lawyer would be left with a
20   “definite and firm conclusion” that Mr. Liu’s “fee” is excessive. At the time FF solicited
21   Mr. Liu, he was a senior equity partner at Mayer Brown making $1.35 million per year.
22   Liu Decl. ¶¶1-3. FF solicited Liu to oversee its legal and administrative matters as its
23   general counsel and chief administrative officer. Liu Decl. ¶¶15-19, 20-21. Plainly, as
24   Liu was already very well compensated as a senior equity partner in a large law firm,
25   FF needed to make Liu a substantial offer if it genuinely hoped to entice Liu to leave
26   Mayer Brown.
27

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 1          The experience, reputation and ability of the lawyer is “the most important
 2   factor” when determining whether a legal fee is excessive. N.Y. State Eth. Op. 1004
 3   (2015). The facts indicate that Liu was a senior partner at the globally respected firm
 4   Mayer Brown and had decades of experience. Liu Decl. ¶¶1-4; Supple Rep. ¶50. For
 5   all of these reasons, there is no basis to find that a reasonable lawyer would “definitely
 6   and firmly” conclude that Liu’s acceptance of FF’s employment terms violated NY Rule
 7   1.5.
 8                Rescission Of The Employment Agreement Is Inappropriate
 9          Even if Plaintiff violated any of the NY Rules (which he did not), any such
10   violation should not be a basis for rescinding or voiding the Employment Agreement.
11   An attorney’s showing that “the dealing was fair and just,” and “the client was fully
12   advised” notwithstanding the attorney’s not providing written advice to retain
13   independent counsel warrants the enforcement of the agreement between the attorney
14   and client. Ferguson v. Yaspan, 233 Cal. App. 4th 676, 685 (2014).
15          Here, the Employment Agreement was fair to FF and to Mr. Liu. Plaintiff was
16   at the pinnacle of his career, earning well over a million dollars per year, and left his
17   lucrative equity partnership at Mayer Brown to join a start-up with uncertain prospects.
18   In joining FF, Plaintiff’s responsibilities would be enormous; he was tasked with
19   managing all of FF’s legal and administrative matters globally.        To make the risk
20   worthwhile for Plaintiff, FF had to provide him with substantial compensation.
21          The fact that FF was advised (or had access to) in-house and external counsel
22   during the Employment Agreement negotiations further militates against rescission.
23   See Pizzorno v. Draper, 2017 WL 4712071, at *6 (C.D. Cal. July 7, 2017) (that client
24   retained independent counsel in connection with negotiating agreement with attorney
25   discharged attorney from having to advice client in writing to seek independent
26   counsel); Ferguson v. Yaspan, 233 Cal. App. 4th 676, 688 (2014) (rejecting argument
27   that attorney’s failing to provide advice in writing to seek independent counsel gave rise
28   to ethical violation where client did in fact have independent counsel). Cf. ECF 144 at
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 1   3-4 (granting Plaintiff’s motion to dismiss Defendants’ counterclaim based on alleged
 2   unconscionability of Employment Agreement, where “Defendant was at the time of
 3   contracting a well-resourced corporation, having just received a multi-billion dollar
 4   valuation, and had ready access to counsel.”).
 5             Further, in October 2017, Plaintiff orally advised FF numerous times to retain
 6   independent counsel. SUF ¶15.          Jerry Wang, FF’s lead negotiator, responded that
 7   Sidley Austin and FF’s own internal legal and HR departments would be reviewing the
 8   Employment Agreement on FF’s behalf. SUF ¶15. In January 2018, Mr. Wang
 9   confirmed that Sidley Austin was reviewing the Employment Agreement. SUF ¶23.
10   Prior to Plaintiff’s entering into the Employment Agreement, FF’s legal department
11   messaged Plaintiff, confirming that the legal department had reviewed the Employment
12   Agreement. SUF ¶23. These facts demonstrate that enforcement of the Employment
13   Agreement is appropriate.
14        B.      SUMMARY JUDGMENT SHOULD BE GRANTED ON
                  DEFENDANTS’ DEFENSES TO ENFORCEMENT OF THE
15
                  EMPLOYMENT AGREEMENT BASED ON PLAINTIFF’S
16                ALLEGEDLY DEFICIENT PERFORMANCE
17             Defendants have asserted numerous affirmative defenses to the Employment
18   Agreement based upon Mr. Liu’s allegedly deficient performance.7 Under Defendants’
19   theory, if Mr. Liu’s performance was deficient, he cannot enforce the Employment
20   Agreement. Defendants’ defenses fail as a matter of law.
21             In the carefully-negotiated Employment Agreement, the parties agreed that if Mr.
22   Liu was terminated for “any reason” during his five year term of employment, he would
23   receive any unpaid portion of his guaranteed minimum salary of $5 million in a lump
24   sum. Similarly, upon any “early termination,” any unpaid portion of Mr Liu’s $3
25   million signing bonus was required to be paid in a lump sum. Further, upon any early
26   termination, all of Mr. Liu’s unvested options would be immediately vested, with the
27

28   7
         See ECF 93 & 94, Affirmative Defenses 5, 7, 8, 11, 14, 15, 19, 20, & 27.
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 1   sole exception of a situation in which an early termination was “effectuated” based on
 2   a “serious breach of fiduciary duty” that was “adjudicated” by a U.S. court.
 3         Here, FF terminated Mr. Liu before the expiration of his five year employment
 4   term. FF did so without obtaining any court order finding Mr. Liu in serious breach of
 5   fiduciary duty (and FF has since dismissed with prejudice its counterclaim against Mr.
 6   Liu for breach of fiduciary duty based upon his employment performance).
 7   Accordingly, FF’s affirmative defenses seeking to excuse their payment obligations
 8   upon an early termination must be rejected as being post hoc attempts to re-write the
 9   parties’ carefully negotiated and unambiguous Employment Agreement.
10      III.   SUMMARY JUDGMENT SHOULD BE DENIED AS TO
               PLAINTIFF’S WRONGFUL TERMINATION CLAIM
11
           Genuine issues of material fact exist as to Plaintiff’s wrongful termination claim,
12
     warranting denial of Defendants’ Motion. Defendants’ only bases for seeking summary
13
     judgment on Plaintiff’s claim are meritless threshold issues which have no bearing here.
14
               THE WRONGFUL TERMINATION CLAIM COMPORTS WITH
15             GENERAL DYNAMICS
16         Defendants’ primary basis for dismissal is the argument that Plaintiff’s wrongful
17   termination claim is barred by General Dynamics Corp. v. Super. Ct., 7 Cal. 4th 1164
18   (1994) (“General Dynamics”). See Def. Br. at 20. In Defendants’ view, because
19   Plaintiff’s wrongful termination claim can be proven only by the use of purportedly
20   privileged information, the claim must be dismissed under General Dynamics. See
21   Def. Br. at 22. Defendants are wrong.
22         General Dynamics permits a wrongful termination claim to proceed where in-
23   house counsel can prosecute his claim with non-privileged materials. See Gen.
24   Dynamics Corp., 7 Cal. 4th at 1169 (“there is no reason inherent in the nature of an
25   attorney’s role as in-house counsel to a corporation that in itself precludes the
26   maintenance of a retaliatory discharge claim, provided it can be established without
27   breaching the attorney-client privilege”).
28
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 1         Plaintiff’s claim for wrongful termination is on all fours with General Dynamics
 2   and should proceed for all of the following reasons. First, Plaintiff’s wrongful
 3   termination claim can be established without using privileged materials. Plaintiff
 4   alleges and can prove – without intruding upon the attorney-client privilege and without
 5   disclosing the specific content of the advice he provided to FF – that he was terminated
 6   in retaliation for giving advice on the following topics: (i) the Worker Adjustment and
 7   Retraining Notification (“WARN”) Act and its California statutory counterpart, and (ii)
 8   the legality of FF’s recording its corporate meetings without employees’ or other
 9   individuals’ consent. Plaintiff need not delve into the content of the advice; the act of
10   providing advice on these topics was itself the basis for Plaintiff’s wrongful termination.
11         Second, to the extent attorney-client communications support Plaintiff’s claim,
12   Defendants waived privilege by affirmatively putting these topics at issue through their
13   counterclaims concerning Plaintiff’s termination. See Bittaker v. Woodford, 331 F.3d
14   715, 718–19 (9th Cir. 2003) (litigant waives attorney-client privilege as to a topic by
15   putting the topic at issue); Columbia Pictures Television Inc. v. Krypton Broadcasting,
16   259 F.3d 1186, 1196 (9th Cir. 2001) (same); ECF 120-1 at 11-12 (citing authorities).
17         Through their SACC, Defendants specifically put at issue their purported reasons
18   for Plaintiff’s termination, including Plaintiff’s purportedly “failing to provide
19   substantive legal advice with respect to . . . the recording of internal meetings, and a
20   potential reduction in FF’s workforce.” ECF 124 at 18. By doing so, Defendants
21   waived the attorney client privilege as to communications on these topics. Indeed, the
22   Court held that because Defendants put these topics at issue, they “waived the privilege
23

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 1   as to documents and communications concerning Plaintiff’s termination” as well as
 2   the above enumerated topics. ECF 146 at 4, 7; see generally May 12, 2021 Tr.8
 3         Plaintiff can prove he was wrongfully terminated by relying on all of the
 4   following materials for which the privilege has been waived:
 5            • Plaintiff’s own testimony and communications between himself and
                YT Jia that, when FF began to run out of cash (as a result of
 6
                Evergrande’s cut-off of funding) and Mr. Jia planned mass layoffs
 7              and/or “furloughs” of hundreds of FF employees, Plaintiff advised
                Mr. Jia of FF’s obligations to comply with applicable federal and
 8
                California law (including the WARN Act) concerning such
 9              workforce reductions. SUF ¶¶41, 44.
10
              • Plaintiff’s own testimony and communications between himself and
11              YT Jia that he advised directed that advice be given to FF to stop or
12
                refrain from surreptitiously recording its corporate meetings and
                events without getting the required consent from the attending
13              individuals. SUF ¶¶42, 44.
14
              • Plaintiff’s testimony that on February 11, 2019, when Mr. Jia told
15              Plaintiff that he was being terminated, Mr. Jia angrily highlighted
16              Plaintiff’s communications with Evergrande and Plaintiff’s advice
                in connection with the Evergrande funding dispute as the main
17              reasons for Plaintiff’s termination. Liu Decl. ¶45.
18
           General Dynamics provides no bar to Plaintiff’s relying on these waived
19
     materials to prosecute his wrongful termination claim; Plaintiff may do so. See Hoeper
20
     v. City & Cty. of San Francisco, 2020 WL 740478, at *10 (Cal. Ct. App. Feb. 13, 2020)
21
     (defendants’ waiver of attorney-client privilege foreclosed barring of wrongful
22
     termination claim under General Dynamics); Wadler v. Bio-Rad Lab’ys, Inc., 212 F.
23

24
     8
25     Notwithstanding that Defendants voluntarily dismissed their fourth and fifth
     counterclaims, Defendants continue to put every aspect of Plaintiff’s job performance
26   and termination at issue through their affirmative defenses, triggering a broad waiver
27   over all aspects of Plaintiff’s employment. See, e.g., Bittaker v. Woodford, 331 F.3d
     715, 718, 719 (9th Cir. 2003) (noting waiver occurs “where the client asserts a claim or
28   defense that places at issue the nature of the privileged material.”).
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 1   Supp. 3d 829, 854 (N.D. Cal. 2016) (allowing attorney’s claim for wrongful termination
 2   to proceed because of defendant’s waiver of attorney-client privilege).
 3         And third, even if Plaintiff does in part rely on privileged materials, which he
 4   will not, under General Dynamics, the use of such materials is not a per se basis for
 5   dismissing Plaintiff’s claim. In fact, General Dynamics specifically contemplates and
 6   permits an in-house counsel’s bringing a wrongful termination claim while using
 7   privileged materials to establish his claim. See Gen. Dynamics Corp., 7 Cal. 4th at
 8   1189. Such a claim may proceed under General Dynamics because “trial courts can
 9   and should apply an array of ad hoc measures from their equitable arsenal designed
10   to permit the attorney plaintiff to attempt to make the necessary proof while protecting
11   from disclosure client confidences subject to the privilege.” Gen. Dynamics Corp., 7
12   Cal. 4th at 1191. Because a court can use “sealing and protective orders, limited
13   admissibility of evidence, orders restricting the use of testimony in successive
14   proceedings, and, where appropriate, in camera proceedings”          courts should be
15   “confident that by taking an aggressive managerial role, judges can minimize the
16   dangers to the legitimate privilege interests the trial of such cases may present.” Id.
17   Indeed, “General Dynamics teaches that a former in-house counsel may use privileged
18   information, with careful controls against inappropriate disclosure, in order to pursue
19   a wrongful termination claim against his or her former employer.” Chubb & Son v.
20   Superior Ct., 228 Cal. App. 4th 1094, 1106 (2014).
21         Defendants’ argument for dismissal amounts to mere conjecture. Defendants
22   merely speculate that Plaintiff cannot establish his claim without using privileged
23   materials. See Def. Br. at 7-8, 22-24. First, as set forth above, this is false. Second,
24   FF’s argument is merely conclusory and fails for that separate reason. See Soremekun
25   v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007) (on summary judgment, “the
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                             MEMORANDUM OF POINTS AND AUTHORITIES
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 1   movant must affirmatively demonstrate that no reasonable trier of fact could find other
 2   than for the moving party.” (emphasis added)).9
 3             THE WRONGFUL TERMINATION CLAIM IS BASED ON
               STATUTORY VIOLATIONS
 4

 5
           Defendants further contend that Plaintiff’s wrongful termination claim must be

 6
     dismissed because the Complaint does not tether Plaintiff’s claim to a statutory public

 7
     policy violation permitting disclosure. Def. Br. at 19-21. This contention is meritless.

 8
           As a preliminary matter, this Court has specifically held “that a plaintiff’s failure

 9
     to plead citations to specific statutory or constitutional provisions in the complaint is

10
     not fatal, [] so long as plaintiff identifies them at a later time, such as in opposition to

11
     a summary judgment motion.” Jacobson v. Hair, 2011 WL 13112239, at *29 (C.D.

12
     Cal. Jan. 31, 2011) (citing Green v. Ralee Eng’g Co., 19 Cal. 4th 66, 84 (1998) (that

13
     plaintiff on defendants’ motion for summary judgment provided specific FAA

14
     regulations in connection to wrongful termination was sufficient for wrongful

15
     termination claim); see also Kaplan v. Baxter Healthcare. Inc., 2011 WL 13220471, at

16
     *4 (C.D. Cal. Nov. 28, 2011) (Wilson, J.) (noting that while the complaint did not

17
     adequately identify the statutory predicate for a wrongful termination claim, “Plaintiff

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     9
       Defendants’ cited authorities which purportedly stand for the incorrect proposition
     that General Dynamics bars Plaintiff’s wrongful termination claim are inapposite. See
22   Tam v. Qualcomm, Inc., 300 F. Supp. 3d 1130, 1144 (S.D. Cal. 2018) (no waiver of
23   privilege); Olivo v. City of Vernon, 2010 WL 2958398, at *12 (Cal. Ct. App. July 29,
     2010) (no triable issue of fact as to whether defendant employer had waived the attorney
24   client privilege, causing General Dynamics to be applicable); Degenshein v. 21st
25   Century Toys, Inc., 2007 WL 1242171, at *1, *4-5 (Cal. Ct. App. Apr. 30, 2007) (no
     waiver of attorney-client privilege and plaintiff attorney admitted his case could be
26   proven only by exclusive reliance on privileged materials); Solin v. O'Melveny & Myers,
27   LLP, 89 Cal. App. 4th 451, 466 (2001) (neither defendant law firm nor plaintiff
     attorney’s former clients waived attorney-client privilege as to materials to be used in
28   the prosecution or defense of claim).
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 1   cured this deficiency in his Opposition [to summary judgment]”). Contrary to what
 2   Defendants argue, no such pleading requirement exists under California law.10
 3         Here, the record on summary judgment reflects that Plaintiff can establish he was
 4   wrongfully terminated in violation of public policy, as set forth by statute. Specifically,
 5   Plaintiff was wrongfully terminated in violation of public policy, as reflected in
 6   California Labor Code Sections 1102.5(b) and (c) (both of which can also be asserted
 7   as independent causes of action here), for violations of the following statutes:
 8
              • Federal Worker Adjuster and Retraining Notification
                 (“WARN”) Act, 29 U.S.C.A. §§ 2101, 2102(a)-(d), 2104(a); and
 9               California’s WARN Act, Cal. Lab. Code §§ 1400-04: for
10
                 Plaintiff’s advising FF of its obligations to provide its employees
                 with adequate 60-day notice of impending layoffs in connection
11               with FF’s mass layoff of its employees in the fall of 2018, so as to
12
                 protect FF’s employees from sudden and unexpected loss of income.
                 See SUF ¶¶41, 44.
13

14             • Electronic Communications Privacy Act, 18 U.S.C. § 2510 et
                 seq.; & Cal. Penal Code §§ 631, 632; and the constitutional right
15               to privacy under the California Constitution, Article I, § 1: for
16               Plaintiff’s advising FF not to record corporate meetings without its
                 employees’ consent. SUF ¶¶42, 44.
17
           This submission concerning violations of employee-protection statutes satisfies
18
     the requirement that Plaintiff must tie his wrongful termination claim to a colorable
19
     public policy interest. See Howe v. Target Corp., 2020 WL 5630273, at *9 (S.D. Cal.
20
     Sept. 21, 2020) (invasion of privacy was colorable constitutional and statutory public
21

22   10
        See Halliburton v. Remington Coll.-Denver Campus, Inc., 2008 WL 1851060, at *8
23   (Cal. Ct. App. Apr. 28, 2008) (rejecting argument that “plaintiff must allege a specific
     public policy within his or her complaint (or seek leave to amend to do so)”; providing
24   statutory bases for public policy violations in supplemental briefing on summary
25   judgment was sufficient); Daily v. Kaiser Found. Hosps., 2005 WL 3007131, at *7 (Cal.
     Ct. App. Nov. 10, 2005) (rejecting “fallacy of [the] argument” that a statutory basis for
26   wrongful termination must be pled in the complaint and cannot be done in opposition
27   to summary judgment); Perez-Falcon v. Synagro W., LLC, 2011 WL 6752533, at *4
     (E.D. Cal. Dec. 23, 2011) (statutory predicates for wrongful termination claim may be
28   raised in opposition to motion for summary judgment).
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 1   interest basis for wrongful termination claim); Horn v. Azusa Pac. Univ., 2019 WL
 2   9044606, at *9 (C.D. Cal. Jan. 14, 2019) (statutory predicate concerned law governing
 3   the safety of workplaces); Tam v. Qualcomm, Inc., 2018 WL 9918097, at *5 (S.D. Cal.
 4   Oct. 31, 2018) (FMLA and CFRA violations were proper predicates for wrongful
 5   termination claim); Scheu v. Charter Commc’ns, Inc., 2009 WL 10672161, at *12 (C.D.
 6   Cal. Mar. 2, 2009) (UCL was an adequate statutory predicate); Cardenas v. U.P.S., Inc.,
 7   2010 WL 5116343, at *8 (C.D. Cal. Dec. 9, 2010) (FLSA was colorable statutory basis
 8   for wrongful termination claim); Nagy v. Whittlesey Auto. Grp., 47 Cal. Rptr. 2d 395,
 9   398 (Ct. App. 1995) (unlawful recording of customers was actionable public policy
10   interest in support of wrongful termination claim).
11         Moreover, the Complaint already specifically sets forth actionable public policy
12   interests in violation of which Defendants’ terminated Plaintiff, including the WARN
13   Act (¶¶83, 132). See Scott v. Cent. California Fac. Med. Grp., Inc., 2018 WL 1542517,
14   at *15 (Cal. Ct. App. Mar. 29, 2018) (plaintiff’s repeatedly mentioning bases for public
15   policy violations was sufficient to establish wrongful termination claim).11
16                                     CONCLUSION
17         For all of the foregoing reasons, Plaintiff’s motion should be granted and
18   Defendants’ motion should be denied.
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     11
       Defendants’ cited authorities are unavailing. In Turner v. Anheuser-Busch, Inc., 7 Cal.
     4th 1238 (1994), the alleged violations of public policy concerned economic
24   relationships between beverage manufacturers and their competitors, which did not give
25   rise to a public policy interest; here, breaches of employee privacy and statutory
     violations of employment laws requiring providing notice to to-be-fired employees are
26   at issue. See id. at 125. Foley v. Interactive Data Corp., 47 Cal. 3d 654 (1988) is also
27   inapposite; there, unlike here, the purported public policy violation concerned the duty
     to report an employee who was embezzling from the employer, which the court found
28   to be merely a private interest, not a public one. See id. at 670.
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 1   DATED: May 18, 2021
 2                                    FOUNDATION LAW GROUP LLP
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on this day I caused a true and correct copy of the foregoing
 3   to be filed using the Court’s Electronic Filing System (“ECF System”). The document
 4   is available for viewing and downloading via the ECF System and will be served by
 5   operation of the ECF System upon all counsel of record.
 6

 7   Dated: May 19, 2021                                 /s/ Kevin D. Hughes
 8                                                          Kevin D. Hughes
 9

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                         UNITED STATES DISTRICT COURT FOR
11                     THE CENTRAL DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13
     HONG LIU,
14                Plaintiff,
                                            Case No: 2:20-cv-08035-SVW-JPR
15
                         v.
16                                          PLAINTIFF’S STATEMENT OF
     FARADAY&FUTURE INC.,                   UNCONTROVERTED FACTS AND
17
     SMART KINGLTD., JIAWEI                 CONCLUSIONS OF LAW IN
18   WANG, and CHAOYING DENG                SUPPORT OF PLAINTIFF’S CROSS-
                                            MOTION FOR PARTIAL SUMMARY
19
                  Defendants.               JUDGMENT
20

     FARADAY&FUTURE INC.,                   Complaint filed on: January 3, 2020
21

22                                          Defendants’ Motion filed on: April 26,
                  Counterclaimant,          2021
23

24
                         v.                 Hearing on Motions: June 1, 2021;
     HONG LIU,                                                  June 21, 2021
25                Counter-Defendant.
26                                          Judge:      Hon. Stephen V. Wilson
27
                                            Trial Date: July 27, 2021

28                                            1
       PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
           SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
                              CASE NO.: 2:20-CV-08035-SVW-JPR
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1
              Plaintiff Hong Liu (“Plaintiff” or “Mr. Liu”) hereby submits the following
2
     Statement of Uncontroverted Facts and Conclusions of Law in Support of
3
     Plaintiff’s Cross-Motion for Partial Summary Judgment. 1
4
                                         UNCONTROVERTED FACTS
5

6                 Uncontroverted Facts                                         Supporting Evidence
7
         1.    Between April 2014 and February                    1. Liu Decl. at ¶3.
8
         2018, Plaintiff worked at Mayer Brown
9
         LLP (“Mayer Brown”) as a partner in the
10
         firm’s New York office of Mayer
11
         Brown.
12

13       2.    Mr. Liu is, and was while working 2. Liu Decl. at ¶3.
14       at Mayer Brown, admitted to practice
15       law in the state of New York.
16
         3.    Mr. Liu made roughly $1.35                         3. Liu Decl. at ¶3.
17
         million in 2017.
18

19
         4.    While employed by Mayer Brown, 4. Liu Decl. ¶4; Declaration of Jerry
20
         I advised numerous clients on a wide Wang (“Wang Decl.), Exs. 1-3
21
         range of matters. During my entire career (showing Mayer Brown’s invoices to
22
         at Mayer Brown, I never provided any FF for December 2017, January 2018,
23
         legal advice to Faraday&Future Inc. and February 2018, and that Plaintiff
24

25
         (“FF”) on any matter.                     I never did not bill any time to FF)

26

27
     1
       References to the “Liu Decl.” are to the Declaration of Hong Liu. References to “Ex.” are to the Exhibits attached to
     the Liu Decl.
28                                                               2
         PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
              SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
                                             CASE NO.: 2:20-CV-08035-SVW-JPR
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1
             Uncontroverted Facts                      Supporting Evidence
2
     supervised the work of other Mayer
3
     Brown attorneys on any matter in which
4
     Mayer Brown represented FF. While at
5
     Mayer Brown, I did not bill time to any
6

7
     matter in which Mayer Brown was

8
     representing FF.

9    5.    At Mayer Brown, partners who 5. Liu Decl. ¶5; Declaration of Amiad
10   originated a relationship with a particular Kushner Exhibit (“Kushner Decl. Ex.”)
11   client were designated as the “billing D (testimony of Mayer Brown
12   partner” for matters on which Mayer indicating that Plaintiff was the billing
13   Brown represented any such client. Mr. partner on 24 matters at Mayer Brown,
14   Liu was designated as the billing partner none of which was FF).
15   on twenty-four client matters. Plaintiff
16   never served as the billing partner on any
17   matter involving FF.
18   6.    On October 15, 2017, Mr. Junmin 6. Liu Decl. ¶6.
19   “Michael” Wang invited Mr. Liu to visit
20
     FF’s offices in California.    In response
21
     to this invitation, on October 17 and 18,
22
     Mr. Liu met with representatives of FF in
23
     Los   Angeles,     including   FF’s   Vice
24
     President of Capital Markets Jiawei
25
     “Jerry” Wang, Michael Wang, FF’s Vice-
26

27

28                                           3
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
             Uncontroverted Facts                      Supporting Evidence
2
     President of Administration Chaoying
3
     Deng, and FF’s then CEO Yueting Jia.
4

5    7.    During the October 17 and 18 7. Liu Decl. ¶7.
6    meetings, Mr. Jia told Mr. Liu that it
7    would be advantageous to FF to have a
8    person with my status and recognition.
9    However, at that time, although it was
10   Plaintiff’s impression that Mr. Jia desired
11
     Mr. Liu to consider joining FF, Mr. Jia
12
     did not explicitly make any employment
13
     offer, and Mr. Liu did not entertain any
14
     discussion of employment terms.
15
     8.    At the time of the October 17 and 8. Liu Decl. ¶8; Ex. 1; Ex. 2.
16
     18 meetings, Plaintiff understood that
17
     Mayer Brown had previously done
18
     regulatory work for FF for which there
19
     was a substantial unpaid balance (and
20
     that, at the time, Mayer Brown had
21
     suspended work for FF in light of the
22
     unpaid balance).    Mr. Liu learned that
23

24
     there were two previous engagement

25
     letters between Mayer Brown and FF,

26   entered into in December 2015 and May

27   2017. Mr. Liu also understood that Mr.
28                                           4
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
              Uncontroverted Facts                   Supporting Evidence
2
     Phil Recht, a Mayer Brown partner based
3
     in its Los Angeles office, had supervised
4
     these engagements.
5
     9.    During Mr. Liu’s October 17 and 9. Liu Decl. ¶9.
6

7
     18 visits to FF’s offices, Mr. Jia indicated

8
     that FF would pay past due balances on

9    Mayer Brown’s invoices.       Mr. Jia also
10   asked Mr. Liu to send a proposal to FF
11   regarding   Mayer     Brown’s     potential
12   representation of FF on new matters,
13   including a potential series A financing.
14   10.   On October 20, 2017, in response 10. Liu Decl. ¶10; Exhibit 3.
15   to Mr. Jia’s request, Mr. Liu sent an email
16   to FF attaching an unsigned draft
17   engagement letter and proposed work
18   plan. For over two months, FF did not
19   sign this document.
20
     11.   Shortly after Mr. Liu sent the 11. Liu Decl. ¶ 11.
21
     above-referenced draft engagement letter
22
     on October 20, 2017, Jerry Wang reached
23
     out to Mr. Liu to discuss whether he
24
     would be interested in working at FF.
25

26

27

28                                           5
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
                Uncontroverted Facts                  Supporting Evidence
2
     12.    On October 25, 2017, Mr. Wang 12. Liu Decl. ¶12; Ex. 4.
3
     sent Mr. Liu an email with two
4
     attachments. The first attachment was a
5
     document          entitled       “DRAFT
6

7
     EMPLOYMENT AGREEMENT TERM

8
     SHEET FOR HENRY L.”            (the “Term

9
     Sheet”).    The second attachment was an

10   Excel spreadsheet containing information
11   under the heading “FF Option Valuation
12   Estimation.” (the “Option Valuation”).
13
     13.   The Term Sheet contained a 13. Liu Decl. ¶13; Ex. 4.
14
     proposal for me to serve as “Vice
15
     Chairman and Global General Counsel of
16
     FF Inc.”      It contained a number of
17
     proposed terms, including “Annual salary
18
     and bonus of US$900,000 per year,” and
19
     “20,000,000 (2%) of the fully diluted
20
     equity of the Company as stock option.”
21
     Mr. Liu did not solicit the proposed equity
22

23
     interests in the Term Sheet.

24
     14.    The Option Valuation contained a 14. Liu Decl. ¶14.

25   range of estimated values for the 2%
26   equity stake that was referenced in the
27   Term Sheet. The lowest estimated value
28                                           6
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
               Uncontroverted Facts                Supporting Evidence
2
     was $42.8 million, which was labeled as
3
     the “Series A Value.” The next highest
4
     estimated value was between $100 and
5
     $150 million, which was labelled as the
6

7
     “Series B Value.”      The next highest

8
     estimated value was $432 million to $648

9
     million, which was labelled as the “IPO

10   Value.”     The highest estimated value
11   was $1 billion, which was labelled as the
12   “IPO 3 years Value.”
13
     15.    Between October 26 and 29, 15. Liu Decl. ¶15.
14
     2017, Mr. Liu had several conversations
15
     with Jerry Wang in which Mr. Liu
16
     verbally advised him that FF should seek
17
     independent counsel in connection with
18
     negotiating the terms of my potential
19
     employment at FF.         During these
20
     conversations, Jerry Wang repeatedly
21
     assured Plaintiff that FF had its own in-
22

23
     house legal department and would also

24
     seek advice from its outside counsel at

25   Sidley Austin LLP in connection with

26

27

28                                           7
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
              Uncontroverted Facts                   Supporting Evidence
2
     negotiating the terms of my potential
3
     employment.
4

5
     16.   On October 29, 2017, Jerry Wang 16. Liu Decl. ¶16; Ex. 5.
6
     asked me to send him information
7

8
     concerning my compensation at Mayer

9
     Brown.    Mr.    Liu    sent   him     his

10   compensation package that same day with
11   his resume in English and Chinese.
12   17.   On November 2, 2017, Jerry Wang 17. Liu Decl. ¶17; Ex. 6.
13   sent Mr. Liu a Chinese article and a
14   message stating “Dear Mr. Liu, please
15   refer to the latest information above,
16   recently there are some negative rumors
17   going on in China, these are all
18   completely fake and I hope won’t
19   influence your judgment, appreciated and
20   I sincerely look forward to your reply.”
21
     18.   Between November 2 and 15, 18. Liu Decl. ¶18; Ex. 6; Ex. 7.
22

23
     2017, Mr. Liu did not have substantive

24
     discussions with FF concerning his

25   potential employment.     On November
26   16, 2017, Jerry Wang sent me an email
27   with the subject line “FF US employment
28                                           8
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
             Uncontroverted Facts                     Supporting Evidence
2
     contract.”   The email contained multiple
3
     attachments, including an offer letter
4
     template (“the “Offer Template”). Jerry
5
     Wang soon after sent me a message
6

7
     stating: “I’ve shared standard FF package

8
     for your view to your personal gmail

9
     address.”

10
     19.   After Jerry Wang sent Mr. Liu the 19. Decl. ¶19; Ex. 6; Ex. 7A.
11
     Offer Template, Plaintiff confirmed with
12
     Mr. Wang that he should “fill those terms
13
     that we have so far agreed on and those
14
     we have been discussing into the form
15
     letter agreement you provided.”      Jerry
16
     Wang responded, “Sounds good, thanks a
17
     lot Mr. Liu!”     During this time Jerry
18
     Wang and Plaintiff agreed to change the
19
     equity grant from 2% to 3%. On
20
     November 21, 2017, Mr. Liu emailed
21
     Jerry Wang the employment contract
22

23
     (entitled “Term Sheet”) with the terms

24
     filled in based on our prior discussions.

25   20.   On December 22, 2017, Amanda 20. Liu Decl. ¶20; Ex. 8.
26   Walker, FF’s Corporate Counsel, emailed
27   Phil Recht FF’s signed Mayer Brown and
28                                           9
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
              Uncontroverted Facts                 Supporting Evidence
2
     FF engagement letter, which had been
3
     sent on October 20, 2017. FF did not
4
     update the date from October 20 to
5
     December 22, 2017. Ms. Walker stated
6

7
     in her December 22, 2017 email:

8
     “Attached       please   also   find   the

9
     supplemental engagement letter that one

10   of your colleagues had requested back in
11   October to reinitiate the engagement.”
12   Mr. Liu was not copied on this email.
13   Later that day, Phil Recht forwarded Mr.
14   Liu the engagement letter and he signed
15   it. The fully executed agreement was sent
16   later that day to FF.
17   21.   On December 29, 2017, Jerry 21. Liu Decl. ¶21; Ex. 9
18   Wang called Mr. Liu and invited him to
19   visit FF’s offices in California on January
20   10, 2018. On January 1, 2018, Mr. Wang
21
     then emailed Plaintiff and attached an
22
     updated term sheet contract in clean and
23
     redline form.    Mr. Wang’s email stated,
24
     “Happy New Year! Please refer to
25
     attachment comments based on our
26
     discussion and previous term sheet,
27

28                                           10
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
                Uncontroverted Facts                      Supporting Evidence
2
     please let me know your feedback and
3
     sincerely look forward to partnership!”
4

5
     22.   On January 10, 2018, Mr. Liu met 22. Liu Decl. ¶22; Ex. 10.
6
     in person with Mr. Jia, who was then CEO
7

8
     of FF, and it was there that Mr. Jia divided

9
     his compensation package into two

10   agreements:      the      Stock     Transfer
11   Agreement (which eventually became the
12   Director      Compensation        Agreement
13   between Mr. Jia and me) and the
14   Employment Agreement (between FF
15   and me). The equity interest that was
16   promised to him was subdivided between
17   the two agreements. Mr. Jia was not a
18   client of Mayer Brown; while Mr. Liu
19   worked at Mayer Brown hr never
20   provided Mr. Jia with legal advice.
21
     23.   Between January 10 and January 23. Liu Decl. ¶23; Ex. 11; Ex. 12; Ex.
22
     26, 2018, Mr. Wang and Mr. Liu 13; Ex. 14.
23
     exchanged      multiple    drafts       of     the
24
     Employment      Agreement         and        Stock
25
     Transfer      Agreement.          Throughout
26
     Plaintiff’s negotiations with FF, he was
27

28                                           11
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
             Uncontroverted Facts                  Supporting Evidence
2
     told by Mr. Wang that FF’s in house
3
     attorneys, FF’s outside counsel Sidley
4
     Austin LLP, and FF’s Human Resources
5
     (“HR”) team were reviewing both
6

7
     agreements. On January 22, 2018, Jerry

8
     Wang told Mr. Liu “Thank you, manager

9
     Liu, for accepting my modifications to the

10   Employment Agreement.        I no longer
11   have any issues with this agreement.
12   Ultimately the HR director DG will need
13   to review it. If he also does not have any
14   other issue with it, we can then finalize
15   it.” On January 25, 2018, Mr. Liu was
16   told in writing that FF’s internal Legal
17   Department was “working closely with
18   HR in doing the final review.”         On
19   January 26, 2018, Mr. Liu was told that
20   “Sidley’s   company     partner   VJ    is
21
     reviewing this agreement for us right now
22
     to make sure there is no violation of any
23
     stipulations with investors.” On January
24
     26, 2018, Jerry Wang sent a message to
25
     Plaintiff and Wentao Huang, a lawyer
26
     who worked in FF’s legal department,
27

28                                           12
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
               Uncontroverted Facts                         Supporting Evidence
2
     “Many thanks to Mr. Huang for your
3
     coordination for the term(s) of the
4
     employment contract(s).”
5
     24.      Feifei Bian and Vijay Sekhon of Kushner Decl. Ex. A (a copy of the e-
6

7
     Sidley     Austin     LLP      reviewed   the mail and its attachments).

8
     Employment Agreement on January 26,

9    2018, and offered for Sidley Austin
10   LLP’s “employee benefits specialists to
11   take a look.”
12   25.      Late in the day on January 26, 24. Liu Decl. ¶24; Ex. 15; Ex. 16.
13   2018, Mr. Liu signed his Employment
14   Agreement dated January 25, 2018, and
15   emailed the executed agreement to Jerry
16   Wang. FF sent Plaintiff back the
17   countersigned agreement that same day.
18   Concurrently with Mr. Liu’s start date, he
19   was paid the first $600,000 installment
20
     of his $3 million signing bonus under
21
     the Employment Agreement, and was
22
     paid his salary at a rate of $1 million per
23
     annum,       as     required     under    the
24
     Employment Agreement.
25

26

27

28                                           13
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
             Uncontroverted Facts                       Supporting Evidence
2
     26.   The Employment Agreement            25. Liu Decl. at ¶24, Ex. 16 at 5-7; see
3
     provided that Mr. Liu would serve as      also ECF 1-1.
4
     FF’s Global General Counsel (“GC”),
5
     Chief Administrative Officer (“CAO”),
6

7
     and Global Senior Advisor.

8    27.   Mr. Liu’s employment was            26. Ex. 16 at 5-7; see also ECF 1-1.
9
     guaranteed under the terms of the
10
     Employment Agreement for five years.
11

12
     28.   FF agreed to pay Mr. Liu a          27. Ex. 16 at 5-7; see also ECF 1-1.

13   package of cash and equity
14   compensation under the terms of the
15   Employment Agreement.
16
     29.   FF agreed to pay Mr. Liu a $3       28. Ex. 16 at 5-7; see also ECF 1-1.
17
     million signing bonus, payable in five
18
     equal installments of $600,000, with
19
     the first installment paid upon signing
20
     of the Employment Agreement and the
21
     remaining four installments paid on
22
     each of the four anniversaries of Mr.
23
     Liu’s first date of employment.
24
     Plaintiff would receive all of the
25
     unpaid installments of his Employment
26

27

28                                           14
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
               Uncontroverted Facts                       Supporting Evidence
2
     Agreement if he was terminated during
3
     his five-year employment term.
4

5

6
     30.     Under the terms of the              29. Ex. 16 at 5-7; see also ECF 1-1.

7    Employment Agreement, FF agreed to
8    pay Mr. Liu a minimum annual base
9    salary of $1 million during each of the
10   fives years of his guaranteed five year
11   term.    The Employment Agreement
12   also required FF to pay any unpaid
13   portion of the $5 million base salary in
14   a lump sum if Plaintiff was fired for
15   any reason.
16
     31.      The Employment Agreement           30. Ex. 16 at 5-7; see also ECF 1-1.
17
     granted Mr. Liu 20 million shares of
18
     FF, representing two percent of FF’s
19
     total equity prior to its Series A round,
20

21
     with the shares to be issued, at Mr.

22
     Liu’s election, in the form of restricted

23   stock or options (the “Smart King
24   Options”). The Employment provided
25   that Mr. Liu’s Smart King Options
26

27

28                                           15
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
              Uncontroverted Facts                    Supporting Evidence
2
     would fully vest upon any early
3
     termination of Mr. Liu by FF.
4

5
     32.   However, Plaintiff’s compensation 31. Liu Decl. ¶25; Ex. 17.
6
     and employment terms were not yet
7

8
     complete. Between January 26 and

9
     February 2, 2018, Jerry Wang and Mr.

10   Liu had extensive negotiations over the
11   Stock Transfer Agreement. Sidley Austin
12   LLP, FF’s external counsel, through Jerry
13   Wang, continued to be involved in the
14   drafting process. On January 30, 2018,
15   Jerry Wang sent Plaintiff an updated
16   redline of the Stock Transfer Agreement
17   and told him to “Please take a look this
18   version drafted by company external
19   counsel Sidley, and I make it clear to
20   make it unchanged as much as possible
21   and reflect all business terms that we
22
     mutually agreed. Please let me know if
23
     we need to do a call to explain further, and
24
     Sidley is happy to arrange a conference
25
     call together with us to walk through and
26
     discuss solutions.”   The Stock Transfer
27

28                                           16
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
               Uncontroverted Facts                     Supporting Evidence
2
     Agreement was completely revised by
3
     Sidley Austin LLP and its title had
4
     changed to the Director Compensation
5
     Agreement.
6

7
     33.   Later on January 30, 2018, Mr. Liu 32. Liu Decl. ¶26; Ex. 18; Ex. 19.

8
     applied     edits   to   the     Director

9    Compensation Agreement and sent Jerry
10   Wang a revised version. Jerry Wang
11   responded with new edits and told him
12   “please let me know if you would like to
13   schedule a call with Sidley to briefly
14   discuss how to best describe the specific
15   amount.” At 10:33 PM, on January 30,
16   2018, after further negotiations, Jerry
17   Wang sent Mr. Liu comments on the
18   Director’s Compensation Agreement and
19   told him “if you think it is fine I will
20   forward to Sidley and discuss with them.”
21
     34.   After further exchanges of drafts of 33. Liu Decl. ¶27; Ex. 20.
22
     the Director Compensation Agreement
23
     between Jerry Wang and Plaintiff, on
24
     February 1, 2018, Jerry Wang passed
25
     along what he described as a comment
26
     from Sidley to Mr. Liu: “thanks Jerry –
27

28                                           17
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1
               Uncontroverted Facts                       Supporting Evidence
2
     this is better, but still carries moderate
3
     risk of breach of the shareholders
4
     agreement (and will have to be disclosed
5
     in connection with an IPO).”
6

7
     35.     On February 2, 2018, Mr. Jia and 34. Liu Decl. ¶28; Ex. 21; Ex. 22.

8
     Mr.      Liu    signed    the    Directors

9    Compensation Agreement and Mr. Liu
10   emailed Jerry Wang his executed copy.
11   On February 7, 2018, Mr. Liu officially
12   resigned from his partnership at Mayer
13   Brown.
14   36.     After signing the Employment 35. Liu Decl. ¶29.
15   Agreement and Director Compensation
16   Agreement, Mr. Liu relocated with his
17   family from New York to California and
18   began working at FF on February 15,
19   2018.
20
     37.     Within Plaintiff’s first week on the 36. Liu Decl. ¶30; Ex. 23; Ex. 24.
21

22
     job FF assisted him in registering with the

23
     State Bar of California as in-house

24   counsel on April 17, 2018.
25   38.     Mr. Liu’s job duties at FF included 37. Liu Decl. at ¶31.
26   leading the legal affairs and coordinating
27   administrative functions of FF, including
28                                           18
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
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1
               Uncontroverted Facts                           Supporting Evidence
2
     but not limited to overseeing the
3
     expansion of the legal team, managing the
4
     development of policies and procedures,
5
     hiring additional in-house lawyers to
6

7
     enhance the FF legal department, and

8
     coordinating     external     counsels   and

9
     internal litigations.

10   39.    FF issued a press release                38. Liu Decl. at ¶32; Ex. 25.
11   formally announcing Mr. Liu’s hiring
12   on August 1, 2018.
13
     40.    On or about October 25, 2018, Mr. 39. Liu Decl. at ¶33; Ex. 26; Kushner
14
     Liu was informed that his 20,000,000 Decl. Ex. E at Requests for Admission
15
     options were entered into FF’s stock 1-3; Kushner Decl. Exs. F-J.
16
     option system provided by a third party,
17
     Solium.      In late October 2018, Smart
18
     King’s board of directors passed a
19
     resolution     granting     his    20,000,000
20
     options in Smart King pursuant to the
21

22
     Employment Agreement.             On or about

23
     January 2019, Mr. Liu confirmed online

24
     that my options had been issued.

25   41.    Plaintiff’s work at FF included 40. Liu Decl. ¶34; Ex. 27.
26   helping FF when its largest investor,
27   Evergrande, backed out of its funding
28                                           19
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
              Uncontroverted Facts                       Supporting Evidence
2
     commitment      in     August        2018    (the
3
     “Evergrande Dispute”).            Because of the
4
     Evergrande Dispute, FF, specifically Mr.
5
     Jia, planned furloughs and mass layoffs.
6

7
     Mr. Liu directed his legal team to write

8
     memos on the best practices under

9
     California law before termination in

10   compliance with the Worker Adjustment
11   and Retraining Notification Act (“WARN
12   Act”), which requires 60-day notice to
13   employees before mass terminations, as
14   well as what the requirements of Smart
15   King’s board were to comply with their
16   fiduciary duties.
17   42.   Another issue that Mr. Liu raised 41. Liu Decl. ¶36; Ex. 28
18   concerned    Mr.       Jia’s      practice   and
19   commandment          that   all     management
20   meetings be recorded. At Plaintiff’s
21
     request, a memo was prepared outlining
22
     why Mr. Jia’s request ran afoul of
23
     California law. Mr. Jia ignored the
24
     recommendations.
25

26

27

28                                           20
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
              Uncontroverted Facts                     Supporting Evidence
2
     43.    During the month of October 2018, 42. Liu Decl. ¶36.
3
     as Mr. Jia refused to comply with
4
     California     law,     multiple      core
5
     management      team    and   FF    Board
6

7
     members, including FF’s co-founder

8
     Nick     Sampson       and    Mr.     Liu,

9
     recommended that Mr. Jia be removed as

10   CEO. At FF’s management meeting in
11   late October 2018, Plaintiff suggested to
12   Mr. Jia that he should step down to help
13   save the company. In response, Mr. Jia
14   stripped him of his Global General
15   Counsel position and began to remove
16   him from many important actions within
17   the company. Other senior management
18   members, including Mr. Sampson, quit,
19   or were forced to resign, or were
20   effectively fired in direct response to the
21
     request for Mr. Jia to step down as CEO.
22
     44.    While after October 2018 Mr. Liu 43. Liu Decl. ¶37; Ex. 29.
23
     no longer held his Global General
24
     Counsel position title and no longer was
25
     included as a legal counsel at legal
26
     department meetings, he continued to
27

28                                           21
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
             Uncontroverted Facts                    Supporting Evidence
2
     report on and try to correct workplace
3
     violations. These ongoing violations
4
     included, but were not limited to, secret
5
     recordings of office meetings in violation
6

7
     of California law and violations of the

8
     WARN Act and/or labor laws. The

9
     multiple memos he had written by his

10   team on these issues were never seriously
11   considered by FF. Plaintiff’s duties being
12   stripped and his advice not being taken
13   eventually    issues    culminated    with
14   Plaintiff sending an email to Yueting Jia
15   himself on January 23, 2019.
16   45.    Mr. Liu was terminated from his 44. Liu Decl. ¶38.
17   position without being given any cause
18   roughly three weeks later on February 11,
19   2019. Mr. Jia told Plaintiff during his
20   termination meeting that Plaintiff’s effort
21
     and suggestion to remove Mr. Jia and
22
     save the company was the reason for his
23
     termination. Defendants now suggest
24
     something different: in their most recent
25
     counterclaims,   they    claim   to   have
26
     terminated Mr. Liu because, among other
27

28                                           22
      PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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1
                Uncontroverted Facts                          Supporting Evidence
2
     reasons, Plaintiff failed to advise on the
3
     WARN Act and with respect to recording
4
     management meetings. As set forth
5
     above, these allegations are demonstrably
6

7
     false.

8
     46.      On the same date Mr. Liu was 45. Liu Decl. ¶39; Kushner Decl. Exs.

9    terminated, without telling him, FF E-J.
10   cancelled his 20,000,000 Smart King
11   options. Mr. Liu was never paid $2.4
12   million of his $3 million signing bonus
13   and      Plaintiff   was   never   paid    the
14   remaining $4 million of his $5 million
15   base salary.
16   47.      FF never paid Mr. Liu the unpaid 46. Liu Decl. at ¶40.
17   portion of his $3 million signing bonus
18   under the Employment Agreement,
19   totaling $2,400,000.       FF never paid
20
     Mr. Liu $4 million of his $5 million
21
     base salary.
22

23
     Dated: May 18, 2021                              SEIDEN LAW GROUP LLP

24

25                                                    /s/ Amiad Kushner
                                                      Amiad Kushner
26
                                                      Seiden Law Group LLP
27                                                    322 Eighth Avenue, Suite 1704
28                                            23
       PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
           SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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2
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                                           (212) 523-0686
3

4                                          Counsel for Plaintiff Hong Liu
5

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28                                          24
     PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
         SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
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9
     Attorneys for Plaintiff/Counter-Defendant,
10   Hong Liu
                         UNITED STATES DISTRICT COURT FOR
11                     THE CENTRAL DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13
     HONG LIU,
14                Plaintiff,                Case No: 2:20-cv-08035-SVW-JPR
15
                         v.                 PLAINTIFF’S  STATEMENT    OF
16                                          GENUINE DISPUTES OF MATERIAL
17   FARADAY&FUTURE INC.,                   FACT    IN   OPPOSITION   TO
     SMART KINGLTD., JIAWEI                 DEFENDANT’S    MOTION    FOR
18   WANG, and CHAOYING DENG                SUMMARY JUDGMENT
19
                  Defendants.               Complaint filed on: January 3, 2020
20
                                            Defendants’ Motion filed on: April 26,
21
                                            2021
     FARADAY&FUTURE INC.,
22
                                            Hearing on Motions: June 1, 2021;
23                Counterclaimant,                              June 21, 2021
24
                         v.
25   HONG LIU,                              Judge:      Hon. Stephen V. Wilson
                                            Trial Date: July 27, 2021
26                Counter-Defendant.
27

28                                            1
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
                       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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1
              Plaintiff Hong Liu (“Plaintiff” or “Mr. Liu”) hereby submits this statement of
2
     genuine disputes pursuant to Central District of California Rule 56-2 in opposition
3
     to the motion for summary judgment herein filed by Defendant FF Intelligent
4
     Mobility Global Holdings Ltd.’s (f/k/a Smart King Ltd. (“Smart King”)) and Defendant
5
     Faraday&Future Inc. (“FF”) (collectively “Defendants”). 1
6
              Facts 1 through 25 below correspond to the facts and supporting evidence
7
     presented in the Statement of Uncontroverted Facts filed by the moving party.
8
     These facts are followed by additional material facts and supporting evidence
9
     showing a genuine issue.
10

11
                 Moving Party’s Alleged                                      Response to Opposition
12               Uncontroverted Facts
13       1.   Faraday was and is an electric                      1.       Undisputed.
14
         vehicle company headquartered in Los
15
         Angeles, California.
16
         2.   Smart King is the indirect parent                   2.       Undisputed. For purposes of this
17
         company of Faraday.                                      response, Plaintiff assumes that the
18
                                                                  entity formerly known as Smart King
19
                                                                  Ltd. is currently known as FF Intelligent
20
                                                                  Mobility Global Holdings Ltd.
21

22       3.   Between October 2017 and                            3.       Undisputed.          Plaintiff notes that
23       February 2018, Liu was a New York                        he resigned from Mayer Brown LLP
24       attorney and partner with the law firm                   (“Mayer”) on February 7, 2018.                       See
25       Mayer Brown LLP (“Mayer”).                               Liu Decl. at 3, 28, Ex. 22.
26

27
     1
       References to the “Liu Decl.” are to the Declaration of Hong Liu. References to “Ex” are to the Exhibits attached to
     the Liu Decl.
28                                                               2
        PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
                                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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1           Moving Party’s Alleged                      Response to Opposition
2
            Uncontroverted Facts

3    4.   In October 2017, Liu provided FF       4.    Undisputed.
4    with (i) an Engagement Agreement (the
5    “Engagement Agreement”), as well as
6    with (ii) a Mayer Brown Proposal and
7    Work Plan for FF Global Holdings Ltd.,
8    Faraday & Future Inc., d/b/a Faraday
9    Future (the “Work Plan”); (iii) Mayer
10   Brown Current Working Team Hourly
11   Rates for Faraday Future; and (iv)
12   International Terms of Business.
13
     5.   The Mayer Work Plan stated, in         5.    Disputed.     The Mayer Work
14
     relevant part, that:                        Plan does not state that Mr. Liu would
15         We are very excited to have been      oversee     anything.         Plaintiff
16
           given the opportunity to make a
           proposal and work plan to provide     respectfully refers the Court to the
17         legal services to Faraday Future      Mayer Work Plan for its complete and
18         (“FF”). We are eager to play a role
           in FF’s mission of bringing           accurate context.   See Declaration of
19         premium, intuitive, and seamlessly    Chaoying Deng (“Deng Decl.”), Ex. 2 at
20         connected electric vehicles to
           people worldwide.                     pp. 1-3.
21

22
     The Work Plan further identified the
23
     legal services to be provided by Mayer’s
24
     “Corporate and Finance team,” “Auto
25
     Industry team,” “Initial public offering
26
     team,” “General Counsel team,” and
27

28                                            3
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
                       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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1            Moving Party’s Alleged                         Response to Opposition
2
             Uncontroverted Facts

3    “Wealth management” team, all of which
4    were to be overseen by Liu in his
5    capacity and role as the “FF Client Team
6    Leader & Main Contact Partner.”
7    6.    FF and Mayer executed the               6.      Disputed.       The   engagement
8    Engagement Agreement dated October            dated October 20, 2017, was not signed
9    20, 2017, thereby memorializing their         by either party until December 22, 2017.
10   attorney-client relationship. Liu executed See Liu Decl. at ¶20; Ex. 8.         Further,
11   the Engagement Agreement on Mayer’s           Mr. Liu never provided any legal advice
12   behalf. The Engagement Agreement              to FF during his employment at Mayer.
13
     stated, in relevant part, that:               See Liu Decl. at ¶¶4-5.           Plaintiff
14
                                                   respectfully refers the Court to the
15          This letter confirms our agreement     Engagement Agreement for its full and
16
            that FF Global Holdings Ltd.,
            Faraday & Future Inc., d/b/a           accurate contents.       Plaintiff further
17          Faraday Future (collectively the       notes     that      Defendants’    alleged
18          “Clients” or “you” and each a
            “Client” or “you”) have engaged        “uncontroverted facts” actually contain
19          Mayer Brown LLP, a limited             legal conclusions that are inappropriate
20          liability partnership in the United
            States (the “Firm” or “we” or          subjects for a Rule 56.1 statement.
21
            “us”), to provide Clients with legal
22          services and advice in connection
            with your capital raising,
23
            strategies, regulatory, corporate,
24          securities, intellectual property,
25
            litigation, wealth management
            matters and on such other tasks
26          and matters as may be instructed
27          by you from time to time and as
28                                            4
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
                       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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1            Moving Party’s Alleged                        Response to Opposition
2
              Uncontroverted Facts
           we explicitly agree to undertake
3
           (the “Matter”).
4
           ***
5
           As the Firm’s designated leader of
6          the FF Client Team, I [Liu] will be
7
           responsible for this engagement…

8
     7.   Between December 2017 and               7.    Disputed.        Mr.    Liu     never
9
     February 2018, Mayer and Liu, in his         provided any legal advice to FF during
10
     capacity as an attorney and partner with     his employment at Mayer.            See Liu
11
     Mayer, represented FF in various legal       Decl. at ¶¶4-5; see also Wang Decl.,
12
     matters in their capacity as outside legal   Exs. 1-3 (showing that Mr. Liu did not
13
     counsel.                                     bill any time on any FF matter).
14

15   8.   Between October 20, 2017 and            8.    Disputed.     FF solicited Mr. Liu’s
16   January 25, 2018, Liu solicited, drafted,    employment.       On October 25, 2017,
17   and negotiated an employment                 FF provided Mr. Liu with a term sheet
18   agreement (“Employment Agreement”)           containing proposed terms for Mr. Liu’s
19
     with FF, under which Liu was retained as prospective employment at FF.               See
20
     Faraday’s Global General Counsel,            Liu Decl. at ¶¶12-13.        Both parties
21
     Global Chief Administrative Office, and      were involved in the negotiation and
22
     Global Senior Advisor. Liu and FF            drafting of the Employment Agreement.
23
     executed the Employment Agreement on         See id. at ¶¶11-19, 21-24.             The
24
     or about January 25, 2018.                   Employment Agreement was executed
25
                                                  on January 26, 2018 (not January 25,
26
                                                  2018).    See id. at ¶24.
27

28                                            5
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                      Response to Opposition
2
             Uncontroverted Facts

3    9.    The Employment Agreement                9.   Undisputed.            Plaintiff
4    between FF and Mayer stated, in relevant respectfully refers the Court to the
5    part, that:                                   Employment    Agreement    for    its
6                                                complete and accurate contents.    See
            FF shall guarantee [Liu’s]
7           employment and base salaries as      ECF 1-1; see also Ex. 16 at 5-7.
8
            provided in the Terms for five
            years except for [Liu] decid[ing] to
9           leave FF on his own.
10
            ***
11

12          FF shall pay [Liu] a minimum
            annual base salary of
13
            $1,000,000.00, in
14          semi-monthly (bi-weekly)
15
            installments, for five years. If
            [Liu] is terminated for any reason
16          during the five year term he will
17          be entitled to receive any
            remaining portion of the five years
18          base salaries not yet paid in a lump
19          sum. Base salary will be reviewed
            on an annual basis for increases in
20
            accordance with the review
21          process for senior level executives
            of FF.
22

23          ***
24
            FF shall pay [Liu] a signing bonus
25          of $3,000,000.00, payable in five
26          equal installments, with the first
            installment paid upon the signing
27
            of the Agreement and each of the
28                                            6
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1           Moving Party’s Alleged                Response to Opposition
2
             Uncontroverted Facts
          remaining following four
3
          anniversary of [Liu’s] start of
4         employment at FF and paid in
          lump sum in the event of an early
5
          termination by FF during the five
6         year guaranteed employment term.
7
          ***
8         FF shall grant [Liu] at minimum
9         cost required by law and outright,
          2% of FF’s total equity shares pre
10
          Series A dilution in the form of
11        restrictive stocks or equity option
          as [Liu] may select based on any
12
          of [Liu’s] available equity grant
13        forms to select from, namely
          20,000,000.00 equity shares
14
          representing 2% of the total
15        and all of 1,000,000,000.000
16
          equity shares of FF pre Series A,
          as FF has represented and
17        warranted, with the FF established
18        and standard equity share or option
          vesting schedule and any of FF’s
19
          earliest available vesting
20        schedules as [Liu] may select and
          with adequate consideration of tax
21
          benefits available to [Liu]. Any
22        and all of the remaining unvested
23
          portion of such 2% of the total
          shares shall become immediately
24        and fully vested to [Liu] upon
25        early termination by FF of [Liu’s]
          employment within the guaranteed
26        employment term with FF. Such
27        an early termination can only be
28                                           7
     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                      Response to Opposition
2
              Uncontroverted Facts
           effectuated based on the specific
3
           cause of a serious breach of
4          fiduciary duty to FF as a senior
           executive of FF after fully
5
           adjudicated against [Liu] by a
6          competent court in the United
7
           States, and [Liu] will be fully
           covered by FF with executive
8          indemnifications.
9
           ***
10

11         FF shall entitled [Liu] to
           participate in all benefit plans and
12
           programs at the same level with all
13         senior level executive of FF,
           including, without limitation . . ,
14
           insurances including health, life,
15         and D&O.
16   10.   In soliciting, negotiating, drafting   10.   Disputed.     FF solicited Mr. Liu’s
17   the terms of, and procuring the              employment.       On October 25, 2017,
18   Employment Agreement with FF, Liu            FF provided Mr. Liu with a term sheet
19   never advised FF in writing to seek and      containing proposed terms for Mr. Liu’s
20
     obtain independent legal counsel in          prospective employment.          See Liu
21
     connection with the drafting and             Decl. at ¶¶12-13.     Both parties were
22
     negotiation of the Employment                involved in the negotiation and drafting
23
     Agreement.                                   of the Employment Agreement.          See
24
                                                  id. at ¶¶11-19, 21-24.     Plaintiff does
25
                                                  not dispute that he never advised FF in
26
                                                  writing to obtain independent counsel in
27

28                                           8
     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                        Response to Opposition
2
             Uncontroverted Facts

3                                                  connection    with     the   Employment
4                                                  Agreement; however, Plaintiff verbally
5                                                  advised FF to obtain independent
6                                                  counsel.   See Liu Decl. at ¶15.
7
     11.    In soliciting, negotiating, drafting   11.    Disputed.     Faraday solicited Mr.
8
     the terms of, and procuring the               Liu’s employment at Faraday.            On
9
     Employment Agreement with FF, Liu             October 25, 2017, Faraday provided Mr.
10
     never informed FF of any actual and           Liu with a term sheet containing
11
     reasonably foreseeable adverse                proposed     terms     for    Mr.     Liu’s
12
     consequences of, materials risks of, and      prospective employment at Faraday.
13
     reasonably available alternatives to, the     See Liu Decl. at ¶¶12-13.     Both parties
14
     Employment Agreement’s terms                  were involved in the negotiation and
15

16
     concerning Liu’s cash compensation,           drafting of the Employment Agreement.

17
     stock options, the circumstances under        See id. at ¶¶11-19, 21-24.   The terms of

18   which FF was permitted to terminate           the Employment Agreement were fully
19   Liu’s employment, and the effect of such      disclosed on the face of the agreement.
20   termination on Liu’s compensation.            Plaintiff verbally advised FF to obtain
21                                                 independent counsel in connection with
22                                                 the Employment Agreement.           See Liu
23                                                 Decl. at ¶15.      Plaintiff further notes
24                                                 that         Defendants’            alleged
25                                                 “uncontroverted facts” actually contain
26

27

28                                            9
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1           Moving Party’s Alleged                        Response to Opposition
2
            Uncontroverted Facts

3                                                 legal conclusions that are inappropriate
4                                                 subjects for a Rule 56.1 statement.
5

6    12.   In soliciting, negotiating, drafting   12.    Disputed.     Faraday solicited Mr.
7    the terms of, and procuring the              Liu’s employment at Faraday.            On
8    Employment Agreement with FF, Liu            October 25, 2017, Faraday provided Mr.
9    never disclosed to FF that Liu was           Liu with a term sheet containing
10   negotiating the Employment Agreement         proposed     terms     for    Mr.     Liu’s
11   exclusively on his own behalf and for his prospective employment at Faraday.
12   benefit; never disclosed that he was not     See Liu Decl. at ¶¶12-13.     Both parties
13   providing FF with the same legal advice      were involved in the negotiation and
14
     in connection with the Employment            drafting of the Employment Agreement.
15
     Agreement that he would have given FF        See id. at ¶¶11-19, 21-24.   The terms of
16
     had FF been negotiating that contract        the Employment Agreement were fully
17
     with a third-person; and failed to actually disclosed on the face of the agreement.
18
     provide FF with the same legal advice in     Plaintiff verbally advised FF to obtain
19
     connection with the Employment               independent counsel in connection with
20
     Agreement that he would have given FF        the Employment Agreement.           See Liu
21
     had FF been negotiating that contract        Decl. at ¶15.      Plaintiff further notes
22
     with a third-person.                         that        Defendants’             alleged
23
                                                  “uncontroverted facts” actually contain
24
                                                  legal conclusions that are inappropriate
25
                                                  subjects for a Rule 56.1 statement.
26

27

28                                           10
     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                        Response to Opposition
2
             Uncontroverted Facts

3    13.    In soliciting, negotiating, drafting   13.    Disputed.     Faraday solicited Mr.
4    the terms of, and procuring the               Liu’s employment at Faraday.             On
5    Employment Agreement with FF, Liu             October 25, 2017, Faraday provided Mr.
6    never disclosed in writing to FF, or          Liu with a term sheet containing
7    obtained FF’s fully informed written          proposed     terms      for   Mr.      Liu’s
8    consent to, Liu’s conflict of interest with   prospective employment at Faraday.
9    respect to the negotiation, drafting, and     See Liu Decl. at ¶¶12-13.      Both parties
10   terms of the Employment Agreement.            were involved in the negotiation and
11                                                 drafting of the Employment Agreement.
12                                                 See id. at ¶¶11-19, 21-24.    The terms of
13                                                 the Employment Agreement were fully
14
                                                   disclosed on the face of the agreement.
15
                                                   Plaintiff verbally advised FF to obtain
16
                                                   independent counsel in connection with
17
                                                   the Employment Agreement.           See Liu
18
                                                   Decl. at ¶15.      Plaintiff further notes
19
                                                   that        Defendants’             alleged
20
                                                   “uncontroverted facts” actually contain
21
                                                   legal conclusions that are inappropriate
22
                                                   subjects for a Rule 56.1 statement.
23

24   14.    Liu has acknowledged in writing        14. Undisputed that Mr. Liu signed a
25   his familiarity with and agreement to         document on April 28, 2014, entitled
26   abide by the Rules of Professional            “Conforming        to   the    Rules      of
27   Conduct.                                      Professional Conduct.”        See Decl. of
28                                            11
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                       Response to Opposition
2
             Uncontroverted Facts

3                                                 Lauren E. Grochow, ¶7, Ex. 5.            The
4                                                 document stated “I have currently
5                                                 reviewed with care the Rules of
6                                                 Professional Conduct applicable to each
7                                                 jurisdiction in which I am licensed to
8                                                 practice or in which I am seeking a
9                                                 license.”    See id.     Mr. Liu was not
10                                                licensed in California before registering
11                                                with the California state bar in April
12                                                2018.   See Liu Decl. at ¶30.
13
     15.    Faraday and Smart King have           15. Disputed.        Defendant’s pleadings
14
     provided notice of their rescission of the   do not constitute a “notice of their
15
     Employment Agreement via their               rescission      of     the      Employment
16
     respective Answers to Liu’s Complaint        Agreement.”       Further, the fraud-based
17
     and Faraday’s Second Amended                 rescission   claims      that   Defendant’s
18
     Counterclaim against Liu.                    asserted in their initial pleadings in this
19
                                                  action have been dismissed.        See ECF
20
                                                  144.    Defendants did not raise their
21
                                                  current claims for rescission of the
22
                                                  Employment        Agreement      based    on
23
                                                  purported violations of attorney ethics
24
                                                  rules until their third round of pleadings
25
                                                  in this action.      See ECF 72, 83, 95.
26

27
                                                  Plaintiff further notes that Defendants’

28                                            12
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                     Response to Opposition
2
             Uncontroverted Facts

3                                               alleged “uncontroverted facts” actually
4                                               contain legal conclusions that are
5                                               inappropriate subjects for a Rule 56.1
6                                               statement.
7    16.    FF terminated Liu’s employment      16. Disputed.        Defendants included
8    in February 2019, after having already     over $230,000 non-cash compensation
9    paid Liu more than $1.8 million in cash    in their calculation, specifically the
10   compensation.                              “RELOCATION” and “PTO” expenses
11                                              were not “cash compensation.”             See
12                                              Wang Declaration, Ex. 4 at 24.
13
     17.    The Complaint’s First Cause of      17. Disputed.     The Complaint’s First
14
     Action for Breach of Contract against FF   Cause of Action for Breach of Contract
15
     alleges that FF breached the Employment alleges, inter alia that FF breached the
16
     Agreement by failing to provide him        Employment Agreement by failing to
17
     with $6.4 million in cash and lucrative    vest stock options that were previously
18
     stock options following his termination    issued to Liu.     See ECF 1 at 21-23.
19
     in February 2019.                          Plaintiff respectfully refers the Court to
20
                                                the Complaint for its complete and
21
                                                accurate contents.
22
     18.    The Complaint’s Fourth Cause of     18. Disputed.    The Complaint’s
23
     Action for Wrongful Termination in         Fourth Cause of Action is not limited in
24
     Violation of Public Policy against FF      this manner, and alleges “As a direct
25

26
     alleges that FF terminated Liu in          result of his whistleblowing, Plaintiff

27
     retaliation for Liu reporting alleged      was wrongfully discriminated against by

28                                            13
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                        Response to Opposition
2
             Uncontroverted Facts

3    “compliance issues and violations of          Smart King and Faraday. Plaintiff’s work
4    law” to FF management concerning              responsibilities were reduced
5    supposed “immigration law, failures to        dramatically, and he was then terminated,
6    adequately investigate sexual harassment      all in violation of public policy.
7    complaints, illegal retaliation against       Specifically, Plaintiff was terminated in
8    employees, breach of employee’s               retaliation for truthfully expressing his
9    privacy, irregular financial activities and   concerns with regard to Faraday’s failure
10   timely compliance with the labor law          to comply with applicable California and
11   including the WARN Act.”                      federal law.”   See ECF 1 at 25-26.
12                                                 Plaintiff respectfully refers the Court the
13                                                 Complaint for its complete and accurate
14
                                                   contents.
15
     19.    Liu recently produced 62 of FF’s       19. Disputed.    The nature and scope of
16
     privileged attorney-client documents          attorney-client privilege in this action,
17
     (totaling 308 pages) in this lawsuit,         and whether any such privilege has
18
     thereby revealing that he retained those      been waived, is highly disputed
19
     privileged materials following his            between the parties.     The Court has
20
     termination from FF in February 2019          held that Defendants have waived
21
     and has possessed them since the              attorney-client privilege with respect to
22
     inception of this action (the “Illicit        broad categories of documents in this
23
     Privileged Materials”).                       action, including all documents relating
24
                                                   to the solicitation, drafting, and
25
                                                   negotiation of the Employment
26

27
                                                   Agreement, all documents related to

28                                            14
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1          Moving Party’s Alleged                    Response to Opposition
2
           Uncontroverted Facts

3                                          Plaintiff’s termination, and enumerated
4                                          areas in which Defendants allege
5                                          Plaintiff provided deficient advice or
6                                          failed to provide advice.    See ECF 146
7                                          at 6.   Further, the Court has held that
8                                          it may revisit issues of privilege waiver
9                                          following the Court’s decision on
10                                         Summary Judgment.       See Declaration
11                                         of Amiad Kushner Exhibit (“Kushner
12                                         Decl. Ex.”) C.    Further, under
13                                         California law, an attorney may retain
14
                                           and use privileged materials for
15
                                           purposes of wrongful termination
16
                                           claims.    See e.g., Chubb & Son v.
17
                                           Super. Ct., 176 Cal. Rptr. 3d 389, 398
18
                                           (Cal. App. 1st Dist. 2014) (“General
19
                                           Dynamics teaches that a former in-house
20
                                           counsel may use privileged information,
21
                                           with careful controls against
22
                                           inappropriate disclosure, in order to
23
                                           pursue a wrongful termination claim
24
                                           against his or her former employer.”).
25
                                           Plaintiff further notes that Defendants’
26
                                           alleged “uncontroverted facts” actually
27

28                                           15
     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1              Moving Party’s Alleged                          Response to Opposition
2
               Uncontroverted Facts

3                                                   contain legal conclusions that are
4                                                   inappropriate subjects for a Rule 56.1
5                                                   statement.
6    20.      The Illicit Privileged Materials      20. Disputed.        The nature and scope of
7    retained and possessed by Liu and              attorney-client privilege in this action,
8    recently produced in this action include       and whether any such privilege has been
9    the following documents:                       waived, is highly disputed between the
10         • Drafts of company policies             parties.      The Court has held that
11            prepared by FF’s other in-house       Defendants have waived attorney-client
12            legal counsel, and not by Liu         privilege      with        respect     to     broad
13
              himself;                              categories of documents in this action,
14
           • A document disclosing FF’s legal       including all documents relating to the
15
              strategy vis-à-vis its sales model;   solicitation, drafting, and negotiation of
16
           • Drafts of Board of Director            the       Employment          Agreement,          all
17
              meeting minutes prepared by           documents        related        to     Plaintiff’s
18
              counsel and disclosing privileged     termination, and enumerated areas in
19
              information presented to FF’s         which       Defendants        allege        Plaintiff
20
              Board;                                provided deficient advice or failed to
21
           • Legal memoranda prepared by            provide advice.            See ECF 146 at 6.
22
              FF’s in-house counsel for review      Further, the Court has held that it may
23
              and consideration by FF’s senior      revisit     issues    of     privilege       waiver
24
              executives;                           following the Court’s decision on
25
           • Email communications with FF’s         Summary Judgment. Kushner Decl. Ex.
26

27
              outside legal counsel regarding       C.    Further, under California law, an

28                                           16
     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1          Moving Party’s Alleged                       Response to Opposition
2
           Uncontroverted Facts

3         FF’s Series A financing               attorney may retain and use privileged
4         transaction, and FF’s related legal   materials for purposes of wrongful
5         dispute and litigation, with          termination claims.    See e.g., Chubb &
6         Evergrande;                           Son v. Super. Ct., 176 Cal. Rptr. 3d 389,
7      • Text message and email                 398 (Cal. App. 1st Dist. 2014) (“General
8         correspondence between Liu, FF        Dynamics teaches that a former in-house
9         employees, and outside counsel        counsel may use privileged information,
10        regarding requests for, and the       with careful controls against inappropriate
11        provision of legal advice             disclosure, in order to pursue a wrongful
12        regarding, corporate governance       termination claim against his or her
13        issues;                               former employer.”).      Plaintiff further
14
       • Emails between FF’s employees,         notes    that    Defendants’       alleged
15
          inhouse counsel, and outside          “uncontroverted facts” actually contain
16
          counsel regarding labor and           legal conclusions that are inappropriate
17
          employment issues involving the       subjects for a Rule 56.1 statement.
18
          WARN Act, alleged sexual
19
          harassment complaints, furloughs,
20
          and investigations;
21
       • Email correspondence and draft
22
          documents exchanged with outside
23
          counsel relating to FF’s Employee
24
          Stock Option Plan;
25

26

27

28                                           17
     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1              Moving Party’s Alleged                       Response to Opposition
2
               Uncontroverted Facts

3          • Emails reflecting FF seeking legal
4             advice from in-house regarding the
5             recording of company meetings;
6          • Email chains containing legal
7             advice from outside counsel
8             concerning banking laws;
9          • An email from an FF employee
10            seeking legal advice regarding
11            how to respond to meeting
12            comments;
13         • An email summarizing work
14
              performed by FF’s in-house legal
15
              department; and
16
           • A presentation to FF’s
17
              management regarding the
18
              company’s key legal strategies and
19
              the status of various legal matters.
20

21   21.      During the April 13, 2021              21. Disputed.     Plaintiff disputes that
22   deposition of FF employee Qing Ye (“Ye the communication at issue contained
23   Deposition”), Liu’s counsel attempted to        legal advice or that it is privileged, and
24   introduce and question the witness on           if so, whether any such privilege was
25   Illicit Privileged Materials—namely, a          waived.     Plaintiff respectfully refers
26   privileged communication between FF             the Court to its responses to nos. 19 and
27   and its legal counsel containing legal          20 above.    Plaintiff further notes that
28                                           18
     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                     Response to Opposition
2
             Uncontroverted Facts

3    advice about corporate governance,          Defendants’ alleged “uncontroverted
4    relevant only to Liu’s wrongful             facts” actually contain legal conclusions
5    termination claim.                          that are inappropriate subjects for a Rule
6                                                56.1 statement.    Plaintiff respectfully
7                                                refers the court to the cited portions of
8                                                the transcript of the deposition for its
9                                                complete and accurate contents.
10   22.    In response to his attempted         22. Disputed.      At the deposition in
11   introduction of Illicit Privileged          question, Plaintiff’s counsel made clear
12   Materials, FF’s attorney admonished         to   Defendant’s    counsel    that   the
13
     Liu’s counsel that such unauthorized        document in question contained no legal
14
     possession and use of FF’s privileged       advice and was not privileged.        See
15
     materials not only violates the attorney-   Declaration of Lauren Grochow, Ex. 2
16
     client privilege, but also subjects Liu’s   (Ye Dep. Tr.) at 18:2-14.        Plaintiff
17
     counsel to disqualification under           respectfully refers the Court to its
18
     governing California law.                   responses to nos. 19 and 20 above.
19
                                                 Plaintiff further notes that Defendants’
20
                                                 alleged “uncontroverted facts” actually
21
                                                 contain legal conclusions that are
22
                                                 inappropriate subjects for a Rule 56.1
23
                                                 statement.   Plaintiff respectfully refers
24
                                                 the court to the cited portions of the
25
                                                 transcript of the deposition for its
26

27
                                                 complete and accurate contents.

28                                            19
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1            Moving Party’s Alleged                     Response to Opposition
2
             Uncontroverted Facts

3    23.    During the April 14, 2021            23. Disputed.     At the deposition in
4    deposition of Chaoying Deng (“Deng          question, Plaintiff’s counsel disputed
5    Deposition”), Liu’s counsel once again      that the document in question was
6    attempted to question the witness with      privileged. See Grochow Decl., Ex. 4 at
7    Illicit Privileged Materials—namely, a      98: 4-7.    Plaintiff respectfully refers
8    privileged communication between FF         the Court to its responses to nos. 19 and
9    and its outside legal counsel concerning    20 above.    Plaintiff further notes that
10   FF’s financial position.                    Defendants’ alleged “uncontroverted
11                                               facts” actually contain legal conclusions
12                                               that are inappropriate subjects for a Rule
13                                               56.1 statement.    Plaintiff respectfully
14
                                                 refers the court to the cited portions of
15
                                                 the transcript of the deposition for its
16
                                                 complete and accurate contents.
17
     24.    In response to FF’s attorney’s       24. Disputed.     At the deposition in
18
     objection and demand that all Illicit       question, Plaintiff’s counsel disputed
19
     Privileged Materials be immediately         that the document in question was
20
     returned and/or destroyed, Liu’s attorney   privileged. See Grochow Decl., Ex. 4 at
21
     admitted Liu’s use and intention to         98: 4-7.    Plaintiff respectfully refers
22
     further use FF’s privileged information     the Court to its responses to nos. 19 and
23
     “in support of” the Complaint’s “claim      20 above.    Plaintiff further notes that
24
     for retaliation.”                           Defendants’ alleged “uncontroverted
25
                                                 facts” actually contain legal conclusions
26

27
                                                 that are inappropriate subjects for a Rule

28                                            20
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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1           Moving Party’s Alleged                   Response to Opposition
2
            Uncontroverted Facts

3                                             56.1 statement.    Plaintiff respectfully
4                                             refers the court to the cited portions of
5                                             the transcript of the deposition for its
6                                             complete and accurate contents.
7    25.    The Complaint’s Seventh Cause     25.   Disputed.      The    Complaint’s
8    of Action for Declaratory Judgment       Seventh Cause of Action is not limited
9    against FF “seeks a declaratory judgment to the quotations that Defendants have
10   that under the terms of the Employment   excerpted.   Plaintiff respectfully refers
11   Agreement, [Liu] is owed $6,400,000 in   the Court to the Complaint in its
12   unpaid salary and bonus compensation     complete and accurate contents.       See
13
     and that his 20 million Smart King       ECF 1 at 27-28.
14
     options must be vested immediately.”
15

16

17
     Dated: May 18, 2021                      SEIDEN LAW GROUP LLP
18

19
                                              /s/ Amiad Kushner
20
                                              Amiad Kushner
21                                            Seiden Law Group LLP
                                              322 Eighth Avenue, Suite 1704
22
                                              New York, NY 10001
23                                            akushner@seidenlegal.com
24
                                              (212) 523-0686

25                                            Counsel for Plaintiff Hong Liu
26

27

28                                            21
      PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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     PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN OPPOSITION TO
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 9
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10   Hong Liu
                         UNITED STATES DISTRICT COURT FOR
11
                       THE CENTRAL DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13
     HONG LIU,
14                Plaintiff,
                                            Case No: 2:20-cv-08035-SVW-JPR
15

16                       v.                 DECLARATION OF HONG LIU
17
     FARADAY&FUTURE INC.,
18   SMART KINGLTD., JIAWEI
19   WANG, and CHAOYING DENG
20
                  Defendants.
21

22

23   FARADAY&FUTURE INC.,
24
                  Counterclaimant,
25

26                       v.
     HONG LIU,
27
                  Counter-Defendant.
28
                                                 1
                                 DECLARATION OF HONG LIU
                                CASE NO.: 2:20- CV-08035-SVW-JPR
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 1
     I, Hong (“Henry”) Liu, declare as follows:
 2
           1.     I am the Plaintiff in this action.   I have personal knowledge of the facts
 3
     stated in this Declaration. If called upon to do so, I would testify competently thereto.
 4
           2.     I submit this Declaration in opposition to Defendants’ motion for summary
 5
     judgment and in support of Plaintiff’s cross-motion for partial summary judgment.
 6
     At Mayer Brown, I Did No Legal Work for FF
 7
           3.     Between April 28, 2014 and February 7, 2018, I was a partner at Mayer
 8
     Brown LLP (“Mayer Brown”). Throughout my time at Mayer Brown, I was based in its
 9
     New York office. I am, and was while working at Mayer Brown, admitted to practice
10
     law in the state of New York. While at Mayer Brown I made $1.35 million in 2017.
11
           4.     While employed by Mayer Brown, I advised numerous clients on a wide
12

13
     range of matters. During my entire career at Mayer Brown, I never provided any legal

14
     advice to Faraday&Future Inc. (“FF”) on any matter. I never supervised the work of

15
     other Mayer Brown attorneys on any matter in which Mayer Brown represented FF.

16   While at Mayer Brown, I did not bill time to any matter in which Mayer Brown was
17   representing FF.
18         5.     At Mayer Brown, partners who originated a relationship with a particular
19   client were designated as the “billing partner” for matters on which Mayer Brown
20   represented any such client.    I was designated as the billing partner on twenty-four
21   client matters. I never served as the billing partner on any matter involving FF.
22   FF Approaches Me
23         6.     On October 15, 2017, Mr. Junmin “Michael” Wang invited me to visit FF’s
24   offices in California. In response to this invitation, on October 17 and 18, I met with
25   representatives of FF in Los Angeles, including FF’s Vice President of Capital Markets
26   Jiawei “Jerry” Wang, Michael Wang, FF’s Vice-President of Administration Chaoying
27
     Deng, and FF’s then CEO Yueting Jia.
28
                                                   2
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 1
           7.     During the October 17 and 18 meetings, Mr. Jia told me that it would be
 2
     advantageous to FF to have a person with my status and recognition. However, at that
 3
     time, although it was my impression that Mr. Jia desired me to consider joining FF, he
 4
     did not explicitly make any employment offer, and I did not entertain any discussion of
 5
     employment terms.
 6
           8.     At the time of the October 17 and 18 meetings, I understood that Mayer
 7
     Brown had previously done regulatory work for FF for which there was a substantial
 8
     unpaid balance (and that, at the time, Mayer Brown had suspended work for FF in light
 9
     of the unpaid balance). I learned that there were two previous engagement letters
10
     between Mayer Brown and FF, entered into in December 2015 and May 2017.
11
     Attached as Exhibit 1 is a true and correct copy of the May 31, 2017 engagement letter
12

13
     and attached as Exhibit 2 is a true and correct copy of the December 22, 2015

14
     engagement letter. I also understood that Mr. Phil Recht, a Mayer Brown partner based

15
     in its Los Angeles office, had supervised these engagements.

16         9.     During my October 17 and 18 visits to FF’s offices, Mr. Jia indicated that
17   FF would pay past due balances on Mayer Brown’s invoices. Mr. Jia also asked me to
18   send a proposal to FF regarding Mayer Brown’s potential representation of FF on new
19   matters, including a potential series A financing.
20         10.    On October 20, 2017, in response to Mr. Jia’s request, I sent an email to FF
21   attaching an unsigned draft engagement letter and proposed work plan. Attached as
22   Exhibit 3 is a true and correct copy of this email. For over two months, FF did not sign
23   this document.
24   FF Sends me a Draft Term Sheet for the Employment Agreement
25         11.    Shortly after I sent the above-referenced draft engagement letter on October
26   20, 2017, Jerry Wang reached out to me to discuss whether I would be interested in
27
     working at FF.
28
                                                   3
                                   DECLARATION OF HONG LIU
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 1
           12.    On October 25, 2017, Mr. Wang sent me an email with two attachments.
 2
     The first attachment was a document entitled “DRAFT EMPLOYMENT
 3
     AGREEMENT TERM SHEET FOR HENRY L.” (the “Term Sheet”).                         The second
 4
     attachment was an Excel spreadsheet containing information under the heading “FF
 5
     Option Valuation Estimation.”     (the “Option Valuation”).     Attached as Exhibit 4 is a
 6
     true and correct copy of this email and the two attachments.
 7
           13.    The Term Sheet contained a proposal for me to serve as “Vice Chairman
 8
     and Global General Counsel of FF Inc.”     See Exhibit 4 at 7. It contained a number of
 9
     proposed terms, including “Annual salary and bonus of US$900,000 per year,” and
10
     “20,000,000 (2%) of the fully diluted equity of the Company as stock option.”      See id.
11
     I did not solicit the proposed equity interests in the Term Sheet.
12

13
           14.    The Option Valuation contained a range of estimated values for the 2%

14
     equity stake that was referenced in the Term Sheet.      Id. at 5. The lowest estimated

15
     value was $42.8 million, which was labeled as the “Series A Value.” See id. The next

16   highest estimated value was between $100 and $150 million, which was labelled as the
17   “Series B Value.” See id. The next highest estimated value was $432 million to $648
18   million, which was labelled as the “IPO Value.”     See id. The highest estimated value
19   was $1 billion, which was labelled as the “IPO 3 years Value.”       See id.
20         15.    Between October 26 and 29, 2017, I had several conversations with Jerry
21   Wang in which I verbally advised him that FF should seek independent counsel in
22   connection with negotiating the terms of my potential employment at FF. During these
23   conversations, Jerry Wang repeatedly assured me that FF had its own in-house legal
24   department and would also seek advice from its outside counsel at Sidley Austin LLP in
25   connection with negotiating the terms of my potential employment.
26         16.    On October 29, 2017, Jerry Wang asked me to send him information
27
     concerning my compensation at Mayer Brown. I sent him my compensation package
28
                                                   4
                                   DECLARATION OF HONG LIU
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 1
     that same day with my resume in English and Chinese.      See Exhibit 5, a true and correct
 2
     copy of the October 29, 2017 email and its attachments.
 3
           17.   On November 2, 2017, Jerry Wang sent me a Chinese article and a message
 4
     stating “Dear Mr. Liu, please refer to the latest information above, recently there are
 5
     some negative rumors going on in China, these are all completely fake and I hope won’t
 6
     influence your judgment, appreciated and I sincerely look forward to your reply.”      See
 7
     Exhibit 6, a true and correct copy of Jerry Wang and my conversation.
 8
           18.   Between November 2 and 15, 2017, I did not have substantive discussions
 9
     with FF concerning my potential employment. On November 16, 2017, Jerry Wang
10
     sent me an email with the subject line “FF US employment contract.” See Exhibit 7, a
11
     true and correct copy of the email and its attachments. The email contained multiple
12

13
     attachments, including an offer letter template (“the “Offer Template”). See generally

14
     id. at 4. Jerry Wang soon after sent me a message stating: “I’ve shared standard FF

15
     package for your view to your personal gmail address.”     See Exhibit 6

16         19.   After Jerry Wang sent me the Offer Template, I confirmed with him that I
17   should “fill those terms that we have so far agreed on and those we have been discussing
18   into the form letter agreement you provided.”   See Exhibit 6. Jerry Wang responded,
19   “Sounds good, thanks a lot Mr. Liu!”      See id.   During this time Jerry Wang and I
20   agreed to change the equity grant from 2% to 3%. On November 21, 2017, I emailed
21   Jerry Wang the employment contract (entitled “Term Sheet”) with the terms filled in
22   based on our prior discussions. Exhibit 7A is a true and correct copy of this email and
23   attachment. No further substantive discussions took place until December 29, 2017.
24   FF Sends the Executed Engagement Letter to Phil Recht at Mayer Brown
25
           20.   On December 22, 2017, Amanda Walker, FF’s Corporate Counsel, emailed
26
     Phil Recht FF’s signed Mayer Brown and FF engagement letter, which had been sent on
27
     October 20, 2017. FF did not update the date from October 20 to December 22, 2017.
28
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 1
     Ms. Walker stated in her December 22, 2017 email: “Attached please also find the
 2
     supplemental engagement letter that one of your colleagues had requested back in
 3
     October to reinitiate the engagement.” See Exhibit 8. I was not copied on this email.
 4
     See id. Later that day, Phil Recht forwarded me the engagement letter and I signed it.
 5
     The fully executed agreement was sent later that day to FF.
 6
     FF’s Human Resources Team, In-House Attorneys and Sidley Austin LLP,
 7   Negotiate the Terms of My Employment
 8
           21.   On December 29, 2017, Jerry Wang called me and invited me to visit FF’s
 9
     offices in California on January 10, 2018. On January 1, 2018, Mr. Wang then emailed
10
     me and attached an updated term sheet contract in clean and redline form. See Exhibit
11
     9. Mr. Wang’s email stated, “Happy New Year! Please refer to attachment comments
12
     based on our discussion and previous term sheet, please let me know your feedback and
13
     sincerely look forward to partnership!” See Exhibit 9.
14
           22.   On January 10, 2018, I met in person with Mr. Jia, who was then CEO of
15
     FF, and it was there that Mr. Jia divided my compensation package into two agreements:
16
     the Stock Transfer Agreement (which eventually became the Director Compensation
17

18
     Agreement between Mr. Jia and me) and the Employment Agreement (between FF and

19
     me). The equity interest that was promised to me was subdivided between the two

20   agreements. See Exhibit 10, a true and correct copy of an email with my equity interest
21   divided between the two agreements. Mr. Jia was not a client of Mayer Brown; while I
22   worked at Mayer Brown, I never provided him with legal advice.
23         23.   Between January 10 and January 26, 2018, Mr. Wang and I exchanged
24   multiple drafts of the Employment Agreement and Stock Transfer Agreement.
25   Throughout my negotiations with FF I was told by Mr. Wang that FF’s in house
26   attorneys, FF’s outside counsel Sidley Austin LLP, and FF’s Human Resources (“HR”)
27   team were reviewing both agreements. On January 22, 2018, Jerry Wang told me “Thank
28
                                                  6
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 1
     you, manager Liu, for accepting my modifications to the Employment Agreement. I
 2
     no longer have any issues with this agreement. Ultimately the HR director DG will need
 3
     to review it. If he also does not have any other issue with it, we can then finalize it.”
 4
     Attached is Exhibit 11, a true and correct copy of the translated message. On January
 5
     25, 2018, I was told in writing that FF’s internal Legal Department was “working closely
 6
     with HR in doing the final review.”      See Exhibit 12, a true and correct copy of the
 7
     translated message. On January 26, 2018, I was told that “Sidley’s company partner
 8
     VJ is reviewing this agreement for us right now to make sure there is no violation of any
 9
     stipulations with investors.” See Exhibit 13, a true and correct copy of the translated
10
     message. On January 26, 2018, Jerry Wang sent a message to myself and Wentao Huang,
11
     a lawyer who worked in FF’s legal department, “Many thanks to Mr. Huang for your
12

13
     coordination for the term(s) of the employment contract(s).” See Exhibit 14, a true and

14
     correct copy of the translated message exchange between Jerry Wang, Wentao Huang,

15
     and myself.

16         24.     Late in the day on January 26, 2018, I signed my Employment Agreement
17   dated January 25, 2018, and emailed the executed agreement to Jerry Wang. See Exhibit
18   15, a true and correct copy of the email correspondence and attachments. FF sent me
19   back the countersigned agreement that same day. See Exhibit 16, a true and correct copy
20   of the email exchange and attachments.
21         25.     However, my compensation and employment terms were not yet complete.
22   Between January 26 and February 2, 2018, Jerry Wang and I had extensive negotiations
23   over the Stock Transfer Agreement. Sidley Austin LLP, FF’s external counsel, through
24   Jerry Wang, continued to be involved in the drafting process. On January 30, 2018, Jerry
25   Wang sent me an updated redline of the Stock Transfer Agreement and told me to
26   “Please take a look this version drafted by company external counsel Sidley, and I make
27
     it clear to make it unchanged as much as possible and reflect all business terms that we
28
                                                  7
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 1
     mutually agreed. Please let me know if we need to do a call to explain further, and
 2
     Sidley is happy to arrange a conference call together with us to walk through and discuss
 3
     solutions.”    See Exhibit 17, a true and correct copy of the email exchange and
 4
     attachments. The Stock Transfer Agreement was completely revised by Sidley Austin
 5
     LLP and its title had changed to the Director Compensation Agreement. See id.
 6
           26.     Later on January 30, 2018, I applied edits to the Director Compensation
 7
     Agreement and sent Jerry Wang a revised version. Jerry Wang responded with new edits
 8
     and told me “please let me know if you would like to schedule a call with Sidley to
 9
     briefly discuss how to best describe the specific amount.” See Exhibit 18, a true and
10
     correct copy of the email exchange and attachments. At 10:33 PM, on January 30, 2018,
11
     after further negotiations, Jerry Wang sent me comments on the Director’s
12

13
     Compensation Agreement and told me “if you think it is fine I will forward to Sidley

14
     and discuss with them.” See Exhibit 19, a true and correct copy of the email exchange

15
     and attachments.

16         27.     After further exchanges of drafts of the Director Compensation Agreement
17   between Jerry Wang and I, on February 1, 2018, Jerry Wang passed along what he
18   described as a comment from Sidley: “thanks Jerry – this is better, but still carries
19   moderate risk of breach of the shareholders agreement (and will have to be disclosed in
20   connection with an IPO).” See Exhibit 20, a true and correct copy of the email exchange
21   and attachments.
22         28.     On February 2, 2018, Mr. Jia and I signed the Directors Compensation
23   Agreement and I emailed Jerry Wang my executed copy. See Exhibit 21, a true and
24   correct copy of the email exchange and attachments. On February 7, 2018, I officially
25   resigned from my partnership at Mayer Brown. See Exhibit 22.
26

27

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 1
     I Begin Working At FF
 2
           29.    After signing the Employment Agreement and Director Compensation
 3
     Agreement, I relocated with my family from New York to California and began working
 4
     at FF on February 15, 2018.
 5
           30.    Within my first week on the job, FF assisted me in registering with the State
 6
     Bar of California as in-house counsel, which occured on April 17, 2018. See Exhibit 23,
 7
     a true and correct copy of the email exchange between Sandy Gilliam of FF and myself;
 8
     see also Exhibit 24, a true and correct copy of my certificate of registration for in-house
 9
     counsel with FF.
10
           31.    My job duties at FF included leading the legal affairs and coordinating
11
     administrative functions of FF, including but not limited to overseeing the expansion of
12

13
     the legal team, managing the development of policies and procedures, hiring additional

14
     in-house lawyers to enhance the FF legal department, and coordinating external counsels

15
     and internal litigations.

16         32.    On August 1, 2018, FF issued a press release formally announcing my
17   hiring. See Exhibit 25, a true and correct copy of the August 1, 2018 press release.
18         33.    On or about October 25, 2018, I was informed that my 20,000,000 options
19   were entered into FF’s stock option system provided by a third party, Solium.       In late
20   October 2018, Smart King’s board of directors passed a resolution granting my
21   20,000,000 options in Smart King pursuant to the Employment Agreement.              On or
22   about January 2019, I confirmed online that my options had been issued.        See Exhibit
23   26, a true and correct copy of the confirmation that my options had been issued.
24   My Attempts to Stop Illegal Work-Place Violations & Advise FF Through The
25   Evergrande Dispute
26         34.       My work at FF included helping FF when its largest investor,
27   Evergrande, backed out of its funding commitment in August 2018 (the “Evergrande
28
                                                    9
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 1
     Dispute”).    Because of the Evergrande Dispute, FF, specifically Mr. Jia, planned
 2
     furloughs and mass layoffs. I directed my legal team to write memos on the best practices
 3
     under California law before termination in compliance with the Worker Adjustment and
 4
     Retraining Notification Act (“WARN Act”), which requires 60-day notice to employees
 5
     before mass terminations, as well as what the requirements of Smart King’s board were
 6
     to comply with their fiduciary duties. See, e.g., Exhibit 27, a true and correct copy of an
 7
     email exchange in which I had my advice on the WARN Act reflected in the Board of
 8
     Directors meeting minutes.
 9
           35.    Another issue that I raised concerned Mr. Jia’s practice and commandment
10
     that all management meetings be recorded. At my request, a memo was prepared
11
     outlining why Mr. Jia’s request ran afoul of California law. A true and correct copy of
12

13
     an email reflecting this memo is attached hereto as Exhibit 28. Mr. Jia ignored the

14
     recommendations.

15
           36.    During the month of October 2018, as Mr. Jia refused to comply with

16   California law, multiple core management team and FF Board members, including FF’s
17   co-founder Nick Sampson and I, recommended that Mr. Jia be removed as CEO. At FF’s
18   management meeting in late October 2018, I suggested to Mr. Jia that he should step
19   down to help save the company. In response, Mr. Jia stripped me of my Global General
20   Counsel position and began to remove me from many important actions within the
21   company. Other senior management members, including Mr. Sampson, quit, or were
22   forced to resign, or were effectively fired in direct response to the request for Mr. Jia to
23   step down as CEO.
24         37.     While after October 2018 I no longer held my Global General Counsel
25   position title and no longer was included as a legal counsel at legal department meetings,
26   I continued to report on and try to correct workplace violations. These ongoing violations
27
     included, but were not limited to, secret recordings of office meetings in violation of
28
                                                   10
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 1
     California law and violations of the WARN Act and/or labor laws. The multiple memos
 2
     I had written by my team on these issues were never seriously considered by FF. My
 3
     duties being stripped and my advice not being taken eventually culminated with me
 4
     sending an email to Yueting Jia himself on January 23, 2019. The email stated that:
 5
                 As is widely known, at least since October 2018, my
 6               management responsibilities have been continuously reduced,
 7               removed and replaced by you, and my authority and support
                 in performing my duties have also diminished, all without my
 8
                 advance knowledge or agreement. I have been very concerned
 9               about these actions, and I have protested to you many times
                 during our past conversations. I have previously expressed to
10
                 you my grave concern regarding the company’s failure to
11               comply with the laws of the State of California and the United
12
                 States, as well as the company’s failure to build a best practice
                 in corporate governance. For example, I have directly
13               expressed my views to you and others at the company on how
14               to best comply with laws regarding many company practices,
                 including but not limited to, your improper authorization of
15               the recording of meetings without required consent;
16               immigration and work permit compliance issues which you
                 have ignored; failing to adequately investigate sexual
17
                 harassment complaints against management especially your
18               close associates; retaliation against employees who have
                 raised concerns regarding financial issues; and timely
19
                 compliance with the WARN Act. I have also constantly
20               reminded you to resolve your personal situations as someone
21
                 identified as a repeated “Dishonest Person” by the Chinese
                 courts, and to try to resolve your numerous personal lawsuits.
22               I have also advised you to address the reports about your other
23               possible legal issues and financing dealings, including the
                 surprise visits by the US FBI to you in May 2018, so that these
24
                 issues will not hurt the company and its stakeholders including
25               you yourself. I sincerely wish that you had not and would not
                 retaliate against me for what I have done in performing my
26
                 responsibilities and duties.
27
     See Exhibit 29, a true and correct copy of the email exchange.
28
                                                  11
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 1

 2         38.     I was terminated from my position without being given any cause roughly
 3   three weeks later on February 11, 2019. Mr. Jia told me during my termination meeting
 4   that my effort and suggestion to remove Mr. Jia and save the company was the reason
 5   for my termination. Defendants now suggest something different: in their most recent
 6   counterclaims, they claim to have terminated me because, among other reasons, I failed
 7   to advise on the WARN Act and with respect to recording management meetings. As set
 8   forth above, these allegations are demonstrably false.
 9
           39.    After my termination, FF never vested my 20,000,000 Smart King Options.
10
     I was never paid $2.4 million of my $3 million signing bonus and I was never paid the
11
     remaining $4 million of my $5 million guaranteed base salary over the five year
12
     employment term in the Employment Agreement.
13
           I declare under penalty of perjury that the foregoing is, to the best of my
14
     knowledge and belief, true and correct.
15

16
     Dated:       May 18, 2021
                                               /s/ Hong Liu
17                                             Hong Liu
18

19

20

21

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                                                  12
                                  DECLARATION OF HONG LIU
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                       Exhibit 1
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                                                                                                   MAYER*BROWN
                                                                                                                                    Mayer Brown LLP
                                                                                                                           350 South Grand Avenue
                                                                                                                                            25th Floor
                                                                                                                  Los Angeles, California 90071-1503

                                                                                                                           Main Tel +1 213 229 9500
    May 31, 2017                                                                                                           Main Fax +1 243 625 0248
                                                                                                                                       mayerbrown.com
                                                                                                                                       Philip Recht
                                                                                                                          Direct Tel +1 213 229 9512
                                                                                                                          Direct Fax +1 213 576 8140
                                                                                                                               precht@mayerbrown.com
    Kevin Vincent
    FF Global Holdings Ltd.
    Faraday Future
    18455 South Figueroa Street
    Gardena, California 90248


    Dear Mr. Vincent:

            This letter confirms our agreement that FF Global Holdings Ltd. and its wholly-owned
    subsidiary Faraday Future (collectively the "Clients" and each a “Client”) have engaged Mayer
    Brown LLP, a limited liability partnership established in the United States (the “Firm’”), to
    provide Clients preliminary oral advice concerning the application of state law in California,
    New York, Florida, Washington, and Texas to Clients’ proposed subscription vehicle rental plan,
    all as more fully described in Kevin Vincent’s email to me dated May 17, 2017 (the “Matter”).

            This letter and the International Terms of Business dated January 2015 (the “International
    Terms”), which are enclosed, govern our ongoing relationship in all matters and supersede all
    existing agreements or understandings to the contrary with the following two exceptions: (1) the
    language in parentheses in the first sentence of Section A.9.5 of the International Terms is
    deleted and the following is inserted in lieu thereof: “(including in transactions, bankruptcy and
    insolvency, but excluding any arbitration or litigation unless Client agrees in writing)”, and (2)
    Section II of the Schedule of Non-fee Charges to Clients is deleted.

                engagement on your behalf is limited to the Matter and only to those additional
              Our
    specific matters which we from time to time explicitly agree to undertake. We expect that each
    subsequent undertaking by the Firm will be described in writing.
             I will be responsible for this representation and will use other attorneys and professionals
    of the Firm as appropriate and cost-effective for Clients. The Firm’s fees for services are based
    on time (in quarter hour increments, except if our fees require court approval they may have to
    be calculated to the nearest tenth of an hour) spent on specific projects, computed at our hourly
    rates, discounted by 10%, for those persons performing the services. The Firm’s fees for the
    Matter will be capped at $22,500. Hourly rates are subject to adjustment by the Firm from time
    to time, including for associate level class progressions and promotions of lawyers from one rank
    to the next (e.g., from associate to partner).

       Mayer Brown LLP operates in combination with other Mayer Brown entities (the "Mayer Brown Practices"), which have offices in North America,
                          Europe and Asia and are associated with Tauil & Chequer Advogados, a Brazilian law partnership.
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                                                                                                                                                         HLIU003592
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    Mr. Kevin Vincent
   May 31, 2017
   Page 2
           As    retainer you agree to pay the Firm upon the execution of this letter the sum of US
   $10,000.00. The retainer you are paying is agreed between us to bea security retainer. The
   retainer will be deposited into a pooled client trust account. Under Illinois law, any interest
   earned on this account is paid to the Lawyers Trust Fund of Illinois. Retainer funds shall remain
   the property of Clients unless and until applied to invoices for fees and costs. We agree to apply
   the retainer to our final invoice as long as you have timely paid all periodic invoices to which
   you have not objected in writing within 15 days after receipt of said invoice. The Firm reserves
   the right, however, to apply the retainer to any unpaid invoices and you agree to replenish the
   retainer up to the original deposited amount at the Firm’s request. Any balance remaining in the
   retainer after the Matter is completed will be refunded promptly.

             The Clients acknowledges a substantial relationship with the Firm’s office in Chicago,
    Illinois and consents to our depositing the security retainer in a pooled trust account maintained
    by us at Bank of America, 135 South LaSalle Street, Chicago, Illinois.
           Each of the  undersigned confirms that he or she is authorized to sign this letter on behalf
    of the applicable party specified below.

           If you have any   questions, please call me.  If you want us to proceed on your behalf,
    please acknowledge your agreement with the terms of our relationship by signing and returning
    to me the enclosed copy of this letter. In any event, please note that the Clients’ directing us or
    continuing to direct us to proceed on their behalf will constitute full acceptance of the terms
    contained in this letter and in the International Terms.

   Hl

   Hl

    Mf




    Mf




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    Mr. Kevin Vincent
   May 31, 2017
   Page 3
   Very truly yours,


    Phitip Rech

    AGREED:



    FF Global   Holdings Ltd., a Cayman Islands company


            Ole, Put
   Name Printed:     () fleviaA Viac eal
    Its:

   Date:
             Moy       ol, LO
    Faraday Future, a


   By:       Q. Ke            aint
    Name Printed:       2,le In Viucea
                             v

   Its:    Directo       K hep lato Safety Afar
   Date:
             [hog.3               Z
    CC:      James J. Held




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                                             Mayer Brown LLP U. S. Offices
                                        Schedule of Non-fee Charges to Clients

                                                      August, 2015
    1          Long Distance Telephone.
    We     purchase our long-distance telephone service from telecommunications providers at
    discounted rates. We      charge clients at rates calculated to recover our cost.
   II.         Automated Research.

    We     purchase services from Lexis and Westlaw at fixed monthly rates which are substantially
    below their published rates. We          charge clients for the Lexis and Westlaw connections at rates
    calculated to      recover our   cost.


    III.       Third   Party Expenses.
    When      possible, the Client agrees to contract directly with local counsel, experts and/or
    consultants     (“Third Party Servicers”).     In the event that the Firm engages   a   Third   Party Servicer
    on     behalf, or for the benefit, of the Client or jointly with the Client, the Client agrees that (a) the

    Firm and/or Client will instruct the Third Party Servicer to look solely to the Client and not the
    Firm for any payments        owing to said Third Party Servicer or (b) the Client will provide currently
    available funds to the Firm in the amount of any          approved outstanding Third Party Servicer
    invoice     prior to the time that payment of such invoice to the Third Party Servicer is due.
    Notwithstanding the above, if the Firm does advance or pay any Third Party Servicer expense on
    behalf, or for the benefit, of the Client, the Client agrees to reimburse the Firm promptly for any
    such expense.

    IV.        Document     Reproduction.
    We      charge clients for standard-size internal black and white copies at the rate of $.15 per page.
    We      charge clients for standard-size internal color document reproduction (if specifically

                                                            sale
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                                                                                                                     HLIU003595
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    requested by clients) at the rate of $1.00 per page. We currently reproduce documents using
    photocopiers, laser printers, and digital copiers, and may in the future use other means of
    reproduction. Outside copying is charged at actual out-of-pocket cost.
   V.          Secretarial, Word Processing and Proofreading Services.
    We    accrue   for client accounts document preparation           charges at the rate of $120 per hour for
    word processors and secretaries           generally when documents (originals or amendments) of over 10
    pages are prepared or for secretarial overtime.              Proofreading services accrue at the rate of $140
    per hour.

    VI.        Mayer Brown Provided Electronic Discovery Services.
    To the extent that the Client elects to host electronic           discovery information on the Firm’s
    Electronic     Discovery Services (“EDS”) servers, we charge a monthly comprehensive services fee
    for hosting and        supporting that data.    We calculate this      charge for each month based on the data
    volume residing on the EDS            servers   at the end   of such   month, at a rate of $65 per gigabyte

    (“GB”), which covers EDS department expenses relating to that internally supported data,

    including any hosting expenses, processing, handling, and response to case team or client needs.
    VI.        Postage.
    We    charge clients at cost for postage when the cost of mailing is $1.00 or more.
    VU.        Out-of-pocket Disbursements.
    The     following types of disbursements when related to a client matter are charged at the Firm’s
    cost:

                       Advances      on   behalf of clients   (e.g., tax payments, filing fees, title
                              charges)
                       Courier and messenger services
                       Court reporters
                       Equipment when purchased solely for a client matter
                       Meals




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                      Outside services (including cost of litigation support services
                         purchased from outside vendors)
                      Service of process
                      Records searches
                      Supplies (when amounts are large or type of supply item is special)
                      Tax return   processing charges
                      Taxis, mileage, parking (local)
                      Travel (airfares, hotels, meals, car rentals, fees of travel agencies
                          and professionals, taxis and incidentals)*
                      Trial exhibits
                      Witness fees and costs
                      Other items not covered above that are directly attributable to   a
                          client matter

                     *When our independent travel agency of record is used to book
                        airfare there is a fee charged of not more than $32 per
                        reservation.
    IX.   —   Items Not Charged to Clients.

                      Administrative overhead
                      Air conditioning and electricity for overtime work
                      Client entertainment
                      Local and suburban telephone calls
                      Rent for conference rooms
                      Telefax services




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                                                                                                                            MAYER*BROWN




             International Terms of Business
                                                                                                                                                          January 2015
A. General Terms                                                                    Our services ina transaction are limited to advising on legal issues arising in the

                                                                                    negotiation, documenting and closing the transaction and do not include giving
1,            Introduction                                                          you financial   or   business advice   as   to the merits of the transaction.

Mayer      Brown is   global services provider. The Mayer Brown legal services
                      a                                                             Upon completion of our work on a Particular Matter, we will not update you on
providers (the "Mayer Brown Practices") are: Mayer Brown LLP (the "US LLP")         legal developments related to such Particular Matter unless we have agreed to
and Mayer Brown Europe-Brussels LLP, both limited liability partnerships            do so in our Engagement Letter.
established in Illinois USA; Mayer Brown International LLP (the "UK LLP”), a
limited liability partnership incorporated in England and Wales (authorized and     1.3          Authority to instruct us and receive advice
regulated by the Solicitors Regulation Authority and registered in England and      Where our client is an entity, we will assume that any of its personnel who
Wales number OC 303359); Mayer Brown,              SELAS established in France;     gives instructions to us has authority to do so and to receive advice on behalf of
Mayer Brown Mexico, S.C., a sociedad civil formed under the laws of the State       the entity, unless you tell us otherwise in writing.
of Durango, Mexico; Mayer Brown JSM, a Hong Kong partnership and its
associated legal practices in Asia (the “HK Partnership”); Tauil & Chequer          1.4          Joint ventures,   partnerships, trade associations, etc.
Advogados, a Brazilian law partnership with which Mayer Brown is associated;        If you are a trade association, partnership, joint venture or similar joint entity
and any other entities which become Mayer Brown Practices. The Mayer                only that entity will be our client and, unless otherwise agreed in writing, we
Brown non-legal service providers are Mayer Brown Consulting (Singapore) Pte.       will only represent it and not its individual members, venturers or partners.
Ltd and its subsidiary, which provide customs and trade advisory and
consultancy services.                                                               1.5          Affiliates

These international terms (the “Internationa! Terms”) are      general terms
                                                                the                 We     only representthe entity named in the Engagement Letter and not its
that govern the relationship between each or any Mayer Brown Practice and           stockholders or other Affiliates (as defined in part A paragraph 18) and
                                                                                    therefore we are able to represent another client with interests adverse to
you. Additional terms may apply to the services provided by specific Mayer
Brown Practices in a Particular Matter (as defined below). In these                 your stockholders or other Affiliates without obtaining consent from you. Even
International Terms, “we” or “us” means the Mayer Brown Practice providing          if you choose to give us confidential information about any Affiliate, this will
                                                                                    not of itself create a lawyer-client relationship between the Affiliate and any
you with services in any specific matter and “you” means the person or entity
to whom we provide our services.                                                    Mayer Brown Practice.
When you instruct         or   engage any Mayer   Brown Practice on a new matter    2.           Charges
(“Particular Matter’),          we    normally confirm your instructions or
                                     will
                                                                                    2.1
engagement in writing (an “Engagement Letter’). These International Terms
                                                                                                 Your    agreement to pay
and the Engagement Letter (which may include the additional terms relating to       You will pay the fees and other charges billed by the Principal Mayer Brown
a Particular Matter), if any, together form the contract (the “Engagement           Practice and, where appropriate, any other Mayer Brown Practice. Unless
Contract”) between you and the Mayer Brown Practice specified in the                otherwise agreed in writing, you are required to pay such fees and charges
Engagement Letter (the “Principal Mayer Brown Practice”), The Principal             whether or not a Particular Matter proceeds to closing or is otherwise
Mayer Brown Practice may, as agent on your behalf, engage another Mayer             concluded in the ordinary course.
Brown Practice to work alongside it on a Particular Matter, if appropriate.
You are only a client of a Mayer Brown Practice in a Particular Matter if that
                                                                                    2.2          Professional fees

Mayer Brown Practice is providing services to you in such Particular Matter,
                                                                                    Unless otherwise   agreed in writing, our fees will be based principally on the
and no Mayer Brown Practice will have liability in Particular Matters where it is
                                                                                    time   wespend on your matter. From time to time, we review our hourly rates
                                                                                    and we will notify you in writing of any increase in rates that (unless otherwise
not providing services.
                                                                                    agreed) will be applicable to the Particular Matter. If contract lawyers or
Each Mayer Brown Practice will apply the applicable local professional conduct      paraprofessionals are assigned to work on any Particular Matter, whether or
rules in the Particular Matter for which it is engaged.                             not they are employed through an independent agency, the Mayer Brown
                                                                                    Practice will charge you hourly rates based upon its then hourly rates for Mayer
1.1           Our services
                                                                                    Brown lawyers and paraprofessionals with similar experience and
1.2           Scope of our services                                                 qualifications.
The scope of our services in a Particular Matter will be limited to those           After consultation, our fees may additionally take account of other factors
described in the related Engagement Letter and to any additional tasks in such      including the complexity or urgency of the matter, the specialized knowledge
Particular Matter that we accept in writing.                                        and skill required and, if appropriate, the value of the property or subject
                                                                                    matter involved and overall outcome.
We will not advise on the tax or insurance implications     (including
                                                                    coverage) of
any Particular Matter or course of action in any Particular Matter or provide       Applicable sales or service taxes will be added to your bill where appropriate.
notices to insurers or re-insurers unless (and then only to the extent) agreed in
writing.




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Without   limiting any other provision in this part A paragraph 2.2, you will pay         4.              File and information       management
us at our  hourly rates (as adjusted from time to time) for activities incidental to
our representation of you, whether during or after the termination of the                 41              Format and retention of files
lawyer-client relationship. This includes, but is not limited to, our time spent          We  keep our files partly in paper form and partly in electronic form.
responding to subpoenas, searching for and producing documents, preparing                 Unless otherwise agreed in writing, once the Particular Matter is closed we will
for testimony and testifying, and otherwise dealing with your requests or third
                                                                                          retain the related files in accordance with applicable professional conduct rules
party claims or actions relating to a matter we are handling or have handled for          and our then effective records retention policy. At the end of the retention
you.    You will also       reimburse us for all reasonable expenses and other
                          pay   or

charges in connection with   such incidental activities, including, but not limited       period we may dispose of the files without notice to you. We will not destroy
to, the fees of outside counsel that we retain.                                           original signed documents we have agreed in writing to deposit in safe custody
                                                                                          or documents we are required to retain as a matter of law or by our regulators.
2.3           Estimate of fees
                                                                                          4.2             Costs of retrieval of files and documents from      storage
An estimate is our indication of our likely charges for a Particular Matter and is
based on the information known at the time the estimate is given. Unless we               lf, after   aParticular Matter is closed, you ask us to retrieve any material
agree otherwise in writing, any estimate does not amount to a promise or                  belonging to you from the file we will do so without passing on the direct cost
                                                                                          of retrieval. However, we may charge you for time spent in complying with
agreement that we will          perform
                                  our services within a fixed time or for a fixed
or   capped
          fee. An estimate is subject to revision and is not binding on us.               your request and answering any inquiries from you. We may also charge for
                                                                                          delivery to you of any materials.
2.4           Fixed fees
                                                                                          4.3             Copyright
A fixed fee is an agreement by us in writing to render services in a Particular
Matter for a stated fee. Unless otherwise agreed in writing, if we agree to a             Unless otherwise agreed in writing, the copyright in the original materials we
fixed fee and undertake work outside the agreed scope of the Particular                   produce for you belongs to us. The fees you pay for our work, however, permit
Matter, we will charge for the additional work on the basis referred to in part A         you to make use of such materials for the purpose for which they are created.
paragraph 2.2.                                                                            5.              Termination
2.5           Expenses                                                                    5.1             Your right to terminate
Unless we agree otherwise, we will instruct third parties that we engage on                         terminate our acting for you
                                                                                          You may                                      in   any Particular   Matter at   any time   by
your behalf to seek payment from you directly and we will have no liability for           giving us notice in writing.
amounts owing to the third party from you. If we incur or pay certain expenses
on your behalf in connection with an Engagement Contract, including but not               5.2             Our right to terminate
limited to third party fees, court fees, stamp duty, registration or search fees,                  to any limitations in applicable professional conduct rules, we may
                                                                                          Subject
they will be payable by you as a charge in addition to our fees and other non-            terminate acting for you in any Particular Matter at any time by giving you
fee charges in each Particular Matter and, unless we agree otherwise, you will            notice in writing.
provide us with funds in advance to pay those expenses. Non-fee charges may
include photocopying, telephone charges and other charges notified by the                 5.3          Payment of fees and expenses on termination
Mayer Brown Practice. Additional sales or service taxes may be payable by you             You must pay     our outstanding fees and expenses (and those accrued but not
on some     of these expenses,
                                                                                          yet billed) if you or we terminate our Engagement Contract in connection with
                                                                                              Particular Matter.
3.            Billing arrangements and settlement of our accounts                         a


3.1           Our bills                                                                   5.4       Timing of termination of an engagement
We may send you bills at monthly or other intervals while your Particular                 Unless otherwise agreed in writing, an Engagement Contract in connection with
Matter is in progress and in any event upon completion of the Particular                  a Particular Matter will come to an end or be deemed to have come to an end
Matter.                                                                                   at the completion of our legal work in the Particular Matter or, if earlier, 12
                                                                                          months after the relevant Mayer Brown Practice fast rendered any billable
3.2           Payment of full amount                                                      services to you on the Particular Matter. The lawyer-client relationship
                                                                                          between you and the relevant Mayer Brown Practice will terminate at that
Our bills must be        paid
                         without any deduction or withholding on account of
taxes or charges of any nature. If a deduction or withholding is required by law          point unless the relevant Mayer Brown Practice is providing other services
                                                                                          under an Engagement Contract in another Particular Matter that has not then
you must pay such additional amount as is necessary so that we receive the full
amount of our bill. We also may issue a bill in which our fees are grossed up to          terminated or been deemed to have been terminated. Even if we inform you
account for such deduction or withholding.                                                of developments in the law by newsletters or similar alerts, or we or persons
                                                                                          associated with us are named as (or become) a recipient of a notice on your
3.3           Interest                                                                    behalf, this will not create or revive any lawyer-client relationship.
Each of     bills must be paid within 30 days after the date the bill is sent. We
           our                                                                            In some Mayer Brown Practices, we may maintain a system to calendar due
may     chargeinterest on any outstanding amount from the due date for                    dates for the payment of maintenance and/or annuity fees relating to, or the
payment until the bill is paid in full at a rate per annum equal to four percent          renewal dates for the preservation of certain legal rights attaching to,
plus the most currently available US Government 10 year yield as quoted in the            intellectual property. In connection with this system, we may notify the person
Financial Times (such yield to start on the due date for payment and adjusted             or entity listed in our records as the holder of such rights of the necessity of
every 30 days thereafter based on the then most current quote of yield).                  paying maintenance and/or annuity fees or obtaining a renewal in order to
                                                                                          preserve such rights. Neither the maintenance of such system nor any such
3.4           Charges of other Mayer Brown Practices                                      notification or renewal will constitute the provision of services for the purposes
The    Principal Mayer Brown Practice may engage another Mayer Brown Practice             of determining whether there is a continuing lawyer-client relationship.
on  your behalf. If so, each Mayer Brown Practice may issue separate bills or
the fees and expenses of other Mayer Brown Practices may be included ina bill             6.              Communication
issued by the Principal Mayer Brown Practice. Such fees and expenses may be               6.1             Use of email
expressed as a separate disbursement to meet local requirements.
                                                                                          We may communicate with         you   by email unless you ask us not to.
3.5           Liability for our fees                                                      We   prefer      encrypt email that we send to you (whether it contains
                                                                                                           to
If we agree to accept payment of our fees and expenses from       a   third   party you   confidential information or not), provided we are able to implement mutually
will remain liable to us for them in the event of non-payment.                            acceptable encryption standards and protocols.




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You are responsible for protecting your system from viruses and any other                               our work may not be used or relied on by any third party, even          if such third
harmful codes or devices. We try to eliminate them from email and                                       party may have agreed to pay our bill.
attachments but we do not accept liability for any that remain.
                                                                                                       9.         Confidentiality, disclosure and conflicts
We may monitor or access any or all email sent to us. In addition, we scan
incoming email for spam, viruses and other undesirable material, which may                              9.1          Confidentiality and disclosure
mean that email communications do not reach the intended recipient.                                     We owe you a duty of confidentiality in respect of information relating to you
Therefore, you should always follow up each important email by contacting the                           that we obtain while dealing with your matters. We will not disclose such
person to whom it has been sent.                                                                        information except in the circumstances set out in this part A paragraph 9 or
6.2           Marketing materials                                                                       otherwise as required or permitted by the            applicable professional
                                                                                                                                                                                 conduct
                                                                                                        rules. We owe the same duty of confidentiality to all our clients. Accordingly,
We                                  you with details relating to the Mayer
        may from time to time provide                                                                   if at any time we possess information in respect of which we owe a duty of
Brown Practices and the services we            including updates on legal
                                                      provide,                                          confidentiality to a former or another current client, we will not be required to
developments.  If at any time you do not wish to receive that information,                              disclose such information to you nor use it on your behalf even though the
please tell us,                                                                                         information may be material to your Particular Matter.

7.             Money laundering and other notification to                                               9.2          Disclosure to certain third   parties
               authorities                                                                              Our duty to keep confidential information relating to you or your Particular
                                                                                                        Matter on which we are acting, or have acted, for you is subject to any
7.1                         regulators and consent
               Notifications to
                                                                                                        disclosures we consider in good faith we are required to make to any police,
In many jurisdictions          we operate, we are required by law or regulators
                             in which
to put in place procedures to prevent money laundering. If we know or suspect
                                                                                                        governmental, regulatory or supervisory authority under any statutory or
                                                                                                        regulatory obligations (including those described in part A paragraph 7 (Money
(or have reasonable grounds for suspecting) that a matter or transaction                                laundering and other notification to authorities) or in accordance with any
involves money laundering we may, in accordance with our statutory                                      internal procedures that we have put in place to meet those obligations.
obligations and those procedures, be required to make a notification of our
knowledge or suspicion to the relevant regulatory authorities.                                          We   may, when required by our insurers, auditors or other professional advisers
In certain jurisdictions, rules or regulations require taxpayers engaging in
                                                                                                        (including independent counsel or debt collection agencies) provide to them
                                                                                                        information relating to you or details of a Particular Matter or Matters on
certain types of transactions to disclose their participation in such transactions                      which we are acting or have acted for you.
to the tax     authorities, and in          where we are acting as your tax
                                          some cases
                                                                                                        From time to time, we may use third parties to provide typing, photocopying,
adviser    we are     also   required   to   report
                                       transactions to the tax authorities. In
some circumstances, we may be obliged to maintain a list of and notify the tax                          printing, data handling and other business support services, subject to
authorities (notwithstanding any otherwise applicable duty of confidentiality)                          contractual duties of confidentiality.
of the names of investors and other details. Depending on the circumstances,                            9.3          Disclosure to other   Mayer Brown Practices
we may be unable to seek your consent or inform you that we have made such
a    notification.                                                                                      We may disclose confidential information relating to you, or Particular Matters,
                                                                                                        to other Mayer Brown Practices, all of which are bound by the same duty of
7.2         Liability                                                                                   confidentiality that we have to you regarding to any such information.
We do not accept     liability for any loss or damage you suffer by actions we take                     9.4          Publicity
in good faith to      comply with anti-money laundering legislation or other
statutory or regulatory obligations.                                                                    We  may disclose that you are a client and describe in general terms the work
                                                                                                        we do for you unless you ask us not to do so in writing. However, we will not,
7.3         Client due diligence requirements                                                           without your consent, disclose that we are acting, or have acted, for you ona
                                                                                                        Particular Matter if the matter remains otherwise confidential.
Applicable anti-money laundering and other similar legislation and
requirements and our internal procedures may require us to identify and verify                          9.5          Conflicts of interest advance waiver
                                                                                                                                           -




the identity of our clients and in some cases also their beneficial owners, and to
conduct other background checks. We may be required to retain and update                                We may   now or    in the future without your consent act for your competitors,
our records of the information obtained. We may also be required to make                                adverse parties or our other clients whose interests are or may be opposed to
detailed inquiries as to a number of matters, including as to the source of funds                       or in conflict with yours or your Affiliates in matters not substantially related to

being used in Particular Matters on which we advise and the beneficial owner                            Particular Matters we are handling for you (including in transactions,
of them. We refer to these requirements as the “CDD Requirements”.                                      bankruptcy,    insolvency, arbitration, litigation or other forms of dispute
                                                                                                        resolution), Where we are acting for you on a Particular Matter, however, we
Where possible, we try to meet the CDD Requirements using information from                              will not act for another client on the same matter unless and to the extent that
public sources and/or by electronic verification. However, we may need to ask                           we are permitted to do so by the applicable professional conduct rules.
you for (and retain) documents and other information for this purpose. We
may provide copies of this information to any other adviser you engage or                               9.6          Conflicts of interest and   confidentiality
whom we engage on your behalf for their use in meeting similar requirements
                                                                                                        Subject applicable professional conduct rules, where we have information in
                                                                                                                to
imposed on them.                                                                                        respect of which we owe you a duty of confidentiality and which is or may be
We may delay commencing            work,     decline to act   or   (if appropriate)   cease to   act    material to a matter on which we are acting for another client, we may act for
if the CDD Requirements             are      not met to our        satisfaction and within        a     that other client, provided we put in place arrangements, such as “ethical” or
reasonable period of time.                                                                              “information” screens, which are reasonably appropriate in the circumstances
                                                                                                        to ensure that the confidentiality of your information is maintained.
We may  charge you in the normal way for work that we have to do and for
expenses incurred for the purpose of meeting the CDD Requirements.                                      10.          Joint   representations
7.4            Cash                                                                                     Where we act for you jointly with others in a Particular Matter, we may
                                                                                                        disclose to all the parties we represent any confidential information we obtain
We do not accept cash without prior agreement. If cash is deposited directly
                                                                                                        from you and the content of our communications with you. To that extent, the
with our bank we may charge for any additional checks we deem necessary
                                                                                                        advice we give will cease to be privileged as between you and the other
regarding the source of funds and the beneficial owner(s) of them to meet the                           clients. Unless otherwise agreed in writing, you will remain jointly and
CDD Requirements.
                                                                                                        severally liable for our fees even if you have made different arrangements with
8.             No third       party reliance                                                            the other parties. If a conflict arises during the course of a Particular Matter,
                                                                                                        we may need to cease to act for you unless the conflict can be otherwise
Our services are          for your benefit alone and solely for the purposes of
                      provided                                                                          resolved. In those circumstances, we may continue to act for some or all of the
the Particular Matter to which they relate. Unless otherwise agreed in writing,




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other clients. Representation of an association, partnership, joint venture or              to retain us on behalf of each Associated Person. You will procure that each
similar joint entity is not a joint representation, Where you and another client            Associated Person will act on the basis that they are a party to and are bound
or clients jointly instruct us, we will assume that any of you has authority to             by the relevant Engagement Contract. All references in these terms of business
give instructions on behalf     you unless any of you tell us otherwise in writing.
                               of                                                           (other than in this part A paragraph 15) and in the Engagement Letter to “you”
                                                                                            (and derivatives of it) mean you and each Associated Person.
11.            Data
                                                                                            16.          Financial transactions
11.1           Use of data

We will    hold,     and process any data you provide to us (including data
                   use
                                                                                            16.1         Representing financial institutions
relating you, your Associated Persons (as defined in part A paragraph 18
          to                                                                                Unless otherwise agreed in writing, when we represent financial institution in
                                                                                                                                                       a
(Definitions)) and your respective employees) to carry out conflict checks, client          a Particular Matter, we will not be responsible for advising the financial
identification and other client intake and maintenance procedures pursuant to               institution on compliance with applicable laws and regulations arising out of its
our CDD Requirements, comply with statutory and regulatory obligations and                  legal or regulatory status or the general nature of its business or on its internal
our internal procedures, conduct the work in the related Particular Matter and              governance Issues.
update our client databases. The data may be shared with other Mayer Brown
Practices.                                                                                  16.2         Refiling; re-recording
                                                                                            Whether or not you are a financial institution, unless we otherwise agree in
11.2           Provision and   use   of personal data
                                                                                            writing in the Engagement Contract, we do not undertake responsibility for
You must make sure that any personal data you provide to us and our use and                 advising you upon or ensuring compliance with periodic refiling or re-recording
disclosure of that data in accordance with your instructions does not breach                requirements.
any applicable data protection laws and regulations. We will comply with our
duties as a law firm under           applicable
                                         data protection and privacy laws and               17.          Use of client accounts
regulations. Further information about our privacy policy, including our data               In certain                       the United States a Mayer Brown Practice is
                                                                                                         jurisdictions outside
protection inquiries policy, may be found under the legal notices section of our            permitted        discretion to provide client account facilities to receive, hold
                                                                                                         at its
website at     www.mayerbrown.com/legal-notices.                                            and transfer funds in connection with a matter on which it is acting. If we have
                                                                                            agreed to the use of our client account such use is at your own risk. You must
12.            No waiver of our          privilege                                          tell us in advance when you are transferring funds to us as unexpected or
We  represent many clients and handle a great number of complex matters. As                 unidentified receipts may either be retained pending further investigation or
a result, from time to time, issues may arise that raise questions under our                returned to the sender. We may charge for any checks we deem necessary
applicable professional conduct rules, including possible disputes witha client             regarding the source of funds and the beneficial owner(s) to meet the CDD
and conflicts of interest issues. When such issues arise, we generally seek the             Requirements.
advice of our internal counsel (or, if we choose, outside counsel). You agree
that we, in our own discretion, may do so. We consider such consultations to                18,          Definitions
be protected from disclosure under the lawyer-client privilege. While some                  In these International Terms and (where     applicable) in an Engagement Letter
courts have limited this privilege under certain circumstances, we believe that             any reference  to a statute or a statutory  provision includes any consolidation,
it is in both your and our interest that we receive expert analysis of our                  re-enactment, modification or replacement of the same from time to time and:
obligations. Our ongoing representation of you will not result in a waiver of               “Affiliate” means in relation to an entity any person who or entity that controls
any lawyer-client privilege that we may have to protect the confidentiality of              or is under common control with or is controlled by that entity.
our communications with such counsel.
                                                                                            “Associated Person” in a Particular Matter, means (subject to part A paragraph
13.            Force     majeure                                                            8 (No third party reliance)) any Affiliate that is with our agreement in writing a
We will not be liable to you if we are unable to perform our services in a                  recipient of and entitled to rely on our services in relation to that matter.
Particular Matter as a result of any causebeyond
                                              our reasonable control. If this
                                                                                            19.          Inconsistencies
happens, we will tell you as soon as reasonably practicable.
                                                                                            In the event of any     inconsistency between an Engagement        Letter and these
14.            Assignment                                                                   International Terms, the    Engagement Letter will prevail.
14.1                 assignment
               Permitted
                                                                                            20.          Law and       jurisdiction
We  may assign, may assign the benefit of, any Engagement Contract to any
                    or
                                                                                            Each   Engagement           will, unless otherwise agreed in the Engagement
                                                                                                                  Contract
successor partnership or corporate entity that carries on the business or any
                                                                                            Letter, and except    provided in part B paragraph 3.6 (Law and Jurisdiction),
                                                                                                                  as
part of the business of the relevant Principal Mayer Brown Practice. You will               be subject to and governed by the laws of the jurisdiction in which the Principal
accept the performance by such assignee of the Engagement Contract in                       Mayer Brown Practice is established or incorporated. Any dispute arising from
substitution for the Principal Mayer Brown Practice. References in these                       under an Engagement Contract will be
                                                                                            or                                           subject to the exclusive jurisdiction of
International Terms and in any relevant Engagement Letter to the Mayer                      the courts of that jurisdiction.
Brown Practice include any such assignee.
                                                                                            21,          Application of these International Terms and
14.2           Other   assignment                                                                        amendments
Subject   to   part A paragraph 14.1, neither you nor we have the right to assign or        These International Terms supersede any earlier terms of business to which we
transfer the benefit or burden of        an   Engagement Contract without the written
agreement of the other.                                                                     may have agreed and, unless otherwise agreed in writing, apply to the services
                                                                                            referred to in any Engagement Letter accompanying these terms and all
14.3           Assignment by other Mayer Brown Practices                                    subsequent services we provide to you.
References in these International Terms or in any              Engagement Letter       to   B. Additional Terms
another Mayer Brown Practice includes any limited              liability partnership   or
other partnership or corporate entity to or by which all or part of the business            1,           Additional Terms         applicable to the US LLP only
of the other Mayer Brown Practice is from time to time transferred or carried
                                                                                            1.1          Provision for work performed    by lawyers resident in our New York
on.
                                                                                                         office
15.            Associated Persons                                                           In the event  you have a fee dispute with us in an amount that is between
Unless the               Letter expressly states otherwise, you accept the
                Engagement                                                                  USS$1,000  and USS50,000, you may have the right to seek resolution of that
provisions of the Engagement Contract on your own behalf and as agent for                   dispute in an arbitration under Part 137 of the Rules of the Chief Administrator,
each Associated Person. You confirm that you have, or will have, the authority              New York State Office of Court Administration. For further information about




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the fee dispute arbitration procedures, please refer to the text of Part 137,        register maintained by it so that we can carry on insurance mediation activity.
available on the internet at www.courts.state.ny.us/admin/feedispute.                The  register can be accessed via the Financial Conduct Authority website
                                                                                     atwww.fca.org.uk/register. This part of our business, including arrangements
1.2          Provision for work   performed by lawyers resident in our Houston       for complaints or redress if anything goes wrong, is regulated by the Solicitors
             office
                                                                                     Regulation Authority, the independent regulatory body of the Law Society of
NOTICE TO CLIENTS: The State Bar of Texas requires us to inform you that it          England & Wales (a designated professional body for the purposes of FSMA) of
prosecutes  professional misconduct committed by Texas attorneys. Although           which we are members. We will not provide insurance mediation services
not every complaint against or dispute with a lawyer involves professional           unless you expressly ask us to do so.
misconduct, the State Bar's Office of Chief Disciplinary Counsel will provide you
with information about how to file a complaint. Please call 1 800 932 1900 toll-
                                                                                     2.5.2           Investments
free for more information.                                                           Depending on    the nature of the services we provide to you, it is possible that
                                                                                     we    may,    occasions when you instruct us to do so, provide you with legal
                                                                                                  on
1.3          Securities and   Exchange Commission   —
                                                        Standards of Professional
                                                                                     services which relate to investments. We are not “authorised” by the Financial
             Conduct
                                                                                     Conduct Authority under FSMA. Where our services are provided from the UK,
Pursuant to Part 20S in Title 17 of the Code of Federal Regulations (“Standards      we are permitted to undertake certain activities in relation to investments that
of Professional Conduct”), if any lawyer of the US LLP represents you in             are limited in scope and incidental to our legal services or which may be

appearing and practicing before the Securities and Exchange Commission (the          regarded as a necessary part of our legal services because we are regulated by
“SEC”), we may have obligations imposed on us, as further described in the           the Solicitors Regulation Authority (which together with LeO also provides
Standards of Professional Conduct. These obligations currently are limited to        complaints and redress mechanisms). No communication either to you, or on
up-the-ladder reporting within your organization, although some form of              your behalf to any other person, during the course of our engagement is an
reporting to the SEC may be adopted. If any of our lawyers currently                 invitation or inducement to engage in investment activity and nothing we say
represents, or in the future represents, you in appearing and practicing before      or write should be construed as such.
the SEC, you acknowledge that we are (or will become) subject to the
obligations imposed on us by the Standards of Professional Conduct.
                                                                                     2.6             Third   party rights
                                                                                     Other than part B paragraphs 2.8 and 2.9, no provision of an Engagement
2.           Additional Terms        applicable to the UK LLP only                   Contract is intended to be enforceable pursuant to the Contracts (Rights of
                                                                                     Third Parties) Act 1999, Accordingly, other than our employees, consultants or
2.1         Regulatory information
                                                                                     partners wishing to rely on those paragraphs, no third party will have any right
Mayer Brown International LLP is a limited liability partnership incorporated in     to enforce, or rely on, any provision of an Engagement Contract.
England and Wales under no. OC303359. It is authorized and regulated by the
Solicitors Regulation Authority. Its registered office is 201 Bishopsgate, London    2.7             Professional   indemnity insurance
EC2M 3AF.                                                                            The UK LLP is required to hold a minimum level of insurance cover under the
                                                                                     Solicitors’ Indemnity Insurance Rules. The territorial coverage is worldwide for
2.2          Members and      partners
                                                                                     the UK LLP and details of our insurers can be found under the legal and
An English limited liability partnership is a body corporate which has members
                                                                                     regulatory information page of the legal notices section of our website, at
and not partners. In these terms references to a    “partner”in relation to the UK
                                                                                     www.mayerbrown.com/legal-notices.
LLP means a member of Mayer Brown International LLP. However, in our
dealings with you, the UK LLP may also use the term partner to refer to an           2.8             Exclusions and limitations       liability
                                                                                                                                    on our

employee or consultant of the UK LLP who is a lawyer with equivalent standing        2.8.1
or qualification, or to a lawyer with equivalent standing in another Mayer
                                                                                                  Proportional liability
Brown Practice.                                                                      If you suffer loss or damage because of our breach of contract or of our

2.3
                                                                                     negligence, our liability will be limited to a just and equitable proportion of the
             Interest on client account                                              total loss or damage you suffer having regard to the extent of the responsibility
The UK LLP main client account is with the Royal Bank of Scotland. Unless we         of any other party who may also be liable to you in respect of such loss and
agree otherwise in writing we deposit client money in an instant access deposit      damage. Our liability in these circumstances will not be increased because of
account and will pay interest for the period during which the money is held,         any actual or potential shortfall in recovery from another party whether due to
unless such interest is de minimis. We calculate interest at a rate equivalent to    any exclusion or limitation of liability that you have agreed to with another
that payable by our bank on such accounts. Our policy for the handling of            party, difficulty in enforcement, settlement of claims or any other reason.
client funds, including the basis of payment of interest, can be found in the
legal notices section of our website at www.mayerbrown.com/legal-notices.
                                                                                     2.8.2           Liability in respect of other parties
                                                                                     Where      we     instruct another      party on your behalf (for example, a barrister,
2.4          Complaints                                                              expert or co-counsel)         we    will not be liable for the services provided by that
We will do what we reasonably can to resolve any complaint about our services        other party.
or bills in accordance with the UK LLP’s complaints handling policy, a copy of
which is available in the legal notice section of our website at
                                                                                     2.8.3      Liability cap
www.mayerbrown.com/legal-notices and which will be provided on request. If           We   may, from time to time, if permitted by local laws and applicable
you are not satisfied with our handling of your complaint you may be eligible to     professional conduct rules, agree with you that our aggregate liability to you
complain to the Legal Ombudsman (“LeO”) at PO Box 6806 Wolverhampton                 for a Particular Matter or Matters is limited to            an   amount   specified   in the
WV1 9WJ. You must contact LeO within six months of our final response;               relevant Engagement Letter (a “Liability Cap”).
otherwise LeO may decide not to investigate your complaint. More                     A Liability Cap will apply to all liability that we may have to you in respect of the
information is available at   www.legalombudsman.org.uk. You may have right a        relevant Particular Matter or Matters, including for breach of contract and for
to object to a bill from the UK LLP   by
                                     making a complaint as above and/or by           negligence (but not for banking failure or compliance with legislation in respect
applying to the Court for an assessment of the bill under Part Ill Solicitors Act
                                                                                                                    of
                                                                                     of which a separate limit liability applies as set out in part B paragraph 2.10).
1974,
                                                                                     The Liability Cap (if any) will apply on an aggregate basis to all liabilities that we
2.5          The Financial Services and Markets Act 2000     (“FSMA”)                may have to you and any Associated Person (including third parties when a
                                                                                     consent to such third parties is given under part A paragraph 8 (No third party
2.5.1        Insurance contracts
                                                                                     reliance)) in the relevant Particular Matter or Matters.
If and to the extent that our legal services involve insurance mediation activity
{which is, broadly, the advising on, selling and administration of insurance         2.9                   against individual employees/partners
                                                                                                     No claim

contracts) from the UK, you should note that we are not “authorised” by the          No individual   employee, consultant or partner of the UK LLP has a contract with
Financial Conduct Authority under FSMA. However, we are included on the              you   or   owes you a duty of care. Any services performed by an employee,




                                                                                                                                                                           HLIU003602
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consultant or partner are performed on behalf of the relevant Mayer Brown                          The Liability Cap (if any) will apply on an aggregate basis to all liabilities that we
Practice and that person does not assume any personal responsibility to you or                     may have    to you and any Associated Person (including third parties when a
any other party for those services. Accordingly, it is a fundamental provision of                  consent to such third parties is given under part A paragraph 9 (No third party
these International Terms that you will not bring any claim against any                            reliance))        in the relevant Particular Matter   or   Matters.
individual employee, consultant or partner, directly or indirectly, in connection
with our services,
                                                                                                   3.3                 against individual employees/partners
                                                                                                                      No claim

None of the provisions of this part B paragraph 2.9 limit or exclude the liability
                                                                                                   No individual employee, consultant or partner of the HK Partnership has a
                                                                                                   contract with you or owes you a duty of care. Any services performed by an
of the UK LLP for the acts or omissions of any employee, consultant or partner.
                                                                                                   employee, consultant or partner are performed on behalf of the HK Partnership
2.10             No   liability for banking failure and our compliance with legislation            and that person does not assume any personal responsibility to you or any
                                                                                                   other party for those services. Accordingly, it is a fundamental provision of
We do not        accept liability for any loss or damage you suffer if any bank that we            these International Terms that you will not bring any claim against any
use   collapses        or    for   reasons   outside of     our   control is otherwise unable to
                                                                                                   individual employee, consultant or partner, directly or indirectly, in connection
transact business or transfer funds in a                   timely
                                                   manner or at all. However, if
                                                                                                   with    our   services.
such           is nonetheless imposed on us by a court of law, our
       liability                                                             to youliability
will not exceed an amount                  equal
                                     to the minimum level of insurance cover                       None of the         provisions of this part B paragraph 3.3 limit or exclude the liability
required   from time to time under any                   applicable
                                                    rules governing the insurance                  of the HK         Partnership for the acts or omissions of any employee, consultant or
of solicitors. This limitation of            liability
                                        will not be increased                 by
                                                                  any Liability Cap                partner.
agreed with you,                                                                                   3.4           liability for banking failure and our compliance with legislation
                                                                                                                      No
2.11             Inside     information                                                            We do not accept liability for any loss or damage you suffer if any bank that we
If you are a company that has, or the subsidiary of a company that has,                            use collapses or for reasons outside of our control is otherwise unable to
securities that are listed on a regulated market you will tell us if a matter on                   transact business or transfer funds in a       timely manner or at all. However, if
which we are advising you is or becomes “inside information” in relation to that                   such liability is nonetheless imposed on us by a court of law, our liability to you
company or its securities. Following any such notification, we will implement                      will not exceed an amount equal to the minimum level of insurance cover
our internal procedures relating to the handling of such information.                              required from time to time under any applicable rules governing the insurance
                                                                                                   of solicitors. This limitation of liability will not be increased by any Liability Cap
2.12             rights over your property (our lien)
                 Our
                                                                                                   agreed with you.
If any,    any part of any, bill is not paid within 30 days after the bill is sent, we
           or

will, to the extent we are permitted to do so as a matter of law and applicable                    3.5                Our rights over your property (our lien)

professional conduct rules, retain money, papers and other property belonging                      If any,      or   any part of any, bill is not paid within 30 days after the bill is sent,   we
to   you     if these have been provided to us in relation to a different matter
           even                                                                                    will,   the extent we are permitted to do so as a matter of law and applicable
                                                                                                           to
until such time as all amounts due to us are paid in full. Subject to applicable                   professional! conduct rules, retain money, papers and other property belonging
professional conduct rules, we may seek a charging order over property that                        to you even if these have been provided to us in relation to a different matter
we recover or preserve for you in litigation. We do not waive these rights if we                   until such time as all amounts due to us are paid in full. Subject to applicable
accept any alternative security for our costs, for example a payment on                            professional conduct rules, we may seek a charging order over property that
account.                                                                                           we recover or preserve for you in litigation. We do not waive these rights if we

                                                                                                   accept any alternative security for our costs, for example a payment on
3.               Additional Terms               applicable to the HK Partnership                   account.
                 only                                                                              3.6                Law and    jurisdiction
Sik              Third      party rights                                                           Notwithstanding part A paragraph 20 (Law and jurisdiction), and unless
Other than part B paragraphs 3.2 and 3.3, no provision of an Engagement                            otherwise agreed in writing, each Engagement Contract with Mayer Brown JSM
Contract is intended to be enforceable pursuant to the Contracts (Rights of                        or its associated legal practice in Asia will be governed by Hong Kong law and
Third Parties) Ordinance (Cap 623).                                                                any dispute arising from or under such Engagement Contract will be subject to
                                                                                                   the exclusive jurisdiction of Hong Kong courts.
3.2              Exclusions and limitations          on our    liability
3.2.1       Proportional liability
If you suffer loss  or damage because of our breach of contract or of our

negligence, our liability will be limited to a just and equitable proportion of the
total loss or damage you suffer having regard to the extent of the responsibility
of any other       party who may also be liable to you in respect of such loss and
damage.         Our   liability
                         in these circumstances will not be increased because of
any actual or potential shortfall in recovery from another party whether due to
any exclusion or limitation of liability that you have agreed to with another
party, difficulty in enforcement, settlement of claims or any other reason.
3.2.2            Liability in respect of other parties
Where       we    instruct another          party on your behalf (for example, a barrister,
expert     co-counsel)
           or                      we   will not be liable for the services provided by that
other party,

3.2.3            Liability cap
We    may, from time   to time, if permitted by local laws and applicable
professional conduct rules, agree with you that our aggregate liability to you
for a Particular Matter or Matters is limited to an amount specified in the
relevant Engagement Letter (a “Liability Cap”).
A Liability Cap will apply to all liability that we may have to you in respect of the
relevant Particular Matter or Matters, including for breach of contract and for
negligence (but not for banking failure or compliance with legislation in respect
of which a separate limit of liability applies as set out in part B paragraph 3.4).




                                                                                                                                                                                          HLIU003603
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                        Exhibit 2
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                                                                                                         MAYER*BROWN

                                                                                                                                 Mayer Brown LLP
                                                                                                                        350 South Grand Avenue
                                                                                                                                         25th Floor
                                                                                                               Los Angeles, California 90071-1503

                                                                                                                        Main Tel +1 213 229 9500
  December 22, 2015                                                                                                     Main Fax +1 213 625 0248
                                                                                                                               www.mayerbrown.com

                                                                                                                                   Philip Recht
                                                                                                                       Direct Tel +1 213 229 9512
                                                                                                                       Direct Fax +1 213 576 8140
                                                                                                                             precht@mayerbrown.com
  Kevin Vincent
  Faraday Future
  18455 South Figueroa Street
  Gardena, California 90248


  Dear Mr. Vincent:

          This letter confirms our agreement that Faraday Future (the "Client") has engaged Mayer
                                                                                                to advise
  Brown LLP, limited liability partnership established in the United States (the “Firm”),
                  a
  and assist Client on regulatory issues in the U.S.,        and the EU concerning
                                                                          China,       Client’s
  proposed manufacture and sale of an    electric car (the “Matter”). This letter and the International
  Terms of Business dated January 2015 (the “International Terms”), which are enclosed, govern
  our ongoing relationship in all matters and supersede all existing agreements
                                                                                    or                                  understandings
  to the contrary. Our engagement on your behalf is limited to the Matter
                                                                               and only to those
  additional specific matters which we from time to time explicitly agree undertake. We expect
                                                                              to

  that each    subsequentundertaking by the Firm will be described in writing.
                                                                    other attorneys and professionals
                   responsible for this representation and will use
            I will be
                                                                                           are based
  of the Firm as appropriate and cost-effective for Client. The Firm’s fees for services
  on time (in quarter hour increments, except if our fees require
                                                                   court approval they may have to
                                                                                          our hourly
  be calculated to the nearest tenth of an hour) spent on specific projects, computed at
  rates, discounted by 10%, for those persons performing the services. Hourly               subject to
                                                                                  rates are

  adjustment by the Firm from time to time, including for associate leveltoclass progressionsand
  promotions of lawyers from one rank to the next (e.g., from associate partner).
            As   retainer you agree to pay the Firm upon the execution of this letter the sum of US
   $10,000.00. The retainer you are paying is agreed between us to be a security retainer.
                                                                                                  The
                                                                   Under    Illinois law, any interest
   retainer will be deposited into a pooled client trust account.
   earned on this account paid
                            is       to the Lawyers Trust Fund  of Illinois.   Retainer funds shall remain
   the property of Client unless and until applied to invoices for fees and costs. We will apply
                                                                                                       the
                                                                                                     that
   retainer against each invoice 15 days after it is issued and sent to you, except    to the extent
                                                                       that 15 day period. You
   you object in writing to specific charges on the invoice within
   understand and agree that after 50% of the retainer    has been  applied, you will be required to
                               to the original deposited amount or to some other level warranted by
                                                                                                         the
   replenish the retainer         up

                                                               Brown entities (the "Mayer Brown Practices”),which have offices in North America,
      Mayer Brown LLP operates in combination with other Mayerwith Tauil & Chequer Advogados, a Brazilian law partnership.
                         Europe   and Asia and are associated
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                                                                                                                                                      HLIU003604
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  December 22, 2015
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  specific circumstances of your Matter. Any balance remaining in the retainer after the Matter is
  completed will be refunded promptly.
           The Client acknowledges a substantial relationship with the Firm’s office in Chicago,
  Illinois and consents to our depositing the security retainer in a pooled trust account maintained
  by us at Bank of America, 135 South LaSalle Street, Chicago, Illinois.
           Each of the undersigned confirms that he or she is authorized to sign this letter on behalf
  of the applicable party specified below.

           If you have any questions, please call me. If you want us to proceed on your behalf,
  please acknowledge your agreement with the terms of our relationship        by signing and returning
  to me the enclosed copy of this letter. In any event, please  note  that the Client’s directing us or
  continuing to direct us to proceed on its behalf will constitute full acceptance of the terms
  contained in this letter and in the International Terms.

  Very truly yours,


  Philip     Recht


  AGREED:



  Faraday Future, a


  By:
  Name Printed:

  Its:

  Date:




  cc:      James J. Held




                                                                                                          HLIU003605
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                                           Mayer Brown LLP U. S. Offices
                                      Schedule of Non-fee   Charges to Clients
                                                    August, 2015
  I.        Long Distance Telephone.
  We    purchase our long-distance telephone service from telecommunications providers at
  discounted rates. We       charge clients at rates calculated to recover our cost.
  IL.       Automated Research.

  We    purchase services from Lexis and Westlaw at fixed monthly rates which are substantially
  below their published rates. We          charge clients for the Lexis and Westlaw connections at rates
  calculated to      recover our   cost.

  Il.       Third    Party Expenses.
  When possible, the Client agrees to contract         directly with local counsel, experts and/or
  consultants       (“Third Party Servicers”).   In the event that the Firm   engages a Third Party Servicer

  on    behalf, or for the benefit, of the Client or jointly with the Client, the Client agrees that (a) the
  Firm and/or Client will instruct the Third Party Servicer to look           solely to the Client and not the
  Firm for any payments        owing to said Third Party Servicer or (b) the Client will provide currently
  available funds to the Firm in the amount of any         approved outstanding Third Party Servicer
  invoice    prior to the time that payment of such invoice to the Third Party Servicer is due.
  Notwithstanding the above, if the Firm does advance or pay any Third Party Servicer expense on
  behalf,   or   for the benefit, of the Client, the Client agrees to reimburse the Firm promptly for any

  such expense.

  IV.       Document      Reproduction.
  We     charge clients for standard-size internal black and white copies at the rate of $.15 per page.
  We     charge clients for standard-size internal color document reproduction (if specifically

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                                                                                                                 HLIU003606
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  requested by clients) at the rate of $1.00 per page. We currently reproduce documents using
  photocopiers, laser printers, and digital copiers, and may in the future use other means of
  reproduction. Outside copying is charged at actual out-of-pocket cost.
  V.         Secretarial, Word Processing and Proofreading Services.

  We     accrue   for client accounts document preparation charges at the rate of $120 per hour for

  word processors and secretaries         generally when documents (originals or amendments) of over 10
  pages    are   prepared or for secretarial overtime. Proofreading services accrue at the rate of $140
  per hour.

  VI.       Mayer Brown Provided Electronic Discovery Services.
  To the extent that the Client elects to host electronic          discovery information on the Firm’s
  Electronic      Discovery Services (“EDS”) servers, we charge a monthly comprehensive services fee
  for hosting and       supporting that data.   We calculate this       charge for each month based on the data
  volume     residing on the EDS servers at the end of such month, at a rate of $65 per gigabyte
  (“GB”), which covers EDS department expenses relating to that internally supported data,
  including any hosting expenses, processing, handling, and response to case team or client needs.
  VII.       Postage.
  We     charge clients at cost for postage when the cost of mailing is $1.00 or more.
  VII.       Out-of-pocket Disbursements.
  The     following types of disbursements when related to a client matter are charged at the Firm’s
  cost:

                      Advances    on   behalf of clients   (e.g., tax payments, filing fees, title
                           charges)
                      Courier and messenger services
                      Court reporters
                      Equipment when purchased solely for           a   client matter
                      Meals




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                     Outside services (including cost of litigation support services
                        purchased from outside vendors)
                     Service of process
                     Records searches
                     Supplies (when amounts are large or type of supply item is special)
                     Tax return   processing charges
                     Taxis, mileage, parking (local)
                     Travel (airfares, hotels, meals, car rentals, fees of travel agencies
                        and professionals, taxis and incidentals)*
                     Trial exhibits
                     Witness fees and costs
                     Other items not covered above that    are   directly attributable to a
                         client matter

                   *When our independent travel agency of record is used to book
                      airfare there is a fee charged of not more than $32 per
                      reservation.
  IX.       Items Not Charged to Clients.

                     Administrative overhead
                     Air conditioning and electricity for overtime work
                     Client entertainment
                     Local and suburban telephone calls
                     Rent for conference rooms
                     Telefax services




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                                                                                                                                          MAYER*>BROWN




               International Terms of Business
                                                                                                                                                                        January 2015
A. General Terms                                                                                 Our services ina transaction are limited to advising on legal issues arising in the

                                                                                                 negotiation, documenting and closing the transaction and do not include giving
1.              Introduction                                                                     you financial    or   business advice   as   to the merits of the transaction.

Mayer       Brown is global services provider. The Mayer Brown
                         a                                             services legal            Upon completion of our work on a Particular Matter, we will not update you on
providers (the "Mayer Brown Practices") are: Mayer Brown LLP (the "US LLP")                      legal developments related to such Particular Matter unless we have agreed to
and Mayer Brown Europe-Brussels LLP, both limited liability                      partnerships    do so in our Engagement Letter.
established in Illinois USA; Mayer Brown International LLP (the “UK LLP”), a
limited     liability
                partnership incorporated in                England
                                                    and Wales (authorized and                    1.3          Authority to instruct us and receive advice
regulated by the Solicitors Regulation Authority and registered in         and   England         Where    our client is an entity, we will assume that any of its personnel who
Wales number OC 303359); Mayer Brown,             SELAS established in France;                   gives instructions to us has authority to do so and to receive advice on behalf of
Mayer Brown Mexico, S.C., a sociedad civil formed under the laws of the State                    the entity, unless you teil us otherwise in writing.
of Durango, Mexico; Mayer Brown JSM, a Hong Kong                          partnership
                                                                        and its
associated legal practices in Asia (the “HK                   Partnership”);
                                                              Tauil & Chequer                    1.4          Joint ventures,    partnerships, trade associations, etc.
Advogados, a Brazilian law              partnership
                                         with which Mayer Brown is associated;                   If you are a trade association, partnership, joint venture or similar joint entity
and any other entities which become Mayer Brown Practices. The Mayer                             only that entity will be our client and, unless otherwise agreed in writing, we
Brown non-legal service providers are Mayer Brown Consulting                  (Singapore)
                                                                           Pte.                  will only represent it and not its individual members, venturers or partners.
Ltd and its         subsidiary,
                            which provide customs and trade advisory and
                                                                                                 1.5          Affiliates
consultancy  services.

These international terms (the “International Terms”) are the general terms                      We    onlyrepresent the entity named in the Engagement Letter and not its
that govern the relationship between each or any Mayer Brown Practice and                        stockholders or other Affiliates {as defined in part A                 paragraph
                                                                                                                                                                        18) and
                                                                                                 therefore we are able to represent another client with interests adverse to
you. Additional terms may apply to the services provided by specific Mayer
Brown Practices in a Particular Matter (as defined below). In these                              your stockholders or other Affiliates without obtaining consent from you. Even
International Terms, “we” or “us” means the Mayer Brown Practice providing                       if you choose to give us confidential information about any Affiliate, this will

you with services in any specific matter and “you” means the person or entity
                                                                                                 not of itself create a lawyer-client          relationship
                                                                                                                                                  between the Affiliate and any
to whom we provide our services.                                                                 Mayer Brown       Practice.

When you instruct            or   engage any     Mayer      Brown Practice   on a new   matter   2.           Charges
(“Particular Matter”), we will normally confirm your instructions or                             2.1
engagement in writing (an “Engagement Letter”). These International Terms
                                                                                                              Your     agreement to pay
and the Engagement Letter (which may include the additional terms relating to                    You will pay the fees and other charges billed by the Principal Mayer Brown
a Particular Matter), if any, together form the contract (the “Engagement                        Practice and, where appropriate, any other Mayer Brown Practice. Unless
Contract”) between you and the Mayer Brown Practice specified in the                             otherwise agreed in writing, you are required to pay such fees and charges
Engagement Letter (the “Principal Mayer Brown Practice”). The Principal                          whether or not a Particular Matter proceeds to closing or is otherwise
Mayer Brown Practice may, as agent on your behalf, engage another Mayer                          concluded in the ordinary course.
Brown Practice to work            alongside it on a Particular Matter, if appropriate.           2.2            Professional fees
You   are    only   a   client of   a   Mayer
                                 Brown Practice in a Particular Matter if that
                                                                                                 Unless otherwise agreed in writing, our fees will be based               principally
                                                                                                                                                                            on the
Mayer Brown Practice is providing services to you in such Particular Matter,                     time we spend on your matter. From time to time, we review our hourly rates
and no Mayer Brown Practice will have                 liability
                                              in Particular Matters where it is
                                                                                                 and we will notify you in writing of any increase in rates that (unless otherwise
not providing services.
                                                                                                 agreed) will be applicable to the Particular Matter. If contract lawyers or
Each Mayer Brown Practice will apply the applicable local                professional conduct    paraprofessionals are assigned to work on any Particular Matter, whether or
rules in the Particular Matter for which it is engaged.                                          not they are employed through an independent agency, the Mayer Brown
                                                                                                 Practice will charge you hourly rates based upon its then hourly rates for Mayer
1.1             Our services
                                                                                                 Brown lawyers and paraprofessionals with similar experience and
1.2             Scope of our services                                                            qualifications.
The scope of our services in a Particular Matter will be limited to those                        After consultation, our fees may additionally take account of other factors
described in the related Engagement Letter and to any additional tasks in such                   including the complexity or urgency of the matter, the specialized knowledge
Particular Matter that we accept in writing.                                                     and skill required and, if appropriate, the value of the property or subject
                                                                                                 matter involved and overall outcome.
We will not advise on the tax or insurance                implications
                                                          {including coverage) of
any Particular Matter or course of action in any Particular Matter or provide                    Applicable sales or service taxes will be added to your bill where appropriate.
notices to insurers or re-insurers unless (and then only to the extent) agreed in
writing.




                                                                                                                                                                                  HLIU003609
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Without limiting any other provision in this part A paragraph 2.2, you will pay
us at our hourly rates (as adjusted
                                  from time to   time)for
                                                                                 4,
                                                           activities incidental to
                                                                                    File and information management
our  representation of you, whether during or after the termination of the               4.1              Format and retention of files
lawyer-client relationship. This includes, but is not limited to, our time spent         We    keep   our   partly in paper form and partly in electronic form.
                                                                                                            files
responding to subpoenas, searching for and producing documents, preparing
for testimony and testifying, and otherwise dealing with your requests or third          Unless otherwise agreed in writing, once the Particular Matter is closed we will
                                                                                         retain the related files in accordance with applicable professional conduct rules
party claims or actions relating to a matter we are handling or have handled for
                                                                                         and our then effective records retention policy. At the end of the retention
you. You will also pay   or reimburse us for all reasonable expenses and other

charges in  connection with such incidental activities, including, but not limited       period we may dispose of the files without notice to you. We will not destroy
to, the fees of outside counsel that we retain.                                          original signed documents we have agreed in writing to deposit in safe custody
                                                                                         or documents we are required to retain as a matter of law or by our regulators.
2.3             Estimate of fees
                                                                                         4.2              Costs of retrieval of files and documents from   storage
An estimate is our indication of our  likely
                                           charges for a Particular Matter and is
                                                                                                      Particular Matter is closed, you ask us to retrieve any material
based on the information known at the time the estimate is given. Unless we              lf, after    a

agree otherwise in writing, any estimate does not amount to a promise or                 belonging to you from the file we will do so without passing on the direct cost
                                                                                         of retrieval. However, we may charge you for time spent in complying with
agreement that we will perform our services within a fixed time or for a fixed
or capped fee. An estimate is subject to revision and is not binding on us.              your request and answering any inquiries from you. We may also charge for
                                                                                         delivery to you of any materials.
2.4             Fixed fees
                                                                                         4.3              Copyright
A fixed fee is an agreement by us in writing to render services in a Particular
Matter for a stated fee. Unless otherwise agreed in writing, if we agree to a            Unless otherwise agreed in writing, the copyright in the original materials we
fixed fee and undertake work outside the agreed scope of the Particular                  produce for you belongs to us. The fees you pay for our work, however, permit
Matter, we will charge for the additional work on the basis referred to in part A        you to make use of such materials for the purpose for which they are created.
paragraph 2.2.                                                                           5.               Termination
2.5             Expenses                                                                 5.1               right to terminate
                                                                                                          Your
Unless we agree otherwise, we will instruct third parties that we engage on
                                                                                         You may terminate our acting for you         in any Particular Matter at    any time   by
your behalf to seek payment from you directly and we will have no liability for          giving us notice in writing.
amounts owing to the third party from you. If we incur or pay certain expenses
on your behalf in connection with an Engagement Contract, including but not              5.2              right to terminate
                                                                                                          Our
limited to third party fees, court fees, stamp duty, registration or search fees,
                                                                                         Subject     any limitations in applicable professional
                                                                                                     to                                               conduct rules, we may
they will be payable by you as a charge in addition to our fees and other non-           terminate acting for you in any Particular Matter at         any time by giving you
fee charges in each Particular Matter and, unless we agree otherwise, you will
                                                                                         notice in writing.
provide us with funds in advance to pay those expenses. Non-fee charges may
include photocopying, telephone charges and other charges notified by the                5.3          Payment of fees and expenses on termination
Mayer Brown Practice. Additional sales or service taxes may be payable by you            You must    pay our outstanding fees and expenses (and those accrued but not
on some of these expenses.
                                                                                         yet billed) if you or we terminate our Engagement Contract in connection with
3.           Billing arrangements and settlement of our accounts                         a   Particular Matter.

3.1          Our bills                                                                   5.4              Timing of termination of an engagement
We may send you bills at monthly or other intervals while your Particular                Unless otherwise agreed in writing, an Engagement Contract in connection with
                                                                                         a Particular Matter will come to an end or be deemed to have come to an end
Matter is in progress and in any event upon completion of the Particular
Matter.                                                                                  at the completion of our legal work in the Particular Matter or, if earlier, 12
                                                                                         months after the relevant Mayer Brown Practice last rendered any billable
3.2        Payment of full amount                                                        services to you on the Particular Matter. The lawyer-client relationship
Our bills must be paid without any deduction or withholding on account of                between you and the relevant Mayer Brown Practice will terminate at that
taxes or charges of any nature. If a deduction or withholding is required by law         point unless the relevant Mayer Brown Practice is providing other services
                                                                                         under an Engagement Contract in another Particular Matter that has not then
you   mustpay such additional amount as is necessary so that we receive the full
amount  of our bill. We also may issue a bill in which our fees are grossed up to        terminated or been deemed to have been terminated. Even if we inform you
account for such deduction or withholding.                                               of developments in the law by newsletters or similar alerts, or we or persons
                                                                                         associated with us are named as (or become) a recipient of a notice on your
3.3          Interest                                                                    behalf, this will not create or revive any lawyer-client relationship.
Each of   ourbills must be paid within 30 days after the date the bill is sent. We       In some Mayer Brown Practices, we may maintain a system to calendar due
may    charge  interest on any outstanding amount from the due date for                  dates for the payment of maintenance and/or annuity fees relating to, or the
payment until the bill is paid in full at a rate per annum equal to four percent         renewal dates for the preservation of certain legal rights attaching to,
plus the most currently available US Government 10 year yield as quoted in the           intellectual property. In connection with this system, we may notify the person
Financial Times (such yield to start on the due date for payment and adjusted            or entity listed in our records as the holder of such rights of the necessity of
every 30 days thereafter based on the then most current quote of yield).                 paying maintenance and/or annuity fees or obtaining a renewal in order to
3.4                                                                                      preserve such rights. Neither the maintenance of such system nor any such
           Charges of other Mayer Brown Practices                                        notification or renewal will constitute the provision of services for the purposes
The Principal Mayer Brown Practice may engage another Mayer Brown Practice               of determining whether there is a continuing lawyer-client relationship.
on your behalf. If so, each Mayer Brown Practice may issue separate bills or
the fees and expenses of other Mayer Brown Practices may be included in bill    a        6.               Communication
issued by the Principal Mayer Brown Practice. Such fees and expenses may be              6.1              Use of email
expressed as a separate disbursement to meet local requirements.
                                                                                         We    may communicate with you       by email unless you ask us not to.
3.5          Liability for our fees                                                      We prefer to encrypt email that we send to you (whether it contains
If we agree to accept payment of our fees and expenses from      a   third   party you   confidential information or not), provided we are able to implement mutually
will remain liable to us for them in the event of non-payment.                           acceptable encryption standards and protocols.




                                                                                                                                                                     HLIU003610
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You
                                                                           #:3928
        are responsible for protecting your system from viruses and any other   our work may not be used or relied on by any third party, even if such third
harmful codes         or   devices. We try to eliminate them from email and                        party may have agreed to pay our bill.
attachments but       we   do not accept liability for any that remain.
                                                                                                   9.           Confidentiality, disclosure and conflicts
We may monitor         or access    all email sent to us. In addition, we scan
                                   any    or

incoming email for spam, viruses and other undesirable material, which may                         9.1         Confidentiality and disclosure
mean that email communications do not reach the intended recipient.                                We owe you a duty of confidentiality in respect of information relating to you
Therefore, you should always follow up each important email by contacting the                      that we obtain while dealing with your matters. We will not disclose such
person to whom it has been sent.                                                                   information except in the circumstances set out in this part A paragraph 9 or
                                                                                                   otherwise as required or permitted by the applicable professional conduct
6.2            Marketing materials                                                                 rules. We owe the same duty of confidentiality to all our clients. Accordingly,
We may from time to time provide you with details relating to the Mayer                            if at any time we possess information in respect of which we owe a duty of
Brown Practices and the services we provide, including updates on legal                            confidentiality to a former or another current client, we will not be required to
developments. If at any time you do not wish to receive that information,                          disclose such information to you nor use it on your behalf even though the
please tell us.                                                                                    information may be material to your Particular Matter.
7.             Money laundering and other notification to                                          9.2          Disclosure to certain third   parties
               authorities                                                                         Our duty to keep confidential information relating to you or your Particular
                                                                                                   Matter on which we are acting, or have acted, for you is subject to any
7.1                         regulators and consent
               Notifications to
                                                                                                   disclosures we consider in good faith we are required to make to any police,
In many jurisdictions          we operate, we‘are required by law or regulators
                           in which
                                                                                                   governmental, regulatory or supervisory authority under any statutory or
to put in place procedures to prevent money laundering. If we know or suspect
                                                                                                   regulatory obligations (including those described in part A paragraph 7 (Money
(or have reasonable grounds for suspecting) that a matter or transaction                           laundering and other notification to authorities) or in accordance with any
involves money laundering we may, in accordance with our statutory                                 internal procedures that we have put in place to meet those obligations.
obligations and those procedures, be required to make a notification of our
                                                                                                   We may, when required by our insurers, auditors or other professional advisers
knowledge or suspicion to the relevant regulatory authorities.
                                                                                                   (including independent counsel or debt collection agencies) provide to them
In certain jurisdictions, rules or regulations require taxpayers engaging in                       information relating to you or details of a Particular Matter or Matters on
certain types of transactions to disclose their participation in such transactions                 which we are acting or have acted for you.
to the tax authorities, and in some cases where we are acting as your tax
adviser we are also required to report transactions to the tax authorities. In                     From time to time, we may use third parties to provide typing, photocopying,
some circumstances, we may be obliged to maintaina list of and notify the tax                      printing, data handling and other business support services, subject to
authorities (notwithstanding any otherwise applicable duty of confidentiality)                     contractual duties of confidentiality.
of the names of investors and other details. Depending on the circumstances,                       9.3          Disclosure to other   Mayer Brown Practices
we     may be unable to seek your        consent or inform   you that   we   have made such
a    notification.                                                                                 We  may disclose confidential information relating to you, or Particular Matters,
                                                                                                   to other Mayer Brown Practices, all of which are bound by the same duty of
7.2        Liability                                                                               confidentiality that we have to you regarding to any such information.
We do not accept    liability for any loss or damage you suffer by actions we take                 9.4          Publicity
in good faith to     comply with anti-money laundering legislation or other
statutory or regulatory obligations.                                                               We  may disclose that you are a client and describe in general terms the work
                                                                                                   we do for you unless you ask us not to do so in writing. However, we will not,
7.3         Client due diligence requirements                                                      without your consent, disclose that we are acting, or have acted, for you on a
                                                                                                   Particular Matter if the matter remains otherwise confidential.
Applicable anti-money laundering and other similar legislation and
requirements and our internal procedures may require us to identify and verify                     9.5          Conflicts of interest advance waiver
                                                                                                                                      -




the identity of our clients and in some cases also their beneficial owners, and to
conduct other background checks. We may be required to retain and update                           We may now or in the future without your consent act for your competitors,
our records of the information obtained. We may also be required to make
                                                                                                   adverse parties or our other clients whose interests are or may be opposed to
                                                                                                   or in conflict with yours or your Affiliates in matters not substantially related to
detailed inquiries as to a number of matters, including as to the source of funds
                                                                                                   Particular Matters we are handling for you (including in transactions,
being used in Particular Matters on which we advise and the beneficial owner
of them. We refer to these requirements as the “CDD Requirements”.                                 bankruptcy, insolvency, arbitration, litigation or other forms of dispute
                                                                                                   resolution). Where we are acting for you on a Particular Matter, however, we
Where possible, we try to meet the CDD Requirements using information from                         will not act for another client on the same matter unless and to the extent that
public sources and/or by electronic verification. However, we may need to ask                      we are permitted to do so by the applicable professional conduct rules.
you for (and retain} documents and other information for this purpose. We
may provide copies of this information to any other adviser you engage or                          9.6          Conflicts of interest and   confidentiality
whom we engage on your behalf for their use in meeting similar requirements
                                                                                                   Subject applicable professional conduct rules, where we have information in
                                                                                                           to
imposed on them.                                                                                   respect of which we owe you a duty of confidentiality and which is or may be
We may delay commencing            work, decline   to act or   (if appropriate)   cease to   act   material to a matter on which we are acting for another client, we may act for
if the CDD Requirements            are    not met to our       satisfaction and within        a    that other client, provided we put in place arrangements, such as “ethical” or
reasonable period of time.                                                                         “information” screens, which are reasonably appropriate in the circumstances
                                                                                                   to ensure that the confidentiality of your information is maintained.
We may   charge you in the normal way for work that we have to do and for
expenses incurred for the purpose of meeting the CDD Requirements.                                 10.          Joint representations
7.4            Cash                                                                                Where we act for you jointly with others in a Particular Matter, we may
                                                                                                   disclose to all the parties we represent any confidential information we obtain
We do not accept cash without prior agreement. !f cash is deposited directly
                                                                                                   from you and the content of our communications with you. To that extent, the
with our bank we may charge for any additional checks we deem necessary
                                                                                                   advice we give will cease to be privileged as between you and the other
regarding the source of funds and the beneficial owner(s) of them to meet the                      clients. Unless otherwise agreed in writing, you will remain jointly and
CDD Requirements.
                                                                                                   severally liable for our fees even if you have made different arrangements with
8.             No third     party reliance                                                         the other parties. If a conflict arises during the course of a Particular Matter,
                                                                                                   we may need to cease to act for you unless the conflict can be otherwise
Our services are provided for your benefit alone and solely for the purposes of
                                                                                                   resolved. In those circumstances, we may continue to act for some or all of the
the Particular Matter to which they relate. Unless otherwise agreed in writing,




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 other clients. Representation of an association, partnership, joint venture or  to retain us on behalf of each Associated Person. You will procure that each
similar joint entity is not a joint representation. Where you and another client      Associated Person will act on the basis that they are a party to and are bound
 or clients jointly instruct us, we will assume that any of you has authority to      by the relevant Engagement Contract. All references in these terms of business
 give instructions on behalf of you unless any of you tell us otherwise in writing.   (other than in this part A paragraph 15) and in the Engagement Letter to “you”
                                                                                      (and derivatives of it) mean you and each Associated Person.
11.              Data
                                                                                      16.           Financial transactions
11.1             Use of data
 We will    hold, use and process any data you provide to us (including data          16.1          Representing financial institutions
 relating    you, your Associated Persons (as defined in part A paragraph 18
            to                                                                        Unless otherwise agreed in writing, when we represent a financial institution in
 (Definitions)) and your respective employees) to carry out conflict checks, client   a Particular Matter, we will not be responsible for advising the financial

 identification and other client intake and maintenance procedures pursuant to        institution on compliance with applicable laws and regulations arising out of its
 our CDD Requirements, comply with statutory and regulatory obligations and           legal or regulatory status or the general nature of its business or on its internal
 our internal procedures, conduct the work in the related Particular Matter and       governance issues.
 update our client databases. The data may be shared with other Mayer Brown
 Practices.                                                                           16.2          Refiling; re-recording
                                                                                      Whether      or not   you     a
                                                                                                                  are   financial institution, unless    we   otherwise agree in
 11.2            Provision and   use   of personal data
                                                                                      writing in the Engagement Contract, we do not undertake responsibility for
You must make sure that any personal data you             provide
                                                         to us and our use and        advising you upon or ensuring compliance with periodic refiling or re-recording
disclosure of that data in accordance with your instructions does not breach          requirements.
any applicable data protection laws and regulations. We will comply with our
duties as a law firm under applicable data protection and privacy laws and            17.           Use of client accounts
regulations. Further information about our privacy policy, including our data         In certain              outside the United States a Mayer Brown Practice is
                                                                                                   jurisdictions
protection inquiries policy, may be found under the legal notices section of our      permitted                      provide client account facilities to receive, hold
                                                                                                    at its discretion to
website at       www.mayerbrown.com/legal-notices.                                    and transfer funds in connection with a matter on which it is acting. If we have
                                                                                      agreed to the use of our client account such use is at your own risk. You must
 12.             No waiver of our         privilege                                   tell us in advance when you are transferring funds to us as unexpected or
We   represent many clients and handle a great number of complex matters. As          unidentified receipts may either be retained pending further investigation or
a result, from time to time, issues may arise that raise questions under our          returned to the sender. We may charge for any checks we deem necessary
applicable professional conduct rules, including possible disputes with a client      regarding the source of funds and the beneficial owner(s) to meet the CDD
and conflicts of interest issues. When such issues arise, we generally seek the       Requirements.
advice of our internal counsel (or, if we choose, outside counsel). You agree
that we, in our own discretion, may do so. We consider such consultations to          18.           Definitions
be protected from disclosure under the lawyer-client privilege. While some            In these International Terms and         (where applicable)   in   an   Engagement   Letter
courts have limited this privilege under certain circumstances, we believe that       any reference to a statute or a statutory provision includes any consolidation,
it is in both your and our interest that we receive expert analysis of our            re-enactment, modification or replacement of the same from time to time and:
obligations. Our ongoing representation of you will not result in a waiver of         “Affiliate” means in relation to an entity any person who or entity that controls
any lawyer-client privilege that we may have to protect the confidentiality of        or is under common control with or is controlled by that entity.
our communications with such counsel.
                                                                                      “Associated Person” in a Particular Matter, means (subject to part A paragraph
 13.             Force   majeure                                                      8 (No third party reliance)) any Affiliate that is with our agreement in writing a
We will not be liable to you if we are unable to perform our services in a            recipient of and entitled to rely on our services in relation to that matter.
Particular Matter as a result of any cause beyond our reasonable control. If this
happens, we will tell you as soon as reasonably practicable.                          19.           Inconsistencies
                                                                                      In the event of any         inconsistency between an Engagement           Letter and these
 14.             Assignment                                                           International Terms, the        Engagement Letter will prevail.
 14.1       Permitted assignment
                                                                                      20.           Law and       jurisdiction
We may    assign, or may assign the benefit of, any Engagement Contract to any        Each   Engagement           will, unless otherwise agreed in the Engagement
                                                                                                             Contract
successor partnership or corporate entity that carries on the business or any
                                                                                      Letter, and except    provided in part B paragraph 3.6 (Law and Jurisdiction),
                                                                                                             as
part of the business of the relevant Principal Mayer Brown Practice. You will         be subject to and governed by the laws of the jurisdiction in which the Principal
accept the performance by such assignee of the Engagement Contract in                 Mayer Brown Practice is established or incorporated. Any dispute arising from
substitution for the Principal Mayer Brown Practice. References in these              or under an Engagement Contract will be         subject to the exclusive jurisdiction of
International Terms and in any relevant Engagement Letter to the Mayer                the courts of that jurisdiction.
Brown Practice include any such assignee.
                                                                                      21.           Application of these International Terms and
 14.2            assignment
                 Other
                                                                                                    amendments
Subject part paragraph 14.1, neither you nor we have the right to assign or
        to     A
                                                                                      These International Terms supersede any earlier terms of business to which we
transfer the benefit or burden of an Engagement Contract without the written
                                                                                      may have agreed and, unless otherwise agreed in writing, apply to the services
agreement        of the other.
                                                                                      referred to in any Engagement Letter accompanying these terms and all
 14.3            Assignment by other Mayer Brown Practices                            subsequent services we provide to you.
References in these International Terms or in any Engagement Letter to                B. Additional Terms
another Mayer Brown Practice includes any limited liability partnership or
other partnership or corporate entity to or by which all or part of the business      1.            Additional Terms applicable to the US LLP only
of the other Mayer Brown Practice is from time to time transferred or carried
                                                                                      1.1           Provision for work performed      by lawyers resident in our New York
on.
                                                                                                    office
 15.             Associated Persons                                                   In the event  you have a fee dispute with us in an amount that is between
 Unless the Engagement Letter             expressly
                                          states otherwise, you accept the            US$1,000   and US$50,000, you may have the right to seek resolution of that
provisions of the Engagement Contract on your own behalf and as agent for             dispute in an arbitration under Part 137 of the Rules of the Chief Administrator,
each Associated Person. You confirm that you have, or will have, the     authority    New York State Office of Court Administration. For further information about




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the fee dispute arbitration procedures, please refer to the text of Part 137,  register maintained by it so that we can carry on insurance mediation activity.
 available   on                 www.courts.state.ny.us/admin/feedispute.
                  the internet at                                                      The   register     be accessed via the Financial Conduct Authority website
                                                                                                          can


 1.2            Provision for work performed by lawyers resident in our Houston
                                                                                       atwww.fca.org.uk/register.   This part of our business, including arrangements
                                                                                       for complaints or redress if anything goes wrong, is regulated by the Solicitors
                office
                                                                                       Regulation Authority, the independent regulatory body of the Law Society of
NOTICE TO CLIENTS: The State Bar of Texas requires us to inform you that it            England & Wales (a designated professional body for the purposes of FSMA) of
prosecutes professional misconduct committed by Texas attorneys. Although              which we are members. We will not provide insurance mediation services
not every complaint against or dispute with a lawyer involves professional             unless you expressly ask us to do so.
misconduct, the State Bar’s Office of Chief Disciplinary Counsel will provide you
with information about how to file a complaint. Please call 1 800 932 1900 toll-
                                                                                       2.5.2           Investments

free for more information.                                                             Depending on the    nature of the services we           provide
                                                                                                                                              to you, it is        possible
                                                                                                                                                                    that
                                                                                       we    may,    occasions when you instruct us to do so,
                                                                                                    on                                                   provide
                                                                                                                                                          you with legal
 1.3            Securities and   Exchange Commission   —
                                                           Standards of Professional
                                                                                       services which relate to investments. We are not “authorised” by the Financial
                Conduct
                                                                                       Conduct Authority under FSMA. Where our services are provided from the UK,
Pursuant to Part 205 in Title 17 of the Code of Federal Regulations (“Standards        we are permitted to undertake certain activities in relation to investments that

of Professional Conduct”), if any lawyer of the US LLP represents you in               are limited in scope and incidental to our legal services or which may be

appearing and practicing before the Securities and Exchange Commission (the            regarded as a necessary part of our legal services because we are regulated by
“SEC”), we may have obligations imposed on us, as further described in the             the Solicitors Regulation Authority (which together with LeO also               provides
Standards of Professional Conduct. These obligations currently are limited to          complaints and redress mechanisms). No communication either to you, or on
up-the-ladder reporting within your organization, although some form of                your behalf to any other person, during the course of our engagement is an
reporting to the SEC may be adopted. If any of our lawyers currently                   invitation or inducement to engage in investment activity and nothing we say
represents, or in the future represents, you in appearing and practicing before        or write should be construed as such.
the SEC, you acknowledge that we are (or will become) subject to the
obligations imposed on us by the Standards of Professional Conduct.
                                                                                       2.6             Third   party rights
                                                                                       Other than part B paragraphs 2.8 and 2.9, no provision of an Engagement
2.              Additional Terms applicable to the UK LLP only                         Contract is intended to be enforceable pursuant to the Contracts (Rights of
                                                                                       Third Parties) Act 1999. Accordingly, other than our employees, consultants or
 2.1            Regulatory information
                                                                                       partners wishing to rely on those paragraphs, no third party will have any right
Mayer Brown International LLP is a limited liability       partnership
                                                                   incorporated in     to enforce, or rely on, any provision of an Engagement Contract.
England and Wales under no. 0C303359. It is authorized and regulated by the
Solicitors Regulation Authority. its registered office is 201 Bishopsgate, London      2.7             Professional    indemnity insurance
EC2M 3AF.                                                                              The UK LLP is required to hold a minimum level of insurance cover under the
2.2                                                                                    Solicitors’ Indemnity Insurance Rules. The territorial coverage is worldwide for
                Members and      partners
                                                                                       the UK LLP and details of our insurers can be found under the legal and
An    English      liability partnership is a body corporate which has members
                limited
                                                                                       regulatory information page of the legal notices section of our website, at
and not partners. In these terms references to a “partner” in relation to the UK
LLP means a member of Mayer Brown International LLP. However, in our
                                                                                       www.mayerbrown.com/legal-notices.
dealings with you, the UK LLP may also use the term partner to refer to an             2.8             Exclusions and limitations   on our   liability
employee or consultant of the UK LLP who is a lawyer with equivalent standing
or qualification, or to a lawyer with equivalent standing in another Mayer             2.8.1       Proportional liability
Brown Practice.                                                                        if you suffer loss  or damage because of our breach of contract or of our


2.3             Interest on client account
                                                                                       negligence, our liability will be limited to a just and equitable proportion of the
                                                                                       total loss or damage you suffer having regard to the extent of the responsibility
The UK LLP main client account is with the Royal Bank of Scotland. Unless we           of any other party who may also be liable to you in respect of such loss and
agree otherwise in writing we deposit client money in an instant access deposit        damage. Our liability in these circumstances will not be increased because of
account and will pay interest for the period during which the money is held,           any actual or potential shortfall in recovery from another party whether due to
unless such interest is de minimis. We calculate interest at a rate equivalent to      any exclusion or limitation of liability that you have agreed to with another
that payable by our bank on such accounts. Our policy for the handling of              party, difficulty in enforcement, settlement of claims or any other reason.
client funds, including the basis of payment of interest, can be found in the
legal notices section of our website at www.mayerbrown.com/legal-notices.              2.8.2           Liability in respect of other parties
                                                                                       Where      we     instruct another party on your behalf (for example, a barrister,
2.4          Complaints                                                                                             we will not be liable for the services provided by that
                                                                                       expert or co-counsel)
We will do what we reasonably can to resolve any complaint about our services          other party.
or bills in accordance with the UK LLP’s complaints handling policy, a copy of

which is available in the legal notice section of our website at
                                                                                       2.8.3           Liability cap
www.mayerbrown.com/legal-notices and which will be provided on request. If             We may, from time to time, if permitted by local laws and                     applicable
you are not satisfied with our handling of your complaint you may be eligible to       professional conduct rules, agree with you that our aggregate liability to you
complain to the Legal Ombudsman (“LeO”) at PO Box 6806 Wolverhampton                   for a Particular Matter or Matters is limited to an amount              specified
                                                                                                                                                                in the
WV1          You must contact LeO within six months of our final response;             relevant Engagement Letter (a “Liability Cap”).
otherwise LeO may decide not to investigate your complaint. More
information is available at www.legalombudsman.org.uk. You may have right
                                                                                       A Liability Cap will apply to all liability that we may have to you in respect of the
                                                                               a       relevant Particular Matter or Matters, including for breach of contract and for
to object to   bill from the UK LLP by making a complaint as above and/or by
                a                                                                      negligence (but not for banking failure or compliance with legislation in respect
applying to the Court for an assessment of the bill under Part III Solicitors Act      of which a separate limit of liability applies as set out in part B paragraph 2.10).
1974.
                                                                                       The Liability Cap (if any) will apply on an aggregate basis to all liabilities that we
2.5             The Financial Services and Markets Act 2000     (“FSMA”)               may have    to you and any Associated Person (including third parties when a
                                                                                       consent to such third parties is given under part A paragraph 8 (No third party
2.5.1           Insurance contracts
                                                                                       reliance))   in the relevant Particular Matter   or   Matters.
If and to the extent that our legal services involve insurance mediation activity
(which is, broadly, the advising on, selling and administration of insurance           2.9                   against individual employees/partners
                                                                                                       No claim

contracts) from the UK, you should note that we are not “authorised” by the            No individual   employee, consultant or partner of the UK LLP has a contract with
Financial Conduct Authority under FSMA. However, we are included on the                you   or   owes you a duty of care. Any services performed by an employee,




                                                                                                                                                                    HLIU003613
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consultant or are     partner       performed
                       on behalf of the relevant Brown   The will on an  basis to all liabilities that we
                                                                               Mayer                     Liability Cap (if any)         apply     aggregate
Practice and that person does not assume any personal responsibility to you or                    may have         to   you and any Associated Person   (including third parties when a
any other party for those services. Accordingly, it is a fundamental provision of                 consent to such        third parties is given under part A paragraph 9 (No third party
these International Terms that you will not bring any claim against any                           reliance))      in the relevant Particular Matter or Matters.
individual employee, consultant or partner, directly or indirectly, in connection
with our services.
                                                                                                  3.3                 against individual employees/partners
                                                                                                                   No claim

                                                                                                  No individual employee, consultant or partner of the HK Partnership has a
None of the provisions of this part B paragraph 2.9 limit or exclude the liability
                                                                                                  contract with you or owes you a duty of care. Any services performed by an
of the UK LLP for the acts or omissions of any employee, consultant or partner.
                                                                                                  employee, consultant or partner are performed on behalf of the HK Partnership
2.10             liability for banking failure and our compliance with legislation
                No                                                                                and that person does not assume any personal responsibility to you or any
                                                                                                  other party for those services. Accordingly, it is a fundamental provision of
We do not accept liability for any loss or damage you suffer if any bank that we
                                                                                                  these International Terms that you will not bring any claim against any
use collapses or for reasons outside of our control is otherwise unable to
                                                                                                  individual employee, consultant or partner, directly or indirectly, in connection
transact business or transfer funds in a timely manner or at all. However, if
                                                                                                  with   our     services.
such liability is nonetheless imposed on us by a court of law, our liability to you
will not exceed an amount equal to the minimum level of insurance cover                           None of the provisions of this part B paragraph 3.3 limit or exclude the liability
required from time to time under any applicable rules governing the insurance                     of the HK Partnership for the acts or omissions of any employee, consultant or
of solicitors. This limitation of liability will not be increased by any Liability Cap            partner.
agreed with you.                                                                                  3.4              No   liability for banking failure and our compliance with legislation
2.11            Inside information
                                                                                                  We do not        accept liability for any loss or damage yousuffer if any bank that we
If you     are a     company that has, the subsidiary of a company that has,
                                           or                                                     use    collapses      or   for    outside of our control is otherwise unable to
                                                                                                                                   reasons
securities that are listed on a regulated market you will tell us if a matter on                  transact business or transfer funds in a timely manner or at all. However, if
which we are advising you is or becomes “inside information” in relation to that                  such liability is nonetheless imposed on us by a court of law, our liability to you
company or its securities. Following any such notification, we will implement                     will not exceed an amount equal to the minimum level of insurance cover
our internal procedures relating to the handling of such information.                             required from time to time under any applicable rules governing the insurance
                                                                                                  of solicitors. This limitation of liability will not be increased by any Liability Cap
2.12             rights over your property (our lien)
               Our
                                                                                                  agreed with you.
If any,    any part of any, bill is not paid within 30 days after the bill is sent, we
          or

will, to the extent we are permitted to do so as a matter of law and applicable
                                                                                                  3.5              rights over your property (our lien)
                                                                                                                   Our

professional conduct rules, retain money, papers and other property belonging                     If any,   or                         paid within 30 days after the bill is sent, we
                                                                                                                 any part of any, bill is not
to you even if these have been provided to us in relation to a different matter                   will, to the extent we are permitted to do so as a matter of law and applicable
until such time as all amounts due to us are paid in full. Subject to applicable                  professional conduct rules, retain money, papers and other property belonging
professional conduct rules, we may seek a charging order over property that                       to you even if these have been provided to us in relation to a different matter
we recover or preserve for you in litigation. We do not waive these rights if we                  until such time as all amounts due to us are paid in full. Subject to applicable
accept any alternative security for our costs, for example a payment on                           professional conduct rules, we may seek a charging order over property that
account.                                                                                          we recover or preserve for you in litigation. We do not waive these rights if we

                                                                                                  accept any alternative security for our costs, for example a payment on
3.             Additional Terms           applicable to the HK Partnership                        account.
               only                                                                               3.6              Law and     jurisdiction
3.1            Third    party rights                                                              Notwithstanding part A paragraph 20 (Law and jurisdiction), and unless
Other than part B paragraphs 3.2 and 3.3, no provision of an Engagement                           otherwise agreed in writing, each Engagement Contract with Mayer Brown JSM
Contract is intended to be enforceable pursuant to the Contracts (Rights of                       or its associated legal practice in Asia will be governed by Hong Kong law and
Third Parties) Ordinance (Cap 623).                                                               any dispute arising from or under such Engagement Contract will be subject to
                                                                                                  the exclusive jurisdiction of Hong Kong courts.
3.2            Exclusions and limitations on     our   liability
3.2.1       Proportional liability
If you suffer loss  or damage because of our breach of contract or of our

negligence, our liability will be limited to a just and equitable proportion of the
total loss or damage you suffer having regard to the extent of the responsibility
of any other         party   who may also be liable to you in      respect   of such loss and
damage.          liability in these circumstances will not be increased because of
               Our
any actual or potential shortfall in recovery from another party whether due to
any exclusion or limitation of liability that you have agreed to with another
party, difficulty in enforcement, settlement of claims or any other reason.
3.2.2 Liability in respect of other parties
Where we instruct another party on your behalf (for example, a barrister,
expert or co-counsel) we will not be liable for the services provided by that
other     party.
3.2.3          Liability cap
We    may, from time to time, if permitted by local laws and applicable
professional conduct rules, agree with you that our aggregate liability to you
for a Particular Matter or Matters is limited to             an    amount    specified   in the
relevant Engagement Letter (a “Liability Cap”).
A Liability Cap wilt apply to all liability that we may have to you in respect of the
relevant Particular Matter or Matters, including for breach of contract and for
negligence (but not for banking failure or compliance with legislation in respect
of which a separate limit of liability applies as set out in part B paragraph 3.4).




                                                                                                                                                                              HLIU003614
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                        Exhibit 3
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From:              Jerry Wang (FF China) [/O=FIRST ORGANIZATION/OU=EXCHANGE ADMINISTRATIVE GROUP
                   (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=A13EE35D36764DFDACED9FB3DBFE2A11-JERRY]
Sent:              10/20/2017 5:48:48 PM
To:                Liu, Hong (Henry) [HLiu@mayerbrown.com]; Wentao Huang [/o=First Organization/ou=Exchange Administrative
                   Group (FYDIBOHF23SPDLT)/cn=Recipients/cn=f38e87726cf742bc89eedebfffp246dc-Wenta]
cc:                Duffee, David K. [DDuffee@mayerbrown.com]; Recht, Philip R. [PRecht@mayerbrown.com]; Newhouse, Brian            E.
                   [BNewhouse@mayerbrown.com]
Subject:           RE: [EXTERNAL] Mayer Brown Proposal & Work Plan and Engagement Letter & Terms



Well received, thank you very much Mr. Liu!


From: Liu, Hong (Henry)        [mailto: HLiu@mayerbrown.com]
Sent: Friday, October 20, 2017 2:18 PM
To: Jerry Wang (FF China) Jerry.Wang@ff.com>; Wentao Huang <Wentao.       @ff.com>    Huang
Cc: Duffee, David K. <DDuffee@mayerbrown.com>; Recht, Philip R. <PRecht@mayerbrown.com>;                        Newhouse,     Brian E.
<BNewhouse@mayerbrown.com>
Subject: [EXTERNAL] Mayer           Brown   Proposal & Work Plan and Engagement Letter & Terms
Dear Jerry and     Wentao,

As    discussed, attached     please find Mayer Brown Proposal and Work Plan for Faraday Future, and our Engagement Letter
and Terms.

Please if you could let      me   know if you may have any   questions.
We     are   exited about   working with you and your team, and about working to bring Faraday Future a complete success.
Many thanks and best regards,

Henry
(Henry) Hong Liu
Partner
Mayer Brown LLP
1221 Avenue of the Americas
New York, NY 10020-1001
T +1212 506 2886
C+1 917 753 0885
F +1212 894 5866
hliu@mayerbrown.com




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                                                                                                                                FFOOQ000104
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                                                                           FFOOQ000105
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                                  #:3935




                        Exhibit 4
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From:                Jerry Wang (FF China) [/O=FIRST ORGANIZATION/OU=EXCHANGE ADMINISTRATIVE GROUP
                     (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=A13EE35D36764DFDACED9FB3DBFE2A11-JERRY]
 Sent:               10/25/2017 10:41:08 PM
To:                  HenryLiuEsq@Gmail.Com
 Subject:            Follow up
Attachments:         Draft_Executive Contract Term   Sheet   (Henry L) 171024.docx; Draft_Option valuation form Henry.xlsx
                                                                     -                                         -




Dear Mr.     Liu,

As discussed        please refer to attachment. Much appreciated and very much looking forward to next step!
Sincerely,
Jerry
Jerry Wang



&   jerry.wang@if.com




                                                                                                                             FFOOQ000083
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                NATIVE DOCUMENT PLACEHOLDER

      Please review the native document FF00000086.XLSX
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      FF Option Valuation Estimation
      For Henry L review only, does not have any legal-binding obligation

      Total offer shares                      20,000,000
      Percentage                                      2%

                                       Base                Good
      Series A Value                    $    42,857,143    $    42,857,143
      Series B Value                    $ 100,000,000      $ 150,000,000
      IPO Value                         $ 432,432,432      $ 648,648,649
      IPO 3 years Value                 $ 1,000,000,000    $ 1,000,000,000
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FF                                                   RMB rate               6.6
Percentage               2.00000%
Current Share       1,000,000,000                    Assumption
A Share             1,400,000,000
B Share             1,600,000,000
IPO Share           1,850,000,000                    Base         Good
IPO 3 years Share   2,000,000,000
Valuation
A Valuation         3,000,000,000   3,000,000,000    3B USD
B Valuation         8,000,000,000  12,000,000,000    8B USD       12B USD
IPO Valuation      40,000,000,000  60,000,000,000    40B USD      60B USD
IPO 3 years       100,000,000,000 100,000,000,000    100B USD
Share price
A Price                       2.14            2.14
B Price                       5.00            7.50   Offer
IPO Price                    21.62           32.43   Cash+Bonus      900,000
IPO 3 years Price            50.00           50.00   FF           20,000,000
Share offered          20,000,000      20,000,000    FF %              2.00%
Share value
A Value                42,857,143      42,857,143
B Value               100,000,000     150,000,000
IPO Value             432,432,432     648,648,649
IPO 3 years Value   1,000,000,000   1,000,000,000
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                         DRAFT EMPLOYMENT AGREEMENT TERM SHEET
                                      FOR HENRY L

        This draft term sheet sets forth the terms and conditions of employment for Henry L(the
        “Executive”) to serve FF Inc., (the “Company”) as Vice Chairman and Global General Counsel,
        BEFORE Series A Financing. These terms and conditions will be memorialized in an executive
        employment agreement, by and between the Company and the Executive (the “Agreement”)
        together with such other reasonable and customary terms and conditions as may be negotiated in
        good faith between the Company and the Executive. If the Executive decides to join the Company
        AFTER Series A Financing, the terms and conditions will be invalid and subject to further
        discussion. This term sheet is only for reference, without any legal-binding obligation.

         Position and Duties              Vice Chairman and Global General Counsel of FF Inc. The
                                          Executive is reporting to the CEO of the Company. Duties and
                                          responsibilities commensurate with such position, and subject to
                                          typical exceptions for serving on other civic / charitable /
                                          corporate boards with no conflict of interest of the Company and
                                          for managing personal investments.

         Term                             Commences     on   [],   2017 and continues until terminated   pursuant
                                          to the terms set forth in the    Agreement.
         Salary and Bonus                 Annual salary and bonus of US$900,000 per year. Base salary
                                          will be reviewed on an annual basis for increases in accordance
                                          with the review process for senior level executives of the
                                          Company.
         Additional Bonus   Opportunity | After   successful       financing including
                                                                                   Series A, China Joint
         (Short-Term Incentive)           Venture etc., in which the Executive is     of the leading role of
                                                                                         one
                                          the project group and makes substantial contributions, the
                                          Executive will have access to special Bonus based on a percentage
                                          of overall transaction.

         Equity Grants (Long-Term         Will be eligible for at least an overall 20,000,000(2%) of the fully
         Incentive)                       diluted equity of the Company as stock option, with initial grant
                                          of 10,000,000(1%) and follow-on grant of 10,000,000(1%).

         Benefits/PTO                     Participation in all benefit plans and programs at the same level
                                          as all senior level executives of the Company, including corporate

                                          housing, transportation, retirement, welfare, vacation and PTO.
                                          Specific details will be provided shortly after the Executive joins
                                          the Company.

                                          [Signature Page Follows]




CONFIDENTIAL                                                                                                 FFOOQ000084
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        Sincerely,                             Agreed to and accepted:


        Signature:                             Signature:
        Printed Name:                          Printed Name:
        Title:
        Date:




CONFIDENTIAL                                                                     FFOOQ000085
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                        Exhibit 5
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  From:               H. Liu
  Sent:               Sunday, October 29, 2017 9:39 AM CDT
  To:                 jiawei.wang.1990@gmail.com
  BCC:                Liu gmail Henry H.
  Subject:            Attachments
  Attachments:        2017HLiuNetSalaryDrawExcludingBonus&Dividends(Confidential).pdf,
                      102017HLiuOfficialAttorneyBioonMayerBrownFirmWebsite(English).pdf,
                      102017HLiuOfficialAttorneyBioonMayerBrownFirmWebsite(Chinese).pdf


  Please find the attached. Best regards.




                                                                                           HLIU008288
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                                  #:3947




                                                             MAYER: BROWN


  刘洪
  合伙人
  hliu@mayerbrown.com
  纽约
  电话 +1 212 506 2886
  传真 +1 212 849 5866


  Mayer Brown（美亚博孖士达国际律师事务所）是当今世界规模最庞大、历史最悠久和业
  务最广泛的国际性律师事务所之一，其分所和办事处遍布美洲、欧洲和亚洲主要经济和金
  融中心。刘洪律师作为全球合伙人律师，以纽约为主要工作基地，负责全所在美国的亚洲
  与大中华相关业务的管理和协调，并且在全所位于亚洲、欧洲和美洲的各个分所与办事处
  之间起着重要的协调作用。

  刘律师的专业特长，除了金融之外，还包括收购兼并、各类投资、商业交易、资本市场和
  监管事务等。刘律师在处理亚洲和大中华企业在美国和全球其它地区开展业务，包括投资
  融资、股票债券、金融银行、收购兼并、房地产、基础设施、航空交通、各类能源、资产
  证券化和其它商业活动等方面，有着广泛和深厚的业务经验。同时，刘律师在处理美国和
  其它国家与地区的企业在亚洲和大中华地区开展业务，包括市场进入、外商投资、公私基
  金、技术转让、监管事务等方面，有着长期和坚实的专业实践。刘律师代表着包括全球性
  大公司和财富 500 强以及新兴公司在内的广大客户，跨越众多的行业领域、广泛的业务板
  块和多样的交易类型。刘律师还帮助许多中国和亚洲企业、金融机构和投资资金等实体和
  机构，在美国和全球开展大量业务。

  在上世纪九十年代，刘律师在中国证券监督管理委员会（“中国证监会”）担任首席律师和
  几个部门的主任（正厅局级），成为中国资本市场法律、法规和政策的起草、解释和实施
  等工作的主要负责人之一。他还担任了中国证监会《证券法》起草工作小组组长，为中国
  首部《证券法》的起草和出台做了重要工作。刘律师还长期担任过中国国务院任命的股票
  发行审核委员会的重要成员。刘律师被广泛认可为中国资本市场和证券市场的发展做了许
  多工作。

  刘律师的投资银行背景包括于本世纪初在美国著名的帝杰投资银行（DLJ）和全球性瑞士
  信贷第一波士顿投资银行（CSFB）担任投资银行董事总经理，在与亚洲和中国相关的收
  购兼并和其他金融业务中起到了重要作用。刘律师长期的国际法律执业经历包括在几个全
  球性律师事务所担任合伙人和亚太暨大中华业务主席兼管理合伙人。

  2015 年美国《国家法律杂志》授予刘律师 “法律监管拓荒领军者奖”，这是美国法律专业
  最高荣誉和认可之一，奖励他早年帮助中国法治进程所做的工作；奖励他目前所从事的帮

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  www.mayerbrown.com
  https://www.mayerbrown.com/zh-CHS/people/henry-hong-liu/



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  助亚洲和中国公司在美国和全球开展业务、遵循国际惯例的拓荒和先行工作；奖励他关于
  全球商业和资本的流动只有基于遵循共同规则才能高效实现的信念和探索。

  刘律师于 1998 年和 1999 年连续两次获得美国《商业周刊》授予的“亚洲之星”奖，奖励他
  在参与处理亚洲金融危机、推进中国经济建设和中国法治改革所起的作用。1999 年，世
  界经济论坛在瑞士全球首脑会议上为他颁授“全球未来领导者奖”。1999 年在中华人民共
  和国建国 50 周年之际，时代杂志的《亚洲周刊》认可他是“为中国建设作出杰出贡献者”。

  刘律师获有美国哈佛大学法学硕士学位、英国牛津大学工商管理硕士学位和中国北京大学
  法学博士学位，并曾就读和完成美国斯坦福大学法学博士必修课程。他还毕业于中国南开
  大学和外交学院。刘律师曾任哈佛大学和斯坦福大学约翰 M.奥林法律与经济学研究员、
  牛津大学美标管理学研究员。刘律师拥有美国纽约州律师执照长达 25 年，并且拥有中国
  律师资格。

  教育背景

        Harvard Law School, LLM
        Peking University Law School, JSD
        University of Oxford, MBA

  执业资格

        纽约州
        中国

  新闻和出版物

        "赴美投资方程式 | 外国企业投资美国攻略," 12 June 2017
        "Mayer Brown partner (Henry) Hong Liu named a “2015 Regulatory & Compliance
         Trailblazer” by The National Law Journal," 24 June 2015
        "The National Law Journal’s Regulatory & Compliance Trailblazers 2015: Henry Hong
         Liu, Mayer Brown," The National Law Journal, 22 June 2015




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  www.mayerbrown.com
  https://www.mayerbrown.com/zh-CHS/people/henry-hong-liu/



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                                  #:3950




                                                                          MAYER: BROWN


  Henry Hong Liu
  Partner
  hliu@mayerbrown.com
  New York
  T +1 212 506 2886
  F +1 212 849 5866

  (Henry) Hong Liu is a partner of Mayer Brown LLP, one of the largest full service global law firms, with
  offices in major economic and financial centers around the world. Based in the firm’s New York office,
  Henry plays a leading role in managing and coordinating the firm’s Greater China and Asia practice in the
  US. As a leader of the firm’s US-China practice initiatives, he is instrumental in connecting our offices in
  Asia, Europe and the Americas.

  Henry’s broad practice areas have included banking and finance, mergers and acquisitions, investments
  and transactions, and regulatory and disputes with a strong emphasis on cross-border transactions
  involving Asia and Greater China. Henry has extensive experience representing Asia- and Greater China-
  based companies conducting business in the United States and other parts of the world, including in
  such industries as financial institutions and investment entities, real estate and infrastructure, aviation
  and transportation, energy and resources, and manufacturing and technology. He also advises US and
  foreign companies doing business in Asia and Greater China, including in market access, direct
  investments, public and private funds, capital markets, technology transfers and regulatory matters.

  In the 1990s, Henry served as the General Counsel and Director-General of the China Securities
  Regulatory Commission (CSRC). In that role, he was the lead professional regulator responsible for
  drafting, interpreting, and administering China's capital and securities market rules. He headed up the
  working group for drafting and enacting China’s first securities law. He also served as a key member of
  the stock issuance examination board appointed by the State Council. He is regarded as having made
  significant contributions to the development of China’s securities and financial markets.

  Henry’s investment banking background has consisted of serving as a managing director of investment
  banking at Donaldson, Lufkin & Jenrette (DLJ) and Credit Suisse First Boston (CSFB) in the early 2000s,
  where he played an important role in a variety of China- and Asia-related M&A and other financing and
  business transactions. His legal practice has included serving as a partner, chairman, and managing
  partner of China and Asia practices for several global law firms.

  In 2015 Henry was honored by The National Law Journal (NLJ) in the United States as a “Regulatory &
  Compliance Trailblazer”. Henry was twice honored with the “Stars of Asia Award” by BusinessWeek as
  China’s national policymaker in 1998 and 1999 for his role in China’s economic and legal reforms and in
  the Asia Financial Crisis. He received the “Global Leader for Tomorrow Award” from the World Economic
  Forum in Davos in 1999. AsiaWeek (Time) recognized him as a “Nation Builder” in 1999.

  Henry earned an LLM degree from Harvard Law School (as a John M. Olin Fellow in Law and Economics),
  a JSD degree from Peking University Law School, and an MBA from Oxford University (as The American
                                                       1
  www.mayerbrown.com
  https://www.mayerbrown.com/people/henry-hong-liu/



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  Standard Companies Fellow in Management). He has been licensed as a New York and international
  lawyer for more than 25 years.

  Education

        Harvard Law School, LLM
        Peking University Law School, JSD
        University of Oxford, MBA

  Admissions

        New York
        People's Republic of China

  Activities

        New York State Bar Association
        American Bar Association

  News & Publications

        "Formulas for Successful US Investing Series | Tips for Overseas Investors Tapping into the US
         Market," Mayer Brown Video, 12 June 2017
        "Mayer Brown partner (Henry) Hong Liu named a “2015 Regulatory & Compliance Trailblazer”
         by The National Law Journal," 24 June 2015
        "The National Law Journal’s Regulatory & Compliance Trailblazers 2015: Henry Hong Liu, Mayer
         Brown," The National Law Journal, 22 June 2015




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  www.mayerbrown.com
  https://www.mayerbrown.com/people/henry-hong-liu/



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                                         #:3953
                                                               Mayer Brown LLP                                           Date   Prepared:   10/4/2017
                                                     201 7 Partner Distribution Projection
                                                         TK#: 48692 Name: Liu, Hong
lie                                        =                                    ==

      INCOME PARTICIPATION
             Parts Income 2017
                          -




                       Bracket                                                                                      10
                       Parts Income 338.00 parts at $ 3,667 (2016
                                       -



                                                                                     Value)                                           1,239,446
                       Parts Income Holdback
                                       -

                                                                                                               10%                     (123,945)
                       Add Estimated Interest on Contributed Capital                                                                        12,074


                                                                                                     TOTAL INCOME                     1,127,575
SSE SE                                                     ===                                               Se
      LESS CHARGES AGAINST INCOME                                                        Months          Per Month
             Standard Monthly Draw                                                             12          25,000                       300,000


             Other Distributions                                                                                                                 0
                                           Interim Special Income Distributions
                                                  Mar      100.00                                           33,800
                                                  Apr            100.00                                     33,800
                                                  May            100.00                                     33,800
                                                  Jun            100.00                                     33,800
                                                     Jul         150.00                                     50,700
                                                  Aug            200.00                                     67,600
                                                  Sep            250.00                                     84,500
                                                  Oct            250.00                                     84,500
                                                  Nov            250.00                                     84,500
                                                  Dec            0.00                                       58,616                      565,616
                                            Jan 2018                                                                                             0
                                            Mar 2018                                                                                             0
              INSURANCE / OTHER
                             Insurance                                                                      44,197
                                   Penalties, Advances, Interest          on   Advances                          0
                                   Personal Charges                                                              0
                                   Prior Year Adj's / Special      Charges                                       0                          44,197
              RETIREMENT PLAN CONTRIBUTIONS
                            Regular Savings Plan                                                            36,000
                            Sec. 401(k) Savings Plan                                                        24,000
                            Cash Bal Plan                                                                   36,0606
                            CB (Gains)/Losses                                                                    0                          90,000
              ESTIMATED WITHHELD INCOME TAXES
                            Illinois Tax                                                                    15,408
                            New York Tax                                                                         0
                            CA Tax                                                                               0
                            State Group Filings                                                             12,347
                            NY Metro                                                                             0
                            PY Adj to US Tax                                                                     0
                                 Germany                                                                    10,100
                                   PY Adj      Germany                                                           0
                                   UK                                                                            0                          37,855
              Capital contribution / capital loan                                                                                           78,217
              Interest on capital financing loan
                                                                                                                                            11,690
                                                                                                    TOTAL CHARGES                     1,127,575
                                                                                                     NETBALANCE                                  0
                                                  are                                     ES                                            RE
                                                                                                                                                        |
                                                                                                                                            HLIU008291
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                        Exhibit 6
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will try to find time to speak today and if not we shall plan on speaking tomorrow. Best regards. H
                                       #:3955
         Jerry 18:11
Well received, thank you so much Mr. Liu!


                                        ————— 2017-11-2 —————

         Jerry 16:05
[                                                       : https://gu.qq.com/news-zixuangu?id=nestech-
20171101023797&wxurl=qqstock://stocknewsV2/nestech-20171101023797///8/sz300104//&
pagetype=share&stockName=%E4%B9%90%E8%A7%86%E7%BD%91&stockCode=sz300104]

         Jerry 16:11
Dear Mr. Liu, please refer to the latest information above, recently there are some negative rumors going on in China,
these are all competely fake and I hope won't influence your judgment, appreciated and I sincerely looking forward to
your reply.

         Jerry 21:22
Looking forward to your reply, thank you Mr. Liu!


                                        ————— 2017-11-3 —————
Henry Liu 11:47
Sorry for not being able to speak early. Can you speak now? Best regards.

         Jerry 12:06
Thank you for your reply Mr. Liu, I'm driving now can I call you back around 35 mins?

         Jerry 12:08
Probably around noon time LA?

         Jerry 12:08
Apologize sincerely

Henry Liu 12:12
Fully understood. No problem. Drive safely.

         Jerry 15:00
Hi Mr. Liu, apologize again for the delay, is now a good time to talk? Thanks!


                                      ————— 2017-11-10 —————

         Jerry 02:52
                        11/20      FF

Henry Liu 11:59
Hi Jerry -- Let's talk about it. Regards.


                                      ————— 2017-11-11 —————



                                                                                                              HLIU006897
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Henry Liu 01:32                       #:3956
Jerry -- When can you speak. I can speak now if you want to. I was afraid that it might not be as convenient to speak
when I start traveling tomorrow. Regards. H

         Jerry 01:33
Thank you Mr. Liu, can you do WeChat call?

Henry Liu 01:35
Sure


                                    ————— 2017-11-12 —————

         Jerry 12:07
Dear Mr. Liu, please let me know when is a good time to talk, thanks!

Henry Liu 18:56
How about now or in half an hour.

         Jerry 19:32
Now is a good time?

Henry Liu 19:36
Sorry. In 5 minutes.

         Jerry 19:40
Pls call me whenever is good on your side, thanks Mr. Liu


                                    ————— 2017-11-16 —————

         Jerry 23:28
Dear Mr. Liu, hope everything is going on well with you China trip! Sincerely apologize for the significant delay due to
investor due diligence session, I've shared standard FF package for your view to your personal gmail address




                                                                                                                 HLIU006898
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                                          #:3957

Mi        Gmail
                                                                                          Work Product
                                                {#f#Jerry" and "Henry Liu"
                                                                                                         -




Chat      history between                                                                 BXguereren

H Liu <hliusunshine@gmail.com>                                                                               Mon,   Apr 12, 2021   at 10:34 AM
To: H Liu Sunshine Legal Matter Email            <HLiuSunshine@gmail.com>
  Dear:

        The text and     image chat history between "= f#{#Jerry" and "Henry Liu" is as follows.


                                                                 2017-11-16

  £(#fbJerry 23:28
  Dear Mr. Liu, hope everything is going on well with you China trip! Sincerely apologize for the significant delay due to
  investor due diligence session, I've shared standard FF package for your view to your personal gmail address


       f£(#Jerry 23:28
  Please let      me   know   anytime you would like to discuss further, thanks.

                                                ———

                                                                 2017-11-17       ——————_




  Henry Liu            10:57
  Hi Jerry Thanks for the e-mail and | can only open up two attachments while | am traveling. Shall | fill those terms
             --




  that we have so far agreed on and those we have been discussing into the form letter agreement you have provided,
  so that going forward we can base our discussions in some written format and develop it into a letter agreement. | can
  perhaps start sending you preliminary and draft mark-ups in over the weekend. For the basis of the equity
  participations we had talked about Yidao, Lucid and LeSee, in addition to FF. So far only FF is defined as the US
  equity that is provided in the current form agreement you have so far provided. Would you want to provide those three
  in the same form agreement with FF, or if you have other equity participation forms, or if we need to draft another
  agreement for those three? Best regards.

       f£(sJerry 21:40
  Sounds     good, thanksa       lot Mr. Liu!


  = f£(#Jerry 21:41
  LeSEE is in VIE, 100% owned by FF so there is no separate               option plan for LeSEE.   Lucid and Yidao        are   completely
  outside so no relationship with FF or FF option plan as well.


  £(EfFJerry 21:42
  No   one   executive in FF has any shares        or   options in Yidao or Lucid, except YT himself of course.



       f£(Jerry 02:54
  Dear Mr. Liu, |      was   wondering what should be our next step? Thanks.
  Henry Liu 17:30

                                                                                                                                    HLIU006899
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                        Exhibit 7
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                                  #:3959



  From:                            Jerry Wang (FF China)
  Sent:                            Thursday, November 16, 2017 10:17 PM CST
  To:                              HenryLiuEsq@Gmail.Com
  Subject:                         FF US employment contract
  Attachments:                     FF_Confidential Agreement_Gardena (legalrev6.6.17) - Final.pdf, Offer Letter Template (6.27.2017).docx,
                                   US Equity Documents.zip


  Dear Mr. Liu,

  Apologize for the delay, please refer to attachment, thank you and very much looking forward to next
  step!

  Sincerely,
  Jerry

  Jerry Wang
  General Manager | Global Capital and Investment Banking



        7N           Faraday                    Future
  e   jerry.wang@ff.com
  c   +1 201-354-7734 / +86 151-1690-3389
  a   18455 S Figueroa St, Gardena, CA 90248
  w   www.ff.com

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                                                                                                                                                                         HLIU001347
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         Faraday Future


  Employee Name
  1234 Street St
  City, ST 91919
  Email Address

  Dear First Name,
  I am pleased to offer you a position with Faraday&Future Inc. (the “Company”), as an
  exempt [a non-exempt] Job Title reporting to Supervisor Name, Supervisor Title. If you
  decide to join us, you will receive an annual salary of $000,000 [an hourly rate of $00.00,
  plus any applicable overtime required by law,] that will be paid semi-monthly [bi-weekly]
  in accordance with the Company’s normal payroll procedures. You should note that the
  Company may modify job titles, salaries, and benefits from time to time as it deems
  necessary.
  [In addition, the Company will advance a signing bonus of $0,000, subject to the terms of
  the attached Signing Bonus Agreement, and provided you meet the employment
  conditions set forth below and accept and return this offer letter and the Signing Bonus
  Agreement by March X 2017.]
  [The Company will reimburse you for your reasonable and customary moving expenses
  associated with your relocation to the Los Angeles, California area, subject to the terms
  and conditions of the Company’s Relocation Policy and your Benefits Relocation
  Agreement, which are attached to this offer letter. In conjunction with your relocation, the
  Company will also provide a settling in allowance of $XX intended to cover other
  reasonable move-related expenses not otherwise covered by Faraday’s policies, which
  will be included with your first company payroll check.]
  As an employee, you will also be eligible to receive a discretionary performance bonus
  with a target amount of up to $00,000 (less deductions and withholdings required by law).
  The actual amount or payment of any discretionary bonus is subject to the Company
  achieving its business objectives and your individual contributions to the Company’s
  business goals, as assessed by your Manager at the time the Company annual
  performance reviews take place. You must also be an active employee on the date any
  discretionary bonus becomes payable. The bonus will not be deemed earned by you and
  become payable unless or until it is awarded in the sole discretion of the Company.
  As an employee, you will also be eligible to receive Company subsidized health
  insurance, the opportunity to participate in the Company’s Fidelity 401k-retirement plan,
  paid time off, and holiday entitlement, specific details of which will be provided shortly
  after you join the Company.
  You will also be eligible to receive an employee stock option grant equal to 0,000 options
  to purchase Class A ordinary shares in FF Global Holdings Ltd (which is the holding
  company that represents both the U.S. design company and any current manufacturing
  subsidiaries). All employee stock option grants are subject to approval by the Board of
  Directors and the terms of the FF Global Holdings Ltd Equity Incentive Plan, and will have
  an exercise price equal to the then-current fair market value of the Company’s ordinary
  shares as of the grant date (as determined by the Board of Directors.) Any grant will
  become vested and exercisable as follows: 25% will become vested and exercisable on
  the first anniversary of your start date and the remainder of the options will become vested
  and exercisable in equal installments over the next 36 months (1/48 per month), subject

  FF.com                 18455 S   Figueroa   St.
  +1 424 276 7616        Gardena, CA 90248




                                                                                                 HLIU001348
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         Faraday Future


  to your continued, uninterrupted employment with the Company or an eligible affiliate.
  Full details of this program will be made available to you at the time any stock option grant
  is issued, which will occur upon completion of a current third party valuation of the Class
  A shares and receiving Board Consent.
  This offer is contingent on the Company’s verification of your right to work in the United
  States and your successful clearance of a background and reference check. Upon receipt
  of a signed authorization form from you, the Company will undertake a background and
  reference check in a manner consistent with the requirements of applicable state and
  local laws, including the City of Los Angeles’ Fair Chance Initiative for Hiring Ordinance.
  This investigation may also include a consumer report, as defined by the Fair Credit
  Reporting Act (“FCRA”), 15 U.S.C. 1681a, and/or an investigative consumer report, as
  defined by FCRA, 15 U.S.C. 1681a, and California Civil Code 1786.2(c). This
  investigation will not include information bearing on your credit worthiness. Please refer
  to the attached Background Check Disclosure and Authorization for important information
  regarding your rights. For purposes of federal immigration law, you also will be required
  to provide the Company with documentary evidence verifying your identity and eligibility
  for employment in the United States, within three (3) business days of your start date.
  Failure to provide this documentation or failure to successfully clear a background
  investigation and reference check may result in this offer of employment being withdrawn,
  in Company’s sole discretion, after any notices and assessments required by law have
  been provided to you.
  The Company is excited about you joining us and we look forward to a beneficial and
  productive relationship. Nevertheless, you should be aware that your employment with
  the Company is for no specified period of time and constitutes at-will employment. As a
  result, you are free to resign at any time, for any reason or for no reason. Similarly, the
  Company is free to conclude its employment relationship with you at any time, with or
  without cause, and with or without notice. We request that, in the event of your
  resignation, you give the Company at least two weeks’ notice. Nothing contained in this
  offer letter or any Company policy shall be construed to as a contract of employment or
  to modify the terms of your at-will employment relationship with Company.
  We also ask that, if you have not already done so, you disclose to the Company any and
  all agreements relating to your prior employment that may affect your eligibility to be
  employed by the Company or limit the manner in which you may be employed. It is the
  Company’s understanding that any such agreements will not prevent you from performing
  the duties of your position and you represent that such is the case. Moreover, you agree
  that, during the term of your employment with the Company, you will not engage in any
  other employment, occupation, consulting, or other business activity directly related to the
  business in which the Company is now involved or becomes involved during the term of
  your employment, nor will you engage in any other activities, that conflict with your
  obligations to the Company. Similarly, you agree not to bring any third party confidential
  information to the Company, including that of your former employer, and that, in
  performing your duties for the Company, you will not in any way utilize any such
  information.
  As a Company employee, you will be expected to abide by the Company’s policies, rules
  and standards of conduct. As a condition of your employment, you are also required to
  sign and comply with an At-Will Employment, Confidential Information, Invention
  Assignment, and Arbitration Agreement (the “Agreement”), a copy of which is being
  provided with this offer letter. Please note that we must receive your signed Agreement
  before your first day of employment.

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         Faraday Future



  To accept the Company’s offer, please sign and date this letter in the space provided
  below. A duplicate original is enclosed for your records. If you accept our offer, your first
  day of employment will be at a mutually agreeable date, as confirmed below. This letter,
  along with the Company’s policies, the Agreement and all other documents referenced
  herein, set forth the terms and conditions of your employment with the Company and
  supersede any prior representations or agreements including, but not limited to, any
  representations made during your recruitment, interviews, or pre-employment
  negotiations, whether written or oral. This letter, including, but not limited to, its at-will
  employment provision, may not be modified or amended except by a written agreement
  signed by either the CEO or CFO of the Company and you.
  We look forward to your favorable reply and to working with you at Faraday&Future Inc.
  This offer letter will automatically be withdrawn if not accepted on or before DATE.


  SINCERELY,



  _____________________________
  [RECRUITER NAME]
  RECRUITER
  FARADAY&FUTURE INC.




  ______________________________
  DATE


  _____________________________
  AGREED TO AND ACCEPTED BY
  (Print Name)


  _____________________________
  Employee Signature



  _____________________________
  DATE

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         Faraday Future




  _____________________________
  CONFIRMED START DATE




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                                                                                                                                 v. 6.6.17

7NIN               At-Will Employment Confidential
                   Information Invention Assignment
                   Arbitration Agreement

As a condition of my employment with Faraday&Future Inc.                 Information includes both information disclosed by the
its subsidiaries, affiliates, successors or assigns (together, the       Company to me, and information developed or learned by me
“Company” or “Faraday”), and in consideration of my                      during the course of my employment with Company.
employment with the company and my receipt of the                        Confidential Information also includes all information of which
compensation now and hereafter paid to me by company, I                  the unauthorized disclosure could be detrimental to the interests
agree to the following provisions of this At-Will                        of Company, whether or not such information is identified as
Employment,         Confidential      Information,      Invention        Company Confidential Information. By example, and without
Assignment, and Arbitration Agreement (this “Agreement”):                limitation, Company Confidential Information includes any
                                                                         and all non-public information that relates to the actual or
1.   AT-WILL EMPLOYMENT                                                  anticipated business and/or products, research or development
                                                                         of the Company, or to the Company’s technical data, trade
I UNDERSTAND, ACKNOWLEDGE AND AGREE THAT                                 secrets, or know-how, including, but not limited to, research,
MY EMPLOYMENT WITH THE COMPANY IS FOR NO                                 product plans, or other information regarding the Company’s
SPECIFIED TERM AND CONSTITUTES “AT-WILL”                                 products or services and markets therefor, customer lists and
EMPLOYMENT. THIS MEANS THAT COMPANY                                      customers (including, but not limited to, customers of the
CANNOT GUARANTEE MY EMPLOYMENT FOR ANY                                   Company on which I called or with which I may become
SPECIFIED PERIOD OF TIME. I ALSO UNDERSTAND                              acquainted during the term of my employment), software,
THAT ANY REPRESENTATION TO THE CONTRARY IS                               developments, inventions, processes, formulas, technology,
UNAUTHORIZED AND NOT VALID UNLESS IN                                     designs, drawings, engineering, hardware          configuration
WRITING AND SIGNED BY THE PRESIDENT OR CEO                               information, marketing, finances, and other business
OF FARADAY. ACCORDINGLY, I ACKNOWLEDGE                                   information disclosed by the Company either directly or
THAT MY EMPLOYMENT RELATIONSHIP MAY BE                                   indirectly in writing, orally or by drawings or inspection of
TERMINATED AT ANY TIME, WITH OR WITHOUT                                  premises, parts, equipment, or other Company property.
GOOD CAUSE OR FOR ANY OR NO CAUSE, AT MY                                 Notwithstanding the foregoing, Company Confidential
OPTION OR AT THE OPTION OF THE COMPANY,                                  Information shall not include any such information which I
WITH OR WITHOUT NOTICE. I FURTHER                                        can establish (i) was publicly known or made generally
ACKNOWLEDGE THAT THE COMPANY MAY                                         available prior to the time of disclosure by Company to me;
MODIFY JOB TITLES, SALARIES, AND BENEFITS                                (ii) becomes publicly known or made generally available
FROM TIME TO TIME AS IT DEEMS NECESSARY.                                 after disclosure by Company to me through no wrongful
                                                                         action or omission by me; or (iii) is in my rightful
2.   CONFIDENTIALITY                                                     possession, without confidentiality obligations, at the time
                                                                         of disclosure by Company as shown by my then-
     A. Definition of Confidential Information. I                        contemporaneous written records. I understand that
acknowledge and understand that company is engaged in                    nothing in this Agreement is intended to limit my right to
a highly competitive industry. Company’s involvement                     discuss the terms, wages, and working conditions of my
in this business has required and continues to require the               employment, as protected by applicable law.
expenditure of substantial amounts of money and the use
of skills developed over a long period of time. As a                          B. Nonuse and Nondisclosure. I agree that during and
result of these investments of money, skill and time,                    after my employment with the Company, for any reason,
company has developed and will continue to develop                       whether voluntary or involuntary, I will hold in the strictest
Company Confidential Information (defined below) that                    confidence, and take all reasonable precautions to prevent
is particular to company’s business and the disclosure of                any unauthorized use or disclosure of                Company
which would cause great and irreparable harm to                          Confidential Information, and I will not (i) use the Company
company. During your employment, company may                             Confidential Information for any purpose whatsoever other
provide you with access to Company Confidential                          than for the benefit of the Company in the course of my
Information. I understand that “Company Confidential                     employment, nor (ii) disclose the Company Confidential
Information” means information that the Company has or                   Information to any third party without the prior written
will develop, acquire, create, compile, discover or own,                 authorization of the President, CEO, or the Board of
that has value in or to the Company’s business which is                  Directors of the Company. Prior to disclosure when
not generally known and which the Company wishes to                      compelled by applicable law; I shall provide prior written
maintain as confidential. Company Confidential                           notice to the President, CEO, and General Counsel of
                                                                     1



                                                                                                                                    HLIU001388
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Faraday & Future, (as applicable). I agree that I obtain no
right, title or other interest in or to any Company Confidential            A. Assignment of Inventions. As between Company
Information, and that as between Company and myself,                   and myself, I agree that all right, title, and interest in and to
Faraday, retains all Company Confidential Information as the           any and all Company-business copyrightable material,
sole property of Faraday. I understand that my unauthorized            notes,     records,     drawings,       designs,     inventions,
use or disclosure of Company Confidential Information                  improvements, developments, discoveries and trade secrets
during my employment may lead to disciplinary action, up to            conceived, discovered, authored, invented, developed or
and including immediate termination and legal action by the            reduced to practice by me, solely or in collaboration with
Company. I understand that my obligations under this Section           others, during the period of time I am in the employ of the
2.B shall continue after termination of my employment.                 Company (including during my off-duty hours), or with the
                                                                       use of Company’s equipment, supplies, facilities, or
     C. Former Employer Confidential Information. I                    Company Confidential Information, and any copyrights,
agree that during my employment with the Company, I                    patents, trade secrets, mask work rights or other intellectual
will not improperly use, disclose, or induce the Company               property rights relating to the foregoing, except as provided
to use any proprietary information or trade secrets of any             in Section 3.C below (collectively, “Inventions”), are the
former employer or other person or entity with which I                 sole property of Faraday. I also agree to promptly make full
have an obligation to keep in confidence. I further agree              written disclosure to Faraday, of any Inventions, and to
that I will not bring onto the Company’s premises or                   deliver and assign and hereby irrevocably assign fully to
transfer onto the Company’s technology systems any                     Faraday, all of my right, title and interest in and to
unpublished document, proprietary information, or trade                Inventions. I agree that this assignment includes a present
secrets belonging to any such third party unless disclosure            conveyance to Faraday, of ownership of Inventions that are
to, and use by, the Company has been consented to in                   not yet in existence. I further acknowledge and agree that
writing by such third party.                                           all original works of authorship that are made by me (solely
                                                                       or jointly with others) within the scope of and during the
     D. Third Party Information. I recognize that the                  period of my employment with the Company and that are
Company has received and in the future will receive from               protectable by copyright are “works made for hire,” as that
third parties associated with the Company, e.g., the                   term is defined in the        United States Copyright Act. I
Company’s customers, contractors, suppliers, licensors,                understand and agree that the decision whether or not to
licensees, partners, or collaborators (“Associated Third               commercialize or market any Inventions is within the
Parties”), their confidential or proprietary information               Company’s sole discretion and for the Company’s sole benefit,
(“Associated Third Party Confidential Information”) subject            and that no royalty or other consideration will be due to me as
to a duty on the Company’s part to maintain the                        a result of the Company’s efforts to commercialize or market
confidentiality of such Associated Third Party Confidential            any such Inventions.
Information and to use it only for certain limited purposes. By
way of example, Associated Third Party Confidential                         B. Pre-Existing Materials. I have attached hereto as
Information may include the habits or practices of                     Exhibit A, a list describing all inventions, discoveries,
Associated Third Parties, the technology of Associated                 original      works       of     authorship,     developments,
Third Parties, requirements of Associated Third Parties,               improvements, trade secrets and other proprietary
and information related to the business conducted                      information or intellectual property rights owned by me or
between the Company and such Associated Third Parties.                 in which I have an interest prior to, or separate from, my
I agree at all times during my employment with the                     employment with the Company and which are subject to
Company and thereafter, that I owe the Company and its                 California Labor Code Section 2870 (attached hereto as Exhibit
Associated Third Parties a duty to hold all such                       B), and which relate to the Company’s proposed business,
Associated Third Party Confidential Information in the                 products, or research and development (“Prior Inventions”);
strictest confidence, and not to use it or to disclose it to           or, if no such list is attached, I represent and warrant that
any person, firm, corporation, or other third party except             there are no such Prior Inventions. Furthermore, I represent
as necessary in carrying out my work for the Company                   and warrant that if any Prior Inventions are included on
consistent with the Company’s agreement with such                      Exhibit A, they will not materially affect my ability to
Associated Third Parties. I further agree to comply with any           perform all obligations under this Agreement. I will
and all Company policies and guidelines that may be adopted            promptly inform Faraday in writing before incorporating
from time to time regarding Associated Third Parties and               such Prior Inventions into any Invention or otherwise
Associated Third Party Confidential Information. I                     utilizing such Prior Invention in the course of my
understand that my unauthorized use or disclosure of                   employment with the Company, and the Company is hereby
Associated Third Party Confidential Information or                     granted a nonexclusive, royalty-free, perpetual, irrevocable,
violation of any Company policies during my                            transferable worldwide license (with the right to grant and
employment may lead to disciplinary action, up to and                  authorize sub-licenses) to make, have made, use, import, offer
including immediate termination of my employment and                   for sale, sell, reproduce, distribute, modify, adapt, prepare
legal action by the Company.                                           derivative works of, display, perform, and otherwise exploit
                                                                       such Prior Inventions, without restriction, including, without
3.   OWNERSHIP                                                         limitation, as part of or in connection with such Invention, and
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to practice any method related thereto. I will not incorporate            effect as if executed by me. This power of attorney shall be
any invention, improvement, development, concept,                         deemed coupled with an interest, and shall be irrevocable.
discovery, work of authorship or other proprietary
information owned by any third party into any Invention                      G. Exception To Assignments. I UNDERSTAND
without Faraday’s prior written permission.                               THAT THE PROVISIONS OF THIS AGREEMENT
                                                                          REQUIRING ASSIGNMENT OF INVENTIONS TO
     C. Moral Rights. Any assignment to Faraday of                        FARADAY, DO NOT APPLY TO ANY INVENTION
Inventions includes all rights of attribution, paternity,                 THAT QUALIFIES FULLY UNDER THE PROVISIONS
integrity, modification, disclosure and withdrawal, and any               OF CALIFORNIA LABOR CODE SECTION 2870
other rights throughout the world that may be known as or                 (ATTACHED HERETO AS EXHIBIT B). I WILL
referred to as “moral rights,” “artist’s rights,” “droit moral,”          ADVISE FARADAY PROMPTLY IN WRITING OF ANY
or the like (collectively, “Moral Rights”). To the extent that            INVENTIONS THAT I BELIEVE MEET THE CRITERIA
Moral Rights cannot be assigned under applicable law, I                   IN CALIFORNIA LABOR CODE SECTION 2870 AND
hereby waive and agree not to enforce any and all Moral                   ARE NOT OTHERWISE DISCLOSED ON EXHIBIT A.
Rights, including, without limitation, any limitation on
subsequent modification, to the extent permitted under                          H. Publicity Release. I hereby grant Company and its
applicable law.                                                           affiliates the absolute right and unrestricted permission to use
                                                                          my name, likeness, image, voice and/or appearance as such
    D. Maintenance of Records. I agree to keep and                        may be embodied in any photos, video recordings, audiotapes,
maintain adequate, current, accurate, and authentic                       digital images, and the like, taken or made on behalf of
written records of all Inventions made by me (solely or                   Company in the course of performing my duties for Company
jointly with others) during the term of my employment with                (each, an “Image”). I understand and agree that Company has
the Company. The records will be in the form of notes,                    complete ownership of any Image and can use such Image in
sketches, drawings, electronic files, reports, or any other               any lawful manner consistent with Company’s mission,
format that may be specified by the Company. As between                   including, without limitation, in Company promotional
Company and myself, the records are and will be available to              materials, social media postings, press releases, internal
and remain the sole property of Faraday at all times.                     presentations, videos, advertisements, Web sites or educational
                                                                          materials, in any medium. I further understand that any Image
     E. Further Assurances. I agree to assist the                         may be edited, copied, exhibited, published or distributed and I
Company, or its designee, at the Company’s expense, in                    waive the right to inspect or approve any finished product
every proper way to secure the Company’s rights in the                    reflecting my Image. I acknowledge that I will not receive any
Inventions in any and all countries, including the disclosure             compensation for the use of any Image. I hereby release
to the Company of all pertinent information and data with                 Company and its agents, affiliates, representatives and
respect thereto, the execution of all applications,                       assignees from any and all claims and demands arising out of
specifications, oaths, assignments, and all other instruments             the Images, including, without limitation, any claims for
that the Company shall deem proper or necessary in order to               invasion of privacy, right of publicity, misappropriation or
apply for, register, obtain, maintain, defend, and enforce such           misuse of image or defamation.
rights, and in order to deliver, assign and convey to the
Company, its successors, assigns, and nominees the sole and               4.   CONFLICTING OBLIGATIONS
exclusive rights, title, and interest in and to all Inventions, and
testifying in a suit or other proceeding relating to such                      A. Current Obligations. I agree that during the term of
Inventions. I further agree that my obligations under this                my employment with the Company, I will not engage in or
Section 3.E shall continue after the termination of this                  undertake any other employment, occupation, consulting
Agreement.                                                                relationship, or commitment that is directly related to the
                                                                          business in which the Company is now involved or becomes
    F. Attorney-in-Fact. I agree that, if the Company is                  involved or has plans to become involved, nor will I engage in
unable because of my unavailability, mental or physical                   any other activities that conflict with my obligations to the
incapacity, or for any other reason to secure my signature                Company.
with respect to any Inventions, including, without
limitation, for the purpose of applying for or pursuing any                    B. Prior Relationships. Without limiting Section 4.A,
application for any United States or foreign patents or                   I represent and warrant that I have no agreements,
mask work or copyright registrations covering the                         relationships, or commitments to any other person or entity
Inventions assigned to Faraday, in Section 3.A, then I                    that conflict with the provisions of this Agreement, my
hereby irrevocably designate and appoint the Company                      obligations to the Company under this Agreement, or my
and its duly authorized officers and agents as my agent                   ability to become employed and perform the services for
and attorney-in-fact, to act for and on my behalf to execute              which I am being hired by the Company. I further agree
and file any papers and oaths, and to do all other lawfully               that if I have signed a confidentiality agreement or similar
permitted acts with respect to such Inventions to further                 type of agreement with any former employer or other entity,
the prosecution and issuance of patents, copyright and                    I will comply with the terms of any such agreement to the
mask work registrations with the same legal force and                     extent that its terms are lawful under applicable law. I
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represent and warrant that after undertaking a careful                  employer about my obligations under this Agreement.
search (including searches of my computers, cell phones,
electronic devices, and documents), I have returned all                 8.   SOLICITATION OF EMPLOYEES
property and confidential information belonging to all
prior employers (and/or other third parties I have                      To the fullest extent permitted under applicable law, I agree that
performed services for in accordance with the terms of my               during my employment and for a period of twelve (12) months
applicable agreement). I agree to fully defend and                      immediately following the termination of my relationship
indemnify the Company, its directors, officers, agents,                 with the Company for any reason, whether voluntary or
employees, investors, shareholders, administrators,                     involuntary, with or without cause, I will not directly or
affiliates, divisions, subsidiaries, predecessor and                    indirectly (i) solicit any of the Company’s employees to
successor corporations, and assigns from and against any                leave their employment at the Company; nor (ii) solicit any
and all claims, lawsuits, verdicts, judgments, settlements,             of the Company’s customers, vendors or distributors to
and other losses incurred by any of them resulting from                 breach any contractual agreement it may have in place with
my breach of my obligations under any agreement with a                  Company. I agree that nothing in this Article 8 shall affect
third party to which I am a party or obligation to which I              my continuing obligations under this Agreement during
am bound, as well as any reasonable attorneys’ fees and                 and after this twelve (12) month period, including, without
costs if the plaintiff is the prevailing party in such an               limitation, my obligations under Article 2.
action, except as prohibited by law.

5.   RETURN OF COMPANY MATERIALS                                        9.   CONFLICT OF INTEREST GUIDELINES

Upon separation from employment with the Company, for                   I agree to diligently adhere to all policies of the Company,
any reason, or upon Company’s earlier request during my                 including, without limitation, the Company’s insider trading
employment, or at any time subsequent to my employment                  policies and the Company’s Conflict of Interest Guidelines. A
upon demand from the Company, I will immediately                        copy of the Company’s current Conflict of Interest Guidelines
deliver to Faraday, and will not keep in my possession,                 is attached as Exhibit D hereto, but I understand that these
recreate, or deliver to anyone else, any and all Company                Conflict of Interest Guidelines may be revised from time to
property, including, but not limited              to, Company           time during my employment.
Confidential Information, Associated Third                 Party
Confidential Information, all devices and equipment                     10. REPRESENTATIONS
belonging to the Company (including, without limitation,
computers, handheld electronic devices, telephone                       Without limiting my obligations under Section 3.E above,
equipment, and other electronic devices), all tangible                  where required, I agree to execute any proper oath or verify any
embodiments of the Inventions, all electronically stored                proper document required to carry out the terms of this
information and passwords to access such               property,        Agreement. I represent and warrant that my performance of all
Company credit cards, records, data, notes, notebooks,                  the terms of this Agreement will not breach any agreement to
reports, files, proposals, lists, correspondence, specifications,       keep in confidence information acquired by me in
drawings, blueprints, sketches, materials, photographs, charts,         confidence or in trust prior to my employment by the
any other documents and property, and reproductions of any              Company. I hereby represent and warrant that I have not
of the foregoing items, including, without limitation, those            entered into, and that I will not enter into, any oral or written
records maintained pursuant to Section 3.D. I also consent to           agreement in conflict herewith.
an exit interview to confirm my compliance with this Article
5.                                                                      11. AUDIT

6.   TERMINATION CERTIFICATION                                          I acknowledge that I have no reasonable expectation of
                                                                        privacy in any computer, technology system, email,
Upon separation from employment with the Company, for                   handheld device, telephone, voice mail, or documents that
any reason, I agree to immediately sign and deliver to the              are used to conduct the business of the Company. All
Company a “Termination Certification” in substantially                  information, data, and messages created, received, sent, or
in the form attached hereto as Exhibit C. I also agree to               stored in these systems are, at all times, the property of the
keep Faraday advised of my home and business address                    Company. As such, the Company has the right to audit and
for a period of three (3) years after termination of my                 search all such items and systems, without further notice to me,
employment with the Company, so that the Company can                    to ensure that the Company is licensed to use the software on
contact me regarding my continuing obligations provided                 the Company’s devices in compliance with the Company’s
by this Agreement.                                                      Software licensing policies, to ensure compliance with the
                                                                        Company’s policies, to ensure the safety of Company’s
7.   NOTIFICATION OF NEW EMPLOYER                                       employees, vendors and contractors, and for any other lawful
                                                                        business-related purposes, in the Company’s sole discretion. I
In the event that I leave the employ of the Company, I hereby           understand that I am not permitted to add any unlicensed,
grant consent to notification by the Company to my new                  unauthorized, or noncompliant applications to the Company’s
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technology systems, including, without limitation, open                 the California Fair Employment and Housing Act, the
Source or free software not authorized by the Company, and              Family and Medical Leave Act, the California Family
that I shall refrain from copying unlicensed Software onto the          Rights Act, the California Labor Code, claims of harassment,
Company’s technology systems or using non-licensed                      discrimination, and wrongful termination, and any statutory or
software or websites. I understand that it is my responsibility         common law claims. I further understand that this agreement to
to comply with the Company’s policies governing use of the              arbitrate also applies to any disputes that the Company may
Company’s documents and the internet, email, telephone,                 have with me.
and technology systems to which I may be given access in
connection with my employment. I am aware that the                           B. Procedure. I agree that any arbitration will be
Company has or may acquire software and systems that                    administered by a single, neutral arbitrator through the
are capable of monitoring and recording all network                     Judicial Arbitration & Mediation Services, Inc. (“JAMS”),
traffic to and from any computer I may use to conduct                   pursuant to JAMS’ employment arbitration rules &
business on behalf of Company. The Company reserves                     procedures, which are available at www.jamsadr.com and
the right to access, review, copy, and delete any of the                incorporated herein by reference (collectively, the “JAMS
information, data, or messages accessed through these                   Rules”). I agree that the arbitrator shall have the power to
systems, with or without notice to me, or in my absence.                decide any motions brought by any party to the arbitration,
This includes, but is not limited to, all e-mail messages               including, without limitation, motions for summary
sent or received, all website visits, all chat sessions, all news       judgment or adjudication, motions to dismiss and
group activity (including groups visited, messages read, and            demurrers, prior to any arbitration hearing. I agree that the
postings by me), and all file transfers into and out of the             arbitrator shall issue a written decision on the merits. I also
Company’s internal networks. The Company further                        agree that the arbitrator shall have the power to award any
reserves the right to retrieve previously deleted messages              remedies available under applicable law, and that the
from e-mail or voice mail and monitor usage of the                      arbitrator shall award attorneys’ fees and costs to the
Internet, including websites visited and any information I              prevailing party, except as prohibited by law. I agree that
have downloaded. In addition, the Company may review                    the decree or award rendered by the arbitrator may be
Internet and technology systems activity and analyze                    entered as a final and binding judgment in any court having
usage patterns, and may choose to publicize this data to                jurisdiction thereof. I understand that the Company will pay
assure that technology systems are devoted to legitimate                for any administrative or hearing fees charged by the
business purposes.                                                      arbitrator or JAMS except that I shale, pay any filing fees
                                                                        associated with any arbitration that I initiate, but only so
12. ARBITRATION AND EQUITABLE RELIEF                                    much of the filing fees as I would have instead paid had I
                                                                        filed a complaint in a court of law. I agree that the arbitrator
     A. Arbitration. In consideration of my employment                  shall administer and conduct any arbitration in accordance
with the Company, its promise to arbitrate all                          with California law, including, without limitation, the
employment-related disputes, and my receipt of the                      California Code of Civil Procedure, and that the arbitrator
compensation, pay raises, and other benefits paid to me                 shall apply substantive and procedural California law to
by the Company, at present and in the future, I agree that              any dispute or claim, without reference to rules of conflict
any and all controversies, claims, or disputes with anyone              of law. To the extent that the JAMS Rules conflict with
(including the Company and any employee, officer,                       California law, California law shall take precedence. I
director, shareholder, or benefit plan of the company, in               agree that any arbitration shall be conducted in Los Angeles
their capacity as such or otherwise), arising out of,                   County, California.
relating to, or otherwise resulting from my employment
with the Company or the termination of my employment                        C. Remedy. Except as provided by the act and this
with the Company, including any breach of this                          agreement, arbitration shall be the sole, exclusive, and final
agreement, shall be subject to binding arbitration under                remedy for any dispute between me and the company.
the arbitration rules set forth in California Code of Civil             Accordingly, except as provided for by the act and this
Procedure section 1280 through 1294.2, including section                agreement, neither I nor the Company will be permitted to
1281.8 (The “Act”), and pursuant to California law. The                 pursue court action regarding claims that are subject to
federal arbitration act shall continue to apply with full               arbitration.
force and effect notwithstanding the application of
procedural rules set forth in the Act. Disputes that I agree                D. Administrative Relief. I understand that this
to arbitrate, and thereby agree to waive any right to a trial           Agreement does not prohibit me from pursuing an
by jury, include, but are not limited to, the following: All            administrative claim with a local, state, or federal
common law claims and all statutory claims under local,                 administrative body or government agency that is authorized to
state, or federal law, including, but not limited to, claims            enforce or administer laws related to employment, including,
under Title VII of the Civil Rights Act of 1964, the                    but not limited to, the Department of Fair Employment and
Americans with Disabilities Act of 1990, the Age                        Housing, the Equal Employment Opportunity Commission, the
Discrimination in Employment Act of 1967, the Older                     National Labor Relations Board, or the Workers’
Workers Benefit Protection Act, the Sarbanes-Oxley Act,                 Compensation Appeals Board. This Agreement does, however,
the Worker Adjustment and Retraining Notification Act,                  preclude me from pursuing court action regarding any such
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claim, except as permitted by law,                                 Agreement, set forth the entire agreement and understanding
                                                                   between the Company and me with respect to the subject matter
   E. CLASS ACTION WAIVER: ANY DISPUTES ARE                        herein and supersede all prior written and oral agreements,
TO BE HEARD BY A SINGLE ARBITRATOR ON AN                           discussions, or representations between us, including, but not
INDIVIDUAL BASIS AND NOT AS A CLASS                                limited to, any representations made during my interview(s) or
ACTION. NEITHER EMPLOYEE NOR COMPANY                               relocation negotiations. I represent and warrant that I am not
MAY JOIN OR CONSOLIDATE CLAIMS IN                                  relying on any statement or representation not contained in this
ARBITRATION     BY   OR    AGAINST   OTHER                         Agreement. Any subsequent change or changes in my duties,
INDIVIDUALS OR ENTITIES, OR ARBITRATE ANY                          salary, or compensation will not affect the validity or scope of
CLAIM AS A REPRESENTATIVE OR MEMBER OF A                           this Agreement.
CLASS OR IN A PRIVATE ATTORNEY GENERAL
CAPACITY.                                                               D. Headings. Headings are used in this Agreement for
                                                                   reference only and shall not be considered when
     F. Voluntary Nature of Agreement. I acknowledge               interpreting this Agreement.
and agree that I am executing this Agreement voluntarily
and without any duress or undue influence by the                        E. Severability. If a court or other body of competent
Company or anyone else. I acknowledge and agree that I             jurisdiction finds, or the parties mutually believe, any
have received a copy of the text of California Labor Code          provision of this Agreement, or portion thereof, to be
section 2870 at Exhibit B, I further acknowledge and               invalid or unenforceable, such provision will be enforced
agree that I have carefully read this Agreement and that           to the maximum extent permissible so as to effect the intent
I have asked any questions needed for me to understand             of the parties, and the remainder of this Agreement will
the terms, consequences, and binding effect of this                continue in full force and effect.
Agreement and fully understand it, including that I am
waiving my right to a jury trial. Finally, I agree that I              F. Modification, Waiver. No modification of or
have been provided an opportunity to seek the advice of an         amendment to this Agreement, nor any waiver of any rights
attorney of my choice before signing this Agreement.               under this Agreement, will be effective unless in a writing
                                                                   signed by the President or CEO of Faraday and me. Waiver
13. MISCELLANEOUS                                                  by Faraday of a breach of any provision of this Agreement
                                                                   will not operate as a waiver of any other or subsequent
     A. Governing Law. I agree to comply with all                  breach.
applicable law in the course of performing my duties to
the Company and, in all situations where the Company                   G. Survivorship. The rights and obligations of the
could be liable for, or implicated as a result of, my              parties to this Agreement will survive termination of my
actions or inactions.. This Agreement will be governed by          employment with the Company.
the laws of the State of California without regard to
California’s conflicts of law rules that may result in the             H. Execution. This Agreement may be executed in one
application of the laws of any jurisdiction other than             of more counterparts and by facsimile or other electronic
California. To the extent that any lawsuit is permitted            means, each of which shall be deemed an original and the
under this Agreement, I hereby expressly consent to the            counterparts together shall be deemed a complete original.
personal and exclusive jurisdiction and venue of the state
and federal courts located in California for any lawsuit           BY SIGNING BELOW, I FULLY UNDERSTAND AND
filed against me by the Company.                                   AGREE TO THE TERMS OF THIS AGREEMENT,
                                                                   INCLUDING,   WITHOUT     LIMITATION,   ITS
     B. Assignability. This Agreement will be binding              PROVISIONS FOR “AT-WILL” EMPLOYMENT AND
upon my heirs, executors, assigns, administrators, and             MANDATORY     ARBITRATION    OF   DISPUTES
other legal representatives, and will be for the benefit of        BETWEEN ME AND THE COMPANY.
the Company, its successors, and its assigns. There are no
intended third-party beneficiaries to this Agreement, except       Employee:
as may be expressly otherwise stated. Notwithstanding
anything to the contrary herein, Faraday may assign this
Agreement and its rights and obligations under this                Name (printed) ________________________________
Agreement to any successor to all or substantially all of
Faraday’s relevant assets, whether by merger, consolidation,
reorganization, reincorporation, sale of assets or stock, or       Signature _____________________________________
otherwise.

    C. Entire Agreement. This Agreement, together with             Date _________________________________________
the Exhibits herein any executed written offer letter or
any other agreements signed between me and the Company,
to the extent such materials are not in conflict with this
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Accepted by:
                                                       Signature _____________________________________
Name (printed)
                 _______________________________
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Exhibit A          List of Prior Inventions
                   and Original Works of Authorship


                                                          Identifying Number or
                  Title                  Date
                                                             Brief Description




      No inventions or improvements

      Additional sheets attached




 Name of Employee (printed)                               Date


 Signature

                                          8



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Exhibit B   California Labor Code Section 2870 Invention on
            Own Time-Exemption From Agreement
            (a)    Any provision in an employment agreement which provides that an employee shall
            assign, or offer to assign, any of his or her rights in an invention to his or her employer
            shall not apply to an invention that the employee developed entirely on his or her own time
            without using the employer’s equipment, supplies, facilities, or trade secret information
            except for those inventions that either:
                (1)         Relate at the time of conception or reduction to practice of the invention to
                the employer’s business, or actual or demonstrably anticipated research or
                development of the employer; or
                (2)         Result from any work performed by the employee for the employer.
            (b)    To the extent a provision in an employment agreement purports to require an
            employee to assign an invention otherwise excluded from being required to be assigned
            under subdivision (a), the provision is against the public policy of t his state and is
            unenforceable.




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Exhibit C          Faraday&Future Inc.
                   Termination Certification

                            This is to certify that I do not have in my possession, nor have I failed to return, any
                   devices, records, data, notes, reports, proposals, lists, correspondence, specifications, drawings,
                   blueprints, sketches, materials, models, prototypes, equipment, any other documents or property,
                   or reproductions of any and all aforementioned items belonging to Faraday & Future Inc., or its
                   subsidiaries, affiliates, successors or assigns (together, the “Company”).
                           I further certify that I have complied with all the terms of the Company’s At-Will
                   Employment, Confidential Information, Invention Assignment, and Arbitration Agreement
                   (“Agreement”) signed by me, including the reporting of any inventions and original works of
                   authorship (as defined therein) conceived or made by me (solely or jointly with others), as covered
                   by that Agreement.

                            I further agree that, in compliance with the Agreement, I will preserve as confidential all
                   Company Confidential Information and Associated Third Party Confidential Information, as those
                   terms are defined in the Agreement, including, without limitation, trade secrets, confidential
                   knowledge, data, or other proprietary information relating to products, processes, know-how,
                   designs, formulas, developmental or experimental work, computer programs, databases, other
                   original works of authorship, customer lists, business plans, financial information, or other subject
                   matter pertaining to any business of the Company or any of its employees, clients, consultants, or
                   licensees.

                            I also agree that for twelve (12) months from this date, I will not directly or
                   indirectly solicit any of the Company’s employees to leave their employment at the
                   Company. I agree that nothing in this paragraph shall affect my continuing obligations
                   under the Agreement during and after this twelve (12) month period, including, without
                   limitation, my obligations under Article 2 (Confidentiality) thereof.

                          After leaving the Company’s employment, I                       will    be    employed    by:
                   ___________________________________, in the position of                                            .




Name of Employee (printed)                                                                       Date


Signature


Address for Notification




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Exhibit D   Faraday & Future
            Conflict of Interest Guidelines

                    It is the policy of Faraday&Future Inc. (“Company” or “Faraday”) to conduct its affairs in
            strict compliance with the letter and spirit of the law and to adhere to the highest principles of
            business ethics. Accordingly, all officers, employees, and contractors of Faraday must avoid
            activities that are in conflict, or give the appearance of being in conflict, with these principles and
            with the interests of the Company. The following are potentially compromising situations that
            must be avoided:
            1.     Revealing confidential information to outsiders or misusing Company Confidential
            Information. Unauthorized divulging of information is a violation of this policy whether or not
            for personal gain and whether or not harm to the Company is intended. (The At-Will
            Employment, Confidential Information, Invention Assignment, and Arbitration Agreement
            elaborates on this principle and is a binding agreement.)
            2.    Accepting or offering substantial gifts, excessive entertainment, favors, or payments that
            may be deemed to constitute undue influence or otherwise be improper or embarrassing to the
            Company.
            3.     Participating in civic or professional organizations that might involve divulging
            confidential information of the Company.
            4.     Initiating or approving personnel actions affecting reward or punishment of employees or
            applicants where there is a family relationship or is or appears to be a personal or social
            involvement.
            5.     Initiating or approving any form of personal or social harassment of employees.
            6.     Investing or holding outside directorship in suppliers, customers, or competing companies,
            including financial speculations, where such investment or directorship might influence in any
            manner a decision or course of action of the Company.
            7.     Borrowing from or lending to employees, customers, or suppliers.
            8.     Acquiring real estate of interest to the Company.
            9.     Improperly using or disclosing to the Company any proprietary information or trade secrets
            of any former or concurrent employer or other person or entity with whom obligations of
            confidentiality exist.
            10.  Unlawfully discussing prices, costs, customers, sales, or markets with competing
            companies or their employees.
            11.    Making any unlawful agreement with distributors with respect to prices.
            12.    Improperly using or authorizing the use of any inventions that are the subject of patent
            claims of any other person or entity.
            13.    Engaging in any conduct that is not in the best interest of the Company.

                   Each officer, employee, and contractor of Faraday must take every necessary action to
            ensure compliance with these guidelines and to bring problem areas to the attention of higher
            management for review. Violations of this conflict of interest policy may result in disciplinary
            action, up to and including termination of employment without warning.




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                                    FIRST AMENDMENT TO
                                  FF GLOBAL HOLDINGS LTD.
                                   EQUITY INCENTIVE PLAN

          The purpose of this First Amendment (this “Amendment”) to the FF Global Holdings
  Ltd. Equity Incentive Plan (the “Plan”) is to permit employees, directors and consultants of
  Related Entities (as defined herein) of FF Global Holdings Ltd., an exempted company
  incorporated with limited liability under the Laws of the Cayman Islands (the “Company”)
  participate in the Plan.

          1.     DEFINITIONS. As used herein, the following definitions shall be revised to
  read as follows:

                  1.1    Consultant means any natural person, including an advisor, engaged by the
  Company or by a Related Entity to render bona fide services to such entity, provided the services
  (i) are not in connection with the offer or sale of securities in a capital-raising transaction, and
  (ii) do not directly promote or maintain a market for the Company’s securities, in each case,
  within the meaning of Form S-8 promulgated under the Securities Act, and provided further, that
  a Consultant will include only those persons to whom the issuance of Shares may be registered
  under Form S-8 promulgated under the Securities Act.

                 1.2     Director means a member of the Board or a member of the Board of
  Directors of a Related Entity.

                 1.3    Employee means any person, including an Officer or Director, who is an
  employee (as defined in accordance with Code Section 3401(c)) of the Company or a Related
  Entity. An Employee shall not cease to be an Employee in the case of (i) any leave of absence
  approved by the Company, or (ii) transfers between locations of the Company or between the
  Company, its Related Entities, or any successor. Neither service as a Director nor payment of a
  director’s fee by the Company shall be sufficient, by itself, to constitute “employment” by the
  Company.

               1.4     Service Provider means an Employee, Director or Consultant of the
  Company or of a Related Entity.



         2.     NEW DEFINITION.            The Plan shall contain a new definition of “Related
  Entity” which shall read as follows:

                 2.1     Related Entity means the Company, any “parent” (as defined in Rule 405
  of the Securities Act) of the Company, or any Majority-Owned Subsidiary (as defined in Rule
  405 of the Securities Act) of the Company or of such a “parent”.




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           3.     LEAVES OF ABSENCE/TRANSFER BETWEEN LOCATIONS.

           Section 18 of the Plan shall be revised to read as follows:

           “Unless the Administrator provides otherwise, vesting of Awards granted hereunder will
           be suspended during any unpaid leave of absence. A Holder will not cease to be an
           Employee in the case of (i) any leave of absence approved by the Company or
           (ii) transfers between locations of the Company or between the Company and a Related
           Entity. For purposes of Incentive Share Options, no such leave may exceed three (3)
           months, unless reemployment upon expiration of such leave is guaranteed by statute or
           contract. If reemployment upon expiration of a leave of absence approved by the
           Company is not so guaranteed, then six (6) months following the first (1st) day of such
           leave, any Incentive Share Option held by the Holder will cease to be treated as an
           Incentive Share Option and will be treated for tax purposes as a Non-qualified Share
           Option.”




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                         FF GLOBAL HOLDINGS LTD.

                             EQUITY INCENTIVE PLAN




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                                 FF GLOBAL HOLDINGS LTD.
                                  EQUITY INCENTIVE PLAN



           1.     PURPOSES OF THE PLAN. The purpose of this FF Global Holdings Ltd.
  Equity Incentive Plan is to attract and retain the best available personnel for positions of
  substantial responsibility, to provide additional incentive to Employees, Directors and
  Consultants of FF Global Holdings Ltd., an exempted company incorporated with limited
  liability under the Laws of the Cayman Islands (the “Company”) and to promote the success of
  the business of the Company and its Subsidiaries. The Plan provides for the grant of Restricted
  Shares, Unrestricted Shares, Restricted Shares Units, and Non-qualified Share Options.

         2.      DEFINITIONS. As used herein, the following definitions shall apply:

                 2.1    Acquisition means the occurrence of any of the following events:

                          (a)   Change in Ownership of the Company. A change in the ownership
  of the Company which occurs on the date that any one person, or more than one person acting as
  a group (“Person”), acquires ownership of the shares of the Company that, together with the
  shares held by such Person, constitutes more than fifty percent (50%) of the total voting power of
  the shares of the Company; provided, however, that for purposes of this subsection, the
  acquisition of additional shares by any one Person, who is considered to own more than fifty
  percent (50%) of the total voting power of the shares of the Company will not be considered an
  Acquisition; provided, further, that any change in the ownership of the shares of the Company as
  a result of a private financing of the Company that is approved by the Board also will not be
  considered an Acquisition. Further, if the members of the Company immediately before such
  change in ownership continue to retain immediately after the change in ownership, in
  substantially the same proportions as their ownership of shares of the Company’s voting shares
  immediately prior to the change in ownership, direct or indirect beneficial ownership of fifty
  percent (50%) or more of the total voting power of the shares of the Company or of the ultimate
  parent entity of the Company, such event shall not be considered an Acquisition under this
  subsection (a). For this purpose, indirect beneficial ownership shall include, without limitation,
  an interest resulting from ownership of the voting securities of one or more corporations or other
  business entities which own the Company, as the case may be, either directly or through one or
  more subsidiary corporations or other business entities; or

                         (b)     Change in Effective Control of the Company. If the Company has
  a class of securities registered pursuant to Section 12 of the Exchange Act, a change in the
  effective control of the Company which occurs on the date that a majority of members of the
  Board is replaced during any twelve (12) month period by Directors whose appointment or
  election is not endorsed by a majority of the members of the Board prior to the date of the


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  appointment or election. For purposes of this subsection (b), if any Person is considered to be in
  effective control of the Company, the acquisition of additional control of the Company by the
  same Person will not be considered an Acquisition; or

                          (c)     Change in Ownership of a Substantial Portion of the Company’s
  Assets. A change in the ownership of a substantial portion of the Company’s assets which
  occurs on the date that any Person acquires (or has acquired during the twelve (12) month period
  ending on the date of the most recent acquisition by such person or persons) assets from the
  Company that have a total gross fair market value equal to or more than fifty percent (50%) of
  the total gross fair market value of all of the assets of the Company immediately prior to such
  acquisition or acquisitions; provided, however, that for purposes of this subsection (c), the
  following will not constitute a change in the ownership of a substantial portion of the Company’s
  assets: (A) a transfer to an entity that is controlled by the Company’s members immediately after
  the transfer, or (B) a transfer of assets by the Company to: (1) a member of the Company
  (immediately before the asset transfer) in exchange for or with respect to the Company’s shares,
  (2) an entity, fifty percent (50%) or more of the total value or voting power of which is owned,
  directly or indirectly, by the Company, (3) a Person, that owns, directly or indirectly, fifty
  percent (50%) or more of the total value or voting power of all the outstanding shares of the
  Company, or (4) an entity, at least fifty percent (50%) of the total value or voting power of which
  is owned, directly or indirectly, by a Person described in this subsection (c)(B)(3). For purposes
  of this subsection (c), gross fair market value means the value of the assets of the Company, or
  the value of the assets being disposed of, determined without regard to any liabilities associated
  with such assets.

          For purposes of this Section 2.1, persons will be considered to be acting as a group if they
  are owners of a corporation that enters into a merger, consolidation, purchase or acquisition of
  shares, or similar business transaction with the Company.

          Notwithstanding the foregoing, a transaction will not be deemed an Acquisition unless
  the transaction qualifies as a change in control event within the meaning of Code Section 409A,
  as it has been and may be amended from time to time, and any proposed or final Treasury
  Regulations and Internal Revenue Service guidance that has been promulgated or may be
  promulgated thereunder from time to time.

           Further and for the avoidance of doubt, a transaction will not constitute an Acquisition if:
  (i) its sole purpose is to change the jurisdiction of the Company’s incorporation, or (ii) its sole
  purpose is to create a holding company that will be owned in substantially the same proportions
  by the persons who held the Company’s securities immediately before such transaction.

                2.2     Administrator means the Board or the Committee responsible for
  conducting the general administration of the Plan, as applicable, in accordance with Section 4.

                 2.3    Applicable Law means the legal and regulatory requirements relating to
  the issuance and administration of equity and share option plans, including, but not limited to,
  under the Cayman Islands laws, the states’ corporate laws and federal and state securities laws of
  the United States of America, the Code, any stock exchange or quotation system on which the




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  Class A Ordinary Shares are listed or quoted and the applicable laws of any foreign country or
  jurisdiction where Awards are granted under the Plan.

                 2.4    Award means an award of, Restricted Shares, Unrestricted Shares,
  Restricted Share Units, or Options granted to a Service Provider under this Plan.

                2.5     Award Agreement means the Option Agreement or other written
  agreement between the Company or Subsidiary employer and a Service Provider evidencing the
  terms and conditions of an individual Award. The Award Agreement shall be subject to the
  terms and conditions of the Plan.

                 2.6    Board means the Board of Directors of the Company.

                 2.7      Cause shall have the meaning ascribed to it in any written employment or
  service agreement between the Company (or Subsidiary employer) and the Service Provider. If
  not otherwise defined, “Cause” shall mean (a) a failure by the Service Provider to perform his or
  her duties or to comply with any material provision of his or her employment or service
  agreement with the Company (or Subsidiary), where such failure is not cured by the Service
  Provider within thirty (30) days after receiving written notice from the Company (or Subsidiary)
  specifying in reasonable detail the nature of the failure, (b) a breach of the Service Provider’s
  fiduciary duty to the Company (or Subsidiary) by reason of receipt of personal profits, (c)
  conviction of a felony or any act of moral turpitude, (d) any material violation of a policy of the
  Company (or Subsidiary), including any sexual harassment of another employee of the Company
  (or Subsidiary), or (e) any other willful and gross misconduct committed by the Service Provider
  affecting the Company (or Subsidiary).

              2.8      Class A Ordinary Share(s) or Share(s), means the Class A ordinary
  common shares of the Company, par value $0.00001 per share.

                 2.9     Code means the Internal Revenue Code of 1986, as amended, or any
  successor statute or statutes thereto. Reference to any particular Code section shall include any
  successor section and any regulations or authorities promulgated thereunder.

                 2.10   Committee means a committee appointed by the Board in accordance with
  Section 4.

                2.11 Company means FF Global Holdings Ltd., an exempted company
  incorporated with limited liability under the Laws of the Cayman Islands.

                  2.12 Consultant means any natural person, including an advisor, engaged by the
  Company or a Parent or Subsidiary to render bona fide services to such entity, provided the
  services (i) are not in connection with the offer or sale of securities in a capital-raising
  transaction, and (ii) do not directly promote or maintain a market for the Company’s securities,
  in each case, within the meaning of Form S-8 promulgated under the Securities Act, and
  provided further, that a Consultant will include only those persons to whom the issuance of
  Shares may be registered under Form S-8 promulgated under the Securities Act.




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                 2.13 Director means a member of the Board or a member of the Board of
  Directors of a Subsidiary.

                2.14 Employee means any person, including an Officer or Director, who is an
  employee (as defined in accordance with Code Section 3401(c)) of the Company or a Parent or a
  Subsidiary. An Employee shall not cease to be an Employee in the case of (i) any leave of
  absence approved by the Company, or (ii) transfers between locations of the Company or
  between the Company, its Subsidiaries, or any successor. Neither service as a Director nor
  payment of a director’s fee by the Company shall be sufficient, by itself, to constitute
  “employment” by the Company.

                 2.15 Exchange Act means the Securities Exchange Act of 1934, as amended, or
  any successor statute or statutes thereto. Reference to any particular Exchange Act section shall
  include any successor section and any regulations or authorities promulgated thereunder.

                2.16 Fair Market Value of a Share means, as of any date, the fair market value
  determined consistent with the requirements of Code Sections 422 and 409A, as follows:

                         (a)    If the Class A Ordinary Shares are listed on any established stock
  exchange or a national market system, its Fair Market Value shall be the closing price as quoted
  on such exchange or system on the date of determination, as reported in The Wall Street Journal
  or such other source as the Administrator deems reliable;

                         (b)    If the Class A Ordinary Shares are regularly quoted by a
  recognized securities dealer but selling prices are not reported, its Fair Market Value shall be the
  closing price for a Class A Ordinary Share on the date of determination; or

                       (c)    In the absence of an established market for the Class A Ordinary
  Shares, the Fair Market Value thereof shall be determined in good faith by the Administrator in
  accordance with Applicable Law, except as provided in Section 11.

                 2.17 Holder means a person who has been granted an Award or who becomes
  the holder of an Award or who holds Shares acquired pursuant to the exercise of an Award.

                2.18 Incentive Share Option means an Option that by its terms qualifies and is
  otherwise intended to qualify as an incentive stock option within the meaning of Code
  Section 422 and the regulations promulgated thereunder.

                 2.19    Independent Director means a Director who is not an Employee of the
  Company.

                  2.20 Non-qualified Share Option means an Option that by its terms does not
  qualify or is not intended to qualify as an Incentive Share Option.

                2.21 Officer means a person who is an officer of the Company within the
  meaning of Section 16 of the Exchange Act.




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                   2.22   Option, or Share Option means a share option granted pursuant to Section
  6 of the Plan.

                2.23 Option Agreement means the written agreement between the Company or
  a Subsidiary employer and a Service Provider evidencing the terms and conditions of an
  individual Option. The Option Agreement shall be subject to the terms and conditions of the
  Plan.

                2.24 Parent means a “parent corporation,” whether now or hereafter existing, as
  defined in Code Section 424(e).

                   2.25   Plan means this FF Global Holdings Ltd. Equity Incentive Plan.

                 2.26 Public Offering means consummation of an underwritten public offering
  of the Company’s Shares registered under the Securities Act or registered under the securities
  laws of another jurisdiction under which the Shares are publicly traded.

               2.27 Restricted Shares means Shares acquired pursuant to a grant of Restricted
  Shares under Section 8 or pursuant to the exercise of an unvested Option in accordance with
  Section 7.5.

                2.28 Restricted Share Unit (“RSU”) means a right to receive Shares in the
  future upon completion of a specified vesting period in accordance with Section 8.

               2.29 Rule 16b-3 means that certain Rule 16b-3 under the Exchange Act, as
  such Rule may be amended from time to time.

                 2.30 Securities Act means the Securities Act of 1933, as amended, or any
  successor statute or statutes thereto. Reference to any particular Securities Act section shall
  include any successor section.

               2.31 Service Provider means an Employee, Director or Consultant of the
  Company or a Subsidiary.

                 2.32 Subsidiary means any corporation, whether now or hereafter existing
  (other than the Company), in an unbroken chain of corporations beginning with the Company if
  each of the entities other than the last corporation in the unbroken chain owns equity possessing
  more than fifty percent (50%) of the total combined voting power of all classes of equity in one
  of the other entities in such chain or any other entity of which a majority of the outstanding
  voting shares or voting power is beneficially owned directly or indirectly by the Company.

                  2.33 Unrestricted Shares shall mean an Award granted under Section 8 of the
  Plan of fully vested Shares.

         3.    SHARES SUBJECT TO THE PLAN. The Shares subject to Award grants shall
  be Class A Ordinary Shares. Subject to the adjustment provisions of Section 10, the maximum
  aggregate number of Shares which may be issued pursuant to Awards under the Plan shall be
  Three Hundred Million (300,000,000) Class A Ordinary Shares. If an Award expires, is



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  canceled, becomes unexercisable or is forfeited, without having been exercised or vested in full,
  the unpurchased or unvested Shares which were subject thereto shall become available for future
  Awards under the Plan (unless the Plan has terminated). Shares which are delivered by the
  Holder or withheld by Company upon the exercise of an Option or receipt of an Award, in
  payment of the exercise price thereof or tax withholding thereon, may again be awarded
  hereunder. If Shares issued pursuant to Awards are repurchased by, or are forfeited to, the
  Company due to failure to vest, such Shares shall become available for future Awards under the
  Plan. To the extent an Award under the Plan is paid out in cash rather than Shares, such cash
  payment will not result in reducing the number of Shares available for issuance under the Plan.
  Notwithstanding the foregoing and, subject to adjustment as provided in Section 10, the
  maximum number of Class A Ordinary Shares that may be issued upon the exercise of Incentive
  Share Options is Two Billion (2,000,000,000) Shares.

         4.      ADMINISTRATION OF THE PLAN.

                  4.1    Administrator. The Plan shall be administered by the Board or by a
  Committee to which administration of the Plan, or of part of the Plan, is delegated by the Board.
  The Board shall appoint and remove members of the Committee in its discretion in accordance
  with Applicable Laws. If necessary, in the Board’s discretion, to comply with Rule 16b-3 under
  the Exchange Act and Code Section 162(m), the Committee shall be comprised solely of “non-
  employee directors” within the meaning of said Rule 16b-3 and “outside directors” within the
  meaning of Code Section 162(m). The foregoing notwithstanding, the Administrator may
  delegate nondiscretionary administrative duties to such employees of the Company as it deems
  proper and the Board, in its absolute discretion, may at any time and from time to time exercise
  any and all rights and duties of the Administrator under the Plan.

                 4.2     Powers of the Administrator. Subject to the express provisions of the Plan
  and the specific duties delegated by the Board to such Committee, and subject to the approval of
  any relevant authorities, the Administrator shall have plenary authority to the maximum extent
  permissible by Applicable Law, in its sole discretion:

                        (a)     to determine the Fair Market Value of a Share;

                        (b)    to select the Service Providers to whom Awards may from time to
  time be granted hereunder and the time of such Awards;

                      (c)       to determine the number of Shares to be covered by each such
  Award granted hereunder;

                        (d)     to approve forms of Award Agreements for use under the Plan;

                          (e)     to determine the terms and conditions of any Awards granted
  hereunder (such terms and conditions include the exercise price, the time or times when Awards
  may vest or be exercised (which may be based on, among other things, the passage of time,
  specific events or performance criteria), any acceleration (as permissible under Code Section
  409A) of such vesting or exercise date or imposition or waiver of forfeiture restrictions, and any
  restriction or limitation regarding any Shares received upon grant or exercise of an Award, based
  in each case on such factors as the Administrator, in its sole discretion, shall determine);


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                       (f)     to determine whether to offer to repurchase, replace or reprice a
  previously granted Award and to determine the terms and conditions of such offer (including
  whether any purchase price is to be paid in cash or Shares);

                        (g)     to determine whether and under what conditions options granted
  under another option plan of the Company, a Subsidiary or an entity which is acquired by or
  merged into the Company or a Subsidiary may be converted into Options on Company Shares
  granted under and subject to the terms of this Plan;

                         (h)      to prescribe, amend and rescind rules and regulations relating to
  the Plan, including rules and regulations relating to sub-plans established for the purpose of
  qualifying for preferred tax treatment under foreign tax laws;

                          (i)    to determine the amount and timing of withholding tax obligations
  and to allow or require Holders to satisfy withholding tax obligations by electing, if applicable,
  to have the Company withhold from the Shares to be issued pursuant to any Award the number
  of Shares having a Fair Market Value equal to the minimum amount, determined by the
  Administrator in its sole discretion, required to be withheld based on the statutory withholding
  rates for federal, state and local tax purposes that apply to supplemental taxable income. The
  Fair Market Value of the Shares to be withheld shall be determined on the date that the amount
  of tax is required to be withheld. All elections by Holders to have Shares withheld for this
  purpose shall be made in such form and under such conditions as the Administrator may deem
  necessary or advisable;

                        (j)     to exercise its sole discretion in a manner such that Awards which
  are granted to individuals who are foreign nationals or are employed outside the United States
  may contain terms and conditions which are different from the provisions otherwise specified in
  the Plan but which are consistent with the tax and other laws of foreign jurisdictions applicable
  to the Service Providers and which are designed to provide the Service Providers with benefits
  which are consistent with the Company’s objectives in establishing the Plan;

                         (k)    to (a) determine which Subsidiaries shall be covered by the Plan;
  (b) determine which Service Providers are eligible to participate in the Plan; (c) modify the terms
  and conditions of any Award granted to Service Providers to comply with applicable foreign
  laws or listing requirements of any such non-U.S. securities exchange or for purposes of
  qualifying for favorable tax treatment under non-U.S. laws; (d) establish subplans and modify
  exercise procedures and other terms and procedures, to the extent such actions may be necessary
  or advisable (and any such subplans and/or modifications shall be attached to the Plan as
  appendices); provided, however, that no such subplans and/or modifications shall increase the
  share limit or individual award limits contained in Sections 3 hereof, respectively; and (e) take
  any action, before or after an Award is made, that it deems advisable to obtain approval or
  comply with any necessary local governmental regulatory exemptions or approvals or listing
  requirements of any such foreign securities exchange;

                        (l)   to amend the Plan or any Award granted under the Plan as
  provided in Section 17; and




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                         (m)     to construe and interpret the terms of the Plan and Awards granted
  pursuant to the Plan and to exercise such powers and perform such acts as the Administrator
  deems necessary or desirable to promote the best interests of the Company which are not in
  conflict with the provisions of the Plan.

                 4.3     Compliance with Code Section 409A. To the extent Holder is or becomes
  subject to U.S. Federal income taxation, this Section 4.3 shall apply. Notwithstanding any other
  provision of the Plan, the Administrator shall have no authority to issue an Award under the Plan
  under terms and conditions which would cause such Award to violate the provisions of Code
  Section 409A to the extent that a Holder of such an Award is subject to U.S. Federal income
  taxation. It is the intent that the Plan and all Award Agreements be interpreted to be exempt
  from or comply in all respects with Code Section 409A and to be exempt from Code Section
  457A, however, the Company shall have no liability to Service Providers or Holders in the event
  taxes or excise taxes may ultimately be determined to be applicable to any Award under the Plan.

                  4.4     Effect of Administrator’s Decision. All decisions, determinations and
  interpretations of the Administrator shall be final and binding on all Holders.

                 4.5    Liability of Administrator. No member of the Board, Committee or acting
  Administrator shall be liable for anything whatsoever in connection with the administration of
  the Plan, except such member’s own willful misconduct. Under no circumstances shall any
  member of the Board or Committee be liable for any act or omission of any other member of the
  Board or Committee. In the performance of its functions with respect to the Plan, the Board and
  Committee shall be entitled to rely upon information and advice furnished by the Company’s
  officers, accountants, legal counsel and any other qualified consultant the Administrator
  determines is necessary to consult for proper administration of the Plan, and no member of the
  Board or Committee shall be liable for any action taken or not taken in reliance upon any such
  advice.

         5.      ELIGIBILITY.

                  5.1    Eligible Persons. Awards (other than Incentive Share Options) may be
  granted to all Service Providers. Incentive Share Options may be granted only to Employees.

                 5.2     Administrative Discretion. If otherwise eligible, a Service Provider who
  has been granted an Award may be granted additional Awards. In exercising its authority to set
  the terms and conditions of Awards, and subject only to the limits of Applicable Law, the
  Administrator shall be under no obligation or duty to treat similarly situated Service Providers or
  Holders in the same manner, and any action taken by the Administrator with respect to one
  Service Provider or Holder shall in no way obligate the Administrator to take the same or similar
  action with respect to any other Service Provider or Holder.

         6.      GRANT OF OPTIONS.

                6.1    Grant of Options. The Committee may grant Options to Service
  Providers, for such number of Shares, and subject to such terms and conditions as the
  Administrator may determine in its sole discretion. Incentive Share Options may be granted only
  to Employees.


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                  6.2    Term of Option. The term of each Option shall be stated in the Option
  Agreement; provided, however, that the term shall be no more than ten (10) years from the date
  of grant thereof. In the case of an Incentive Share Option granted to a Holder who, at the time
  the Incentive Share Option is granted, owns shares representing more than ten percent (10%) of
  the total combined voting power of all classes of shares of the Company or any Parent or
  Subsidiary, the term of the Incentive Share Option will be five (5) years from the date of grant or
  such shorter term as may be provided in the Award Agreement.

                6.3      Limitations. Each Option will be designated in the Award Agreement as
  either an Incentive Share Option or a Non-qualified Share Option. Notwithstanding such
  designation, however, to the extent that the aggregate Fair Market Value of the Shares with
  respect to which Incentive Share Options are exercisable for the first time by the Service
  Provider during any calendar year (under all plans of the Company and any Parent or Subsidiary)
  exceeds one hundred thousand dollars ($100,000), such Options will be treated as Non-qualified
  Share Options. For purposes of this Section 6.3, Incentive Share Options will be taken into
  account in the order in which they were granted, the Fair Market Value of the Shares will be
  determined as of the time the Option with respect to such Shares is granted, and calculation will
  be performed in accordance with Code Section 422 and Treasury Regulations promulgated
  thereunder.

                 6.4     No Member Rights. The Holder of an Option shall have no rights of a
  member with respect to Shares covered by such Option until the Holder exercises the Option and
  the Shares are issued to the Holder. If the Holder uses Shares to exercise an Option, the Holder
  will continue to be treated as owning such Shares until new Shares are issued under the exercised
  Option.

         7.      OPTION EXERCISE.

                7.1     Vesting; Fractional Exercises. Except as provided in Section 9, Options
  granted hereunder shall be vested and exercisable according to the terms hereof at such times and
  under such conditions as determined by the Administrator and set forth in the Option Agreement.
  No Option may be exercised for a fraction of a Share.

                   7.2    Exercise Price. Except as provided in Section 9, the per Share exercise
  price for any Option granted under that Plan shall be no less (and shall not have the potential to
  become less at any time) than one hundred percent (100%) of the Fair Market Value per Share
  on the date of grant. In addition, in the case of an Incentive Share Option granted to an
  Employee who owns shares representing more than ten percent (10%) of the voting power of all
  classes of shares of the Company or any Parent or Subsidiary, the per Share exercise price will
  be no less than one hundred ten percent (110%) of the Fair Market Value per Share on the date
  of grant. Notwithstanding the foregoing, Options may be granted with, or converted at, a per
  Share exercise price other than as required above: (i) pursuant to a merger, acquisition or other
  corporate transaction if consistent with the requirements of Applicable Law; or (ii) to a person
  that the Administrator determines is not subject to U.S. Federal income taxation, provided the
  grant is not expected to result in any adverse tax consequences, as the Administrator determines
  in its sole discretion.




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                  7.3     Consideration. The consideration to be paid for the Shares to be issued
  upon exercise of an Option, including the method of payment, shall be determined by the
  Administrator. Such consideration may consist of (1) cash, (2) check, (3) other Shares which
  (x) in the case of Shares acquired from Company, have been owned by the Holder for more than
  six (6) months on the date of surrender, and (y) have a Fair Market Value on the date of
  surrender equal to the aggregate exercise price of the Shares as to which such Option shall be
  exercised, (4) surrendered Shares then issuable upon exercise of the Option having a Fair Market
  Value on the date of exercise equal to the aggregate exercise price of the Option or exercised
  portion thereof, (5) property of any kind which constitutes good and valuable consideration,
  (6) to the extent consistent with Applicable Law, delivery of a notice that the Holder has placed a
  market sell order with a broker with respect to Shares then issuable upon exercise of the Options
  and that the broker has been directed to pay a sufficient portion of the net proceeds of the sale to
  Company in satisfaction of the Option exercise price provided, that payment of such proceeds is
  then made to Company upon settlement of such sale, or (7) any combination of the foregoing
  methods of payment.

                 7.4   Deliveries upon Exercise. All or a portion of an exercisable Option shall
  be deemed exercised upon delivery of all of the following to the Secretary of the Company or his
  or her office:

                         (a)    A written or electronic notice complying with the applicable rules
  established by the Administrator stating that such Option, or a portion thereof, is exercised. The
  notice shall be signed by the Holder or other person then entitled to exercise the Option or such
  portion of the Option;

                        (b)     Such representations and documents as the Administrator deems
  necessary or advisable to effect compliance with Applicable Law. The Administrator may also
  take whatever additional actions it deems appropriate to effect such compliance, including
  placing legends on Share certificates and issuing stop transfer notices to agents and registrars;
  and

                       (c)   In the event that the Option shall be exercised by any person or
  persons other than the Holder, appropriate proof of the right of such person or persons to
  exercise the Option.

                  7.5     Early Exercisability. The Administrator may provide in the terms of a
  Holder’s Option Agreement that the Holder may, at any time before the Holder’s status as a
  Service Provider terminates, exercise the Option in whole or in part in exchange for Restricted
  Shares prior to the full vesting of the Option; provided however, that Shares acquired upon
  exercise of an Option which has not fully vested shall be subject to the same forfeiture, transfer
  or other restrictions as determined by the Administrator and set forth in the Option Agreement.

                  7.6    Buyout Provisions. The Administrator may at any time offer to
  repurchase for a payment in cash or Shares, an Option previously granted, based on such terms
  and conditions as the Administrator shall establish and communicate to the Holder at the time
  that such offer is made.




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                 7.7     Termination of Relationship as a Service Provider. If a Holder ceases to
  be a Service Provider other than by reason of the Service Provider’s disability or death or
  termination for Cause, the Option shall remain exercisable for a period of time as determined by
  the Administrator and set forth in the Option Agreement. If, on the date of termination, the
  Holder is not vested as to the entire Option, unless otherwise provided by the Administrator, the
  Shares covered by the unvested portion of the Option immediately cease to be issuable under the
  Option. If, after termination, the Holder does not exercise the Option within the applicable time
  period, the Option shall terminate. If the Holder is terminated for Cause and to the extent
  permissible under Applicable Laws, the Option shall terminate upon such termination for Cause.

                  7.8    Disability of Holder. If a Holder ceases to be a Service Provider as a
  result of the Service Provider’s disability, unless otherwise specified in the Option Agreement,
  the Option shall remain exercisable for a period of time as determined by the Administrator and
  set forth in the Option Agreement. If, on the date of termination, the Holder is not vested as to
  the entire Option, unless otherwise provided by the Administrator, the Shares covered by the
  unvested portion of the Option shall immediately cease to be issuable under the Option. If, after
  termination, the Holder does not exercise the Option within the time specified herein, the Option
  shall terminate.

                 7.9     Death of Holder. If a Service Provider dies while a Service Provider,
  unless otherwise specified in the Option Agreement, the Option shall remain exercisable for a
  period of time as determined by the Administrator and set forth in the Option Agreement. If, at
  the time of death, the Holder is not vested as to the entire Option, unless otherwise provided by
  the Administrator, the Shares covered by the unvested portion of the Option shall immediately
  cease to be issuable under the Option. The Option may be exercised by the executor or
  administrator of the Holder’s estate or, if none, by the person(s) entitled to exercise the Option
  under the Holder’s will or the laws of descent or distribution. If the Option is not so exercised
  within the time specified herein, the Option shall terminate.

                 7.10 Regulatory Extension. Unless otherwise provided by a Holder’s Option
  Agreement, if the exercise of the Option following the termination of the Holder’s status as a
  Service Provider (other than upon the Holder’s death or disability) would be prohibited at any
  time solely because the issuance of Shares would violate the registration requirements under the
  Securities Act, then the Option shall terminate on the earlier of (i) the expiration of the term of
  the Option set forth in Section 6.2 or (ii) the expiration of the period of three (3) months (after
  the termination of the Holder’s status as a Service Provider) during which the exercise of the
  Option would no longer be in violation of such registration requirements.

         8.      EQUITY BASED AWARDS OTHER THAN OPTIONS

                 8.1    Unrestricted Share Awards. The Administrator may grant Unrestricted
  Share Awards to Service Providers under the terms of the Plan, in such amounts, and subject to
  such terms and conditions as the Administrator may determine, in its sole discretion. The
  Administrator may require a Service Provider to pay a purchase price to receive Unrestricted
  Shares at the time the Award is granted, in which case the purchase price shall be paid by the
  Service Provider prior to the issuance of the Shares.




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                 8.2    Restricted Share Awards.

                        8.2.1 Restricted Share Grant. The Administrator may grant Restricted
  Shares to Service Providers, in such amounts, and subject to such terms and conditions as the
  Administrator may determine, in its sole discretion, including restrictions on transferability,
  which restrictions may lapse separately or in combination at such times, under such
  circumstances, in such installments, or otherwise.

                         8.2.2 Award Agreement. Restricted Shares shall be granted under an
  Award Agreement and shall be evidenced by certificates registered in the name of the Holder
  and bearing an appropriate legend referring to the terms, conditions, and restrictions applicable
  to such Restricted Shares. Company may retain physical possession of any such certificates, and
  Company may require a Service Provider awarded Restricted Shares to deliver a share power to
  Company, endorsed in blank, relating to the Restricted Shares for so long as the Restricted
  Shares are subject to a risk of forfeiture or repurchase by Company at Fair Market Value.

                        8.2.3 Restricted Share Purchase. The Administrator may require a
  Service Provider to pay a purchase price to receive Restricted Shares at the time the Award is
  granted, in which case the purchase price and the form and timing of payment shall be specified
  in the Award Agreement in addition to the vesting provisions and other applicable terms.

                        8.2.4 Withholding. The Administrator may require a Service Provider to
  pay or otherwise provide for any applicable withholding tax determined by the Administrator to
  be due at the time restrictions lapse or, in the event of an election under Code Section 83(b), at
  the time of the Award.

                        8.2.5 No Deferral Provisions. Notwithstanding any other provision of
  the Plan, a Restricted Stock Award shall not provide for any deferral of compensation
  recognition after vesting with respect to Restricted Stock which would cause the Award to
  constitute a deferral of compensation subject to Code Section 409A, unless the Award
  Agreement shall specifically comply with all requirements for a timely deferral under Code
  Section 409A.

                         8.2.6 Rights as a Member. The Holder of Restricted Shares shall have
  rights equivalent to those of a member and shall be a Member when the Restricted Shares grant
  is entered upon the records of the duly authorized transfer agent of the Company.




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                 8.3     Restricted Share Units.

                          8.3.1 Awards. The Administrator may award Restricted Share Units
  (“RSUs”) entitling recipients to receive Shares upon completion of a specified vesting period
  entitling recipients to receive Shares upon the attainment of specified performance goals. The
  Administrator may make RSU Awards independent of, or in connection with, the granting of any
  other Award under the Plan. The Administrator, in its sole discretion, shall determine the
  performance goals applicable under each such Award, the periods during which performance is
  to be measured, and all other limitations and conditions applicable to the awards of RSUs.

                        8.3.2 Award Agreement. RSUs shall be granted under an Award
  Agreement referring to the terms, conditions, and restrictions applicable to such Award.

                          8.3.3 No Deferral Provisions. Notwithstanding anything herein to the
  contrary, RSUs shall provide for prompt issuance of Shares upon vesting of the Award (in all
  events no later than the fifteenth (15th) day of the third (3rd) month after the later of the end of the
  calendar year or the Company’s fiscal year in which vesting occurs) and shall not include any
  deferral of issuance and/or of compensation recognition after vesting which would cause the
  Award to constitute a deferral of compensation subject to Code Section 409A, unless the Award
  Agreement shall specifically comply with all requirements for a timely deferral under Code
  Section 409A. The Administrator may at any time accelerate vesting by waiving any or all of the
  goals, restrictions or conditions imposed under any RSU.

                          8.3.4 No Member or Secured Rights. A Holder shall be entitled to
  receive a share certificate evidencing the acquisition of Shares under an RSU only upon
  satisfaction of all conditions specified in the Award Agreement evidencing the Award. A Holder
  receiving an RSU Award shall have no rights of a Member as to Shares covered by such Award
  unless and until such Shares are issued to the Holder under the Plan. Prior to receipt of the
  Shares underlying such Award, an RSU Award shall represent no more than an unfunded,
  unsecured, contractual obligation of the Company and the Company shall be under no obligation
  to set aside any assets to fund such Award. Prior to vesting and issuance of the Shares, the
  Holder shall have no greater claim to the Class A Ordinary Shares underlying such Award or any
  other assets of the Company or any Subsidiary than any other unsecured general creditor and
  such rights may not be sold, pledged, assigned or transferred in any manner other than by will or
  by the laws of intestate succession as provided in Section 12.

         9.      CONDITIONS TO RECEIPT OF SHARES

                  9.1    Conditions to Delivery of Share Certificates. The Plan is intended to
  qualify as a compensation benefit plan within the meaning of Rule 701 of the Securities Act.
  The Company shall not be required to issue or deliver any certificate or certificates for Shares
  granted or purchased under an Award or upon the exercise of any Option prior to fulfillment of
  all of the following conditions:

                        (a)     The admission of such Shares to listing on all stock exchanges on
  which such class of shares are then listed;




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                           (b)     The completion of any registration or other qualification of such
  Shares under any state or federal law, or under the rulings or regulations of the Securities and
  Exchange Commission or any other governmental regulatory body which the Administrator
  shall, in its sole discretion, deem necessary or advisable;

                       (c)     The obtaining of any approval or other clearance from any state or
  federal governmental agency or compliance with any lock-up period as provided in Section 11,
  which the Administrator shall, in its sole discretion, determine to be necessary or advisable; and

                        (d)     The receipt by the Company of full payment for such Shares, if
  any, and any applicable withholding tax determined by the Administrator, which in the sole
  discretion of the Administrator may be in the same form as the consideration used by the Holder
  to pay for such Shares or the Company may agree to withhold such amounts from the Shares
  delivered under the Option or other Award, in the complete and sole discretion of the
  Administrator.

         10.     ADJUSTMENTS

                  10.1 Corporate Transaction or Capitalization Event. In the event that the
  Administrator determines that any dividend or other distribution (whether in the form of cash,
  Class A Ordinary Shares, other securities, or other property), recapitalization, reclassification,
  share split, reverse share split, reorganization, merger, consolidation, split-up, spin-off,
  combination, repurchase, liquidation, dissolution, or sale, transfer, exchange or other disposition
  of all or substantially all of the assets of Company, or exchange of Class A Ordinary Shares or
  other securities of Company, issuance of warrants or other rights to purchase Class A Ordinary
  Shares or other securities of Company, or other similar corporate transaction or event
  (“Corporate Transaction”), in the Administrator’s sole discretion, affects the Class A Ordinary
  Shares such that an adjustment is determined by the Administrator to be appropriate in order to
  prevent dilution or enlargement of the benefits or potential benefits intended by the Company to
  be made available under the Plan or with respect to any Award, then the Administrator shall, in
  such manner as it may deem equitable, adjust any or all of:

                         (a)     the number and kind of Class A Ordinary Shares (or other
  securities or property) with respect to which Awards may be granted (including, but not limited
  to, adjustments of the limitations in Section 3 on the maximum number and kind of Shares which
  may be issued);

                          (b)    the number and kind of Class A Ordinary Shares (or other
  securities or property) subject to outstanding Awards; and

                        (c)     the grant, exercise price or base price with respect to any Award.

                 Notwithstanding anything herein to the contrary, the Administrator will make
  such adjustments to an Award required by Section 25102(o) of the California Corporations Code
  to the extent the Company is relying upon the exemption afforded thereby with respect to the
  Award.




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                 10.2    Administrative Discretion.

                         (a)    In the event of a merger of the Company with or into another
  corporation or other entity or an Acquisition, the Administrator, in its sole discretion, and on
  such terms and conditions as it deems appropriate, either by the terms of the Award or by action
  taken prior to the occurrence of such transaction or event and either automatically or upon the
  Holder’s request, is hereby authorized to take any one or more of the following actions whenever
  the Administrator determines that such action is appropriate in order to prevent dilution or
  enlargement of the benefits or potential benefits intended by the Company to be made available
  under the Plan or with respect to any Award granted or issued under the Plan or to facilitate such
  transaction or event:

                                 (i)     To provide for either the purchase of any such Award or
  Restricted Shares for an amount of cash equal to the amount that could have been obtained upon
  the exercise or realization of the Holder’s rights had such Award been currently exercisable or
  payable or fully vested, or the replacement of such Award with other rights or property selected
  by the Administrator in its sole discretion;

                               (ii)   To provide that such Award shall be exercisable or vested
  as to all Shares covered thereby, notwithstanding anything to the contrary in the Plan or the
  provisions of such Award;

                                (iii) To provide that such Award be assumed by the successor or
  survivor corporation, or a parent or subsidiary thereof, or shall be substituted for by similar
  options, rights or awards covering the shares of the successor or survivor corporation, or a parent
  or subsidiary thereof, with appropriate adjustments as to the number and kind of Shares and
  prices;

                                (iv)   To make adjustments in the number and type of Ordinary
  Shares (or other securities or property) subject to outstanding Awards and/or in the terms and
  conditions of (including the grant or exercise price), and the criteria included in, outstanding
  Awards or Awards which may be granted in the future; or

                               (v)     To provide that immediately upon the consummation of
  such event, such Award shall terminate; provided, that for a specified period of time prior to such
  event, such Award shall be fully vested and exercisable as to all Shares covered thereby,
  notwithstanding anything to the contrary in the Plan or the provisions of such Award Agreement.

                           (b)    Subject to limitations set forth in the Plan, the Administrator may,
  in its sole discretion, include such further provisions and limitations in any Award Agreement or
  certificate, as it may deem appropriate.

                           (c)    Notwithstanding the terms of Section 10.2 above, if Company
  undergoes an Acquisition, then any surviving corporation or entity or acquiring corporation or
  entity, or affiliate of such corporation or entity, may assume any Award outstanding under the
  Plan for the acquiring entity’s share awards (including an award to acquire the same
  consideration paid to the members in the transaction described in this subsection (c), or if
  members were offered a choice of consideration, the type of consideration chosen by the holders


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  of a majority of the outstanding shares) or may substitute similar share awards (including an
  award to acquire the same consideration paid to the members in the transaction described in this
  subsection (c), or if members were offered a choice of consideration, the type of consideration
  chosen by the holders of a majority of the outstanding shares) for those outstanding under the
  Plan. In the event any surviving corporation or entity or acquiring corporation or entity in an
  Acquisition, or affiliate of such corporation or entity, does not assume an Award or does not
  substitute similar share or cash awards for those outstanding under the Plan, then with respect to
  (i) Awards held by participants in the Plan whose status as a Service Provider has not terminated
  prior to such event, the vesting of such Awards shall be accelerated and made fully exercisable
  and all restrictions thereon shall lapse prior to the closing of the Acquisition, and (ii) all Awards
  outstanding under the Plan shall be terminated if not exercised prior to the closing of the
  Acquisition.

                          (d)    The existence of the Plan, any Award or Award Agreement
  hereunder shall not affect or restrict in any way the right or power of Company or the members
  of Company to make or authorize any adjustment, recapitalization, reorganization or other
  change in Company’s capital structure or its business, any merger or consolidation of Company,
  any issue of shares or of options, warrants or rights to purchase shares or of bonds, debentures,
  preferred or prior preference shares, whose rights are superior to or affect the Class A Ordinary
  Shares or the rights thereof, or which are convertible into or exchangeable for Class A Ordinary
  Shares, or the dissolution or liquidation of Company, or any sale or transfer of all or any part of
  its assets or business, or any other corporate act or proceeding, whether of a similar character or
  otherwise.

          11.    AWARD AGREEMENT/AWARD RESTRICTIONS. Delivery of Shares
  issued pursuant to Awards under this Plan together with any rights, securities or additional shares
  that have been received pursuant to a share dividend, share split, reorganization or other
  transaction that has been received as a result of an Award are conditioned on the execution by
  the Holder of the Award Agreement. Grants of Awards and the issuance of Shares pursuant to
  Awards under this Plan shall be subject to the restrictions set forth in the Award Agreement,
  including a lock-up, a Company right of first refusal, a drag-along, and a requirement to sign any
  documents reasonably required of a member, including, but not limited to, any then in effect
  voting agreement or co-sale agreement at the time of exercise.

          12.     NON-TRANSFERABILITY OF AWARDS. No Award granted under this Plan
  may be directly or indirectly sold, pledged, assigned, hypothecated, transferred, disposed of or
  encumbered in any manner whatsoever, other than by will or by the laws of descent or
  distribution prior to vesting and exercise (if applicable) under the terms of the Award and may be
  exercised, during the lifetime of the Service Provider, only by the Service Provider.
  Notwithstanding the forgoing, the Administrator may in its discretion grant Non-qualified Share
  Options that may be transferred by instrument to an inter vivos or testamentary trust in which the
  Options are to be passed to beneficiaries upon the death of the trustor (settlor) or by gift or
  pursuant to domestic relations orders to any “Immediate Family Member” (as defined below) of
  the optionee to the extent permissible under Rule 701 under the Securities Act. “Immediate
  Family Member” means any child, stepchild, grandchild, parent, stepparent, grandparent, spouse,
  former spouse, sibling, niece, nephew, mother-in-law, father-in-law, son-in-law, daughter-in-law,
  brother-in-law, or sister-in-law (including adoptive relationships), any person sharing the



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  optionee’s household (other than a tenant or employee), a trust in which these persons have more
  than fifty percent (50%) of the beneficial interest, a foundation in which these persons (or the
  optionee) control the management of assets, and any other entity in which these persons (or the
  optionee) own more than fifty percent (50%) of the voting interests.

          13.     RESTRICTIVE LEGENDS. The certificates representing the Shares issued
  upon exercise of Options granted pursuant to this Plan shall bear appropriate legends giving
  notice of applicable restrictions on transfer under Applicable Laws and the Plan.

         14.     NO RIGHT TO CONTINUED EMPLOYMENT OR SERVICE. Nothing in
  this Plan shall confer upon any Service Provider any right with respect to continuation of
  employment by or consultancy to the Company, nor shall it interfere in any way with the
  Company’s or any Subsidiary’s right to terminate any Service Provider’s employment or
  consultancy at any time, with or without cause and with or without prior notice.

           15.     TERM OF PLAN. The Plan shall become effective upon its initial adoption by
  the Board of Directors of Company and shall continue in effect until it is terminated under
  Section 17. No Award may be issued under the Plan after the tenth (10th) anniversary of the
  earlier of (i) the date upon which the Plan is adopted by the Board of Directors of Company or
  (ii) the date the Plan is approved by the members.

          16.     TIME OF GRANTING OF AWARDS. The date of grant of an Award shall,
  for all purposes, be the date on which the Administrator makes the determination granting such
  Award, or such other date as is determined by the Administrator. Notice of the determination
  shall be given to each Service Provider to whom an Award is so granted within a reasonable time
  after the date of such grant.

         17.     AMENDMENT AND TERMINATION OF THE PLAN.

                 17.1 Amendment and Termination. The Board may at any time wholly or
  partially amend, alter, suspend or terminate the Plan. However, without approval of the
  Company’s members given within twelve (12) months before or after the action by the Board, no
  action of the Board may, except as provided in Section 9, increase the limits imposed in
  Section 3 on the maximum number of Shares which may be issued under the Plan or extend the
  term of the Plan under Section 15.

                 17.2 Member Approval. The Board shall obtain member approval of Company
  for any Plan amendment to the extent necessary and desirable to comply with Applicable Laws.

                  17.3 Effect of Amendment or Termination. No amendment, alteration,
  suspension or termination of the Plan shall impair the rights of any Holder, unless mutually
  agreed otherwise between the Holder and the Administrator, which agreement must be in writing
  and signed by the Holder and the Company; provided however, that the foregoing shall not limit
  the authority of the Administrator to exercise all authority and discretion conveyed to it herein or
  in any Award Agreement. Termination of the Plan shall not affect the Administrator’s ability to
  exercise the powers granted to it hereunder with respect to Awards granted under the Plan prior
  to the date of such termination.



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         18.    MEMBER APPROVAL. The Plan shall be submitted for the approval of
  Company’s members within twelve (12) months after the date of the Board’s initial adoption of
  the Plan. Awards may be granted or awarded prior to such member approval, provided that if
  such approval has not been obtained at the end of said twelve (12) month period, all Awards
  previously granted or awarded under the Plan shall thereupon be canceled and become null and
  void.

          19.      LEAVES OF ABSENCE/TRANSFER BETWEEN LOCATIONS. Unless the
  Administrator provides otherwise, vesting of Awards granted hereunder will be suspended
  during any unpaid leave of absence. A Holder will not cease to be an Employee in the case of
  (i) any leave of absence approved by the Company or (ii) transfers between locations of the
  Company or between the Company, its Parent, or any Subsidiary. For purposes of Incentive
  Share Options, no such leave may exceed three (3) months, unless reemployment upon
  expiration of such leave is guaranteed by statute or contract. If reemployment upon expiration of
  a leave of absence approved by the Company is not so guaranteed, then six (6) months following
  the first (1st) day of such leave, any Incentive Share Option held by the Holder will cease to be
  treated as an Incentive Share Option and will be treated for tax purposes as a Non-qualified
  Share Option.

          20.     TAX WITHHOLDING. Prior to the delivery of any Shares or cash pursuant to
  an Award (or exercise thereof), the Company will have the power and the right to deduct or
  withhold, or require a Holder to remit to the Company, an amount sufficient to satisfy Federal,
  state, local, foreign or other taxes (including the Holder’s FICA obligation) required to be
  withheld with respect to such Award (or exercise thereof).

                  The Administrator, in its sole discretion and pursuant to such procedures as it may
  specify from time to time, may permit a Holder to satisfy such tax withholding obligation, in
  whole or in part by such methods as the Administrator shall determine, including, without
  limitation, (i) paying cash, (ii) electing to have the Company withhold otherwise deliverable
  Shares having a fair market value equal to the minimum statutory amount required to be
  withheld, (iii) delivering to the Company already-owned Shares having a fair market value equal
  to the statutory amount required to be withheld, provided the delivery of such Shares will not
  result in any adverse accounting consequences, as the Administrator determines in its sole
  discretion, (iv) selling a sufficient number of Shares otherwise deliverable to the Participant
  through such means as the Administrator may determine in its sole discretion (whether through a
  broker or otherwise) equal to the amount required to be withheld, or (v) any combination of the
  foregoing methods of payment. The amount of the withholding requirement will be deemed to
  include any amount which the Administrator agrees may be withheld at the time the election is
  made, not to exceed the amount determined by using the maximum federal, state or local
  marginal income tax rates applicable to the Holder with respect to the Award on the date that the
  amount of tax to be withheld is to be determined. The fair market value of the Shares to be
  withheld or delivered will be determined as of the date that the taxes are required to be withheld.

         21.     INABILITY TO OBTAIN AUTHORITY. The inability of the Company to
  obtain authority from any regulatory body having jurisdiction, which authority is deemed by the
  Company’s counsel to be necessary to the lawful issuance and sale of any Shares hereunder,




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  shall relieve the Company of any liability in respect of the failure to issue or sell such Shares as
  to which such requisite authority shall not have been obtained.

          22.    RESERVATION OF SHARES. Company during the term of this Plan, shall at
  all times reserve and keep available such number of Shares as shall be sufficient to satisfy the
  requirements of the Plan.

          23.    GOVERNING LAW. The validity and enforceability of this Plan shall be
  governed by and construed in accordance with the laws of the state of California without regard
  to otherwise governing principles of conflicts of law.

                                             *******




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                                                      U.S. Form of Option Agreement



                                               FF GLOBAL HOLDINGS LTD.

                                                 EQUITY INCENTIVE PLAN

                                              SHARE OPTION AGREEMENT


          Unless otherwise defined herein, the terms defined in the Equity Incentive Plan (the “Plan”)
  shall have the same defined meanings in this Share Option Agreement (the “Option Agreement”).

  I.        NOTICE OF SHARE OPTION GRANT

            Name:

            Address:

        The undersigned Holder has been granted an Option to purchase Class A Ordinary Shares of
  the Company, subject to the terms and conditions of the Plan and this Option Agreement, as follows:

            Date of Grant:

            Vesting Commencement Date:

            Exercise Price per Share:                          $

            Total Number of Shares Granted:

            Total Exercise Price :                             $

            Type of Option:                                    ___        Incentive Share Option

                                                               ___        Non-qualified Share Option

            Term/Expiration Date:

            Vesting Schedule:

         This Option shall be exercisable, in whole or in part, according to the following vesting
  schedule:

         [Twenty-five percent (25%) of the Shares subject to the Option shall vest on the one (1) year
  anniversary of the Vesting Commencement Date, and one forty-eighth (1/48th) of the Shares subject
  to the Option shall vest each month thereafter on the same day of the month as the Vesting
  Commencement Date (and if there is no corresponding day, on the last day of the month), subject to
  Holder continuing to be a wService Provider through each such date.]




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            Termination Period:

          This Option shall be exercisable for three (3) months after Holder ceases to be a Service
  Provider, unless such termination is due to (i) Holder’s death or Disability, in which case this Option
  shall be exercisable for six (6) months after Holder ceases to be a Service Provider; or (ii) Holder’s
  termination for Cause, in which case, to the extent permissible under Applicable Laws, this Option
  shall terminate upon such termination for Cause. Notwithstanding the foregoing sentence, in no
  event may this Option be exercised after the Term/Expiration Date as provided above and this
  Option may be subject to earlier termination as provided in Section 10 of the Plan.

  II.       AGREEMENT

          1.      Grant of Option. The Administrator of the Company hereby grants to the Holder
  named in the Notice of Share Option Grant in Part I of this Agreement (“Holder”), an option (the
  “Option”) to purchase the number of Shares set forth in the Notice of Share Option Grant, at the
  exercise price per Share set forth in the Notice of Share Option Grant (the “Exercise Price”), and
  subject to the terms and conditions of the Plan, which is incorporated herein by reference. Subject to
  Section 17 of the Plan, in the event of a conflict between the terms and conditions of the Plan and
  this Option Agreement, the terms and conditions of the Plan shall prevail.

                 If designated in the Notice of Share Option Grant as an Incentive Share Option
  (“ISO”), this Option is intended to qualify as an “incentive stock option” as defined in Section 422 of
  the Code. Nevertheless, to the extent that it exceeds the $100,000 rule of Code Section 422(d), this
  Option shall be treated as a Non-qualified Share Option (“NSO”). Further, if for any reason this
  Option (or portion thereof) shall not qualify as an ISO, then, to the extent of such nonqualification,
  such Option (or portion thereof) shall be regarded as a NSO granted under the Plan. In no event shall
  the Administrator, the Company or any Parent or Subsidiary or any of their respective employees or
  directors have any liability to Holder (or any other person) due to the failure of the Option to qualify
  for any reason as an ISO.

            2.        Exercise of Option.

                 (a)    Right to Exercise. This Option shall be exercisable during its term in
  accordance with the Vesting Schedule set out in the Notice of Share Option Grant and with the
  applicable provisions of the Plan and this Option Agreement.

                 (b)    Method of Exercise. This Option shall be exercisable by delivery of an
  exercise notice in the form attached as Exhibit A (the “Exercise Notice”) or in a manner and
  pursuant to such procedures as the Administrator may determine, which shall state the election to
  exercise the Option, the number of Shares with respect to which the Option is being exercised (the
  “Exercised Shares”), and such other representations and agreements as may be required by the
  Company. As a condition to exercise this Option, Holder must sign any documents reasonably
  required of a member, including, but not limited to, any then in effect voting agreement or co-sale
  agreement at the time of exercise. The Exercise Notice shall be accompanied by payment of the
  aggregate Exercise Price as to all Exercised Shares, together with any applicable tax withholding.
  This Option shall be deemed to be exercised upon receipt by the Company of such fully executed


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  Exercise Notice accompanied by the aggregate Exercise Price, together with any applicable tax
  withholding, and the Holder signing any documents reasonably required of a member, including, but
  not limited to, any then in effect voting agreement or co-sale agreement at the time of exercise.

                 No Shares shall be issued pursuant to the exercise of an Option unless such issuance
  and such exercise comply with Applicable Laws. Assuming such compliance, for income tax
  purposes the Shares shall be considered transferred to Holder on the date on which the Option is
  exercised with respect to such Shares.

          3.      Holder’s Representations. In the event the Shares have not been registered under the
  Securities Act of 1933, as amended or the regulatory rules of any other jurisdiction (the “Securities
  Act”), at the time this Option is exercised, Holder shall, if required by the Company, concurrently
  with the exercise of all or any portion of this Option, deliver to the Company his or her Investment
  Representation Statement in the form attached hereto as Exhibit B.

          4.      Lock-Up Period. Holder hereby agrees that Holder shall not offer, pledge, sell,
  contract to sell, sell any option or contract to purchase, purchase any option or contract to sell, grant
  any option, right or warrant to purchase, lend, or otherwise transfer or dispose of, directly or
  indirectly, any Class A Ordinary Shares (or other securities) of the Company or enter into any swap,
  hedging or other arrangement that transfers to another, in whole or in part, any of the economic
  consequences of ownership of any Class A Ordinary Shares (or other securities) of the Company
  held by Holder (other than those included in the registration) for a period specified by the
  representative of the underwriters of Class A Ordinary Shares (or other securities) of the Company
  not to exceed one hundred and eighty (180) days following the effective date of any registration
  statement of the Company filed under the Securities Act (or such other period as may be requested
  by the Company or the underwriters to accommodate applicable regulatory restrictions, including but
  not limited to, on (i) the publication or other distribution of research reports and (ii) analyst
  recommendations and opinions, including, but not limited to, the restrictions contained in NASD
  Rule 2711(f)(4) or NYSE Rule 472(f)(4), or any successor provisions or amendments thereto).

                  Holder agrees to execute and deliver such other agreements as may be reasonably
  requested by the Company or the underwriter which are consistent with the foregoing or which are
  necessary to give further effect thereto. In addition, if requested by the Company or the
  representative of the underwriters of Class A Ordinary Shares (or other securities) of the Company,
  Holder shall provide, within ten (10) days of such request, such information as may be required by
  the Company or such representative in connection with the completion of any public offering of the
  Company’s securities pursuant to a registration statement filed under the Securities Act. The
  obligations described in this Section 4 shall not apply to a registration relating solely to employee
  benefit plans on Form S-1 or Form S-8 or similar forms that may be promulgated in the future, or a
  registration relating solely to a Commission Rule 145 transaction on Form S-4 or similar forms that
  may be promulgated in the future. The Company may impose stop-transfer instructions with respect
  to Class A Ordinary Shares (or other securities) subject to the foregoing restriction until the end of
  said one hundred and eighty (180) day (or other) period. Holder agrees that any transferee of the
  Option or Class A Ordinary Shares acquired pursuant to the Option shall be bound by this Section 4.




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         5.      Method of Payment. Payment of the aggregate Exercise Price shall be by any of the
  following, or a combination thereof, at the election of the Holder:

                      (a)       cash;

                      (b)       check;

               (c)     consideration received by the Company under a formal cashless exercise
  program adopted by the Company in connection with the Plan; or

                  (d)      surrender of other Shares which (i) shall be valued at its Fair Market Value on
  the date of exercise, and (ii) must be owned free and clear of any liens, claims, encumbrances or
  security interests, if accepting such Shares, in the sole discretion of the Administrator, shall not result
  in any adverse accounting consequences to the Company.

         6.      Restrictions on Exercise. This Option may not be exercised until such time as the
  Plan has been approved by the members of the Company, or if the issuance of such Shares upon such
  exercise or the method of payment of consideration for such shares would constitute a violation of
  any Applicable Law.

            7.        Non-Transferability of Option.

                 (a)      This Option may not be transferred in any manner otherwise than by will or by
  the laws of descent or distribution and may be exercised during the lifetime of Holder only by
  Holder. The terms of the Plan and this Option Agreement shall be binding upon the executors,
  administrators, heirs, successors and assigns of Holder.

                  (b)    Further, until the Company becomes subject to the reporting requirements of
  Section 13 or 15(d) of the Exchange Act, or after the Administrator determines that it is, will, or may
  no longer be relying upon the exemption from registration of Options under the Exchange Act as set
  forth in Rule 12h-1(f) promulgated under the Exchange Act (the “Reliance End Date”), Holder shall
  not transfer this Option or, prior to exercise, the Shares subject to this Option, in any manner other
  than (i) to persons who are “family members” (as defined in Rule 701(c)(3) of the Securities Act)
  through gifts or domestic relations orders, or (ii) to an executor or guardian of Holder upon the death
  or disability of Holder. Until the Reliance End Date, the Options and, prior to exercise, the Shares
  subject to this Option, may not be pledged, hypothecated or otherwise transferred or disposed of,
  including by entering into any short position, any “put equivalent position” or any “call equivalent
  position” (as defined in Rule 16a-1(h) and Rule 16a-1(b) of the Exchange Act, respectively), other
  than as permitted in clauses (i) and (ii) of this paragraph.

         8.      Term of Option. This Option may be exercised only within the term set out in the
  Notice of Share Option Grant, and may be exercised during such term only in accordance with the
  Plan and the terms of this Option Agreement.




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            9.        Tax Obligations.

                  (a)     Tax Withholding. Holder agrees to make appropriate arrangements with the
  Company (or the Parent or Subsidiary employing or retaining Holder) for the satisfaction of all
  Federal, state, local and foreign income and employment tax withholding requirements applicable to
  the Option exercise. Holder acknowledges and agrees that the Company may refuse to honor the
  exercise and refuse to deliver the Shares if such withholding amounts are not delivered at the time of
  exercise.

                  (b)     Notice of Disqualifying Disposition of ISO Shares. If the Option granted to
  Holder herein is an ISO, and if Holder sells or otherwise disposes of any of the Shares acquired
  pursuant to the ISO on or before the later of (i) the date two (2) years after the Date of Grant, or
  (ii) the date one (1) year after the date of exercise, Holder shall immediately notify the Company in
  writing of such disposition. Holder agrees that Holder may be subject to income tax withholding by
  the Company on the compensation income recognized by Holder.

                  (c)    Code Section 409A and Code Section 457A. Under Section 409A, an Option
  that vests after December 31, 2004 (or that vested on or prior to such date but which was materially
  modified after October 3, 2004) that was granted with a per Share exercise price that is determined
  by the U.S. Internal Revenue Service (the “IRS”) to be less than the Fair Market Value of a Share on
  the date of grant (a “discount option”) or that covers other than “service recipient stock” (as defined
  under Section 409A) may be considered “deferred compensation.” An Option that is a “discount
  option” or that covers other than service recipient stock may result in (i) income recognition by
  Holder prior to the exercise of the Option, (ii) an additional twenty percent (20%) U.S. federal
  income tax, and (iii) potential penalty and interest charges. The option may also result in additional
  state income, penalty and interest charges to the Holder. Holder acknowledges that the Company
  cannot and has not guaranteed that the IRS will agree that the per Share exercise price of this Option
  equals or exceeds the Fair Market Value of a Share on the date of grant or that the Shares covered by
  this Option will be classified as service recipient stock in a later examination. Holder agrees that if
  the IRS determines that the Option was granted with a per Share exercise price that was less than the
  Fair Market Value of a Share on the date of grant or covers other than service recipient stock, Holder
  shall be solely responsible for Holder’s costs related to such a determination. Further, Holder agrees
  that if the IRS determines that the Option is deferred compensation subject to, and within the
  meaning of, Section 457A, Holder shall be solely responsible for Holder’s costs related to such a
  determination.

         10.     Entire Agreement; Governing Law. The Plan is incorporated herein by reference.
  The Plan and this Option Agreement constitute the entire agreement of the parties with respect to the
  subject matter hereof and supersede in their entirety all prior undertakings and agreements of the
  Company and Holder with respect to the subject matter hereof, and may not be modified adversely to
  the Holder’s interest except by means of a writing signed by the Company and Holder. This Option
  Agreement is governed by the internal substantive laws but not the choice of law rules of California.

       11.  No Guarantee of Continued Service. HOLDER ACKNOWLEDGES AND AGREES
  THAT THE VESTING OF SHARES PURSUANT TO THE VESTING SCHEDULE HEREOF IS
  EARNED ONLY BY CONTINUING AS A SERVICE PROVIDER AT THE WILL OF THE


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  COMPANY (OR THE PARENT OR SUBSIDIARY EMPLOYING OR RETAINING HOLDER)
  AND NOT THROUGH THE ACT OF BEING HIRED, BEING GRANTED THIS OPTION OR
  ACQUIRING SHARES HEREUNDER. HOLDER FURTHER ACKNOWLEDGES AND AGREES
  THAT THIS AGREEMENT, THE TRANSACTIONS CONTEMPLATED HEREUNDER AND
  THE VESTING SCHEDULE SET FORTH HEREIN DO NOT CONSTITUTE AN EXPRESS OR
  IMPLIED PROMISE OF CONTINUED ENGAGEMENT AS A SERVICE PROVIDER FOR THE
  VESTING PERIOD, FOR ANY PERIOD, OR AT ALL, AND SHALL NOT INTERFERE IN ANY
  WAY WITH HOLDER’S RIGHT OR THE RIGHT OF THE COMPANY (OR THE PARENT OR
  SUBSIDIARY EMPLOYING OR RETAINING HOLDER) TO TERMINATE HOLDER’S
  RELATIONSHIP AS A SERVICE PROVIDER AT ANY TIME, WITH OR WITHOUT CAUSE.

          Holder acknowledges receipt of a copy of the Plan and represents that he or she is familiar
  with the terms and provisions thereof, and hereby accepts this Option subject to all of the terms and
  provisions thereof. Holder has reviewed the Plan and this Option in their entirety, has had an
  opportunity to obtain the advice of counsel prior to executing this Option and fully understands all
  provisions of the Option. Holder hereby agrees to accept as binding, conclusive and final all
  decisions or interpretations of the Administrator upon any questions arising under the Plan or this
  Option. Holder further agrees to notify the Company upon any change in the residence address
  indicated below.

           By Holder’s signature below, Holder acknowledges and agrees that the grant of this Option is
  in full satisfaction of any oral or written promise to grant a share option, equity or any equity-related
  interest in the Company or any Subsidiary or affiliate, including, but not limited to any promise set
  forth in an offer letter or other agreement with a Subsidiary or other affiliate of the Company and/or
  related oral discussions (a “Promised Interest”). Accordingly, Holder hereby irrevocably and
  unconditionally releases and forever discharges the Company and any Subsidiary, and any
  successors, assigns, directors, officers, employees, consultants, agents, representatives, members,
  shareholders and affiliates of the Company and any Subsidiary, from any obligation to issue any
  securities of the Company or any Subsidiary or any other compensation in respect of the Promised
  Interest and from all any and all claims, liabilities or obligations, whether now existing or hereafter
  arising, which in any way relate to or arise out the Promised Interest.

          Holder acknowledges that Holder has been advised to consult with legal counsel and is
  familiar with the provisions of California Civil Code Section 1542, a statute that otherwise prohibits
  the release of unknown claims, which provides as follows:




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       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
  DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
  EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
  MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

  HOLDER                                                                  FF GLOBAL HOLDINGS LTD.


  Signature                                                               By


  Print Name                                                              Print Name


                                                                          Title

  Residence Address




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                                                              EXHIBIT A

                                                 EQUITY INCENTIVE PLAN

                                                       EXERCISE NOTICE


  FF Global Holdings Ltd.

  Attention: Share Administration

         1.     Exercise of Option. Effective as of today, ________________, ____, the undersigned
  (“Holder”) hereby elects to exercise Holder’s option (the “Option”) to purchase ________________
  Class A Ordinary Shares (the “Shares”) of FF Global Holdings Ltd. (the “Company”) under and
  pursuant to the Equity Incentive Plan (the “Plan”) and the Share Option Agreement dated
  ______________, _____ (the “Option Agreement”).

          2.     Delivery of Payment. Holder herewith delivers to the Company the full purchase
  price of the Shares, as set forth in the Option Agreement, and any and all withholding taxes due in
  connection with the exercise of the Option. As a condition to exercise, Holder also agrees to sign
  any member documents, including, but not limited to, any voting agreement or co-sale agreement,
  reasonably requested by the Company.

         3.      Representations of Holder. Holder acknowledges that Holder has received, read and
  understood the Plan and the Option Agreement and agrees to abide by and be bound by their terms
  and conditions.

          4.      Rights as Member. Until the issuance of the Shares (as evidenced by the appropriate
  entry in the register of members, or on the books of the Company or of a duly authorized transfer
  agent of the Company), no right to vote or receive dividends or any other rights as a member shall
  exist with respect to the Class A Ordinary Shares subject to an Award, notwithstanding the exercise
  of the Option. The Shares shall be issued to Holder as soon as practicable after the Option is
  exercised in accordance with the Option Agreement. No adjustment shall be made for a dividend or
  other right for which the record date is prior to the date of issuance except as provided in Section 10
  of the Plan.

          5.       Company’s Right of First Refusal. Before any Shares held by Holder or any
  transferee (either being sometimes referred to herein as the “Holder”) may be sold or otherwise
  transferred (including transfer by gift or operation of law), the Company or its assignee(s) shall have
  a right of first refusal to purchase the Shares on the terms and conditions set forth in this Section 5
  (the “Right of First Refusal”). For clarity, the Company may assign the Right of First Refusal to any
  other members or investors of the Company.

                (a)    Notice of Proposed Transfer. The Holder of the Shares shall deliver to the
  Company a written notice (the “Notice”) stating: (i) the Holder’s bona fide intention to sell or
  otherwise transfer such Shares; (ii) the name of each proposed purchaser or other transferee


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  (“Proposed Transferee”); (iii) the number of Shares to be transferred to each Proposed Transferee;
  and (iv) the bona fide cash price or other consideration for which the Holder proposes to transfer the
  Shares (the “Offered Price”), and the Holder shall offer the Shares at the Offered Price to the
  Company or its assignee(s).

                  (b)     Exercise of Right of First Refusal. At any time within thirty (30) days after
  receipt of the Notice, the Company and/or its assignee(s) may, by giving written notice to the Holder,
  elect to purchase all, but not less than all, of the Shares proposed to be transferred to any one or more
  of the Proposed Transferees, at the purchase price determined in accordance with subsection (c)
  below.

                 (c)     Purchase Price. The purchase price (“Purchase Price”) for the Shares
  purchased by the Company or its assignee(s) under this Section 5 shall be the Offered Price. If the
  Offered Price includes consideration other than cash, the cash equivalent value of the non-cash
  consideration shall be determined by the Board of Directors of the Company in good faith.

                 (d)    Payment. Payment of the Purchase Price shall be made, at the option of the
  Company or its assignee(s), in cash (by check), by cancellation of all or a portion of any outstanding
  indebtedness of the Holder to the Company (or, in the case of repurchase by an assignee, to the
  assignee), or by any combination thereof within thirty (30) days after receipt of the Notice or in the
  manner and at the times set forth in the Notice.

                  (e)    Holder’s Right to Transfer. If all of the Shares proposed in the Notice to be
  transferred to a given Proposed Transferee are not purchased by the Company and/or its assignee(s)
  as provided in this Section 5, then the Holder may sell or otherwise transfer such Shares to that
  Proposed Transferee at the Offered Price or at a higher price, provided that such sale or other transfer
  is consummated within one hundred and twenty (120) days after the date of the Notice, that any such
  sale or other transfer is effected in accordance with any applicable securities laws and that the
  Proposed Transferee agrees in writing that the provisions of this Section 5, Section 6 and Section 8,
  and Section 4 of the Option Agreement shall continue to apply to the Shares in the hands of such
  Proposed Transferee. If the Shares described in the Notice are not transferred to the Proposed
  Transferee within such period, a new Notice shall be given to the Company, and the Company and/or
  its assignees shall again be offered the Right of First Refusal before any Shares held by the Holder
  may be sold or otherwise transferred.

                  (f)     Exception for Certain Family Transfers. Anything to the contrary contained in
  this Section 5 notwithstanding, the transfer of any or all of the Shares during the Holder’s lifetime or
  on the Holder’s death by will or intestacy to the Holder’s immediate family or a trust for the benefit
  of the Holder’s immediate family shall be exempt from the provisions of this Section 5. “Immediate
  Family” as used herein shall mean spouse, lineal descendant or antecedent, father, mother, brother or
  sister. In such case, the transferee or other recipient shall receive and hold the Shares so transferred
  subject to the provisions of this Section 5, and there shall be no further transfer of such Shares except
  in accordance with the terms of this Section 5.

                 (g)    Prohibition of Transfer to a Competitor. Notwithstanding anything to the
  contrary contained in this Section 5, the Holder agrees that the Shares may not be transferred to a


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  competitor of the Company (as determined in good faith by the Administrator). Any transfer or
  attempted transfer to a competitor shall be null and void.

                 (h)    Termination of Right of First Refusal. The Right of First Refusal shall
  terminate as to any Shares upon the earlier of (i) a Public Offering, or (ii) an Acquisition in which the
  successor corporation has equity securities that are publicly traded.

         6.      Drag-Along. Each holder of Class A Ordinary Shares, including Holder, will be
  subject to the drag-along right and other provisions set forth in the Memorandum and Articles of
  Association of the Company.

          7.    Tax Consultation.     Holder understands that Holder may suffer adverse tax
  consequences as a result of Holder’s purchase or disposition of the Shares. Holder represents that
  Holder has consulted with any tax consultants Holder deems advisable in connection with the
  purchase or disposition of the Shares and that Holder is not relying on the Company for any tax
  advice.

            8.        Restrictive Legends and Stop-Transfer Orders.

                  (a)    Legends. Holder understands and agrees that the Company shall cause the
  legends set forth below or legends substantially equivalent thereto, to be placed upon any
  certificate(s) evidencing ownership of the Shares together with any other legends that may be
  required by the Company or by state or Federal or non-U.S. securities laws:

                      THE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN REGISTERED
                      UNDER THE U.S. SECURITIES ACT OF 1933 (THE “ACT”) AND MAY NOT BE
                      OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR
                      HYPOTHECATED UNLESS AND UNTIL REGISTERED UNDER THE ACT OR,
                      IN THE OPINION OF COUNSEL SATISFACTORY TO THE ISSUER OF THESE
                      SECURITIES, SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
                      HYPOTHECATION IS IN COMPLIANCE THEREWITH.

                      THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO
                      CERTAIN RESTRICTIONS ON TRANSFER AND A RIGHT OF FIRST REFUSAL
                      HELD BY THE ISSUER OR ITS ASSIGNEE(S) AS SET FORTH IN THE
                      EXERCISE NOTICE BETWEEN THE ISSUER AND THE ORIGINAL HOLDER
                      OF THESE SHARES, A COPY OF WHICH MAY BE OBTAINED AT THE
                      PRINCIPAL OFFICE OF THE ISSUER. SUCH TRANSFER RESTRICTIONS AND
                      RIGHT OF FIRST REFUSAL ARE BINDING ON TRANSFEREES OF THESE
                      SHARES.

                      THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO
                      RESTRICTIONS ON TRANSFER FOR A PERIOD OF TIME FOLLOWING THE
                      EFFECTIVE DATE OF THE UNDERWRITTEN PUBLIC OFFERING OF THE
                      COMPANY’S SECURITIES SET FORTH IN AN AGREEMENT BETWEEN THE
                      ISSUER AND THE ORIGINAL HOLDER OF THESE SHARES AND MAY NOT



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                      BE SOLD OR OTHERWISE DISPOSED OF BY THE HOLDER PRIOR TO THE
                      EXPIRATION OF SUCH PERIOD WITHOUT THE CONSENT OF THE
                      COMPANY OR THE MANAGING UNDERWRITER.

                  (b)     Stop-Transfer Notices. Holder agrees that, in order to ensure compliance with
  the restrictions referred to herein, the Company may issue appropriate “stop transfer” instructions to
  its transfer agent, if any, and that, if the Company transfers its own securities, it may make
  appropriate notations to the same effect in its own records.

                 (c)     Refusal to Transfer. The Company shall not be required (i) to transfer on its
  books or in the register of members any Shares that have been sold or otherwise transferred in
  violation of any of the provisions of this Exercise Notice or (ii) to treat as owner of such Shares or to
  accord the right to vote or pay dividends to any purchaser or other transferee to whom such Shares
  shall have been so transferred.

         9.      Successors and Assigns. The Company may assign any of its rights under this
  Exercise Notice to single or multiple assignees, and this Exercise Notice shall inure to the benefit of
  the successors and assigns of the Company. Subject to the restrictions on transfer herein set forth,
  this Exercise Notice shall be binding upon Holder and his or her heirs, executors, administrators,
  successors and assigns.

          10.     Interpretation. Any dispute regarding the interpretation of this Exercise Notice shall
  be submitted by Holder or by the Company forthwith to the Administrator, which shall review such
  dispute at its next regular meeting. The resolution of such a dispute by the Administrator shall be
  final and binding on all parties.

         11.     Governing Law; Severability. This Exercise Notice is governed by the internal
  substantive laws, but not the choice of law rules, of California. In the event that any provision hereof
  becomes or is declared by a court of competent jurisdiction to be illegal, unenforceable or void, this
  Exercise Notice shall continue in full force and effect.

         12.     Entire Agreement. The Plan and Option Agreement are incorporated herein by
  reference. This Exercise Notice, the Plan, the Option Agreement and the Investment Representation
  Statement constitute the entire agreement of the parties with respect to the subject matter hereof and
  supersede in their entirety all prior undertakings and agreements of the Company and Holder with
  respect to the subject matter hereof, and may not be modified adversely to the Holder’s interest
  except by means of a writing signed by the Company and Holder.

  Submitted by:                                                           Accepted by:
  HOLDER                                                                  FF GLOBAL HOLDINGS LTD.




  Signature                                                               By


  Print Name                                                              Print Name


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                                                                          Title

  Address:                                                                Address:




                                                                          Date Received




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                                                              EXHIBIT B

                                INVESTMENT REPRESENTATION STATEMENT


  HOLDER                        :

  COMPANY                       :          FF GLOBAL HOLDINGS LTD.

  SECURITY                      :          CLASS A ORDINARY SHARE

  AMOUNT                        :

  DATE                          :

         In connection with the purchase of the above-listed Securities, the undersigned Holder
  represents to the Company the following:

          (a)    Holder is aware of the Company’s business affairs and financial condition and has
  acquired sufficient information about the Company to reach an informed and knowledgeable
  decision to acquire the Securities. Holder is acquiring these Securities for investment for Holder’s
  own account only and not with a view to, or for resale in connection with, any “distribution” thereof
  within the meaning of the U.S. Securities Act of 1933, as amended (the “Securities Act”).

          (b)     Holder acknowledges and understands that the Securities constitute “restricted
  securities” under the Securities Act and have not been registered under the Securities Act in reliance
  upon a specific exemption therefrom, which exemption depends upon, among other things, the bona
  fide nature of Holder’s investment intent as expressed herein. In this connection, Holder understands
  that, in the view of the U.S. Securities and Exchange Commission, the statutory basis for such
  exemption may be unavailable if Holder’s representation was predicated solely upon a present
  intention to hold these Securities for the minimum capital gains period specified under tax statutes,
  for a deferred sale, for or until an increase or decrease in the market price of the Securities, or for a
  period of one (1) year or any other fixed period in the future. Holder further understands that the
  Securities must be held indefinitely unless they are subsequently registered under the Securities Act
  or an exemption from such registration is available. Holder further acknowledges and understands
  that the Company is under no obligation to register the Securities. Holder understands that the
  certificate evidencing the Securities shall be imprinted with any legend required under applicable
  state, Federal and non-U.S. securities laws.

          (c)     Holder is familiar with the provisions of Rule 701 and Rule 144, each promulgated
  under the Securities Act, which, in substance, permit limited public resale of “restricted securities”
  acquired, directly or indirectly from the issuer thereof, in a non-public offering subject to the
  satisfaction of certain conditions. Rule 701 provides that if the issuer qualifies under Rule 701 at the
  time of the grant of the Option to Holder, the exercise shall be exempt from registration under the
  Securities Act. In the event the Company becomes subject to the reporting requirements of
  Section 13 or 15(d) of the Securities Exchange Act of 1934, ninety (90) days thereafter (or such


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  longer period as any market stand-off agreement may require) the Securities exempt under Rule 701
  may be resold, subject to the satisfaction of the applicable conditions specified by Rule 144,
  including in the case of affiliates (1) the availability of certain public information about the
  Company, (2) the amount of Securities being sold during any three (3) month period not exceeding
  specified limitations, (3) the resale being made in an unsolicited “broker’s transaction”, transactions
  directly with a “market maker” or “riskless principal transactions” (as those terms are defined under
  the Securities Exchange Act of 1934) and (4) the timely filing of a Form 144, if applicable.

                  In the event that the Company does not qualify under Rule 701 at the time of grant of
  the Option, then the Securities may be resold in certain limited circumstances subject to the
  provisions of Rule 144, which may require (i) the availability of current public information about the
  Company; (ii) the resale to occur more than a specified period after the purchase and full payment
  (within the meaning of Rule 144) for the Securities; and (iii) in the case of the sale of Securities by
  an affiliate, the satisfaction of the conditions set forth in sections (2), (3) and (4) of the paragraph
  immediately above.

          (d)     Holder further understands that in the event all of the applicable requirements of
  Rule 701 or 144 are not satisfied, registration under the Securities Act, compliance with Regulation
  A, or some other registration exemption shall be required; and that, notwithstanding the fact that
  Rules 144 and 701 are not exclusive, the Staff of the Securities and Exchange Commission has
  expressed its opinion that persons proposing to sell private placement securities other than in a
  registered offering and otherwise than pursuant to Rules 144 or 701 shall have a substantial burden
  of proof in establishing that an exemption from registration is available for such offers or sales, and
  that such persons and their respective brokers who participate in such transactions do so at their own
  risk. Holder understands that no assurances can be given that any such other registration exemption
  shall be available in such event.

                                                                          HOLDER


                                                                          Signature


                                                                          Print Name


                                                                          Date




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                                         U.S. Form of Early-Exercise Option Agreement



                                     FF GLOBAL HOLDINGS LTD.

                                     EQUITY INCENTIVE PLAN

                     SHARE OPTION AGREEMENT — EARLY EXERCISE


          Unless otherwise defined herein, the terms defined in the Equity Incentive Plan (the “Plan”)
  shall have the same defined meanings in this Share Option Agreement – Early Exercise (the “Option
  Agreement”).

  I.     NOTICE OF SHARE OPTION GRANT

         Name:

         Address:



        The undersigned Holder has been granted an Option to purchase Class A Ordinary Shares of
  the Company, subject to the terms and conditions of the Plan and this Option Agreement, as follows:

         Date of Grant:

         Vesting Commencement Date:

         Exercise Price per Share:            $

         Total Number of Shares Granted:

         Total Exercise Price:                $

         Type of Option:                      ___    Incentive Share Option

                                              _X_    Nonstatutory Share Option

         Early-Exercise Deadline:             [30/45] day anniversary of Date of Grant

         Term/Expiration Date:

         Vesting Schedule:

         This Option shall be exercisable, in whole or in part, according to the following vesting
  schedule:

         [Twenty-five percent (25%) of the Shares subject to the Option shall vest on the one (1) year
  anniversary of the Vesting Commencement Date, and one forty-eighth (1/48th) of the Shares subject
  to the Option shall vest each month thereafter on the same day of the month as the Vesting




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  Commencement Date (and if there is no corresponding day, on the last day of the month), subject to
  Holder continuing to be a Service Provider through each such date.]

         Termination Period:

          This Option shall be exercisable for three (3) months after Holder ceases to be a Service
  Provider, unless such termination is due to (i) Holder’s death or Disability, in which case this Option
  shall be exercisable for six (6) months after Holder ceases to be a Service Provider; or (ii) Holder’s
  termination for Cause, in which case, to the extent permissible under Applicable Laws, this Option
  shall terminate upon such termination for Cause. Notwithstanding the foregoing sentence, in no
  event may this Option be exercised after the Term/Expiration Date as provided above and this
  Option may be subject to earlier termination as provided in Section 10 of the Plan.

  II.    AGREEMENT

          1.      Grant of Option. The Administrator of the Company hereby grants to the Holder
  named in the Notice of Share Option Grant in Part I of this Agreement (“Holder”), an option (the
  “Option”) to purchase the number of Shares set forth in the Notice of Share Option Grant, at the
  exercise price per Share set forth in the Notice of Share Option Grant (the “Exercise Price”), and
  subject to the terms and conditions of the Plan, which is incorporated herein by reference. Subject to
  Section 17 of the Plan, in the event of a conflict between the terms and conditions of the Plan and
  this Option Agreement, the terms and conditions of the Plan shall prevail.

                 If designated in the Notice of Share Option Grant as an Incentive Share Option
  (“ISO”), this Option is intended to qualify as an “incentive stock option” as defined in Section 422
  of the Code. Nevertheless, to the extent that it exceeds the $100,000 rule of Code Section 422(d),
  this Option shall be treated as a Non-qualified Share Option (“NSO”). Further, if for any reason this
  Option (or portion thereof) shall not qualify as an ISO, then, to the extent of such nonqualification,
  such Option (or portion thereof) shall be regarded as a NSO granted under the Plan. In no event
  shall the Administrator, the Company or any Parent or Subsidiary or any of their respective
  employees or directors have any liability to Holder (or any other person) due to the failure of the
  Option to qualify for any reason as an ISO.

         2.      Exercise of Option. This Option shall be exercisable during its term in accordance
  with the provisions of Section 7 of the Plan as follows:

                 (a)    Right to Exercise.

                         (i) Subject to subsections 2(a)(ii) and 2(a)(iii) below, until the Early-
  Exercise Deadline set forth in the Notice of Share Option Grant, this Option shall be exercisable
  cumulatively according to the vesting schedule set forth in the Notice of Share Option Grant. After
  the Early-Exercise Deadline, this Option will not be exercisable as to any unvested Shares.

                 Alternatively, at the election of Holder, this Option may be exercised in whole or in
  part at any time as to Shares that have not yet vested. Vested Shares shall not be subject to the
  Company’s repurchase right (as set forth in the Restricted Share Purchase Agreement, attached
  hereto as Exhibit C-1).



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                          (ii) As a condition to exercising this Option for unvested Shares, Holder
  shall execute the Restricted Share Purchase Agreement.

                         (iii)   This Option may not be exercised for a fraction of a Share.

                 (b)    Method of Exercise. This Option shall be exercisable by delivery of an
  exercise notice in the form attached as Exhibit A (the “Exercise Notice”) or in a manner and
  pursuant to such procedures as the Administrator may determine, which shall state the election to
  exercise the Option, the number of Shares with respect to which the Option is being exercised (the
  “Exercised Shares”), and such other representations and agreements as may be required by the
  Company. As a condition to exercise this Option, Holder must (i) to the extent Holder is exercising
  unvested Shares, deliver to the Company a signed copy of the 83(b) election in the form attached as
  Exhibit C-4 and agree to timely file the 83(b) election with the Internal Revenue Service and (ii) sign
  any documents reasonably required of a member, including, but not limited to, any then in effect
  voting agreement or co-sale agreement at the time of exercise. The Exercise Notice shall be
  accompanied by payment of the aggregate Exercise Price as to all Exercised Shares, together with
  any applicable tax withholding. This Option shall be deemed to be exercised upon receipt by the
  Company of such fully executed Exercise Notice accompanied by the aggregate Exercise Price,
  together with any applicable tax withholding, a signed copy of the 83(b) election (if the Holder is
  exercising unvested Shares) and the Holder signing any documents reasonably required of a
  member, including, but not limited to, any then in effect voting agreement or co-sale agreement at
  the time of exercise.

                 No Shares shall be issued pursuant to the exercise of an Option unless such issuance
  and such exercise comply with Applicable Laws. Assuming such compliance, for income tax
  purposes the Shares shall be considered transferred to Holder on the date on which the Option is
  exercised with respect to such Shares.

          3.      Holder’s Representations. In the event the Shares have not been registered under the
  Securities Act of 1933, as amended or the regulatory rules of any other jurisdiction (the “Securities
  Act”), at the time this Option is exercised, Holder shall, if required by the Company, concurrently
  with the exercise of all or any portion of this Option, deliver to the Company his or her Investment
  Representation Statement in the form attached hereto as Exhibit B.

          4.      Lock-Up Period. Holder hereby agrees that Holder shall not offer, pledge, sell,
  contract to sell, sell any option or contract to purchase, purchase any option or contract to sell, grant
  any option, right or warrant to purchase, lend, or otherwise transfer or dispose of, directly or
  indirectly, any Class A Ordinary Shares (or other securities) of the Company or enter into any swap,
  hedging or other arrangement that transfers to another, in whole or in part, any of the economic
  consequences of ownership of any Class A Ordinary Shares (or other securities) of the Company
  held by Holder (other than those included in the registration) for a period specified by the
  representative of the underwriters of Class A Ordinary Shares (or other securities) of the Company
  not to exceed one hundred and eighty (180) days following the effective date of any registration
  statement of the Company filed under the Securities Act (or such other period as may be requested
  by the Company or the underwriters to accommodate applicable regulatory restrictions, including
  but not limited to, on (i) the publication or other distribution of research reports and (ii) analyst



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  recommendations and opinions, including, but not limited to, the restrictions contained in NASD
  Rule 2711(f)(4) or NYSE Rule 472(f)(4), or any successor provisions or amendments thereto).

                  Holder agrees to execute and deliver such other agreements as may be reasonably
  requested by the Company or the underwriter which are consistent with the foregoing or which are
  necessary to give further effect thereto. In addition, if requested by the Company or the
  representative of the underwriters of Class A Ordinary Shares (or other securities) of the Company,
  Holder shall provide, within ten (10) days of such request, such information as may be required by
  the Company or such representative in connection with the completion of any public offering of the
  Company’s securities pursuant to a registration statement filed under the Securities Act. The
  obligations described in this Section 4 shall not apply to a registration relating solely to employee
  benefit plans on Form S-1 or Form S-8 or similar forms that may be promulgated in the future, or a
  registration relating solely to a Commission Rule 145 transaction on Form S-4 or similar forms that
  may be promulgated in the future. The Company may impose stop-transfer instructions with respect
  to the Class A Ordinary Shares (or other securities) subject to the foregoing restriction until the end
  of said one hundred and eighty (180) day (or other) period. Holder agrees that any transferee of the
  Option or shares acquired pursuant to the Option shall be bound by this Section 4.

         5.      Method of Payment. Payment of the aggregate Exercise Price shall be by any of the
  following, or a combination thereof, at the election of the Holder:

                 (a)    cash;

                 (b)    check;

               (c)     consideration received by the Company under a formal cashless exercise
  program adopted by the Company in connection with the Plan; or

                  (d)     surrender of other Shares which (i) shall be valued at its Fair Market Value on
  the date of exercise, and (ii) must be owned free and clear of any liens, claims, encumbrances or
  security interests, if accepting such Shares, in the sole discretion of the Administrator, shall not
  result in any adverse accounting consequences to the Company.

         6.      Restrictions on Exercise. This Option may not be exercised until such time as the
  Plan has been approved by the members of the Company, or if the issuance of such Shares upon
  such exercise or the method of payment of consideration for such shares would constitute a violation
  of any Applicable Law.

         7.      Non-Transferability of Option.

                 (a)      This Option may not be transferred in any manner otherwise than by will or
  by the laws of descent or distribution and may be exercised during the lifetime of Holder only by
  Holder. The terms of the Plan and this Option Agreement shall be binding upon the executors,
  administrators, heirs, successors and assigns of Holder.

                 (b)     Further, until the Company becomes subject to the reporting requirements of
  Section 13 or 15(d) of the Exchange Act, or after the Administrator determines that it is, will, or may
  no longer be relying upon the exemption from registration of Options under the Exchange Act as set


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  forth in Rule 12h-1(f) promulgated under the Exchange Act (the “Reliance End Date”), Holder shall
  not transfer this Option or, prior to exercise, the Shares subject to this Option, in any manner other
  than (i) to persons who are “family members” (as defined in Rule 701(c)(3) of the Securities Act)
  through gifts or domestic relations orders, or (ii) to an executor or guardian of Holder upon the death
  or disability of Holder. Until the Reliance End Date, the Options and, prior to exercise, the Shares
  subject to this Option, may not be pledged, hypothecated or otherwise transferred or disposed of,
  including by entering into any short position, any “put equivalent position” or any “call equivalent
  position” (as defined in Rule 16a-1(h) and Rule 16a-1(b) of the Exchange Act, respectively), other
  than as permitted in clauses (i) and (ii) of this paragraph.

         8.      Term of Option. This Option may be exercised only within the term set out in the
  Notice of Share Option Grant, and may be exercised during such term only in accordance with the
  Plan and the terms of this Option Agreement.

         9.      Tax Obligations.

                  (a)     Tax Withholding. Holder agrees to make appropriate arrangements with the
  Company (or the Parent or Subsidiary employing or retaining Holder) for the satisfaction of all
  Federal, state, local and foreign income and employment tax withholding requirements applicable to
  the Option exercise. Holder acknowledges and agrees that the Company may refuse to honor the
  exercise and refuse to deliver the Shares if such withholding amounts are not delivered at the time of
  exercise.

                  (b)     Notice of Disqualifying Disposition of ISO Shares. If the Option granted to
  Holder herein is an ISO, and if Holder sells or otherwise disposes of any of the Shares acquired
  pursuant to the ISO on or before the later of (i) the date two (2) years after the Date of Grant, or
  (ii) the date one (1) year after the date of exercise, Holder shall immediately notify the Company in
  writing of such disposition. Holder agrees that Holder may be subject to income tax withholding by
  the Company on the compensation income recognized by Holder.

                  (c)    Code Section 409A and Code Section 457A. Under Section 409A, an Option
  that vests after December 31, 2004 (or that vested on or prior to such date but which was materially
  modified after October 3, 2004) that was granted with a per Share exercise price that is determined
  by the U.S. Internal Revenue Service (the “IRS”) to be less than the Fair Market Value of a Share on
  the date of grant (a “discount option”) or that covers other than “service recipient stock” (as defined
  under Section 409A) may be considered “deferred compensation.” An Option that is a “discount
  option” or that covers other than service recipient stock may result in (i) income recognition by
  Holder prior to the exercise of the Option, (ii) an additional twenty percent (20%) U.S. federal
  income tax, and (iii) potential penalty and interest charges. The option may also result in additional
  state income, penalty and interest charges to the Holder. Holder acknowledges that the Company
  cannot and has not guaranteed that the IRS will agree that the per Share exercise price of this Option
  equals or exceeds the Fair Market Value of a Share on the date of grant or that the Shares covered by
  this Option will be classified as service recipient stock in a later examination. Holder agrees that if
  the IRS determines that the Option was granted with a per Share exercise price that was less than the
  Fair Market Value of a Share on the date of grant or covers other than service recipient stock, Holder
  shall be solely responsible for Holder’s costs related to such a determination. Further, Holder agrees
  that if the IRS determines that the Option is deferred compensation subject to, and within the


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  meaning of, Section 457A, Holder shall be solely responsible for Holder’s costs related to such a
  determination.

         10.     Entire Agreement; Governing Law. The Plan is incorporated herein by reference.
  The Plan and this Option Agreement constitute the entire agreement of the parties with respect to the
  subject matter hereof and supersede in their entirety all prior undertakings and agreements of the
  Company and Holder with respect to the subject matter hereof, and may not be modified adversely
  to the Holder’s interest except by means of a writing signed by the Company and Holder. This
  Option Agreement is governed by the internal substantive laws but not the choice of law rules of
  California.

       11.  No Guarantee of Continued Service. HOLDER ACKNOWLEDGES AND AGREES
  THAT THE VESTING OF SHARES PURSUANT TO THE VESTING SCHEDULE HEREOF IS
  EARNED ONLY BY CONTINUING AS A SERVICE PROVIDER AT THE WILL OF THE
  COMPANY (OR THE PARENT OR SUBSIDIARY EMPLOYING OR RETAINING HOLDER)
  AND NOT THROUGH THE ACT OF BEING HIRED, BEING GRANTED THIS OPTION OR
  ACQUIRING SHARES HEREUNDER.            HOLDER FURTHER ACKNOWLEDGES AND
  AGREES THAT THIS AGREEMENT, THE TRANSACTIONS CONTEMPLATED
  HEREUNDER AND THE VESTING SCHEDULE SET FORTH HEREIN DO NOT
  CONSTITUTE AN EXPRESS OR IMPLIED PROMISE OF CONTINUED ENGAGEMENT AS A
  SERVICE PROVIDER FOR THE VESTING PERIOD, FOR ANY PERIOD, OR AT ALL, AND
  SHALL NOT INTERFERE IN ANY WAY WITH HOLDER’S RIGHT OR THE RIGHT OF THE
  COMPANY (OR THE PARENT OR SUBSIDIARY EMPLOYING OR RETAINING HOLDER)
  TO TERMINATE HOLDER’S RELATIONSHIP AS A SERVICE PROVIDER AT ANY TIME,
  WITH OR WITHOUT CAUSE.




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          Holder acknowledges receipt of a copy of the Plan and represents that he or she is familiar
  with the terms and provisions thereof, and hereby accepts this Option subject to all of the terms and
  provisions thereof. Holder has reviewed the Plan and this Option in their entirety, has had an
  opportunity to obtain the advice of counsel prior to executing this Option and fully understands all
  provisions of the Option. Holder hereby agrees to accept as binding, conclusive and final all
  decisions or interpretations of the Administrator upon any questions arising under the Plan or this
  Option. Holder further agrees to notify the Company upon any change in the residence address
  indicated below.

          Holder acknowledges receipt of a copy of the Plan and represents that he or she is familiar
  with the terms and provisions thereof, and hereby accepts this Option subject to all of the terms and
  provisions thereof. Holder has reviewed the Plan and this Option in their entirety, has had an
  opportunity to obtain the advice of counsel prior to executing this Option and fully understands all
  provisions of the Option. Holder hereby agrees to accept as binding, conclusive and final all
  decisions or interpretations of the Administrator upon any questions arising under the Plan or this
  Option. Holder further agrees to notify the Company upon any change in the residence address
  indicated below.

           By Holder’s signature below, Holder acknowledges and agrees that the grant of this Option is
  in full satisfaction of any oral or written promise to grant a share option, equity or any equity-related
  interest in the Company or any Subsidiary or affiliate, including, but not limited to any promise set
  forth in an offer letter or other agreement with a Subsidiary or other affiliate of the Company and/or
  related oral discussions (a “Promised Interest”). Accordingly, Holder hereby irrevocably and
  unconditionally releases and forever discharges the Company and any Subsidiary, and any
  successors, assigns, directors, officers, employees, consultants, agents, representatives, members,
  shareholders and affiliates of the Company and any Subsidiary, from any obligation to issue any
  securities of the Company or any Subsidiary or any other compensation in respect of the Promised
  Interest and from all any and all claims, liabilities or obligations, whether now existing or hereafter
  arising, which in any way relate to or arise out the Promised Interest.

          Holder acknowledges that Holder has been advised to consult with legal counsel and is
  familiar with the provisions of California Civil Code Section 1542, a statute that otherwise prohibits
  the release of unknown claims, which provides as follows:




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       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
  DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
  EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
  MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.



  HOLDER                                 FF GLOBAL HOLDINGS LTD.




  Signature                              By


  Print Name                             Print Name


                                         Title


  Residence Address




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                                              EXHIBIT A

                                     EQUITY INCENTIVE PLAN

                                         EXERCISE NOTICE
  FF Global Holdings Ltd.

  Attention: Share Administration

         1.    Exercise of Option. Effective as of today, ________________, ____, the undersigned
  (“Holder”) hereby elects to exercise Holder’s option (the “Option”) to purchase
  ________________ Class A Ordinary Shares (the “Shares”) of FF Global Holdings Ltd. (the
  “Company”) under and pursuant to the Equity Incentive Plan (the “Plan”) and the Share Option
  Agreement – Early Exercise dated ______________, _____ (the “Option Agreement”).

          2.      Delivery of Payment. Holder herewith delivers to the Company the full purchase
  price of the Shares, as set forth in the Option Agreement, any and all withholding taxes due in
  connection with the exercise of the Option and a signed copy of the 83(b) election attached hereto as
  Exhibit C-4 if the Holder is exercising unvested Shares. As a condition to exercise, Holder also
  agrees to sign any member documents, including, but not limited to, any voting agreement or co-sale
  agreement, reasonably requested by the Company.

          3.       Representations of Holder. Holder acknowledges that Holder has received, read and
  understood the Plan and the Option Agreement and agrees to abide by and be bound by their terms
  and conditions. Holder agrees that Holder will timely file the 83(b) election with Internal Revenue
  Service and if Holder fails to timely file such 83(b) election, then Holder must notify the Company
  of the failure to file such 83(b) election.

          4.      Rights as Member. Until the issuance of the Shares (as evidenced by the appropriate
  entry in the register of members, or on the books of the Company or of a duly authorized transfer
  agent of the Company), no right to vote or receive dividends or any other rights as a member shall
  exist with respect to the Class A Ordinary Shares subject to an Award, notwithstanding the exercise
  of the Option. The Shares shall be issued to Holder as soon as practicable after the Option is
  exercised in accordance with the Option Agreement. No adjustment shall be made for a dividend or
  other right for which the record date is prior to the date of issuance except as provided in Section 10
  of the Plan.

          5.       Company’s Right of First Refusal. Before any Shares held by Holder or any
  transferee (either being sometimes referred to herein as the “Holder”) may be sold or otherwise
  transferred (including transfer by gift or operation of law), the Company or its assignee(s) shall have
  a right of first refusal to purchase the Shares on the terms and conditions set forth in this Section 5
  (the “Right of First Refusal”). For clarity, the Company may assign the Right of First Refusal to any
  other members or investors of the Company.

                (a)    Notice of Proposed Transfer. The Holder of the Shares shall deliver to the
  Company a written notice (the “Notice”) stating: (i) the Holder’s bona fide intention to sell or
  otherwise transfer such Shares; (ii) the name of each proposed purchaser or other transferee




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  (“Proposed Transferee”); (iii) the number of Shares to be transferred to each Proposed Transferee;
  and (iv) the bona fide cash price or other consideration for which the Holder proposes to transfer the
  Shares (the “Offered Price”), and the Holder shall offer the Shares at the Offered Price to the
  Company or its assignee(s).

                  (b)    Exercise of Right of First Refusal. At any time within thirty (30) days after
  receipt of the Notice, the Company and/or its assignee(s) may, by giving written notice to the
  Holder, elect to purchase all, but not less than all, of the Shares proposed to be transferred to any one
  or more of the Proposed Transferees, at the purchase price determined in accordance with
  subsection (c) below.

                 (c)     Purchase Price. The purchase price (“Purchase Price”) for the Shares
  purchased by the Company or its assignee(s) under this Section 5 shall be the Offered Price. If the
  Offered Price includes consideration other than cash, the cash equivalent value of the non-cash
  consideration shall be determined by the Board of Directors of the Company in good faith.

                 (d)    Payment. Payment of the Purchase Price shall be made, at the option of the
  Company or its assignee(s), in cash (by check), by cancellation of all or a portion of any outstanding
  indebtedness of the Holder to the Company (or, in the case of repurchase by an assignee, to the
  assignee), or by any combination thereof within thirty (30) days after receipt of the Notice or in the
  manner and at the times set forth in the Notice.

                  (e)    Holder’s Right to Transfer. If all of the Shares proposed in the Notice to be
  transferred to a given Proposed Transferee are not purchased by the Company and/or its assignee(s)
  as provided in this Section 5, then the Holder may sell or otherwise transfer such Shares to that
  Proposed Transferee at the Offered Price or at a higher price, provided that such sale or other
  transfer is consummated within one hundred and twenty (120) days after the date of the Notice, that
  any such sale or other transfer is effected in accordance with any applicable securities laws and that
  the Proposed Transferee agrees in writing that the provisions of this Section 5, Section 6 and Section
  8, and Section 4 of the Option Agreement shall continue to apply to the Shares in the hands of such
  Proposed Transferee. If the Shares described in the Notice are not transferred to the Proposed
  Transferee within such period, a new Notice shall be given to the Company, and the Company
  and/or its assignees shall again be offered the Right of First Refusal before any Shares held by the
  Holder may be sold or otherwise transferred.

                  (f)    Exception for Certain Family Transfers. Anything to the contrary contained
  in this Section 5 notwithstanding, the transfer of any or all of the Shares during the Holder’s lifetime
  or on the Holder’s death by will or intestacy to the Holder’s immediate family or a trust for the
  benefit of the Holder’s immediate family shall be exempt from the provisions of this Section 5.
  “Immediate Family” as used herein shall mean spouse, lineal descendant or antecedent, father,
  mother, brother or sister. In such case, the transferee or other recipient shall receive and hold the
  Shares so transferred subject to the provisions of this Section 5, and there shall be no further transfer
  of such Shares except in accordance with the terms of this Section 5.

                 (g)    Prohibition of Transfer to a Competitor. Notwithstanding anything to the
  contrary contained in this Section 5, the Holder agrees that the Shares may not be transferred to a



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  competitor of the Company (as determined in good faith by the Administrator). Any transfer or
  attempted transfer to a competitor shall be null and void.

                 (h)    Termination of Right of First Refusal. The Right of First Refusal shall
  terminate as to any Shares upon the earlier of (i) a Public Offering, or (ii) an Acquisition in which
  the successor corporation has equity securities that are publicly traded.

         6.      Drag-Along. Each holder of Class A Ordinary Shares, including Holder, will be
  subject to the drag-along right and other provisions set forth in the Memorandum and Articles of
  Association of the Company.

          7.    Tax Consultation. Holder understands that Holder may suffer adverse tax
  consequences as a result of Holder’s purchase or disposition of the Shares. Holder represents that
  Holder has consulted with any tax consultants Holder deems advisable in connection with the
  purchase or disposition of the Shares and that Holder is not relying on the Company for any tax
  advice.

         8.     Restrictive Legends and Stop-Transfer Orders.

                  (a)    Legends. Holder understands and agrees that the Company shall cause the
  legends set forth below or legends substantially equivalent thereto, to be placed upon any
  certificate(s) evidencing ownership of the Shares together with any other legends that may be
  required by the Company or by state, Federal or non-U.S. securities laws:

                THE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN REGISTERED
                UNDER THE U.S. SECURITIES ACT OF 1933 (THE “ACT”) AND MAY NOT BE
                OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR
                HYPOTHECATED UNLESS AND UNTIL REGISTERED UNDER THE ACT OR,
                IN THE OPINION OF COUNSEL SATISFACTORY TO THE ISSUER OF THESE
                SECURITIES, SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
                HYPOTHECATION IS IN COMPLIANCE THEREWITH.

                THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO
                CERTAIN RESTRICTIONS ON TRANSFER AND A RIGHT OF FIRST
                REFUSAL HELD BY THE ISSUER OR ITS ASSIGNEE(S) AS SET FORTH IN
                THE EXERCISE NOTICE BETWEEN THE ISSUER AND THE ORIGINAL
                HOLDER OF THESE SHARES, A COPY OF WHICH MAY BE OBTAINED AT
                THE PRINCIPAL OFFICE OF THE ISSUER.          SUCH TRANSFER
                RESTRICTIONS AND RIGHT OF FIRST REFUSAL ARE BINDING ON
                TRANSFEREES OF THESE SHARES.

                THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO
                RESTRICTIONS ON TRANSFER FOR A PERIOD OF TIME FOLLOWING THE
                EFFECTIVE DATE OF THE UNDERWRITTEN PUBLIC OFFERING OF THE
                COMPANY’S SECURITIES SET FORTH IN AN AGREEMENT BETWEEN THE
                ISSUER AND THE ORIGINAL HOLDER OF THESE SHARES AND MAY NOT
                BE SOLD OR OTHERWISE DISPOSED OF BY THE HOLDER PRIOR TO THE


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                  EXPIRATION OF SUCH PERIOD WITHOUT THE CONSENT OF THE
                  COMPANY OR THE MANAGING UNDERWRITER.

                  (b)     Stop-Transfer Notices. Holder agrees that, in order to ensure compliance with
  the restrictions referred to herein, the Company may issue appropriate “stop transfer” instructions to
  its transfer agent, if any, and that, if the Company transfers its own securities, it may make
  appropriate notations to the same effect in its own records.

                 (c)     Refusal to Transfer. The Company shall not be required (i) to transfer on its
  books or in the register of members any Shares that have been sold or otherwise transferred in
  violation of any of the provisions of this Exercise Notice or (ii) to treat as owner of such Shares or to
  accord the right to vote or pay dividends to any purchaser or other transferee to whom such Shares
  shall have been so transferred.

         9.      Successors and Assigns. The Company may assign any of its rights under this
  Exercise Notice to single or multiple assignees, and this Exercise Notice shall inure to the benefit of
  the successors and assigns of the Company. Subject to the restrictions on transfer herein set forth,
  this Exercise Notice shall be binding upon Holder and his or her heirs, executors, administrators,
  successors and assigns.

          10.     Interpretation. Any dispute regarding the interpretation of this Exercise Notice shall
  be submitted by Holder or by the Company forthwith to the Administrator, which shall review such
  dispute at its next regular meeting. The resolution of such a dispute by the Administrator shall be
  final and binding on all parties.

          11.    Governing Law; Severability. This Exercise Notice is governed by the internal
  substantive laws, but not the choice of law rules, of California. In the event that any provision
  hereof becomes or is declared by a court of competent jurisdiction to be illegal, unenforceable or
  void, this Exercise Notice shall continue in full force and effect.

          12.     Entire Agreement. The Plan and Option Agreement are incorporated herein by
  reference. This Exercise Notice, the Plan, the Restricted Share Purchase Agreement, the Option
  Agreement and the Investment Representation Statement constitute the entire agreement of the
  parties with respect to the subject matter hereof and supersede in their entirety all prior undertakings
  and agreements of the Company and Holder with respect to the subject matter hereof, and may not
  be modified adversely to the Holder’s interest except by means of a writing signed by the Company
  and Holder.

  Submitted by:                                         Accepted by:
  HOLDER                                                FF GLOBAL HOLDINGS LTD.




  Signature                                             By


  Print Name                                            Print Name



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                                         Title

  Address:                               Address:




                                         Date Received




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                                               EXHIBIT B

                        INVESTMENT REPRESENTATION STATEMENT


  HOLDER                 :

  COMPANY                :       FF GLOBAL HOLDINGS LTD.

  SECURITY               :       CLASS A ORDINARY SHARE

  AMOUNT                 :

  DATE                   :

         In connection with the purchase of the above-listed Securities, the undersigned Holder
  represents to the Company the following:

                 (a)    Holder is aware of the Company’s business affairs and financial condition and
  has acquired sufficient information about the Company to reach an informed and knowledgeable
  decision to acquire the Securities. Holder is acquiring these Securities for investment for Holder’s
  own account only and not with a view to, or for resale in connection with, any “distribution” thereof
  within the meaning of the U.S. Securities Act of 1933, as amended (the “Securities Act”).

                  (b)     Holder acknowledges and understands that the Securities constitute “restricted
  securities” under the Securities Act and have not been registered under the Securities Act in reliance
  upon a specific exemption therefrom, which exemption depends upon, among other things, the bona
  fide nature of Holder’s investment intent as expressed herein. In this connection, Holder
  understands that, in the view of the Securities and Exchange Commission, the statutory basis for
  such exemption may be unavailable if Holder’s representation was predicated solely upon a present
  intention to hold these Securities for the minimum capital gains period specified under tax statutes,
  for a deferred sale, for or until an increase or decrease in the market price of the Securities, or for a
  period of one (1) year or any other fixed period in the future. Holder further understands that the
  Securities must be held indefinitely unless they are subsequently registered under the Securities Act
  or an exemption from such registration is available. Holder further acknowledges and understands
  that the Company is under no obligation to register the Securities. Holder understands that the
  certificate evidencing the Securities shall be imprinted with any legend required under applicable
  state, Federal and non-U.S. securities laws.

                  (c)     Holder is familiar with the provisions of Rule 701 and Rule 144, each
  promulgated under the Securities Act, which, in substance, permit limited public resale of “restricted
  securities” acquired, directly or indirectly from the issuer thereof, in a non-public offering subject to
  the satisfaction of certain conditions. Rule 701 provides that if the issuer qualifies under Rule 701 at
  the time of the grant of the Option to Holder, the exercise shall be exempt from registration under
  the Securities Act. In the event the Company becomes subject to the reporting requirements of
  Section 13 or 15(d) of the Securities Exchange Act of 1934, ninety (90) days thereafter (or such
  longer period as any market stand-off agreement may require) the Securities exempt under Rule 701




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  may be resold, subject to the satisfaction of the applicable conditions specified by Rule 144,
  including in the case of affiliates (1) the availability of certain public information about the
  Company, (2) the amount of Securities being sold during any three (3) month period not exceeding
  specified limitations, (3) the resale being made in an unsolicited “broker’s transaction”, transactions
  directly with a “market maker” or “riskless principal transactions” (as those terms are defined under
  the Securities Exchange Act of 1934) and (4) the timely filing of a Form 144, if applicable.

                  In the event that the Company does not qualify under Rule 701 at the time of grant of
  the Option, then the Securities may be resold in certain limited circumstances subject to the
  provisions of Rule 144, which may require (i) the availability of current public information about the
  Company; (ii) the resale to occur more than a specified period after the purchase and full payment
  (within the meaning of Rule 144) for the Securities; and (iii) in the case of the sale of Securities by
  an affiliate, the satisfaction of the conditions set forth in sections (2), (3) and (4) of the paragraph
  immediately above.

                  (d)     Holder further understands that in the event all of the applicable requirements
  of Rule 701 or 144 are not satisfied, registration under the Securities Act, compliance with
  Regulation A, or some other registration exemption shall be required; and that, notwithstanding the
  fact that Rules 144 and 701 are not exclusive, the Staff of the Securities and Exchange Commission
  has expressed its opinion that persons proposing to sell private placement securities other than in a
  registered offering and otherwise than pursuant to Rules 144 or 701 shall have a substantial burden
  of proof in establishing that an exemption from registration is available for such offers or sales, and
  that such persons and their respective brokers who participate in such transactions do so at their own
  risk. Holder understands that no assurances can be given that any such other registration exemption
  shall be available in such event.



                                                       HOLDER


                                                       Signature


                                                       Print Name


                                                       Date




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                                             EXHIBIT C-1

                                   FF GLOBAL HOLDINGS LTD.

                                     EQUITY INCENTIVE PLAN

                        RESTRICTED SHARE PURCHASE AGREEMENT


        THIS RESTRICTED SHARE PURCHASE AGREEMENT (the “Agreement”) is made
  between _____________________________ (the “Purchaser”) and FF Global Holdings Ltd. (the
  “Company”) or its assignees of rights hereunder as of __________________, ____.

         Unless otherwise defined herein, the terms defined in the Equity Incentive Plan shall have
  the same defined meanings in this Agreement.

                                               RECITALS

          A.    Pursuant to the exercise of the option (grant number ____) granted to Purchaser under
  the Plan and pursuant to the Share Option Agreement – Early Exercise (the “Option Agreement”)
  dated _______________, ____ by and between the Company and Purchaser with respect to such
  grant (the “Option”), which Plan and Option Agreement are hereby incorporated by reference,
  Purchaser has elected to purchase _________ of those Class A Ordinary Shares which have not
  become vested under the vesting schedule set forth in the Option Agreement (“Unvested Shares”).
  The Unvested Shares and the shares subject to the Option Agreement, which have become vested are
  sometimes collectively referred to herein as the “Shares.”

          B.      As required by the Option Agreement, as a condition to Purchaser’s election to
  exercise the option, Purchaser must execute this Agreement, which sets forth the rights and
  obligations of the parties with respect to Shares acquired upon exercise of the Option.

         1.      Repurchase Option.

                  (a)    If Purchaser’s status as a Service Provider is terminated for any reason,
  including for death and Disability, the Company shall have the right and option for ninety (90) days
  from such date to purchase from Purchaser, or Purchaser’s personal representative, as the case may
  be, all of the Purchaser’s Unvested Shares as of the date of such termination at the price paid by the
  Purchaser for such Shares (the “Repurchase Option”).

                  (b)     Upon the occurrence of such termination, the Company may exercise its
  Repurchase Option by delivering personally or by registered mail, to Purchaser (or his or her
  transferee or legal representative, as the case may be) with a copy to the escrow agent described in
  Section 2 below, a notice in writing indicating the Company’s intention to exercise the Repurchase
  Option AND, at the Company’s option, (i) by delivering to the Purchaser (or the Purchaser’s
  transferee or legal representative) a check in the amount of the aggregate repurchase price, or (ii) by
  the Company canceling an amount of the Purchaser’s indebtedness to the Company equal to the
  aggregate repurchase price, or (iii) by a combination of (i) and (ii) so that the combined payment and




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  cancellation of indebtedness equals such aggregate repurchase price. Upon delivery of such notice
  and payment of the aggregate repurchase price in any of the ways described above, the Company
  shall become the legal and beneficial owner of the Unvested Shares being repurchased and the rights
  and interests therein or relating thereto, and the Company shall have the right to retain and transfer to
  its own name the number of Unvested Shares being repurchased by the Company.

                (c)   Whenever the Company shall have the right to repurchase Unvested Shares
  hereunder, the Company may designate and assign one or more employees, officers, directors or
  members of the Company or other persons or organizations to exercise all or a part of the
  Company’s Repurchase Option under this Agreement and purchase all or a part of such Unvested
  Shares.

               (d)    If the Company does not elect to exercise the Repurchase Option conferred
  above by giving the requisite notice within ninety (90) days following the termination, the
  Repurchase Option shall terminate.

                (e)     The Repurchase Option shall terminate in accordance with the vesting
  schedule contained in Purchaser’s Option Agreement.

         2.      Transferability of the Shares; Escrow.

               (a)    Purchaser hereby authorizes and directs the Secretary of the Company, or such
  other person designated by the Company, to transfer the Unvested Shares as to which the
  Repurchase Option has been exercised from Purchaser to the Company.

                  (b)      To insure the availability for delivery of Purchaser’s Unvested Shares upon
  repurchase by the Company pursuant to the Repurchase Option under Section 1, Purchaser hereby
  appoints the Secretary, or any other person designated by the Company as escrow agent (the
  “Escrow Agent”), as its attorney-in-fact to sell, assign and transfer unto the Company, such
  Unvested Shares, if any, repurchased by the Company pursuant to the Repurchase Option and shall,
  upon execution of this Agreement, deliver and deposit with the Escrow Agent, the share certificates
  representing the Unvested Shares, together with the share assignment duly endorsed in blank,
  attached hereto as Exhibit C-2. The Unvested Shares and share assignment shall be held by the
  Escrow Agent in escrow, pursuant to the Joint Escrow Instructions of the Company and Purchaser
  attached as Exhibit C-3 hereto, until the Company exercises its Repurchase Option, until such
  Unvested Shares are vested, or until such time as this Agreement no longer is in effect. Upon
  vesting of the Unvested Shares, the Escrow Agent shall promptly deliver to the Purchaser the
  certificate or certificates representing such Shares in the Escrow Agent’s possession belonging to the
  Purchaser, and the Escrow Agent shall be discharged of all further obligations hereunder; provided,
  however, that the Escrow Agent shall nevertheless retain such certificate or certificates as Escrow
  Agent if so required pursuant to other restrictions imposed pursuant to this Agreement.

                  (c)     Neither the Company nor the Escrow Agent shall be liable for any act it may
  do or omit to do with respect to holding the Shares in escrow and while acting in good faith and in
  the exercise of its judgment.

                (d)     Transfer or sale of the Shares is subject to restrictions on transfer imposed by
  any applicable state, Federal and non-U.S. securities laws. Any transferee shall hold such Shares

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  subject to all the provisions hereof and the Exercise Notice executed by the Purchaser with respect to
  any Unvested Shares purchased by Purchaser and shall acknowledge the same by signing a copy of
  this Agreement.

          3.   Ownership, Voting Rights, Duties. This Agreement shall not affect in any way the
  ownership, voting rights or other rights or duties of Purchaser, except as specifically provided
  herein.

          4.       Legends. The share certificate evidencing the Shares issued hereunder shall be
  endorsed with the following legend (in addition to any legend required under applicable federal and
  state securities laws):

                 THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO
                 CERTAIN RESTRICTIONS UPON TRANSFER AND RIGHTS OF
                 REPURCHASE AS SET FORTH IN AN AGREEMENT BETWEEN THE
                 COMPANY AND THE MEMBER, A COPY OF WHICH IS ON FILE WITH THE
                 SECRETARY OF THE COMPANY.

          5.      Adjustment for Share Split. All references to the number of Shares and the purchase
  price of the Shares in this Agreement shall be appropriately adjusted to reflect any share split, share
  dividend or other change in the Shares, which may be made by the Company pursuant to Section 10
  of the Plan after the date of this Agreement.

          6.     Notices. Notices required hereunder shall be given in person or by registered mail to
  the address of Purchaser shown on the records of the Company, and to the Company at their
  respective principal executive offices.

         7.      Survival of Terms. This Agreement shall apply to and bind Purchaser and the
  Company and their respective permitted assignees and transferees, heirs, legatees, executors,
  administrators and legal successors.

          8.     Section 83(b) Election. Purchaser hereby acknowledges that he or she has been
  informed that, with respect to the exercise of an Option for Unvested Shares, an election (the
  “Election”) may be filed by the Purchaser with the Internal Revenue Service, within thirty (30) days
  of the purchase of the exercised Shares, electing pursuant to Section 83(b) of the Code to be taxed
  currently on any difference between the purchase price of the exercised Shares and their Fair Market
  Value on the date of purchase. In the case of a Nonstatutory Share Option, this will result in the
  recognition of taxable income to the Purchaser on the date of exercise, measured by the excess, if
  any, of the Fair Market Value of the exercised Shares, at the time the Option is exercised over the
  purchase price for the exercised Shares. Absent such an Election, taxable income will be measured
  and recognized by Purchaser at the time or times on which the Company’s Repurchase Option
  lapses. In the case of an Incentive Share Option, such an Election will result in a recognition of
  income to the Purchaser for alternative minimum tax purposes on the date of exercise, measured by
  the excess, if any, of the Fair Market Value of the exercised Shares, at the time the option is
  exercised, over the purchase price for the exercised Shares. Absent such an Election, alternative
  minimum taxable income will be measured and recognized by Purchaser at the time or times on
  which the Company’s Repurchase Option lapses.


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          This discussion is intended only as a summary of the general United States income tax laws
  that apply to exercising Options as to Shares that have not yet vested and is accurate only as of the
  date this form Agreement was approved by the Board. The federal, state and local tax consequences
  to any particular taxpayer will depend upon his or her individual circumstances. Purchaser is
  strongly encouraged to seek the advice of his or her own tax consultants in connection with the
  purchase of the Shares and the advisability of filing of the Election under Section 83(b) of the Code.
  A form of Election under Section 83(b) is attached hereto as Exhibit C-4 for reference.

       PURCHASER      ACKNOWLEDGES      THAT   IT  IS   PURCHASER’S  SOLE
  RESPONSIBILITY AND NOT THE COMPANY’S TO FILE TIMELY THE ELECTION UNDER
  SECTION 83(b) OF THE CODE, EVEN IF PURCHASER REQUESTS THE COMPANY OR ITS
  REPRESENTATIVE TO MAKE THIS FILING ON PURCHASER’S BEHALF.

           9.     Representations. Purchaser has reviewed with his or her own tax advisors the federal,
  state, local and foreign tax consequences of this investment and the transactions contemplated by
  this Agreement. Purchaser is relying solely on such advisors and not on any statements or
  representations of the Company or any of its agents. Purchaser understands that he or she (and not
  the Company) shall be responsible for his or her own tax liability that may arise as a result of this
  investment or the transactions contemplated by this Agreement.

          10.     Entire Agreement; Governing Law. The Plan and Option Agreement are incorporated
  herein by reference. The Plan, the Option Agreement, the Exercise Notice, this Agreement, and the
  Investment Representation Statement constitute the entire agreement of the parties with respect to
  the subject matter hereof and supersede in their entirety all prior undertakings and agreements of the
  Company and Purchaser with respect to the subject matter hereof, and may not be modified
  adversely to the Purchaser’s interest except by means of a writing signed by the Company and
  Purchaser. This Agreement is governed by the internal substantive laws but not the choice of law
  rules of California.

          Purchaser represents that he or she has read this Agreement and is familiar with its terms and
  provisions. Purchaser hereby agrees to accept as binding, conclusive and final all decisions or
  interpretations of the Board upon any questions arising under this Agreement.

           IN WITNESS WHEREOF, this Agreement is deemed made as of the date first set forth
  above.

  HOLDER                                              FF GLOBAL HOLDINGS LTD.




  Signature                                           By


  Print Name                                          Print Name


                                                      Title



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  Residence Address


  Dated: _________________________,




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                                            EXHIBIT C-2

                       ASSIGNMENT SEPARATE FROM CERTIFICATE



          FOR VALUE RECEIVED I, __________________________, hereby sell, assign and
  transfer unto FF Global Holdings Ltd. _____________ Class A Ordinary Shares of FF Global
  Holdings Ltd. standing in my name of the books of said corporation represented by Certificate
  No. _____       herewith        and       do        hereby   irrevocably    constitute      and
  appoint __________________________ to transfer the said shares on the books of the within named
  corporation with full power of substitution in the premises.

         This Share Assignment may be used only in accordance with the Restricted Share Purchase
  Agreement between FF Global Holdings Ltd. and the undersigned dated ______________, _____
  (the “Agreement”).


  Dated: _______________,____                        Signature:




          INSTRUCTIONS: Please do not fill in any blanks other than the signature line. The purpose
  of this assignment is to enable the Company to exercise its “repurchase option,” as set forth in the
  Agreement, without requiring additional signatures on the part of the Purchaser.




                                                                                                  HLIU001419
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                                              EXHIBIT C-3

                                  JOINT ESCROW INSTRUCTIONS

                                                                              _________________, ____

  Corporate Secretary
  FF Global Holdings Ltd.


  Dear _________________:

         As Escrow Agent for both FF Global Holdings Ltd. (the “Company”), and the undersigned
  purchaser of shares of the Company (the “Purchaser”), you are hereby authorized and directed to
  hold the documents delivered to you pursuant to the terms of that certain Restricted Share Purchase
  Agreement (the “Agreement”) between the Company and the undersigned, in accordance with the
  following instructions:

          1.      In the event the Company and/or any assignee of the Company (referred to
  collectively for convenience herein as the “Company”) exercises the Company’s repurchase option
  set forth in the Agreement, the Company shall give to Purchaser and you a written notice specifying
  the number of shares to be purchased, the purchase price, and the time for a closing hereunder at the
  principal office of the Company. Purchaser and the Company hereby irrevocably authorize and
  direct you to close the transaction contemplated by such notice in accordance with the terms of said
  notice.

          2.     At the closing, you are directed (a) to date the share assignments necessary for the
  transfer in question, (b) to fill in the number of shares being transferred, and (c) to deliver the share
  assignments, together with the certificate evidencing the shares to be transferred, to the Company or
  its assignee, against the simultaneous delivery to you of the purchase price (by cash, a check, or
  some combination thereof) for the number of shares being purchased pursuant to the exercise of the
  Company’s repurchase option.

          3.      Purchaser irrevocably authorizes the Company to deposit with you any certificates
  evidencing shares to be held by you hereunder and any additions and substitutions to said shares as
  defined in the Agreement. Purchaser does hereby irrevocably constitute and appoint you as
  Purchaser’s attorney-in-fact and agent for the term of this escrow to execute with respect to such
  securities all documents necessary or appropriate to make such securities negotiable and to complete
  any transaction herein contemplated, including but not limited to the filing with any applicable state
  blue sky authority of any required applications for consent to, or notice of transfer of, the securities.
  Subject to the provisions of this paragraph 3, Purchaser shall exercise all rights and privileges of a
  member of the Company while the shares are held by you.

          4.      Upon written request of the Purchaser, but no more than once per calendar year,
  unless the Company’s repurchase option has been exercised, you shall deliver to Purchaser a
  certificate or certificates representing so many shares as are not then subject to the Company’s
  repurchase option. Within one hundred and twenty (120) days after cessation of Purchaser’s




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  continuous employment by or services to the Company, or any parent or subsidiary of the Company,
  you shall deliver to Purchaser a certificate or certificates representing the aggregate number of shares
  held or issued pursuant to the Agreement and not purchased by the Company or its assignees
  pursuant to exercise of the Company’s repurchase option.

         5.     If at the time of termination of this escrow you should have in your possession any
  documents, securities, or other property belonging to Purchaser, you shall deliver all of the same to
  Purchaser and shall be discharged of all further obligations hereunder.

         6.      Your duties hereunder may be altered, amended, modified or revoked only by a
  writing signed by all of the parties hereto.

         7.      You shall be obligated only for the performance of such duties as are specifically set
  forth herein and may rely and shall be protected in relying or refraining from acting on any
  instrument reasonably believed by you to be genuine and to have been signed or presented by the
  proper party or parties. You shall not be personally liable for any act you may do or omit to do
  hereunder as Escrow Agent or as attorney-in-fact for Purchaser while acting in good faith, and any
  act done or omitted by you pursuant to the advice of your own attorneys shall be conclusive
  evidence of such good faith.

          8.      You are hereby expressly authorized to disregard any and all warnings given by any
  of the parties hereto or by any other person or corporation, excepting only orders or process of courts
  of law and are hereby expressly authorized to comply with and obey orders, judgments or decrees of
  any court. In case you obey or comply with any such order, judgment or decree, you shall not be
  liable to any of the parties hereto or to any other person, firm or corporation by reason of such
  compliance, notwithstanding any such order, judgment or decree being subsequently reversed,
  modified, annulled, set aside, vacated or found to have been entered without jurisdiction.

         9.      You shall not be liable in any respect on account of the identity, authorities or rights
  of the parties executing or delivering or purporting to execute or deliver the Agreement or any
  documents or papers deposited or called for hereunder.

          10.    You shall not be liable for the outlawing of any rights under the Statute of Limitations
  with respect to these Joint Escrow Instructions or any documents deposited with you.

         11.    You shall be entitled to employ such legal counsel and other experts as you may
  deem necessary properly to advise you in connection with your obligations hereunder, may rely
  upon the advice of such counsel, and may pay such counsel reasonable compensation therefor.

         12.     Your responsibilities as Escrow Agent hereunder shall terminate if you shall cease to
  be an officer or agent of the Company or if you shall resign by written notice to each party. In the
  event of any such termination, the Company shall appoint a successor Escrow Agent.

          13.    If you reasonably require other or further instruments in connection with these Joint
  Escrow Instructions or obligations in respect hereto, the necessary parties hereto shall join in
  furnishing such instruments.




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           14.     It is understood and agreed that should any dispute arise with respect to the delivery
  and/or ownership or right of possession of the securities held by you hereunder, you are authorized
  and directed to retain in your possession without liability to anyone all or any part of said securities
  until such disputes shall have been settled either by mutual written agreement of the parties
  concerned or by a final order, decree or judgment of a court of competent jurisdiction after the time
  for appeal has expired and no appeal has been perfected, but you shall be under no duty whatsoever
  to institute or defend any such proceedings.

          15.    Any notice required or permitted hereunder shall be given in writing and shall be
  deemed effectively given upon personal delivery or upon deposit in the United States Post Office, by
  registered or certified mail with postage and fees prepaid, addressed to each of the other parties
  thereunto entitled at the following addresses or at such other addresses as a party may designate by
  ten (10) days’ advance written notice to each of the other parties hereto.

         16.     By signing these Joint Escrow Instructions, you become a party hereto only for the
  purpose of said Joint Escrow Instructions; you do not become a party to the Agreement.

         17.     This instrument shall be binding upon and inure to the benefit of the parties hereto,
  and their respective successors and permitted assigns.

          18.    These Joint Escrow Instructions shall be governed by the internal substantive laws,
  but not the choice of law rules, of California.


  PURCHASER                                            FF GLOBAL HOLDINGS LTD.




  Signature                                            By


  Print Name                                           Print Name


                                                       Title


  Residence Address


  ESCROW AGENT



  Corporate Secretary

  Dated:




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                                                                                                      HLIU001422
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                                            EXHIBIT C-4

                    INSTRUCTIONS FOR FILING SECTION 83(b) ELECTION

          Attached is a form of election under Section 83(b) of the Internal Revenue Code and an
  accompanying IRS cover letter. Please fill in your social security number and sign the election and
  cover letter, then proceed as follows:

  (a)    Make five copies of the original completed Section 83(b) election form.

  (b)    Send the original completed election form, one copy of the completed election form, the
         cover letter, and a self-addressed stamped return envelope to the Internal Revenue Service
         Center where you would otherwise file your tax return. Even if an address for an Internal
         Revenue Service Center is already included in the forms below, it is your obligation to verify
         such address. This can be done by searching for the term “where to file” on www.irs.gov or
         by calling 1 (800) 829-1040. Sending the election via certified mail, requesting a return
         receipt, is also recommended.

  (c)    Deliver one copy of the completed election form to the Company.

  (d)    Attach one copy of the completed election form to your federal personal income tax return
         (Form 1040) when you file it for the year.

  (e)    Attach one copy of the completed election form to your state personal income tax return
         when you file it for the year (assuming you file a state income tax return).

  (f)    Retain one copy of the completed election form for your personal permanent records.


  Please note that the election must be filed with the IRS within 30 days of the date of your
  restricted stock purchase. Failure to file within that time will render the election void and you
  may recognize ordinary taxable income as your vesting restrictions lapse. The Company and its
  counsel cannot assume responsibility for failure to file the election in a timely manner under any
  circumstances.




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  RETURN SERVICE REQUESTED

  Department of the Treasury
  Internal Revenue Service
  Fresno, CA 93888-0002

                        Re:     Election Under Section 83(b) of the Internal Revenue Code

  Dear Sir or Madam:

         Enclosed please find an executed form of election under Section 83(b) of the Internal Revenue
  Code of 1986, as amended, filed with respect to an interest in FF Global Holdings Ltd.

  Also enclosed is a copy of the signed form of election under Section 83(b). Please acknowledge receipt
  of these materials by marking the copy when received and returning it in the enclosed stamped, self-
  addressed envelope.

                 Thank you very much for your assistance.


                                            Very truly yours,


                                               Signature


                                               Print Name




         Enclosures




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                                ELECTION UNDER SECTION 83(b)
                            OF THE INTERNAL REVENUE CODE OF 1986

  The undersigned taxpayer hereby elects, pursuant to Sections 55 and 83(b) of the Internal Revenue Code of
  1986, as amended, to include in taxpayer’s gross income or alternative minimum taxable income, as the case
  may be, for the current taxable year the amount of any compensation taxable to taxpayer in connection with
  taxpayer’s receipt of the property described below.

  1.      The name, address, taxpayer identification number and taxable year of the undersigned are as follows:

                                   TAXPAYER                                SPOUSE
          NAME:                    __________________________              __________________________
          ADDRESS:                 __________________________              __________________________
                                   __________________________              __________________________
          TAX ID NO.:              __________________________              __________________________
          TAXABLE YEAR:            ________

  2.      The property with respect to which the election is made is described as follows: __________ shares
          (the “Shares”) of the Class A Ordinary Shares of FF Global Holdings Ltd. (the “Company”).

  3.      The date on which the property was transferred is:___________________ ,______.

  4.      The property is subject to the following restrictions:

          The Shares may not be transferred and are subject to forfeiture under the terms of an agreement
          between the taxpayer and the Company. These restrictions lapse upon the satisfaction of certain
          conditions contained in such agreement.

  5.      The Fair Market Value at the time of transfer, determined without regard to any restriction other than
          a restriction which by its terms shall never lapse, of such property is: $___ per Class A Ordinary
          Share.

  6.      The amount (if any) paid for such property is: $___ per Class A Ordinary Share.

  The undersigned has submitted a copy of this statement to the person for whom the services were performed
  in connection with the undersigned’s receipt of the above-described property. The transferee of such property
  is the person performing the services in connection with the transfer of said property.

  The undersigned understands that the foregoing election may not be revoked except with the consent of the
  Commissioner.

  Dated: ______________________, _____
                                                            Taxpayer

  The undersigned spouse of taxpayer joins in this election.

  Dated: ______________________, _____
                                                            Spouse of Taxpayer


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                        Exhibit 7A
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                                  #:4045



  From:               H. Liu
  Sent:               Tuesday, November 21, 2017 8:34 AM CST
  To:                 Jerry.Wang@ff.com
  BCC:                Liu gmail Henry H.
  Subject:            TS
  Attachments:        11212017FF&HLTermSheet.pdf


  Please find the attached. Best regards.




                                                                           HLIU003700
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  Confidential & Privileged



                                            Term Sheet
                                         Between FF and HL
                                        (November 21, 2017)

  This Terms Sheet (“Terms”) sets forth the terms and condition of employment of Henry L (“HL”)
  at FF Global Holdings Ltd., Faraday & Future Inc., d/b/a Faraday, and Faraday owned LeSEE
  (“FF”). These Terms supersedes and replaces any and all previous agreements between the
  parties. If any provision of these Terms is ineffective in whole or in part, the remainder of the
  Terms shall remain effective. The Terms shall be constructed in accordance with the laws of
  the State of California.

  Position & Duties:
  FF shall appoint HL the Global Vice Chairman of the Global Board and concurrently the Global
  General Counsel, and the Global Senior Advisor of FF, reporting to FF’s Chairman and CEO. FF
  shall give HL adequate authority and support in performing his duties. HL’s duties and
  responsibilities commensurate with such positions, and subject to typical exceptions for serving
  on other civic/charitable/corporate boards with no direct conflict of interest with FF and for
  managing personal investments.

  Term:
  HL shall commence as soon as practical and expects to be no later than January 1, 2018, based
  on agreed Terms. FF shall guarantee HL’s employment as provided in the Terms for five years.
  Thereafter such employment shall continue until terminated by either party pursuant to the
  Terms.

  Base Salaries:
  FF shall guarantee in paying HL a minimum annual base salary of $1,250,000.00 for five years.
  The amount reflects HL’s current annual base pay amount. Base salary will be reviewed on an
  annual basis for increases in accordance with the review process for senior level executives of
  FF.

  Signing Bonus:
  FF shall advance HL a signing bonus of $250,000.00 for his job switch loss.

  Bonus Opportunity:
  FF shall award HL annual bonus based on annual review. FF shall give HL access to special
  Bonus based on a percentage of overall transaction, after successful financing including Series

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  Confidential & Privileged

  A, China Joint Venture, and other special projects and important tasks, etc., in which HL plays
  one of the leading roles of the project group and makes substantial contributions.

  Equity Grants:
  FF shall entitle HL to FF’s long-term and short-term incentives. FF shall grant HL at no cost and
  outright, 3% of FF’s total equity shares, namely 30,000,000.00 equity shares representing 3% of
  the total and all of 1,000,000,000 equity shares of FF as FF has represented and warranted. FF
  shall cause HL’s granted equity shares to be vested at the schedule of 50% upon HL’s joining FF;
  25% six months after HL’s joining FF; and 25% on the first anniversary date of HL’s employment
  with FF, all with adequate consideration of tax benefits available to HL.

  Benefits/PTO:
  FF shall entitle HL to participate in all benefit plans and programs at the same level with all
  senior level executives of FF, including corporate housing, transportation, retirement, welfare,
  vacation and PTO, insurances including health, life, and D&O. FF shall honor and adopt all
  employee friendly best practices in favor of HL as a valued senior executive of FF, with regard to
  severance payments, change of control, parachute payments, tax treatments and other
  customary executive compensation provisions.




  Signed by,                                          Signed by,



  Signature: _____________                            Signature: ____________
  For & on behalf of Faraday                          Henry L
  Position:                                           Printed Name:
  Printed Name:

  Date:                                               Date:




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                        Exhibit 8
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                                      #:4050
Liu, Hong (Henry)
From:                       Liu, Hong (Henry)
Sent:                       Friday, December 22, 2017 3:43 PM
To:                         Recht, Philip R.
Subject:                    RE: [EXTERNAL] Outstanding invoices


Phil: You have been a great partner and friend. Let’s move forward on this existing project. With all best holiday
wishes. henry

From: Recht, Philip R.
Sent: Friday, December 22, 2017 3:32 PM
To: Liu, Hong (Henry)
Subject: Re: [EXTERNAL] Outstanding invoices

Great and great job in reviving this relationship. Looking forward to lots of interesting work going forward. Happy
holidays.

Sent from my iPhone

On Dec 22, 2017, at 12:09 PM, Liu, Hong (Henry) <HLiu@mayerbrown.com> wrote:

        Excellent. Moving forward as planned. I will execute it and send back to the top management cc you and
        our team. All the best. Henry

        On Dec 22, 2017, at 21:06, Recht, Philip R. <PRecht@mayerbrown.com> wrote:


                FYI.
                Sent from my iPhone

                Begin forwarded message:

                        From: Amanda Walker <Amanda.Walker@ff.com>
                        Date: December 22, 2017 at 11:57:29 AM PST
                        To: "Recht, Philip R." <PRecht@mayerbrown.com>
                        Cc: Lillian Xu <Lillian.Xu@ff.com>, "Jerry Wang (FF China)"
                        <Jerry.Wang@ff.com>
                        Subject: RE: [EXTERNAL] Outstanding invoices

                        Great, thank you Philip. Attached please also find the supplemental
                        engagement letter that one of your colleagues had requested back in
                        October to reinitiate the engagement.

                        Best,
                        Amanda

                        From: Recht, Philip R. [mailto:PRecht@mayerbrown.com]
                        Sent: Friday, December 22, 2017 11:16 AM
                        To: Amanda Walker <Amanda.Walker@ff.com>
                        Cc: Lillian Xu <Lillian.Xu@ff.com>
                        Subject: Re: [EXTERNAL] Outstanding invoices
                                                            1




                                                                                                                     HLIU003707
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             Amanda—good news. I’ll be gone all next week but will see if we can get
             started on the work in my absence. Will let you know shortly. Phil.

             Sent from my iPhone

             On Dec 22, 2017, at 11:05 AM, Amanda Walker
             <Amanda.Walker@ff.com> wrote:

                    Hi Phil – We received approval to wire the $197,268,
                    and I am working with the accounting crew we have left
                    in the office to have that wire out today. Our accounting
                    team is also entering that previously uninvoiced $19K in
                    the system, so that additional payment may not go out
                    until after the holiday but I am told it is on their radar
                    and will be paid as well.

                    Attached is a spreadsheet I started with the different
                    preliminary categories of information that we are trying
                    to obtain regarding these 10 states, and my initial
                    research. As we briefly discussed during our call, the
                    main questions that we initially have are:

                            -   Can we operate a direct sales model in
                                these 10 states?
                            -   As an alternative, what are the key dealer
                                franchise model pros/cons in these 10
                                states? (I know this is a very broad question
                                but we are really just looking for a high level
                                overview).
                            -   Can we mix and match a direct sales and
                                dealer franchise model within state
                                borders, i.e. can we open flagship FF direct
                                sales stores in LA and SF, while still offering
                                dealer franchises for sale in California?
                            -   Can we offer an equity stake in Faraday to a
                                franchisee as an additional incentive to
                                purchase a Faraday franchise?
                            -   Can we offer franchisees a web platform as
                                an additional sales tool (that links to our
                                main FF website)? An overview of any key
                                auto internet sales laws in these states
                                would also be very helpful.

                    Please let me know if you have any further questions
                    about these initial inquiries. We were hoping to get
                    some preliminary information during the week of Jan. 2,
                    but please let us know if you have any concerns in light
                    of the holiday.

                    Best,
                    Amanda
                    _________________________
                                                2




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                                  #:4052

                   Faraday Future

                   Amanda Walker
                   Corporate Counsel, Legal
                   +1 858 736 6978

                   18455 S Figueroa St,
                   Gardena, CA 90248

                   FF.com

                   From: Recht, Philip R.
                   [mailto:PRecht@mayerbrown.com]
                   Sent: Thursday, December 21, 2017 2:52 PM
                   To: Amanda Walker <Amanda.Walker@ff.com>
                   Subject: RE: [EXTERNAL] Outstanding invoices

                   Amanda—The wire instructions are attached
                   above. As I mentioned, I’ll be out of town starting
                   tomorrow. But, you can reach me by email and cell
                   phone while I’m away. So, don’t hesitate to get in
                   touch if you have additional questions, etc. I hope
                   this all works out so we can resume our work
                   together. Thanks. Phil.

                   From: Amanda Walker [mailto:Amanda.Walker@ff.com]
                   Sent: Thursday, December 21, 2017 2:12 PM
                   To: Recht, Philip R.
                   Subject: RE: [EXTERNAL] Outstanding invoices

                   Hi Phil – Sorry I missed your call. I am still working on
                   getting the necessary internal sign offs before these
                   payments can be issued but I should have more
                   information shortly. That would be great if you could
                   send me wire instructions in the meantime.

                   Best,
                   Amanda

                   From: Recht, Philip R.
                   [mailto:PRecht@mayerbrown.com]
                   Sent: Wednesday, December 20, 2017 12:21 PM
                   To: Amanda Walker <Amanda.Walker@ff.com>
                   Subject: [EXTERNAL] Outstanding invoices

                   Amanda—Very good to meet by phone this
                   morning. I look forward to resuming our work for
                   Faraday. As we discussed, however, there are a
                   number of outstanding invoices from our firm that
                   must be paid before the firm will allow us to
                                                3




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                    recommence. I’ve attached the invoices above. As
                    you will see, the invoices represent two separate
                    lines of work, as follows:

                   1. Regulatory work—This is the work that I was
                   involved in and that we discussed this morning. As
                   you will see, there are two bills. The first is for
                   $52,500, which represents our work on the first
                   phase of the project. The second is for $19,914,
                   which represents our work on the second, but as
                   yet unfinished, phase of the project. (Your
                   predecessor attorneys had asked us to hold off
                   sending Faraday the bill for our time on the second
                   phase until the first bill was paid. So, we had not
                   previously sent this bill to Faraday.) Together, the
                   bills add up to $72,414.

                   2. Employment work—There are three invoices for
                   this work, which was overseen by Maureen
                   Gorman, a labor and employment partner in our
                   Palo Alto office. I have only a rudimentary
                   understanding of the nature of the project. So, if
                   you wish to know more about its origins and
                   content, you may wish to contact Maureen
                   directly. The three invoices amount to $154,768 in
                   total. However, we have a $10,000 security
                   deposit retainer from Faraday that could be
                   applied, thus reducing the amount owing to
                   $144,768.

                   Should you have any questions about these
                   invoices, please don’t hesitate to get in touch.
                   Thanks. Phil.


                   Philip R. Recht
                   Mayer Brown LLP
                   350 S. Grand Avenue, 25th Floor
                   Los Angeles, CA 90071
                   Direct: 213 229-9512
                   Main: 213 229-9500
                   Mobile: 310 493-9781
                   Fax: 213 625-0248
                   PRecht@mayerbrown.com




                   _____________________________________________
                   _____________________________
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                     <DS_FFPar State Comparison.xlsx>
        <Mayer Brown_FF Supplemental Engagement (12.22.17).pdf>




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                                  #:4055




                        Exhibit 9
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  From:                           H. Liu
  Sent:                           Thursday, January 11, 2018 9:38 AM CST
  To:                             Jerry Wang (FF China)
  CC:                             Liu gmail Henry H.
  Subject:                        Re: [EXTERNAL] Fwd: TS
  Attachments:                    01112018FFHLTermSheet(CleanoverJW).docx, 01112018FFHLTermSheet(RLoverJW).docx


  Hi Jerry: Please find the attached. Best regards. Henry

  On Mon, Jan 1, 2018 at 11:10 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

   Dear Mr. Liu,



   Happy New Year! Please refer to attachment comments based on our discussion and previous
   term sheet, please let me know your feedback and sincerely looking forward to partnership!



   Best regards,

   Jerry



   ___________________________




   Faraday Future



   Jerry Wang

   General Manager | Global Capital and Investment Banking



   e jerry.wang@ff.com

   c +1 201-354-7734 / +86 151-1690-3389

   a 18455 S Figueroa St, Gardena, CA 90248

   w www.ff.com



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   From: H. Liu [mailto:henryliuesq@gmail.com]
   Sent: Wednesday, November 22, 2017 5:08 AM
   To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
   Subject: [EXTERNAL] Fwd: TS




   Begin forwarded message:

        From: "H. Liu" <henryliuesq@gmail.com>
        Date: November 21, 2017 at 9:34:54 AM EST
        To: Jerry.Wang@ff.com
        Subject: TS

        Please find the attached. Best regards.




                                                                                                                                                                      HLIU003718
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 250 of 467 Page ID
                                  #:4058
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                                  #:4059
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                                 Employment AgreementTerm Sheet
                                          Between FF and HL
                                          (January __2, 2018)

  This Employment AgreementTerms Sheet (“AgreementTerms”) sets forth the terms and
  condition of employment of Henry L (“HL”) at FF Global Holdings Ltd .which owns 100% of such
  entities including, without limitation, , Faraday & Future Inc., LeSEE,, City Sky Limited, d/b/a
  Faraday, and Faraday owned LeSEE (“FF”). These Terms (“Terms”) supersedes and replaces any
  and all previous agreements between the parties. If any provision of these Terms is ineffective
  in whole or in part, the remainder of the Terms shall remain effective. The Terms shall be
  constructed in accordance with and governed by the laws of the State of California without
  regard to otherwise governing principles of conflicts of law.

  Position & Duties:
  FF shall appoint HL Senior Board Member of FF Global Board; Global President, and
  concurrently the Global General Counsel at HL’s choice, and the Global Senior Advisor of FF,
  directly reporting to FF’s Chairman and CEO. FF shall give HL adequate authority and support in
  performing his duties. HL’s duties and responsibilities shall be commensurate with such
  positions, and subject to typical exceptions for serving on other civic/charitable/corporate
  boards with no direct conflict of interest with FF and for managing personal investments.

  Term:
  HL shall commence as soon as practical and expects to be no later than February 1January 15,
  2018, based on agreed Terms. FF shall guarantee HL’s employment and base salaries as
  provided in the Terms for five years. Thereafter such employment shall continue until
  terminated by either party, upon 90 days advance notice, pursuant to the Terms.

  Base Salaries:
  FF shall payguarantee in paying HL a minimum annual base salary of $1,000,000.00, in semi-
  monthly (bi-weekly) installments, for five years. The amount reflects HL’s current annual base
  pay amount. If HL is terminated for any reason during the five year term he will be entitled to
  receive any remaining portion of the five years of base salaries not yet paid in a lump sum. Base
  salary will be reviewed on an annual basis for increases in accordance with the review process
  for senior level executives of FF.

  Signing Bonus:
  FF shall payadvance HL a signing bonus of $3,00250,000.00, including partially equivalence of
  benefits (housing, transportation etc.), for his job switch loss payable in five equal installments,
                                                   1




                                                                                                         HLIU003722
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  with the first installment paid upon the signing of the Agreement and each of the remaining
  installments paid at each of the following four anniversary of HL’s start of employment at FF and
  paid in lump sum in the event of an early termination during the five year guaranteed
  employment term.

  Bonus Opportunity:
  FF shall award HL annual bonus based on annual review. FF shall give HL access to special
  Bonus based on a percentage of overall transactions, after successful financing including
  equity financing , China Joint Venture, and other special projects and important tasks, etc., in
  which HL plays one of the leading roles of the project group and makes substantial
  contributions.

  Equity Grants:
  FF shall entitle HL to FF’s long-term and short-term incentives. FF shall grant HL at nominimum
  cost required by law and outright, 2% of FF’s total equity shares determined on a fully diluted
  and converted basispre Series A dilution, , namely 20,000,000.00 equity shares representing 2%
  of the total and all of 1,000,000,000 equity shares of FF pre Series A , as FF has represented and
  warranted, with standard vesting schedule and adequate consideration of tax benefits
  available to HL. Any and all of the remaining unvested portion of such 2% of the total shares
  shall become immediately and fully vested to HL upon any early termination of HL’s
  employment with FF within the guaranteed employment term with FF. In the event that HL’s
  employment is terminated HL can cause FF to repurchase his such shares and rights at no less
  than market value. FF shall reimburse HL and provide HL with financing assistances with regard
  to any additional costs that HL may incur in connection with the equity grants. FF has
  represented that there are no multiple classes of shares with different rights and values.

  Benefits/PTO:
  FF shall entitle HL to participate in all benefit plans and programs at the same level with all
  senior level executives of FF, including, without limitation, corporate housing, transportation,
  retirement, welfare, vacation and PTO, insurances including health, life, and D&O. FF shall
  honor and adopt all employee and executive friendly best practices in favor of HL as a valued
  senior executive of FF, with regard to severance payments, change of control, parachute
  payments, tax treatments and any other customary executive compensation provisions. HL is
  entitled to indemnification from FF on terms no less than any other executives and employees.


  Relocation:
  At the request of FF, HL shall relocate from New York to Los Angeles. FF shall pay for all HL’s
  relocation costs and expenses as a senior executive, including, without limitation, family house-
  hunting trips, moving and storage of household goods, settling in allowances, interim living,
                                                   2




                                                                                                       HLIU003723
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  expenses in selling and buying a residence, and house sales assistance including guaranteed buy
  out of his residence.


  Survivor Benefits:
  HL is entitled to death benefits if he dies during the five year term and during his employment
  at FF, including two year of base salary for his surviving spouse and children. Upon his death all
  his equity interests become fully vested and will pass to his surviving spouse and his children.




  Signed by,                                           Signed by,



  Signature:                                           Signature:
  For & on behalf of Faraday                           Henry L
  Position:                                            Printed Name:
  Printed Name:

  Date:                                                Date:




                                                  3




                                                                                                       HLIU003724
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 254 of 467 Page ID
                                  #:4062
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                                  #:4063
  Confidential & Privileged



                                       Employment Agreement
                                         Between FF and HL
                                          (January __, 2018)

  This Employment Agreement (“Agreement”) sets forth the terms and condition of employment
  of Henry L (“HL”) at FF Global Holdings Ltd which owns 100% of such entities including, without
  limitation, Faraday & Future Inc., LeSEE, City Sky Limited, d/b/a Faraday (“FF”). These Terms
  (“Terms”) supersede and replace any and all previous agreements between the parties. If any
  provision of these Terms is ineffective in whole or in part, the remainder of the Terms shall
  remain effective. The Terms shall be constructed in accordance with and governed by the laws
  of the State of California without regard to otherwise governing principles of conflicts of law.

  Position & Duties:
  FF shall appoint HL Senior Board Member of FF Global Board; Global President, and
  concurrently the Global General Counsel at HL’s choice, and the Global Senior Advisor of FF,
  directly reporting to FF’s CEO. FF shall give HL adequate authority and support in performing his
  duties. HL’s duties and responsibilities shall be commensurate with such positions, and subject
  to typical exceptions for serving on other civic/charitable/corporate boards with no direct
  conflict of interest with FF and for managing personal investments.

  Term:
  HL shall commence as soon as practical and expects to be no later than February 1, 2018,
  based on agreed Terms. FF shall guarantee HL’s employment and base salaries as provided in
  the Terms for five years. Thereafter such employment shall continue until terminated by
  either party, upon 90 days advance notice, pursuant to the Terms.

  Base Salaries:
  FF shall pay HL a minimum annual base salary of $1,000,000.00, in semi-monthly (bi-weekly)
  installments, for five years. If HL is terminated for any reason during the five year term he will
  be entitled to receive any remaining portion of the five years of base salaries not yet paid in a
  lump sum. Base salary will be reviewed on an annual basis for increases in accordance with the
  review process for senior level executives of FF.

  Signing Bonus:
  FF shall pay HL a signing bonus of $3,000,000.00, payable in five equal installments, with the first
  installment paid upon the signing of the Agreement and each of the remaining installments paid
  at each of the following four anniversary of HL’s start of employment at FF and paid in lump sum
  in the event of an early termination during the five year guaranteed employment term.
                                                   1




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                                  #:4064
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  Bonus Opportunity:
  FF shall award HL annual bonus based on annual review. FF shall give HL access to special
  Bonus based on a percentage of overall transactions, after successful financing including
  equity financing, China Joint Venture, and other special projects and important tasks, etc., in
  which HL plays one of the leading roles of the project group and makes substantial
  contributions.

  Equity Grants:
  FF shall entitle HL to FF’s long-term and short-term incentives. FF shall grant HL at no cost and
  outright, 2% of FF’s total equity shares determined on a fully diluted and converted basis,
  namely 20,000,000.00 equity shares representing 2% of the total and all of 1,000,000,000
  equity shares of FF as FF has represented and warranted, with standard vesting schedule and
  adequate consideration of tax benefits available to HL. Any and all of the remaining unvested
  portion of such 2% of the total shares shall become immediately and fully vested to HL upon
  any early termination of HL’s employment with FF within the guaranteed employment term
  with FF. In the event that HL’s employment is terminated HL can cause FF to repurchase his
  such shares and rights at no less than market value. FF shall reimburse HL and provide HL with
  financing assistances with regard to any additional costs that HL may incur in connection with
  the equity grants. FF has represented that there are no multiple classes of shares with different
  rights and values.

  Benefits/PTO:
  FF shall entitle HL to participate in all benefit plans and programs at the same level with all
  senior level executives of FF, including, without limitation, corporate housing, transportation,
  retirement, welfare, vacation and PTO, insurances including health, life, and D&O. FF shall
  honor and adopt all employee and executive friendly best practices in favor of HL as a valued
  senior executive of FF, with regard to severance payments, change of control, parachute
  payments, tax treatments and any other customary executive compensation provisions. HL is
  entitled to indemnification from FF on terms no less than any other executives and employees.


  Relocation:
  At the request of FF, HL shall relocate from New York to Los Angeles. FF shall pay for all HL’s
  relocation costs and expenses as a senior executive, including, without limitation, family house-
  hunting trips, moving and storage of household goods, settling in allowances, interim living,
  expenses in selling and buying a residence, and house sales assistance including guaranteed buy
  out of his residence.


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                                  #:4065
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  Survivor Benefits:
  HL is entitled to death benefits if he dies during the five year term and during his employment
  at FF, including two year of base salary for his surviving spouse and children. Upon his death all
  his equity interests become fully vested and will pass to his surviving spouse and his children.




  Signed by,                                           Signed by,



  Signature:                                           Signature:
  For & on behalf of Faraday                           Henry L
  Position:                                            Printed Name:
  Printed Name:

  Date:                                                Date:




                                                  3




                                                                                                       HLIU003721
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                                  #:4066




                        Exhibit 10
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                                  #:4067



  From:                           H. Liu
  Sent:                           Wednesday, January 17, 2018 9:49 AM CST
  To:                             Jerry Wang (FF China)
  BCC:                            Liu gmail Henry H.
  Subject:                        Re: [EXTERNAL] Fwd: TS
  Attachments:                    01172018FFHLTermSheetBasedonJerryRevisedVersion(Clean).docx,
                                  01172018FFHLTermSheetBasedonJerryRevisedVersion(Redline).docx, 01172018StockTransferAgreement.docx


  Hi Jerry: As mentioned, please find the attached. Best regards. HL

  On Tue, Jan 16, 2018 at 6:58 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

   Dear Mr. Liu,



   Apologize for getting back to you late, please refer to my comment based on updated file, and
   please let me know your suggestions or if we need to schedule a call to further discuss. Thanks
   again!



   Best,

   Jerry



   ___________________________




   Faraday Future



   Jerry Wang

   General Manager | Global Capital and Investment Banking



   e jerry.wang@ff.com

   c +1 201-354-7734 / +86 151-1690-3389

   a 18455 S Figueroa St, Gardena, CA 90248

   w www.ff.com



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   contained in any FF Inc. email, without FF Inc.’s express written permission.




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   From: H. Liu [mailto:henryliuesq@gmail.com]
   Sent: Thursday, January 11, 2018 11:38 PM
   To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
   Cc: Liu gmail Henry H. <henryliuesq@gmail.com>
   Subject: Re: [EXTERNAL] Fwd: TS



   Hi Jerry: Please find the attached. Best regards. Henry



   On Mon, Jan 1, 2018 at 11:10 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

     Dear Mr. Liu,



     Happy New Year! Please refer to attachment comments based on our discussion and previous
     term sheet, please let me know your feedback and sincerely looking forward to partnership!



     Best regards,

     Jerry



     ___________________________

     Faraday Future



     Jerry Wang

     General Manager | Global Capital and Investment Banking



     e jerry.wang@ff.com

     c +1 201-354-7734 / +86 151-1690-3389




                                                                                                                                                                      HLIU003745
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                                  #:4069


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    All we do is for our earth, please consider the environment before printing out this email.




    From: H. Liu [mailto:henryliuesq@gmail.com]
    Sent: Wednesday, November 22, 2017 5:08 AM
    To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
    Subject: [EXTERNAL] Fwd: TS




    Begin forwarded message:

         From: "H. Liu" <henryliuesq@gmail.com>
         Date: November 21, 2017 at 9:34:54 AM EST
         To: Jerry.Wang@ff.com
         Subject: TS

         Please find the attached. Best regards.




                                                                                                                                                                          HLIU003746
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                                  #:4071
  Confidential & Privileged



                                       Employment Agreement
                                         Between FF and HL
                                          (January __, 2018)

  This Employment Agreement (“Agreement”) sets forth the terms and condition of employment
  of Henry L (“HL”) at FF Global Holdings Ltd which owns 100% of such entities including, without
  limitation, Faraday & Future Inc., LeSEE (inby VIE Structure), City Sky Limited, d/b/a Faraday
  and their successors, assignees and transferees (“FF”). These Terms (“Terms”) supersede and
  replace any and all previous agreements between the parties. If any provision of these Terms is
  ineffective in whole or in part, the remainder of the Terms shall remain effective. The Terms
  shall be constructed in accordance with and governed by the laws of the State of California
  without regard to otherwise governing principles of conflicts of law.

  Position & Duties:
  FF shall appoint HL Senior Board Member of FF Global Board; Global President (aka and
  functions as Global Chief Administrative Officer), and concurrently the Global General Counsel
  at HL’s choice, and the Global Senior Advisor of FF, directly reporting to FF’s CEO. FF shall give
  HL adequate authority and support in performing his duties. HL’s duties and responsibilities
  shall be commensurate with such positions, and subject to typical exceptions for serving on
  other civic/charitable/corporate boards with no direct conflict of interest with FF and for
  managing personal investments.

  Term:
  HL shall commence as soon as practical and expects to be no later than February 1, 2018,
  based on agreed Terms. FF shall guarantee HL’s employment and base salaries as provided in
  the Terms for five years. Thereafter such employment shall continue at the then same levels
  of responsibilities, compensation and benefits as provided in this Agreement until terminated
  by either party, upon 90 days advance notice, pursuant to the Terms.

  Base Salaries:
  FF shall pay HL a minimum annual base salary of $1,000,000.00, in semi-monthly (bi-weekly)
  installments, for five years. If HL is terminated for any reason during the five year term he will
  be entitled to receive any remaining portion of the five years of base salaries not yet paid in a
  lump sum. Base salary will be reviewed on an annual basis for increases in accordance with
  the review process for senior level executives of FF.

  Signing Bonus:
  FF shall pay HL a signing bonus of $3,000,000.00, payable in five equal installments, with the first
                                                   1




                                                                                                       HLIU003748
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  installment paid upon the signing of the Agreement and each of the remaining installments paid
  at each of the following four anniversary of HL’s start of employment at FF and paid in lump sum
  in the event of an early termination during the five year guaranteed employment term.

  Bonus Opportunity:
  FF shall award HL annual bonus based on annual review. FF shall give HL access to special
  Bonus based on a percentage of overall transactions, after successful financing including
  successful equity and debt financing, China Joint Venture, and other special projects and
  important tasks, etc., in which HL plays one of the leading roles of the project group and
  makes substantial contributions.

  Equity Grants:
  FF shall entitle HL to FF’s long-term and short-term incentives. FF shall grant HL at minimum
  cost required by law and outright, 2% of FF’s total equity shares pre Series A dilution, namely
  20,000,000.00 equity shares representing 2% of the total and all of 1,000,000,000.00 equity
  shares of FF pre Series A, as FF has represented and warranted, with standard vesting schedule
  and adequate consideration of tax benefits available to HL. Any and all of the remaining
  unvested portion of such 2% of the total shares shall become immediately and fully vested to
  HL upon any early termination of HL’s employment with FF within the guaranteed employment
  term with FF. FF has represented that it had successfully completed Series A financing in
  December 2017. FF has further represented that there are no multiple classes of shares with
  different rights and values offered to employees expect the Founder (YT himself). HL will act in
  concert with the Founder under the circumstance permitted by law.

  Benefits/PTO:
  FF shall entitle HL to participate in all benefit plans and programs at the same level with all
  senior level executives of FF, including, without limitation, corporate housing, transportation,
  retirement, welfare, vacation and PTO, insurances including health, life, and D&O. FF shall
  honor and adopt all employee and executive friendly best practices in favor of HL as a valued
  senior executive of FF, with regard to severance payments, change of control, parachute
  payments, tax treatments and any other customary executive compensation provisions. HL is
  entitled to indemnification from FF on terms no less than any other executives and employees.


  Relocation:
  At the request of FF, HL shall relocate from New York to Los Angeles. FF shall pay for all HL’s
  reasonable relocation costs and expenses as a senior executive, including, without limitation,
  family house-hunting trips, moving and storage of household goods, settling in allowances,
  interim living etc..

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  Confidential & Privileged

  Survivor Benefits:
  HL is entitled to death benefits if he dies during the five year term and during his employment
  at FF, including two year of base salary for his surviving spouse and children. Upon his death all
  his equity interests become fully vested and will pass to his surviving spouse and his children.




  Signed by,                                           Signed by,



  Signature:                                           Signature:
  For & on behalf of Faraday                           Henry L
  Position:                                            Printed Name:
  Printed Name:

  Date:                                                Date:




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                                                                                                       HLIU003750
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                                  #:4075
  Confidential & Privileged

                                   STOCK TRANSFER AGREEMENT

          This Stock Transfer Agreement (the “Agreement”) is made and entered into as of ___
  day of January, 2018, by and between YT (the “Transferor”) and HL (the “Transferee”)
  (separately “Party” or jointly “Parties”), as a legally bound agreement on both Parties and on
  their successors, assignees and transferees.
          1. Transferor owns shares of common stock of FF Global Holdings Ltd which owns 100%
  of such entities including, without limitation, Faraday & Future Inc., LeSEE (in VIE Structure),
  City Sky Limited, d/b/a Faraday and their successors, assignees and transferees (“FF”,
  “Company”). Transferor and Transferee have entered into this Agreement pursuant to which
  the Transferor wishes to transfer such shares of the Company it directly or indirectly owns and
  warrants that it has all the vested and other right to transfer, to Transferee: shares equal to 1%
  of the Company’s total equity shares pre Series A dilution, namely 10,000,000.00 equity shares
  representing 1% of the total and all of 1,000,000,000.00 equity shares of the Company pre
  Series A (the “Shares” or “Stocks”), with adequate consideration of tax benefits available to
  Transferee. Transferor has represented that the Company had successfully completed its Series
  A financing in December 2017.
          2. Transferor hereby sells, transfers, assign and convey free of any and all obligations
  and completely unencumbered and with full indemnifications, to Transferee, and Transferee
  hereby acquires, all of Transferor’s right, title and interest in and to the Shares (“Acquired
  Shares”). It has been agreed by the Parties that the Acquired Shares shall be transferred for a
  total price of $100.00 as a full consideration which Transferor acknowledges of full acceptance
  of it upon signing of this Agreement.
          3. The Agreement is effective and binding upon signing, and Transferor and Transferee
  may agree that the delivery by Transferor to Transferee the certificate or other documents
  representing the Acquired Shares with necessary stock powers duly executed at a time when
  Transferee so demands including at the time of the Company’s IPO. Any delay to enforce the
  terms of this Agreement and any delay to act on a breach of its term by the Transferee does not
  constitute a waiver of those rights.
          4. If any provision of this Agreement is ineffective in whole or in part, the remainder of
  the Agreement shall remain in effect. This Agreement is binding on both Parties by virtue of
  the conduct of both parties and in spite of any defect or error in the formality of its execution.
          5. The rights, benefits, liabilities and responsibilities contained within the terms of this
  Agreement are assignable by any Party with the prior written agreement of the other Party.

  Transferor:                                   Transferee:

  Signature: _________                          Signature: _________
  Print Name: _______                           Print Name: _______




                                                                                                         HLIU003747
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                                  #:4076




                        Exhibit 11
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                                  #:4077




  13:55

              Jiawei Wang, Jerry, Yueting Jia Nephew, in charge of financing &
                                              HR N

                                       Jan 22, 2018 14:51

                                    They arranged to arrive at the company at 2pm
                                    this afternoon. I can either accompany them on
                                    the visit or not participate in the visit. It
                                    depends on the convenience of your time.

                                        Jan 22, 201815:09

             Thank you, manager Liu, for accepting my
             modifications to the Employment Agreement. I
             no longer have any issues with this agreement.
             Ultimately the HR director DG will need to
             review it. If he also does not have any other
             issue with it, we can then finalize it. I have sent
             you    the      Share    Transfer      Agreement
             modification. We can briefly discuss it this
             afternoon.

             It is up to you. Since you have already seen the
             company, if you think it is unnecessary to
             accompany them, how about we meet at 2pm
             this afternoon?

                                        Jan 22, 201815:44

                                    We'll arrive at the company at 2pm this
                                    afternoon. I guess we will be there the whole
                                    afternoon. Let’s just find a convenient time to
                                    meet up in a little bit.



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                           DECLARATION AND CERTIFICATION


     We, Ko & Martin - Certified Interpreters and Translators, declare that we are

     (P)    Certified Court Interpreters as described in GC68565

     We are certified to interpret and translate from the Chinese language to the English
     language and from the English language to the Chinese language.

     We further declare that we have translated the attached document from the Chinese
     language to the English language.

     We declare to the best of our abilities and belief, that this is a true and accurate
     translation of the Chinese language text of the 3 pages of text messages as described
     below.



                               Specific Description of the Document

        1. 01222018 Wang of FF Message re FF HR Dept. Review of Liu EA
        2. 01252018 Wang of FF Message re FF Legal Review & HR Approval of Liu
           Agreement
        3. 01262018 Wang of FF Message re Vijay Sekhon of Sidley Austin has been
           reviewing agreements


     We declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.

     This declaration is signed this 5th of April 2021 in Los Angeles, California.



     Lingling Men Martin
     President
     Ko & Martin - Certified Interpreters and Translators




     Signature



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                                 Email: chinese.division@komartin.com




                                                                                              HLIU002340
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 272 of 467 Page ID
                                  #:4080




                        Exhibit 12
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 273 of 467 Page ID
                                  #:4081


  13:57

               Jiawei Wang, Jerry, Yueting Jia Nephew, in charge of financing
                                            & HR N

                                       Jan 25, 2018 17:15

              Thank you. I made the final modification in
              one place. Please check. If you have no issues
              with it, I will then ask HR to send the final
              version to you. We will sign it on our end
              immediately after you sign it. Thank you.

                                       Jan 25, 2018 17:57


                                      Jerry, please check your email. Regards!


                                       Jan 25, 2018 18:02

              Received it. Thank you. Currently going
              through final process internally.

                                       Jan 25, 2018 20:28

              Hi, manager Liu, DG replied, and the company
              has confirmed internally regarding your
              joining. But since it involves the five-year
              guaranteed employment, which is something
              we have never come across before, our Legal
              Department is now working closely with HR
              in doing the final review. Sorry I did not catch
              this earlier. In order to keep the confidentiality,
              I did not go through them earlier. I will try to
              get them to do their review as quickly possible.
              But all remuneration, conditions and principles
              have been confirmed. Apologize again.



                                                              ©




                                                                                 HLIU002341
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 274 of 467 Page ID
                13:57 了           #:4082


             <     王 佳 偉Jerry 買 跌 外                    人 事N
                                                      融資
                             Jan 忆



                      谢谢您， 我加了 一   处  最后的
                      修改, 請 您 查收, 如沒 問題
                      我让HR 发定稿 出     版，您 签署
                      后 我 们 这 边 立 即 签署， 谢谢
                             Jan   25, 2018   17:57



                           Jerry: 请 查
                                    电邮。祝好。                    Ye
                             Jan   25, 2018 18:02


                      收 到谢谢          您
                                         ，正 在    内 部 推动
                      最 后 流程

                             Jan   25,   2018 20:28



                      刘 总，DG 也好   已经回复了，
                      您入 加 這 件 事 內 部 已 經 確認
                      ，但 由 于涉及 五 年 保证
                      了                  雇
                      佣， 以 前从没 遇  到过， 法务
                      部正在 抓 配合 HR 在 做 最后
                        閱, 抱歉之 前  是我 大 意了
                       為了保密 沒 經過  他們, 我會
                      尽量 讨 缩 他们 的 审阅 时间。
                      但有 所 待遇 条件 原 则 已 经确
                      定, 再 次 抱歉 !

                                                          @由

                                                                           HLIU002342
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 275 of 467 Page ID
                                  #:4083


                           DECLARATION AND CERTIFICATION


     We, Ko & Martin - Certified Interpreters and Translators, declare that we are

     (P)    Certified Court Interpreters as described in GC68565

     We are certified to interpret and translate from the Chinese language to the English
     language and from the English language to the Chinese language.

     We further declare that we have translated the attached document from the Chinese
     language to the English language.

     We declare to the best of our abilities and belief, that this is a true and accurate
     translation of the Chinese language text of the 3 pages of text messages as described
     below.



                               Specific Description of the Document

        1. 01222018 Wang of FF Message re FF HR Dept. Review of Liu EA
        2. 01252018 Wang of FF Message re FF Legal Review & HR Approval of Liu
           Agreement
        3. 01262018 Wang of FF Message re Vijay Sekhon of Sidley Austin has been
           reviewing agreements


     We declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.

     This declaration is signed this 5th of April 2021 in Los Angeles, California.



     Lingling Men Martin
     President
     Ko & Martin - Certified Interpreters and Translators




     Signature



                           KO & MARTIN – Certified Interpreters and Translators
                                          www.komartin.com
                                 Email: chinese.division@komartin.com




                                                                                              HLIU002343
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 276 of 467 Page ID
                                  #:4084




                        Exhibit 13
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 277 of 467 Page ID
                                  #:4085
  17:03

              Jiawei Wang, Jerry, Yueting Jia Nephew, in charge of financing
              & HR N

                                    Jerry, thank you for your hard work last
                                    night. Let’s talk over the phone later.

                                     Jan 26, 2018 10:50

              OK. Is it convenient to talk over the phone
              now, Mr. Liu? Sorry.

                                     Jan 26, 2018 11:01


                                                                Ok, now is ok.


                                     Jan 26, 2018 12:24

              Received your email. Will push through
              immediately.

                                     Jan 26, 2018 15:39

              Hi, manager Liu. Thank you for your
              understanding, and I look forward to your
              proposed revised version. I would like to
              clarify one thing. Sidley's company partner
              VJ is reviewing this agreement for us right
              now to make sure there is no violation of any
              stipulations with investors. The share transfer
              clause is a key concern, but he may also make
              other minor modifications. I will ask him to
              focus on major issues instead of details and
              confirm as soon as possible.



                                                            ©




                                                                                 HLIU002335
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 278 of 467 Page ID
                17:03 ?           #:4086              si “人




                                                                    品
                                                                     |




             《           伟
                   王 佳 Jerry              跃 亭外     管 融资 事   人 N
                     Jerry: 你們 昨 晚 辛苦了 咱们
                     再 通話        。
                                                        。



                                                                    Ye
                                 Jan   26, 2018 10:50


                      好      ， 您現在
                             的
                                   方便
                                    通話嗎
                      总，        在抱

                                 Jan   26, 2018 11:01


                                            的。
                                        好 现 在 可以                。




                                 Jan   26, 2018 12:24




                                 Jan   26, 2018 15:39


                      刘 总，谢谢   您 的
                                 好理解    并等
                      您 的 建議 修改 。 一 件 事       稱



                      清: Sidley
                             的公司  合伙   人VJ
                      在 幫 我們 看 這 個 協議, 確保
                             投资
                       没有 违反 与   者的   约定，
                      转这 股 条   一 个 重点 顾虑，
                                        是




                      但他可 能有 别 的 细微 修改                      ，



                      我 会 让他 宜 粗 不 宜 细 尽 快确
                      认  。




                                                                           HLIU002336
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 279 of 467 Page ID
                                  #:4087


                           DECLARATION AND CERTIFICATION


     We, Ko & Martin - Certified Interpreters and Translators, declare that we are

     (P)    Certified Court Interpreters as described in GC68565

     We are certified to interpret and translate from the Chinese language to the English
     language and from the English language to the Chinese language.

     We further declare that we have translated the attached document from the Chinese
     language to the English language.

     We declare to the best of our abilities and belief, that this is a true and accurate
     translation of the Chinese language text of the 3 pages of text messages as described
     below.



                               Specific Description of the Document

        1. 01222018 Wang of FF Message re FF HR Dept. Review of Liu EA
        2. 01252018 Wang of FF Message re FF Legal Review & HR Approval of Liu
           Agreement
        3. 01262018 Wang of FF Message re Vijay Sekhon of Sidley Austin has been
           reviewing agreements


     We declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.

     This declaration is signed this 5th of April 2021 in Los Angeles, California.



     Lingling Men Martin
     President
     Ko & Martin - Certified Interpreters and Translators




     Signature



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                                          www.komartin.com
                                 Email: chinese.division@komartin.com




                                                                                              HLIU002337
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 280 of 467 Page ID
                                  #:4088




                        Exhibit 14
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 281 of 467 Page ID
                                  #:4089




                          DECLARATION AND CERTIFICATION


    We, Ko & Martin - Certified Interpreters and Translators, declare that we are

    (P)    Certified Court Interpreters as described in GC68565

    We are certified to interpret and translate from the Chinese language to the English
    language and from the English language to the Chinese language.

    We further declare that we have translated the attached document from the Chinese
    language to the English language.

    We declare to the best of our abilities and belief, that this is a true and accurate
    translation of the Chinese language text of Email from hliusunshine@gmail.com dated
    04/15/2021 with subject Chat history for group "Jiawei Wang Jerry, Yueting Jia
    nephew and the finance and human resource manager N, Wentao Huang FF Legal
    Counsel Hainan economy and trade…"


                             Specific Description of the Document

     Email from hliusunshine@gmail.com dated 04/15/2021 with subject Chat history for
     group "Jiawei Wang Jerry, Yueting Jia nephew and the finance and human resource
        manager N, Wentao Huang FF Legal Counsel Hainan economy and trade…"



    We declare under penalty of perjury under the laws of the State of California that the
    foregoing is true and correct.

    This declaration is signed this 18th of May 2021 in Los Angeles, California.



    Lingling Men Martin
    President
    Ko & Martin - Certified Interpreters and Translators




    Signature

                         KO & MARTIN – Certified Interpreters and Translators
                                        www.komartin.com
                               Email: chinese.division@komartin.com
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                                  #:4090




    Chat history for group "Jiawei Wang Jerry, Yueting Jia nephew and the finance and
    human resource manager N, Wentao Huang FF Legal Counsel Hainan economy and
    trade…"




    The text and image message history of the WeChat group "Jiawei Wang Jerry, Yueting Jia
    nephew and the finance and human resource manager N, Wentao Huang FF Legal Counsel
    Hainan economy and trade…" is as follows.
                                 ———— 2018-1-26 ————
    Jiawei Wang Jerry at 22:02
    Mr. Liu and Mr. Huang, a WeChat group has been created for communication.
    [Shake][Shake]


    Jiawei Wang Jerry at 22:02
    Many thanks to Mr. Huang for your coordination for the term(s) of the employment
    contract(s). [Fight][Fight]


    Wentao Huang at 22:10
    @Henry Liu welcome you to join our company. You will be a great help to YT and to the
    company’s operation and rapid development in the future. Perhaps we talk on the phone
    when you have time to share information and some personnel arrangement need to be
    discussed in advance. I'm currently in China.


    Henry Liu at 22:23
    Thanks, Jerry. Hello Wentao. Thanks for your strong support. Feel free to call at any time.
    Best regards.


    Wentao Huang at 22:25
    Are you in New York? I'm in Shanghai. We can call via Wechat when you have time.
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                                  #:4091



    Henry Liu at 22:25
    Sounds good. I'm in New York. Feel free to call via WeChat at any time.
                                                                              HLIU007670
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                                        #:4092

 ih       Gmail                                                           H Liu <hliusunshine@gmail.com>



Chat history for group "                   Jerry                         N,        FFLegal Counsel
        ..."
H Liu <hliusunshine@gmail.com>                                                 Thu, Apr 15, 2021 at 5:32 PM
To: H Liu Sunshine Legal Matter Email <HLiuSunshine@gmail.com>

  Dear:

     The text and image message history of the WeChat group "    Jerry                N,       FFLegal
  Counsel         ..." is as follows.

                                   ————— 2018-1-26 —————

          Jerry 22:02
                        [Shake][Shake]

          Jerry 22:02
                               [Fight][Fight]

           22:10
  @Henry Liu                         YT



  Henry Liu 22:23
      Jerry.

           22:25


  Henry Liu 22:25




                                                                                                 HLIU007670
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                                  #:4093




                        Exhibit 15
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 286 of 467 Page ID
                                  #:4094



  From:               H. Liu
  Sent:               Friday, January 26, 2018 6:55 PM CST
  To:                 Teddy Kang
  CC:                 Jerry Wang (FF China); DG Jiang
  BCC:                Liu gmail Henry H.
  Subject:            Re: FF Engagement Agreement
  Attachments:        01252018FFHLAgreement Final Revise Final (Clean) (ExecutionVersionHL).pdf, image001.png


  Dear Teddy,

  Many thanks for your e-mail. Attached please find my signed Employment Agreement between
  FF and HL dated January 25, 2018.

  Looking forward to receiving the FF counter-signed version.

  I am also very excited about this great opportunity to be part of the FF family.

  Best regards to you, Jerry, DG and everyone at FF.

  Henry

  On Fri, Jan 26, 2018 at 6:26 PM, Teddy Kang <Teddy.Kang@ff.com> wrote:
   Hi Henry,
   It’s my pleasure meeting you here (electronically) and congratulations on your offer with FF!
   Assuming everything on the offer is acceptable, please sign and return it back to us and we’ll
   execute it on our end and send you a copy for your records. Once we finalize the offer letter, we’ll
   begin the onboarding process by sending you a follow up email with further instructions on moving
   forward.
   Should you have any questions through out the initial onboarding process, please don’t hesitate to
   reach out to me directly. I will make myself available to you to help answer any questions you
   might have.
   Again, congratulations and we certainly look forward to seeing you here at FF!
   Please have a great rest of your day and weekend!
   Kind regards,
   tk
   310.405.2590
   From: "Jerry Wang (FF China)" <Jerry.Wang@ff.com>
   Date: Friday, January 26, 2018 at 11:19 AM
   To: Teddy Kang <Teddy.Kang@ff.com>, "H. Liu" <henryliuesq@gmail.com>
   Cc: DG Jiang <Dg.Jiang@ff.com>
   Subject: FF Engagement Agreement
   Hi Teddy,



   As discussed, can you follow up with Mr. Henry Liu for signing and onboarding process to FF as
   Chief Administrative Officer? Much appreciated your support.




                                                                                                                HLIU004107
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                                  #:4095




   Mr. Liu,



   Congratulations and very much looking forward to our partnership!



   Sincerely,

   Jerry



   Jerry Wang

   General Manager | Global Capital and Investment Banking



         “N
                      Faraday Future
   e jerry.wang@ff.com

   c +1 201-354-7734 / +86 151-1690-3389

   a 18455 S Figueroa St, Gardena, CA 90248

   w www.ff.com



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                                                                                                                                                                       HLIU004108
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                                  #:4096
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                                  #:4097




                    “N
                            Faraday Future




                                                                           HLIU004109
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                                  #:4098
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                                  #:4099
  Confidential & Privileged


                                     Employment Agreement
                                        Between FF and HL
                                        (January 25, 2018)

  This Employment Agreement (“Agreement”) sets forth the terms and condition of employment
  of Hong Liu (aka (Henry) Hong Liu, “HL”) at FF Global Holdings Ltd., and Smart King Limited
  which owns 100% of and controls such entities including, without limitation, FF Global Holdings
  Ltd., Faraday & Future Inc., LeSEE (in VIE Structure), City Sky Limited, d/b/a Faraday and their
  successors, assignees and transferees (“FF”). These Terms (“Terms”) supersede and replace any
  and all previous agreements and other agreements as may be specifically referred to herein,
  between the parties. If any provision of these Terms is ineffective in whole or in part, the
  remainder of the Terms shall remain effective. The Terms shall be constructed in accordance
  with and governed by the laws of the State of California without regard to otherwise governing
  principles of conflicts of law.

  Position & Duties:
  FF shall appoint HL Senior Board Member of FF Global Board; Global Chief Administrative
  Officer, with the Chinese translation of 全球行政总裁, or other similar and comparable title as
  may be further discussed and agreed, and concurrently the Global General Counsel at HL’s
  choice, and the Global Senior Advisor of FF, directly reporting to FF’s CEO. FF shall give HL
  adequate authority and support in performing his duties. HL’s duties and responsibilities shall
  be commensurate with such positions, and subject to typical exceptions for serving on other
  civic/charitable/corporate boards with no direct conflict of interest with FF and for managing
  personal investments.

  Term:
  HL shall commence as soon as practical and expects to be no later than February 1, 2018 or
  other days as may be mutually agreed, based on agreed Terms. For formality purpose only, FF
  may or may not ask HL to sign the standard form of employment letter (“Offer Letter”)
  applicable to all executives and employees of FF in U.S.A. when joining the company,
  however, FF has expressed agreed and specifically acknowledged that the Letter and all its
  contents shall be superseded and overridden by this Agreement. FF shall guarantee HL’s
  employment and base salaries as provided in the Terms for five years except for HL decides to
  leave FF at his own. Thereafter such employment shall continue at the then same levels of
  responsibilities and compensation including the continued annual amount of signing bonus
  and other benefits as provided in this Agreement until terminated by either party, upon 90
  days advance notice, pursuant to the Terms.


                                                 1




                                                                                                     HLIU004110
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                                  #:4100
  Confidential & Privileged
  Base Salaries:
  FF shall pay HL a minimum annual base salary of $1,000,000.00, in semi-monthly (bi-weekly)
  installments, for five years. If HL is terminated by FF for any reason during the five year term
  he will be entitled to receive any remaining portion of the five years of base salaries not yet
  paid in a lump sum. Base salary will be reviewed on an annual basis for increases in
  accordance with the review process for senior level executives of FF.

  Signing Bonus:
  FF shall pay HL a signing bonus of $3,000,000.00, payable in five equal installments, with the first
  installment paid upon the signing of the Agreement and each of the remaining installments paid
  at each of the following four anniversary of HL’s start of employment at FF and paid in lump sum
  in the event of an early termination by FF during the five year guaranteed employment term.

  Bonus Opportunity:
  FF shall award HL discretionary annual bonus based on annual review. Annual bonus will be
  reviewed on an annual basis for increases in accordance with the review process for senior
  level executives of FF. FF shall give HL access to special Bonus based on a percentage of
  overall transactions, including successful equity and debt financing, China Joint Venture, and
  other special projects and important tasks, etc., in which HL plays one of the leading roles of
  the project group and makes substantial contributions.

  Equity Grants:
  FF shall entitle HL to FF’s long-term and short-term incentives. FF shall grant HL at minimum
  cost required by law and outright, 2% of FF’s total equity shares pre Series A dilution in the
  form of restrictive stocks or equity option as HL may select based on any of FF’s available
  equity grant forms to select from, namely 20,000,000.00 equity shares representing 2% of the
  total and all of 1,000,000,000.00 equity shares of FF pre Series A, as FF has represented and
  warranted, with the FF established and standard equity share or option vesting schedule and
  any of FF’s earliest available vesting schedules as HL may select and with adequate
  consideration of tax benefits available to HL. Any and all of the remaining unvested portion of
  such 2% of the total shares shall become immediately and fully vested to HL upon any early
  termination by FF of HL’s employment within the guaranteed employment term with FF. Such
  an early termination can only be effectuated based on the specific cause of a serious breach of
  fiduciary duty to FF as a senior executive of FF after fully adjudicated against HL by a
  competent court in the United States, and HL will be fully covered by FF with executive
  indemnifications. FF has represented that it had successfully completed first closing of Series A
  financing in December 2017, which is subject to CFIUS approval and it is possible that the
  global corporate structure of FF may be adjusted in compliance with any decisions to be
  concluded by CFIUS, which FF represents and warrants that it will ensure that provisions
  concerning HL as contained in this Agreement shall not be adversely affected. FF has further
                                                   2




                                                                                                      HLIU004111
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                                  #:4101
  Confidential & Privileged
  represented that there are no multiple classes of shares with different rights and values
  offered to employees except the Founder (Yueting Jia, “YT” himself). HL will act in concert with
  the Founder under the circumstances permitted by law.

  Benefits/PTO:
  FF shall entitle HL to participate in all benefit plans and programs at the same level with all
  senior level executives of FF, including, without limitation, corporate housing, transportation,
  retirement, welfare, vacation and PTO, insurances including health, life, and D&O. FF shall
  honor and adopt all employee and executive friendly best practices in favor of HL as a valued
  senior executive of FF, with regard to severance payments, change of control, parachute
  payments, tax treatments and any other customary executive compensation provisions. HL is
  entitled to indemnification from FF on terms no less than any other executives and employees.


  Relocation:
  FF shall pay for all HL’s reasonable relocation costs and expenses as a senior executive,
  including, without limitation, family house-hunting trips, moving and storage of household
  goods, settling in allowances, interim living etc.


  Survivor Benefits:
  HL is entitled to death benefits if he dies during the five year term and during his employment
  at FF, including two year of base salary for his surviving spouse and children. Upon his death
  vesting schedules for his unvested equity interests shall have a two-year acceleration and all
  vested equity interests will pass to his surviving spouse and his children with adequate
  consideration of tax benefits to his survivors.


  Signed by,                                          Signed by,


  Signature:                                          Signature:
  For & authorized by & on behalf of FF               Hong Liu
  Position:                                           Printed Name: Hong Liu
  Printed Name:

  Jointly signed and acknowledged by:

  Signature: ______________
  Board Director, FF
  Jiawei Wang


                                                  3




                                                                                                     HLIU004112
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                                  #:4102




                        Exhibit 16
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                                  #:4103



  From:               Teddy Kang
  Sent:               Friday, January 26, 2018 7:35 PM CST
  To:                 H. Liu
  CC:                 Jerry Wang (FF China); DG Jiang
  Subject:            Re: [EXTERNAL] Re: FF Engagement Agreement
  Attachments:        01252018FFHLAgreement Final Signed.pdf


  Hi Henry,
  Please find the attached fully counter-signed Employment Agreement for your records.
  We just need one more thing for now, please let us know when your first day of employment will be
  with us so we can make the necessary arrangements….
  If there’s anything else you need in the meantime, please don’t hesitate to contact me!
  Thank you!
  tk
  From: "H. Liu" <henryliuesq@gmail.com>
  Date: Friday, January 26, 2018 at 4:55 PM
  To: Teddy Kang <Teddy.Kang@ff.com>
  Cc: "Jerry Wang (FF China)" <Jerry.Wang@ff.com>, DG Jiang <Dg.Jiang@ff.com>
  Subject: [EXTERNAL] Re: FF Engagement Agreement
  Dear Teddy,
  Many thanks for your e-mail. Attached please find my signed Employment Agreement between FF
  and HL dated January 25, 2018.
  Looking forward to receiving the FF counter-signed version.
  I am also very excited about this great opportunity to be part of the FF family.
  Best regards to you, Jerry, DG and everyone at FF.
  Henry

  On Fri, Jan 26, 2018 at 6:26 PM, Teddy Kang <Teddy.Kang@ff.com> wrote:
   Hi Henry,
   It’s my pleasure meeting you here (electronically) and congratulations on your offer with FF!
   Assuming everything on the offer is acceptable, please sign and return it back to us and we’ll
   execute it on our end and send you a copy for your records. Once we finalize the offer letter, we’ll
   begin the onboarding process by sending you a follow up email with further instructions on moving
   forward.
   Should you have any questions through out the initial onboarding process, please don’t hesitate to
   reach out to me directly. I will make myself available to you to help answer any questions you
   might have.
   Again, congratulations and we certainly look forward to seeing you here at FF!
   Please have a great rest of your day and weekend!
   Kind regards,
   tk
   310.405.2590
   From: "Jerry Wang (FF China)" <Jerry.Wang@ff.com>
   Date: Friday, January 26, 2018 at 11:19 AM
   To: Teddy Kang <Teddy.Kang@ff.com>, "H. Liu" <henryliuesq@gmail.com>
   Cc: DG Jiang <Dg.Jiang@ff.com>
   Subject: FF Engagement Agreement
   Hi Teddy,




                                                                                                          HLIU004122
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                                  #:4104




   As discussed, can you follow up with Mr. Henry Liu for signing and onboarding process to FF as
   Chief Administrative Officer? Much appreciated your support.



   Mr. Liu,



   Congratulations and very much looking forward to our partnership!



   Sincerely,

   Jerry



   Jerry Wang

   General Manager | Global Capital and Investment Banking




   e jerry.wang@ff.com

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                                  #:4106
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                                         Employment Agreement
                                           Between FF and HL

                                            (January 25, 2018)

  This  Employment Agreement (“Agreement”) sets forth the terms and condition of employment
  of Hong Liu (aka (Henry) Hong Liu, “HL”) at FF Global Holdings Ltd., and Smart King Limited
  which owns 100% of and controls such entities including, without limitation, FF Global Holdings
  Ltd., Faraday & Future Inc., LeSEE (in VIE Structure), City Sky Limited, d/b/a Faraday and their
  successors, assignees and transferees (“FF”). These Terms (“Terms”) supersede and replace any
  and all previous agreements and other agreements as may be specifically referred to herein,
  between the parties. If any provision of these Terms is ineffective in whole or in part, the
  remainder of the Terms shall remain effective. The Terms shall be constructed in accordance
  with and  governed by the laws of the State of California without regard to otherwise governing
  principles of conflicts of law.

  Position & Duties:
  FF shall   appoint HL Senior Board   Member of FF Global   Board; Global Chief Administrative
  Officer, with the Chinese translation of        BUS, or other similar and comparable title      as

  may be further discussed and agreed, and concurrently the Global General Counsel at HL’s
  choice, and the Global Senior Advisor of FF, directly reporting to FF’s CEO. FF shall give HL
  adequate authority and support in performing his duties. HL’s duties and responsibilities shall
  be commensurate with such positions, and subject to typical exceptions for serving on other
  civic/charitable/corporate boards with no direct conflict of interest with FF and for managing
  personal investments.

  Term:
  HL shall   commence as soon as  practical and expects to be no later than February 1, 2018 or
  other days as may be mutually agreed, based on agreed Terms. For formality purpose only, FF
  may or may not ask HL to sign the standard form of employment letter (“Offer Letter”)
  applicable to all executives and employees of FF in U.S.A. when joining the company,
  however, FF has expressed agreed and specifically acknowledged that the Letter and all its
  contents shall be superseded and overridden by this Agreement. FF shall guarantee HL’s

  employment and base salaries as provided in the Terms for five years except for HL decides to
  leave FF at his own. Thereafter such employment shall continue at the then same levels of
  responsibilities and compensation including the continued annual amount of signing bonus
  and other benefits as provided in this Agreement until terminated by either party, upon 90
  days advance notice, pursuant to the Terms.

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  Base Salaries:
  FF shall   pay HL   a   minimum annual base salary of $1,000,000.00, in semi-monthly (bi-weekly)
  installments, for five years. If HL is terminated by FF for any reason during the five year term
  he will be entitled to receive any remaining portion of the five years of base salaries not yet
  paid in a lump sum. Base salary will be reviewed on an annual basis for increases in
  accordance with the review process for senior level executives of FF.


 SigningBonus:
  FF shall pay HL a signing bonus of $3,000,000.00, payable in five equal installments, with the first
  installment paid upon the signing of the Agreement and each of the remaining installments paid
  at each of the following four anniversary of HL’s start of employment at FF and paid in lump sum
  in the event of an early termination by FF during the five year guaranteed employment term.


  Bonus  Opportunity:
  FF shall award HL discretionary annual bonus based on annual review. Annual bonus will be
  reviewed    on anannual basis for increases in accordance with the review process for senior
  level executives of FF. FF shall give HL access to special Bonus based on a percentage of
  overall transactions, including successful equity and debt financing, China Joint Venture, and
  other special projects and important tasks, etc., in which HL plays one of the leading roles of
  the   project group and     makes substantial contributions.


  Equity Grants:
  FF shall entitle HL to FF’slong-term and short-term incentives. FF shall grant HL at minimum
  cost required by law and outright, 2% of FF’s total equity shares pre Series A dilution in the
  form of restrictive stocks or equity option as HL may select based on any of FF’s available
  equity grant forms to select from, namely 20,000,000.00 equity shares representing 2% of the
  total and all of 1,000,000,000.00 equity shares of FF pre Series A, as FF has represented and
  warranted, with the FF established and standard equity share or option vesting schedule and
  any of FF’s earliest available vesting schedules as HL may select and with adequate
  consideration of tax benefits available to HL. Any and all of the remaining unvested portion of
  such 2% of the total shares shall become immediately and fully vested to HL upon any early
  termination by FF of HL’s employment within the guaranteed employment term with FF. Such
  an early termination can only be effectuated based on the specific cause of a serious breach of

  fiduciary duty to FF as a senior executive of FF after fully adjudicated against HL by a
  competent court in the United States, and HL will be fully covered by FF with executive
  indemnifications. FF has represented that it had successfully completed first closing of Series A
  financing in December 2017, which is subject to CFIUS approval and it is possible that the
  global corporate structure of FF may be adjusted in compliance with any decisions to be
  concluded by CFIUS, which FF represents and warrants that it will ensure that provisions
  concerning HL as contained in this Agreement shall not be adversely affected. FF has further
                                                       2


                                                                                         JW          v

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  represented that there are no multiple classes of shares with different rights and values
  offered to employees except the Founder (Yueting Jia, “YT” himself). HL will act in concert with
  the Founder under the circumstances permitted by law.


  Benefits/PTO:
  FF shall entitle HL toparticipate in all benefit plans and programs at the same level with all
  senior level executives of FF, including, without limitation, corporate housing, transportation,
  retirement, welfare, vacation and PTO, insurances  including health, life, and D&O. FF shall
  honor and adopt all employee and executive friendly best practices in favor of HL as a valued
  senior executive of FF, with regard to severance payments, change of control, parachute
  payments, tax treatments and any other customary executive compensation provisions.                    HL is
  entitled to indemnification from FF     on   terms   no   less than any other executives and    employees.

  Relocation:
  FF shall    pay for all HL’s reasonable relocation   costs and   expenses   as a   senior executive,
  including, without limitation, family house-hunting trips, moving and storage of household
  goods, settling in allowances, interim living etc.

  Survivor Benefits:
  HL is entitled to death benefits if he dies    during the five year term and during his employment
  at    including two year of base salary for his surviving spouse and children. Upon his death
       FF,
  vesting schedules for his unvested equity interests shall have a two-year acceleration and all
  vested equity interests will pass to his surviving spouse and his children with adequate
  consideration of tax benefits to his survivors.


  Signed by,                                                   Signed by,

  Signature:                                                   Signature:
  For & authorized     by & on behalf of FF                    Hong Liu
  Position:                                                    Printed Name:   Hong Liu
  Printed Name:       Yeti Vane
  Jointly signed and acknowledged by:

  Signature:
  Board Director, FF
  Jiawei     Wang




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                        Exhibit 17
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                                  #:4110



  From:                            Jerry Wang (FF China)
  Sent:                            Tuesday, January 30, 2018 1:31 PM CST
  To:                              H. Liu
  CC:                              DG Jiang
  Subject:                         RE: [EXTERNAL] Further revisions on Share Transfer Agreement
  Attachments:                     Redline.pdf, Revised Director Compensation Agreement (clean).docx


  Dear Mr. Liu,

  Congratulations again for having you on board and very much looking forward working with you starting
  in near future!

  As we discussed and follow up on previous email, there are certain constrains listed below to limit our
  ability to do a direct or indirect share transfer without triggering default, which will bear significant
  losses and consequences to YT and FF. Please take a look this version drafted by company external
  counsel Sidley, and I make it clear to make it unchanged as much as possible and reflect all business
  terms that we mutually agreed.

  Please let me know if we need to do a call to explain further, and Sidley is happy to arrange a conference
  call together with us to walk through and discuss solutions. Thanks and have a good day!

  Best,
  Jerry

  ___________________________



  Faraday Future
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  From: Jerry Wang (FF China)
  Sent: Friday, January 26, 2018 3:38 PM
  To: 'H. Liu' <henryliuesq@gmail.com>
  Subject: RE: [EXTERNAL] Further revisions on Share Transfer Agreement

  Dear Mr. Liu,




                                                                                                                                                                         HLIU004171
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  Thanks again for your patience, please refer to below the terms in Series A documents that set the limit
  to share transfer. Please let us know how you would like to revise the draft to avoid triggering the terms
  and we will cooperative and have it signed ASAP once confirmed with this point.

  Thanks again for your understanding!

  Best,
  Jerry

  ---------------------------------

  4.1 Restriction on Transfers.
  (a)     Shareholders. Prior to a Qualified IPO, no Shareholder shall, and shall procure that each of its
  Affiliates shall not, directly or indirectly, sell, assign, transfer, pledge, hypothecate, or otherwise
  encumber or dispose of in any way or otherwise grant any interest or right with respect to (the
  “Transfer,” “Transferring,” “Transferred,” “Transferor” and “Transferee” having meanings correlative to
  the foregoing) all or any part of any interest in any Equity Securities of the Company now or hereafter
  owned or held by such Shareholders, save as provided in Section 4.1(b) and provided that such Transfers
  are made in compliance with this Section 4.

  (b)     Permitted Transfers. The restrictions on Transfer set forth in Section 4.1(a) shall not apply to the
  following Transfers (each, a “Permitted Transfer”):
  (i)    Subject to Section 12.2(d), the Founder HoldCo shall be permitted to direct the Company to grant
  and issue Class A Ordinary Shares pursuant to the STI representing in aggregate not more than 5.5% of
  the total number of issued Shares (calculated on a fully diluted basis assuming full issuance under the
  Equity Incentive Plan) (the "STI Target Number") to eligible Applicable Employees, selected by Founder
  HoldCo, to incentivise them for the best interests of the Group;

  (ii)    The Founder HoldCo shall be permitted to Transfer such number of Class B Preferred Shares up
  to another 5.5% of the total number of issued Shares (calculated on a fully diluted basis assuming full
  issuance under the Equity Incentive Plan) for purposes of discharging any contingent liabilities of the
  Founder HoldCo, Founder and their respective Affiliates provided that: (A) unless otherwise approved by
  the Majority Class A Preferred Shareholder in writing, the Class B Preferred Shares so Transferred shall
  immediately upon completion of such Transfer be automatically re-designated into Class B Ordinary
  Shares and the Directors shall ensure the register of members of the Company duly reflect such
  automatic re-designation; and (B) any Transfer proposed to be made pursuant to this Section 4.1(b)(ii)
  shall be subject to the rights of first refusal of the Class A Preferred Shareholders provided under Section
  4.2(a)(1)-(5) and Section 4.3 and, accordingly, the provisions of Section 4.2(a)(1)-(5) and Section 4.3 shall
  apply to the Transfers contemplated by this Section 4.1(a)(ii), but Section 4.2(a)(6)-(10) shall not apply.

  (iii)   Any Shareholder (other than a Class A Preferred Shareholder) shall be permitted to Transfer any
  outstanding Equity Securities issued by the Company upon receipt of the prior written consent to such
  Transfer by the Majority Class A Preferred Shareholder and the Founder HoldCo, which consent may be
  granted by the Majority Class A Preferred Shareholder and the Founder HoldCo in their respective sole
  and absolute discretion, provided that after such consent is granted, the Transfer subject to such
  consent shall then be subject to the rights of first refusal and co-sale rights of all the Class A Preferred
  Shareholders and the Founder HoldCo (including the Shareholders granting the consent to such Transfer
  in the first place) provided under Section 4.2 and Section 4.3.




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  (iv)   The following shall apply in relation to Transfers by relevant Class A Preferred Shareholders:
  (1)     The first Transfer by the Series A Investor of all or part of its Class A Preferred Shares in a single
  transaction after First Closing shall not be restricted in any respects and none of the provisions of
  Section 4.2 or Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(b)(iv)(1);
  (2)     Any Class A Preferred Shareholder shall, after the first Transfer set forth in clause (1) above, be
  permitted to Transfer any of its Class A Preferred Shares to any Person other than a Competitor, and
  provided that such Transfer shall be subject to the rights of first refusal and co-sale rights of the Founder
  HoldCo provided under Section 4.2 and Section 4.3 and, accordingly, the provisions of Section 4.2 and
  Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(a)(iv)(2);
  (v)    A Transfer of Class B Preferred Shares by the Founder HoldCo in accordance with Section 5.13(b)
  of the Subscription Agreement, which shall automatically (without a resolution of the Directors and/or
  Shareholders or any other action being required) be re-designated into Class A Ordinary Shares
  immediately on such Transfer being effected; and

  (vi)     Any Transfer of Equity Securities by the Founder HoldCo after a Default Notice has been issued in
  accordance with Section 12.1 and provided that all of the rights described in Section 12.2(a) to 12.2(e)
  have and continue to be in effect, and further provided that such Transfer shall be subject to the rights
  of first refusal and co-sale rights of the Majority Class A Preferred Shareholder provided under Section
  4.2 and Section 4.3 and, accordingly, the provisions of Section 4.2 and Section 4.3 shall apply to the
  Transfers contemplated by this Section 4.1(b)(vi).

  For the avoidance of doubt, any Transfer made pursuant to Sections 4.1(b)(i), 4.1(b)(iv)(1), or 4.1(b)(v) is
  not subject to or in any way restricted or limited by Section 4.2 or Section 4.3.

  8. Reserved Matters. The Shareholders shall exercise all voting rights and other powers of control
  available to them in relation to each Group Company to procure that each Group Company and/or its
  board of directors shall not, and as a separate covenant the Company shall exercise all voting rights and
  other powers of control available to it in relation to each Group Company (other than the Company
  itself) to procure that each such other Group Company and/or its board of directors shall not, at any
  time on or after the First Closing and thereafter, do or approve any of the matters set forth in Schedule
  II (Reserved Matters), in each case without the prior approval in writing of the Majority Class A Preferred
  Shareholder or a Series A Director. As a separate and independent covenant, the Company agrees that it
  shall (so far as it is legally able to do so) observe and comply with the provisions, prohibitions and
  restrictions in this Section 8.

  SCHEDULE II Reserved Matters
  (a) Subject to Section 16.12, change its name or amend its Charter Documents;

  (b) Approve any annual budget and business plan other than those relating to the Business;

  (c) Issue, repurchase or redeem (or agree to issue, repurchase or redeem) any Equity Securities or debt
  securities or amend the rights attaching to any Equity Securities or debt securities, or undertake any
  consolidation, sub-division, reclassification or conversion of any of its share capital, except an issuance
  of Equity Securities following a failure to make a Subscription Payment (as defined in the Subscription
  Agreement) and an issuance of Equity Securities in accordance with the Subscription Agreement (in the
  form entered into on the date of this Agreement).




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  (d) Make any material change to the nature or scope of its business or the Business;

  (e) Declare, pay or make any dividend or distribution;

  (f) Enter into (or agree to enter into) any transaction other than in its ordinary and usual course of
  business in relation to the Business, including the disposal or transfer of any business, property or assets
  or any interests therein (other than in its ordinary and usual course of business);

  (g) Enter into (or agree to enter into) any transaction with any Connected Person, including the Founder,
  the Founder HoldCo, the Class A Ordinary Shareholders and their respective Affiliates;

  (h) Pass any resolution that may result in its dissolution, winding-up or liquidation or any receivership or
  enter into any material debt restructuring or arrangement with its third party creditors;

  (i) Implement any IPO; and/or

  (j) Any matters that may have a Material Adverse Effect on it or on the Group.

  12. Default Notice
  12.1 If any of the following events occurs, the Majority Class A Preferred Shareholder may at any time
  after such occurrence give a "Default Notice" in writing to Founder HoldCo (with reasonable details
  specifying the event which the Default Notice relates to):
  ... …
  (d) the Founder ceases to own (directly or indirectly) 100% of the economic rights and 100% of the
  voting rights in any Founder Entity; or (ii) the Founder HoldCo Transfers any of its Equity Securities in
  breach of Section 4; or (iii) the Founder otherwise ceases to own (directly or indirectly) 100% of the
  economic rights and 100% voting powers with respect to any of the Class B Preferred Shares held by
  Founder HoldCo from time to time (other than in each case as a result of a Transfer of Class B Preferred
  Shares in compliance with this Agreement or pursuant to the Share Pledge Agreement) (each a "Change
  of Control Event"), provided that, with respect to this clause (d), "100% shall be deemed to be "50%" in
  the case of a involuntary Transfer of Equity Securities effected as a result of an enforcement event by
  one or more creditors against the Equity Securities;

  ……

  ___________________________

  Faraday Future
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                                                                                                                                                                         HLIU004174
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                                  #:4114



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  From: H. Liu [mailto:henryliuesq@gmail.com]
  Sent: Friday, January 26, 2018 1:06 PM
  To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
  Cc: DG Jiang <Dg.Jiang@ff.com>
  Subject: [EXTERNAL] Further revisions on Share Transfer Agreement

  Hi Jerry,

  Please find the attached SA as further revised per your request. It looks like that what may be best at
  this point, without destroying the whole purposes and what has already been agreed on, is to put in
  some simple and necessary definitions on the restrictive time period to reflect the current Series A
  financing documents as you have stated.

  Best regards to you and DG.

  Henry




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                                  DIRECTOR COMPENSATION AGREEMENT

           This Director Compensation Agreement (this “Agreement”) is made and entered into as of the
  [●]th day of January, 2018, by and between Yueting Jia, the indirect sole shareholder of Founder HoldCo
  (as defined below) (the “Founder”), and Hong Liu (aka (Henry) Hong Liu, the “Appointee”) (separately, a
  “Party” or collectively, the “Parties”), as a legally bound agreement on the Parties and on their
  successors, assignees and transferees.

          1. FF Top Holding Ltd. (“Founder HoldCo”) owns an aggregate amount of 600,000,000 Class B
  preferred shares of Smart King Limited (the “Company”), which in turn owns 100% of entities including,
  without limitation, FF Global Holdings Ltd, Faraday & Future, Inc., LeSee entities (in Schedule I to this
  Agreement), City of Sky Limited (d/b/a Faraday) and their successors, assignees and transferees. The
  Parties have entered into this Agreement pursuant to which: (i) the Founder will cause Founder HoldCo
  to appoint the Appointee, and the Appointee accepts such appointment, to serve as a director on the
  board of directors of the Company and (ii) in exchange for the Appointee’s service as a director on the
  board of directors of the Company, the Founder agrees to pay the Appointee an amount equal to $[●]
  (such cash payment to the Appointee, the “Director Compensation”), contingent upon and effective as
  of the completion of (a) a firm commitment underwritten public offering of the Company’s stock with a
  valuation of the Company not less than $[●] billion (a “Qualified IPO”) and (b) the sale of a sufficient
  number of Founder HoldCo’s shares of the Company in or as soon as reasonably practicable following
  such Qualified IPO for an amount greater than or equal to the Director Compensation. The vesting of the
  Director Compensation is subject to the same vesting conditions as provided and agreed in the
  Employment Agreement between the Appointee and the Company on this same day (“EA”).

          2. The Founder represents that the Company successfully completed its Series A financing in
  December 2017. It has been acknowledged by the Parties that the Director Compensation is for a full
  and accepted consideration upon signing of this Agreement. It is the good faith belief and genuine
  intention of the Parties that this Agreement is to promote the interests of all of the Company’s
  shareholders and stakeholders.

           3. This Agreement is effective and binding upon the signing. The Parties agree that the delivery
  of the Director Compensation by the Founder to the Appointee shall be in the form of wire transfer of
  immediately available funds after the conditions in the preceding sentence have been satisfied. The
  Founder’s performance of its obligations under this Agreement are in all respects subject to the
  restrictions set forth in that certain Shareholders Agreement, dated as of November 30, 2017, as
  amended, by and among the Company, Founder HoldCo, the Founder and Season Smart Limited. It is
  further understood and agreed among the Parties that the demand by the Appointee for the delivery of
  the Director Compensation shall be contingent upon the satisfaction of the conditions set forth in the
  preceding paragraph. If the Appointee decides to leave the Company at his own will during his
  employment term as provided in the EA or his employment at the Company is terminated by the
  Company during such a term based on the specific cause of a serious breach of fiduciary duties to the
  Company as a senior executive of the Company after finally adjudicated against the Appointee by a
  competent court in the United States (the Appointee will be fully covered by the Company with

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  executive indemnifications to the extent set forth in the Company’s standard form of director
  indemnification agreement), any remaining unvested portion of the Director Compensation at the time
  when such departure or termination effectuates will be automatically forfeited. Any delay to enforce the
  terms of this Agreement and any delay to act on a breach of its term by the Appointee does not
  constitute a waiver of those rights.

           4. The Appointee agrees not to divulge, communicate, use to the detriment of the Company or
  for the benefit of any other person, or misuse in any way, (i) information regarding the existence of this
  Agreement, any terms set forth in this Agreement, or information he received in connection with the
  negotiations of this Agreement, (ii) any confidential or secret information relating to the Company or
  any subsidiary of the Company or (iii) any other technical, business, proprietary or financial information
  of the Company including personnel information, secret processes, know-how, customer lists, formulas
  or other technical data not available to the public generally or to the competitors of the Company
  (“Confidential Information”), except to the extent that the Appointee demonstrates that such
  Confidential Information (A) becomes a matter of public record or is published in a newspaper,
  magazine or other periodical available to the general public, other than as a result of any act or omission
  of the Appointee, or (B) is required to be disclosed by any law, regulation or order of any court or
  regulatory commission, department or agency. The Appointee acknowledges and agrees that any
  information or data the Appointee has acquired on any of these matters or items were received in
  confidence and are subject to the terms of this Agreement. The Appointee acknowledges and agrees
  that any breach of this paragraph by the Appointee shall result in the automatic termination of this
  Agreement and all of the Founder’s obligations under this Agreement, and a forfeiture by the Appointee
  of any and all rights of the Appointee under this Agreement.

         5. If any provision of this Agreement is ineffective in whole or in part, the remainder of this
  Agreement shall remain in effect. This Agreement is binding on all Parties by virtue of the conduct of
  both parties and in spite of any defect or error in the formality of its execution.

        6. The rights, benefits, liabilities and responsibilities contained within the terms of this
  Agreement are not assignable by any Party with the prior written agreement of the other Party.

          7. The Parties agree that this Agreement shall be governed and construed in accordance with
  the laws of the State of California, and that any dispute arising out of or related to this Agreement shall
  be resolved exclusively in the state or federal courts located in Los Angeles, California.

                        [The remainder of this page has been intentionally left blank.]




  ACTIVE 228420980




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                                  #:4118
  Confidential & Privileged

        IN WITNESS WHEREOF, the undersigned have hereunto caused this Director Compensation
  Agreement to be executed as of the date first set forth above.


                                                    FOUNDER

                                                    ________________
                                                    Yueting Jia



                                                    APPOINTEE

                                                    _____________________
                                                    Hong Liu (aka (Henry) Hong Liu)




  ACTIVE 228420980




                                                                                              HLIU004178
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                                  #:4120
  Confidential & Privileged

                         STOCK TRANSFERDIRECTOR COMPENSATION AGREEMENT

           This Stock TransferDirector Compensation Agreement (thethis “Agreement”) is made and
  entered into as of 25the [●]th day of January, 2018, by and between Yueting Jia (the “Transferor, the
  indirect sole shareholder of Founder HoldCo (as defined below) (the “Founder”), and Hong Liu (aka
  (Henry) Hong Liu, the “TransfereeAppointee”) (separately, a “Party” or jointlycollectively, the “Parties”),
  as a legally bound agreement on boththe Parties and on their successors, assignees and transferees.

            1. Transferor ownsFF Top Holding Ltd. (“Founder HoldCo”) owns an aggregate amount of
  600,000,000 Class B preferred shares of stock of Smart King Limited (the “Company”), which in turn
  owns 100% of such entities including, without limitation, FF Global Holdings Ltd, Faraday & Future, Inc.,
  LeSEE (in VIE StructureLeSee entities (in Schedule I to this Agreement), City of Sky Limited, (d/b/a
  Faraday) and their successors, assignees and transferees (“FF”, “Company”). Transferor and Transferee.
  The Parties have entered into this Agreement pursuant to which: (i) the Transferor wishes to transfer
  with full consideration such shares of the Company it directly or indirectly owns and warrants that it has
  all the vested and other right to transfer, to Transferee: shares equal to 1% of the Company’s total
  equity shares pre Series A dilution, namely 10,000,000.00 equity shares representing 1% of the total and
  all of 1,000,000,000.00 equity shares of the Company pre Series A (the “Shares” or “Stocks”)Founder will
  cause Founder HoldCo to appoint the Appointee, and the Appointee accepts such appointment, to serve
  as a director on the board of directors of the Company and (ii) in exchange for the Appointee’s service as
  a director on the board of directors of the Company, the Founder agrees to pay the Appointee an
  amount equal to $[●] (such cash payment to the Appointee, the “Director Compensation”), contingent
  upon and effective as of the completion of (a) a firm commitment underwritten public offering of the
  Company’s stock with a valuation of the Company not less than $[●] billion (a “Qualified IPO”) and (b)
  the sale of a sufficient number of Founder HoldCo’s shares of the Company in or as soon as reasonably
  practicable following such Qualified IPO for an amount greater than or equal to the Director
  Compensation. The vesting of Shares to Transfereethe Director Compensation is subject to the same
  vesting conditions as provided and agreed in the Employment Agreement between Transfereethe
  Appointee and FFthe Company on this same day (“EA”). Transferor has represented

           2. The Founder represents that the Company had successfully completed its Series A financing
  in December 2017. It has been acknowledged by the Parties that the Shares transferDirector
  Compensation is for a full and accepted consideration upon signing of this Agreement. It is the good
  faith belief and genuine intention of Transferor and Transferee that thethe Parties that this Agreement is
  to promote the interests of all FF’sof the Company’s shareholders and stakeholders.

           23. TheThis Agreement is effective and binding upon the signing. Transferor and TransfereeThe
  Parties agree that the delivery by Transferor to Transfereeof the Director Compensation by the Founder
  to the Appointee shall be in the form of certificate or other documents, or best efforts and good faith
  sales proceeds after the Company’s IPO. This is in due respectful of any time restrictions on the
  transfers of shares by Transferor in the executed legal documents of the Series A financingwire transfer
  of immediately available funds after the conditions in the preceding sentence have been satisfied. The
  Founder’s performance of its obligations under this Agreement are in all respects subject to the

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                                                                                                                HLIU004179
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  restrictions set forth in that certain Shareholders Agreement, dated as of November 30, 2017, as
  amended, by and among the Company, Founder HoldCo, the Founder and Season Smart Limited. It is
  further understood and agreed between Transferor and Transfereeamong the Parties that the demand
  by Transfereethe Appointee for the delivery of Shares shall be no earlier than an IPO and no later than a
  reasonable and practical time after the post IPO lock-up period as described above. If the Transfereethe
  Director Compensation shall be contingent upon the satisfaction of the conditions set forth in the
  preceding paragraph. If the Appointee decides to leave the Company at his own will during his
  guaranteed employment term as provided in the EA or his employment at the Company is terminated by
  the Company during such a term based on the specific cause of a serious breach of fiduciary dutyduties
  to FFthe Company as a senior executive of FFthe Company after fullyfinally adjudicated against the
  TransfereeAppointee by a competent court in the United States (Transfereethe Appointee will be fully
  covered by FFthe Company with executive indemnifications to the extent set forth in the Company’s
  standard form of director indemnification agreement), any remaining unvested Sharesportion of the
  Director Compensation at the time when such departure or termination effectuates will be
  automatically forfeited. Any delay to enforce the terms of this Agreement and any delay to act on a
  breach of its term by the TransfereeAppointee does not constitute a waiver of those rights.

           4. The Appointee agrees not to divulge, communicate, use to the detriment of the Company or
  for the benefit of any other person, or misuse in any way, (i) information regarding the existence of this
  Agreement, any terms set forth in this Agreement, or information he received in connection with the
  negotiations of this Agreement, (ii) any confidential or secret information relating to the Company or
  any subsidiary of the Company or (iii) any other technical, business, proprietary or financial information
  of the Company including personnel information, secret processes, know-how, customer lists, formulas
  or other technical data not available to the public generally or to the competitors of the Company
  (“Confidential Information”), except to the extent that the Appointee demonstrates that such
  Confidential Information (A) becomes a matter of public record or is published in a newspaper,
  magazine or other periodical available to the general public, other than as a result of any act or omission
  of the Appointee, or (B) is required to be disclosed by any law, regulation or order of any court or
  regulatory commission, department or agency. The Appointee acknowledges and agrees that any
  information or data the Appointee has acquired on any of these matters or items were received in
  confidence and are subject to the terms of this Agreement. The Appointee acknowledges and agrees
  that any breach of this paragraph by the Appointee shall result in the automatic termination of this
  Agreement and all of the Founder’s obligations under this Agreement, and a forfeiture by the Appointee
  of any and all rights of the Appointee under this Agreement.

          35. If any provision of this Agreement is ineffective in whole or in part, the remainder of thethis
  Agreement shall remain in effect. This Agreement is binding on bothall Parties by virtue of the conduct
  of both parties and in spite of any defect or error in the formality of its execution.

        46. The rights, benefits, liabilities and responsibilities contained within the terms of this
  Agreement are not assignable by any Party with the prior written agreement of the other Party.

  Transferor:                                      Transferee:

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                                                                                                                HLIU004180
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          7. The Parties agree that this Agreement shall be governed and construed in accordance with
  the laws of the State of California, and that any dispute arising out of or related to this Agreement shall
  be resolved exclusively in the state or federal courts located in Los Angeles, California.

                        [The remainder of this page has been intentionally left blank.]




  ACTIVE 228420980




                                                                                                                HLIU004181
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                                  #:4123
  Confidential & Privileged

        IN WITNESS WHEREOF, the undersigned have hereunto caused this Director Compensation
  Agreement to be executed as of the date first set forth above.


                                                    FOUNDER

  Signature:                                                _________
  Signature: _________
                                                    Yueting Jia



                                                    APPOINTEE

                                                    _____________________
  Print Name: Yueting Jia                                        Print Name: Hong Liu (aka
  (Henry) Hong Liu)




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                                  #:4124




                                      Summary report:
            Litéra® Change-Pro TDC 10.1.0.300 Document comparison done on
                                   1/30/2018 10:39:17 AM
        Style name: Sidley Default
        Intelligent Table Comparison: Active
        Original filename: 01262018StockTransferAgreement (Clean) Final.docx
        Modified filename: Revised Director Compensation Agreement (clean)
        (003).docx
        Changes:
        Add                                                        71
        Delete                                                     54
        Move From                                                  4
        Move To                                                    4
        Table Insert                                               0
        Table Delete                                               0
        Table moves to                                             0
        Table moves from                                           0
        Embedded Graphics (Visio, ChemDraw, Images etc.)           0
        Embedded Excel                                             0
        Format changes                                             0
        Total Changes:                                             133




                                                                               HLIU004183
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                                  #:4125




                        Exhibit 18
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                                  #:4126



  From:                            Jerry Wang (FF China)
  Sent:                            Tuesday, January 30, 2018 7:24 PM CST
  To:                              H. Liu
  CC:                              DG Jiang
  Subject:                         RE: [EXTERNAL] Further revisions on Share Transfer Agreement
  Attachments:                     01302018DirectorCompensationAgreement(Redlines).docx


  Dear Mr. Liu,

  Please refer to further comments based on your Redline version, and please let me know if you would
  like to schedule a call with Sidley to briefly discuss how to best describe the specific amount.

  Thanks,
  Jerry

  ___________________________



  Faraday Future
  Jerry Wang
  General Manager | Global Capital and Investment Banking
  e jerry.wang@ff.com
  c +1 201-354-7734 / +86 151-1690-3389
  a 18455 S Figueroa St, Gardena, CA 90248
  w www.ff.com

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  From: H. Liu [mailto:henryliuesq@gmail.com]
  Sent: Tuesday, January 30, 2018 4:19 PM
  To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
  Cc: DG Jiang <Dg.Jiang@ff.com>
  Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement

  Hi Jerry,

  Please find the attached quick read of the DA (Redline & Clean), for your purview.

  Best regards to you and DG.

  Henry

  On Tue, Jan 30, 2018 at 2:31 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

    Dear Mr. Liu,




                                                                                                                                                                         HLIU004199
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                                  #:4127



   Congratulations again for having you on board and very much looking forward working with you
   starting in near future!

   As we discussed and follow up on previous email, there are certain constrains listed below to limit our
   ability to do a direct or indirect share transfer without triggering default, which will bear significant
   losses and consequences to YT and FF. Please take a look this version drafted by company external
   counsel Sidley, and I make it clear to make it unchanged as much as possible and reflect all business
   terms that we mutually agreed.

   Please let me know if we need to do a call to explain further, and Sidley is happy to arrange a
   conference call together with us to walk through and discuss solutions. Thanks and have a good day!

   Best,
   Jerry

   ___________________________

   Faraday Future

   Jerry Wang
   General Manager | Global Capital and Investment Banking

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   From: Jerry Wang (FF China)
   Sent: Friday, January 26, 2018 3:38 PM
   To: 'H. Liu' <henryliuesq@gmail.com>
   Subject: RE: [EXTERNAL] Further revisions on Share Transfer Agreement

   Dear Mr. Liu,

   Thanks again for your patience, please refer to below the terms in Series A documents that set the limit
   to share transfer. Please let us know how you would like to revise the draft to avoid triggering the
   terms and we will cooperative and have it signed ASAP once confirmed with this point.

   Thanks again for your understanding!

   Best,




                                                                                                                                                                       HLIU004200
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   Jerry

   ---------------------------------

   4.1 Restriction on Transfers.
   (a)     Shareholders. Prior to a Qualified IPO, no Shareholder shall, and shall procure that each of its
   Affiliates shall not, directly or indirectly, sell, assign, transfer, pledge, hypothecate, or otherwise
   encumber or dispose of in any way or otherwise grant any interest or right with respect to (the
   “Transfer,” “Transferring,” “Transferred,” “Transferor” and “Transferee” having meanings correlative
   to the foregoing) all or any part of any interest in any Equity Securities of the Company now or
   hereafter owned or held by such Shareholders, save as provided in Section 4.1(b) and provided that
   such Transfers are made in compliance with this Section 4.

   (b)     Permitted Transfers. The restrictions on Transfer set forth in Section 4.1(a) shall not apply to
   the following Transfers (each, a “Permitted Transfer”):
   (i)     Subject to Section 12.2(d), the Founder HoldCo shall be permitted to direct the Company to
   grant and issue Class A Ordinary Shares pursuant to the STI representing in aggregate not more than
   5.5% of the total number of issued Shares (calculated on a fully diluted basis assuming full issuance
   under the Equity Incentive Plan) (the "STI Target Number") to eligible Applicable Employees, selected
   by Founder HoldCo, to incentivise them for the best interests of the Group;

   (ii)    The Founder HoldCo shall be permitted to Transfer such number of Class B Preferred Shares up
   to another 5.5% of the total number of issued Shares (calculated on a fully diluted basis assuming full
   issuance under the Equity Incentive Plan) for purposes of discharging any contingent liabilities of the
   Founder HoldCo, Founder and their respective Affiliates provided that: (A) unless otherwise approved
   by the Majority Class A Preferred Shareholder in writing, the Class B Preferred Shares so Transferred
   shall immediately upon completion of such Transfer be automatically re-designated into Class B
   Ordinary Shares and the Directors shall ensure the register of members of the Company duly reflect
   such automatic re-designation; and (B) any Transfer proposed to be made pursuant to this Section
   4.1(b)(ii) shall be subject to the rights of first refusal of the Class A Preferred Shareholders provided
   under Section 4.2(a)(1)-(5) and Section 4.3 and, accordingly, the provisions of Section 4.2(a)(1)-(5) and
   Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(a)(ii), but Section 4.2(a)(6)-
   (10) shall not apply.

   (iii)  Any Shareholder (other than a Class A Preferred Shareholder) shall be permitted to Transfer any
   outstanding Equity Securities issued by the Company upon receipt of the prior written consent to such
   Transfer by the Majority Class A Preferred Shareholder and the Founder HoldCo, which consent may be
   granted by the Majority Class A Preferred Shareholder and the Founder HoldCo in their respective sole
   and absolute discretion, provided that after such consent is granted, the Transfer subject to such
   consent shall then be subject to the rights of first refusal and co-sale rights of all the Class A Preferred
   Shareholders and the Founder HoldCo (including the Shareholders granting the consent to such
   Transfer in the first place) provided under Section 4.2 and Section 4.3.

   (iv)   The following shall apply in relation to Transfers by relevant Class A Preferred Shareholders:
   (1)    The first Transfer by the Series A Investor of all or part of its Class A Preferred Shares in a single
   transaction after First Closing shall not be restricted in any respects and none of the provisions of
   Section 4.2 or Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(b)(iv)(1);




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   (2)    Any Class A Preferred Shareholder shall, after the first Transfer set forth in clause (1) above, be
   permitted to Transfer any of its Class A Preferred Shares to any Person other than a Competitor, and
   provided that such Transfer shall be subject to the rights of first refusal and co-sale rights of the
   Founder HoldCo provided under Section 4.2 and Section 4.3 and, accordingly, the provisions of Section
   4.2 and Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(a)(iv)(2);
   (v)    A Transfer of Class B Preferred Shares by the Founder HoldCo in accordance with Section
   5.13(b) of the Subscription Agreement, which shall automatically (without a resolution of the Directors
   and/or Shareholders or any other action being required) be re-designated into Class A Ordinary Shares
   immediately on such Transfer being effected; and

   (vi)   Any Transfer of Equity Securities by the Founder HoldCo after a Default Notice has been issued
   in accordance with Section 12.1 and provided that all of the rights described in Section 12.2(a) to
   12.2(e) have and continue to be in effect, and further provided that such Transfer shall be subject to
   the rights of first refusal and co-sale rights of the Majority Class A Preferred Shareholder provided
   under Section 4.2 and Section 4.3 and, accordingly, the provisions of Section 4.2 and Section 4.3 shall
   apply to the Transfers contemplated by this Section 4.1(b)(vi).

   For the avoidance of doubt, any Transfer made pursuant to Sections 4.1(b)(i), 4.1(b)(iv)(1), or 4.1(b)(v)
   is not subject to or in any way restricted or limited by Section 4.2 or Section 4.3.

   8. Reserved Matters. The Shareholders shall exercise all voting rights and other powers of control
   available to them in relation to each Group Company to procure that each Group Company and/or its
   board of directors shall not, and as a separate covenant the Company shall exercise all voting rights
   and other powers of control available to it in relation to each Group Company (other than the
   Company itself) to procure that each such other Group Company and/or its board of directors shall not,
   at any time on or after the First Closing and thereafter, do or approve any of the matters set forth in
   Schedule II (Reserved Matters), in each case without the prior approval in writing of the Majority Class
   A Preferred Shareholder or a Series A Director. As a separate and independent covenant, the Company
   agrees that it shall (so far as it is legally able to do so) observe and comply with the provisions,
   prohibitions and restrictions in this Section 8.

   SCHEDULE II Reserved Matters
   (a) Subject to Section 16.12, change its name or amend its Charter Documents;

   (b) Approve any annual budget and business plan other than those relating to the Business;

   (c) Issue, repurchase or redeem (or agree to issue, repurchase or redeem) any Equity Securities or debt
   securities or amend the rights attaching to any Equity Securities or debt securities, or undertake any
   consolidation, sub-division, reclassification or conversion of any of its share capital, except an issuance
   of Equity Securities following a failure to make a Subscription Payment (as defined in the Subscription
   Agreement) and an issuance of Equity Securities in accordance with the Subscription Agreement (in the
   form entered into on the date of this Agreement).

   (d) Make any material change to the nature or scope of its business or the Business;

   (e) Declare, pay or make any dividend or distribution;




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   (f) Enter into (or agree to enter into) any transaction other than in its ordinary and usual course of
   business in relation to the Business, including the disposal or transfer of any business, property or
   assets or any interests therein (other than in its ordinary and usual course of business);

   (g) Enter into (or agree to enter into) any transaction with any Connected Person, including the
   Founder, the Founder HoldCo, the Class A Ordinary Shareholders and their respective Affiliates;

   (h) Pass any resolution that may result in its dissolution, winding-up or liquidation or any receivership
   or enter into any material debt restructuring or arrangement with its third party creditors;

   (i) Implement any IPO; and/or

   (j) Any matters that may have a Material Adverse Effect on it or on the Group.

   12. Default Notice
   12.1 If any of the following events occurs, the Majority Class A Preferred Shareholder may at any time
   after such occurrence give a "Default Notice" in writing to Founder HoldCo (with reasonable details
   specifying the event which the Default Notice relates to):
   ... …
   (d) the Founder ceases to own (directly or indirectly) 100% of the economic rights and 100% of the
   voting rights in any Founder Entity; or (ii) the Founder HoldCo Transfers any of its Equity Securities in
   breach of Section 4; or (iii) the Founder otherwise ceases to own (directly or indirectly) 100% of the
   economic rights and 100% voting powers with respect to any of the Class B Preferred Shares held by
   Founder HoldCo from time to time (other than in each case as a result of a Transfer of Class B Preferred
   Shares in compliance with this Agreement or pursuant to the Share Pledge Agreement) (each a
   "Change of Control Event"), provided that, with respect to this clause (d), "100% shall be deemed to be
   "50%" in the case of a involuntary Transfer of Equity Securities effected as a result of an enforcement
   event by one or more creditors against the Equity Securities;

   ……

   ___________________________

   Faraday Future

   Jerry Wang
   General Manager | Global Capital and Investment Banking

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   c   +1 201-354-7734 / +86 151-1690-3389
   a   18455 S Figueroa St, Gardena, CA 90248
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                                                                                                                                                                       HLIU004203
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                                  #:4131



   From: H. Liu [mailto:henryliuesq@gmail.com]
   Sent: Friday, January 26, 2018 1:06 PM
   To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
   Cc: DG Jiang <Dg.Jiang@ff.com>
   Subject: [EXTERNAL] Further revisions on Share Transfer Agreement

   Hi Jerry,

   Please find the attached SA as further revised per your request. It looks like that what may be best at
   this point, without destroying the whole purposes and what has already been agreed on, is to put in
   some simple and necessary definitions on the restrictive time period to reflect the current Series A
   financing documents as you have stated.

   Best regards to you and DG.

   Henry




                                                                                                             HLIU004204
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                                DIRECTOR COMPENSATION AGREEMENT

        This Director Compensation Agreement (this “Agreement”) is made and entered into as of the
___ [●]th day of January, 2018, by and between Yueting Jia, the indirect sole shareholder of Founder
HoldCo (as defined below) (the “Founder”), and Hong Liu (aka (Henry) Hong Liu, the “Appointee”)
(separately, a “Party” or collectively, the “Parties”), as a legally bound agreement on the Parties and on
their successors, assignees and transferees.

         1. FF Top Holding Ltd. (“Founder HoldCo”) owns an aggregate amount of 600,000,000 Class B
preferred shares of Smart King Limited (the “Company”), which in turn owns 100% of entities including,
without limitation, FF Global Holdings Ltd, Faraday & Future, Inc., LeSee entities (in Schedule I to this
Agreement), City of Sky Limited (d/b/a Faraday) and their successors, assignees and transferees. The
Parties have entered into this Agreement pursuant to which: (i) the Founder will cause Founder HoldCo
to appoint the Appointee, and the Appointee accepts such appointment, to serve as a director on the
board of directors of the Company and (ii) in exchange for the Appointee’s service as a director on the
board of directors of the Company, the Founder agrees to pay the Appointee a cashn amount or other
means of payment as may be mutually agreed by Appointee and the Founder, equal to the cash value of           Commented [JW1]: Should be mutually agreed
shares equal to 1% of the Company’s total equity shares pre Series A dilution, namely 10,000,000.00
equity shares representing 1% of the total and all of 1,000,000,000.00 equity shares of the Company pre
Series A (the “Shares” or “Stocks”) $[●] (such cash payment to the Appointee, the “Director                   Commented [JW2]: Needs to discuss mutually with VJ
Compensation”), contingent upon the reasonably earliest possible and available cash realization of the        and HL to see if this is properly addressed.

Shares including the happening of one or more of the following events: and effective as of the
completion of (a) a firm commitment underwritten public offering of the Company’s stock with a
valuation of the Company not less than the dollar amount as is provided in the Company’s pre Series A
Agreement$[●] billion (a “Qualified IPO”), and; or and (b) the sale of a sufficient number of Founder
HoldCo’s shares of the Company in or as soon as reasonably practicable following such Qualified IPO or a
sale or sales of any assets of the Company and any of its affiliates for an amount greater than or equal to   Commented [JW3]: There will be no separate sell of
the Director Compensation; or (c) a change of control in the Company. . The vesting of the Director           asset from YT personal related to FF, only through IPO and
                                                                                                              sell shares. If an asset sale happens this is company
Compensation is subject to the same and best available vesting conditions as provided and agreed in the       behavior, not related to FF.
Employment Agreement between the Appointee and the Company on this same day (“EA”).                           Commented [JW4]: If there is change of control but no
                                                                                                              liquidation event happens, it is impossible to make the
                                                                                                              payment. Suggest not to mention to much details and we
        2. The Founder represents that the Company successfully completed its Series A financing in
                                                                                                              will discuss if this happens with a liquidation event.
December 2017. It has been acknowledged by the Parties that the Director Compensation is for a full
                                                                                                              Commented [JW5]: This has already been mutually
and accepted consideration upon signing of this Agreement. It is the good faith belief and genuine            agreed.
intention of the Parties that this Agreement is to promote the interests of all of the Company’s
shareholders and stakeholders.

         3. This Agreement is effective and binding upon the signing. The Parties agree that the delivery
of the Director Compensation by the Founder to the Appointee shall be in the form of wire transfer of
immediately available funds after the conditions in the preceding sentence have been satisfied. The
Founder’s performance of its obligations under this Agreement are in all respects subject to the
restrictions set forth in that certain Shareholders Agreement, dated as of November 30, 2017, as
amended, by and among the Company, Founder HoldCo, the Founder and Season Smart Limited (the

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“Agreement”). It is further understood and agreed among the Parties that the demand by the
Appointee for the delivery of the Director Compensation shall be contingent upon the satisfaction of the
conditions set forth in the preceding paragraph. If the Appointee decides to leave the Company at his
own will during his employment term as provided in the EA or his employment at the Company is
terminated by the Company during such a term based on the specific cause of a serious breach of
fiduciary duties to the Company as a senior executive of the Company after finally adjudicated against
the Appointee by a competent court in the United States (the Appointee will be fully covered by the
Company with executive indemnifications to the extent set forth in the Company’s standard form of
director indemnification agreement), any remaining unvested portion of the Director Compensation at
the time when such departure or termination effectuates will be automatically forfeited. Any delay to
enforce the terms of this Agreement and any delay to act on a breach of its term by the Appointee does
not constitute a waiver of those rights.

        4. [Note: 4 has aAlready been provided in Para 3 in fiduciary duty which is in line with agreed
EA.]
The Appointee agrees not to divulge, communicate, use to the detriment of the Company or for the
benefit of any other person, or misuse in any way, (i) information regarding the existence of this
Agreement, any terms set forth in this Agreement, or information he received in connection with the
negotiations of this Agreement, (ii) any confidential or secret information relating to the Company or
any subsidiary of the Company or (iii) any other technical, business, proprietary or financial information
of the Company including personnel information, secret processes, know-how, customer lists, formulas
or other technical data not available to the public generally or to the competitors of the Company
(“Confidential Information”), except to the extent that the Appointee demonstrates that such
Confidential Information (A) becomes a matter of public record or is published in a newspaper,
magazine or other periodical available to the general public, other than as a result of any act or omission
of the Appointee, or (B) is required to be disclosed by any law, regulation or order of any court or
regulatory commission, department or agency. The Appointee acknowledges and agrees that any
information or data the Appointee has acquired on any of these matters or items were received in
confidence and are subject to the terms of this Agreement. The Appointee acknowledges and agrees
that any breach of this paragraph by the Appointee shall result in the automatic termination of this
Agreement and all of the Founder’s obligations under this Agreement, and a forfeiture by the Appointee
of any and all rights of the Appointee under this Agreement.                                                  Commented [JW6]: We need to keep at least
                                                                                                              confidentiality.

       45. If any provision of this Agreement is ineffective in whole or in part, the remainder of this
Agreement shall remain in effect. This Agreement is binding on all Parties by virtue of the conduct of
both parties and in spite of any defect or error in the formality of its execution.

      56. The rights, benefits, liabilities and responsibilities contained within the terms of this
Agreement are not assignable by any Party with the prior written agreement of the other Party.

        67. The Parties agree that this Agreement shall be governed and construed in accordance with
the laws of the State of California, and that any dispute arising out of or related to this Agreement shall
be resolved exclusively in the state or federal courts located in Los Angeles, California.

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      IN WITNESS WHEREOF, the undersigned have hereunto caused this Director Compensation
Agreement to be executed as of the date first set forth above.


                                                  FOUNDER

                                                  ________________
                                                  Yueting Jia



                                                  APPOINTEE

                                                  _____________________
                                                  Hong Liu (aka (Henry) Hong Liu)




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                                                                                            HLIU004208
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                        Exhibit 19
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                                  #:4138



  From:                            Jerry Wang (FF China)
  Sent:                            Tuesday, January 30, 2018 10:33 PM CST
  To:                              H. Liu
  CC:                              DG Jiang
  Subject:                         RE: [EXTERNAL] Further revisions on Share Transfer Agreement
  Attachments:                     01302018DirectorCompensationAgreement(RedlinesonJW)RR.docx


  Thank you Mr. Liu, please refer to brief comments and if you think it is fine I will forward to Sidley and
  discuss with them.

  ___________________________



  Faraday Future
  Jerry Wang
  General Manager | Global Capital and Investment Banking
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  w www.ff.com

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  All we do is for our earth, please consider the environment before printing out this email.


  From: H. Liu [mailto:henryliuesq@gmail.com]
  Sent: Tuesday, January 30, 2018 8:13 PM
  To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
  Cc: DG Jiang <Dg.Jiang@ff.com>
  Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement

  Hi Jerry,

  As spoke earlier, please find the attached.

  Best regards to you and DG.

  Henry

  On Tue, Jan 30, 2018 at 8:55 PM, H. Liu <henryliuesq@gmail.com> wrote:

    Hi Jerry: Please find my a few additional comments. Best regards to you and DG. Henry


    On Tue, Jan 30, 2018 at 8:24 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

      Dear Mr. Liu,




                                                                                                                                                                         HLIU004237
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    Please refer to further comments based on your Redline version, and please let me know if you would
    like to schedule a call with Sidley to briefly discuss how to best describe the specific amount.

    Thanks,
    Jerry

    ___________________________

    Faraday Future

    Jerry Wang
    General Manager | Global Capital and Investment Banking

    e   jerry.wang@ff.com
    c   +1 201-354-7734 / +86 151-1690-3389
    a   18455 S Figueroa St, Gardena, CA 90248
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    From: H. Liu [mailto:henryliuesq@gmail.com]
    Sent: Tuesday, January 30, 2018 4:19 PM
    To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
    Cc: DG Jiang <Dg.Jiang@ff.com>
    Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement

    Hi Jerry,

    Please find the attached quick read of the DA (Redline & Clean), for your purview.

    Best regards to you and DG.

    Henry

    On Tue, Jan 30, 2018 at 2:31 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:
      Dear Mr. Liu,

      Congratulations again for having you on board and very much looking forward working with you
      starting in near future!

      As we discussed and follow up on previous email, there are certain constrains listed below to limit
      our ability to do a direct or indirect share transfer without triggering default, which will bear
      significant losses and consequences to YT and FF. Please take a look this version drafted by company




                                                                                                                                                                          HLIU004238
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     external counsel Sidley, and I make it clear to make it unchanged as much as possible and reflect all
     business terms that we mutually agreed.

     Please let me know if we need to do a call to explain further, and Sidley is happy to arrange a
     conference call together with us to walk through and discuss solutions. Thanks and have a good day!

     Best,
     Jerry

     ___________________________

     Faraday Future

     Jerry Wang
     General Manager | Global Capital and Investment Banking

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     re-use any material contained in any FF Inc. email, without FF Inc.’s express written permission.


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     From: Jerry Wang (FF China)
     Sent: Friday, January 26, 2018 3:38 PM
     To: 'H. Liu' <henryliuesq@gmail.com>
     Subject: RE: [EXTERNAL] Further revisions on Share Transfer Agreement

     Dear Mr. Liu,

     Thanks again for your patience, please refer to below the terms in Series A documents that set the
     limit to share transfer. Please let us know how you would like to revise the draft to avoid triggering
     the terms and we will cooperative and have it signed ASAP once confirmed with this point.

     Thanks again for your understanding!

     Best,
     Jerry

     ---------------------------------

     4.1 Restriction on Transfers.
     (a)     Shareholders. Prior to a Qualified IPO, no Shareholder shall, and shall procure that each of its
     Affiliates shall not, directly or indirectly, sell, assign, transfer, pledge, hypothecate, or otherwise




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     encumber or dispose of in any way or otherwise grant any interest or right with respect to (the
     “Transfer,” “Transferring,” “Transferred,” “Transferor” and “Transferee” having meanings
     correlative to the foregoing) all or any part of any interest in any Equity Securities of the Company
     now or hereafter owned or held by such Shareholders, save as provided in Section 4.1(b) and
     provided that such Transfers are made in compliance with this Section 4.

     (b)     Permitted Transfers. The restrictions on Transfer set forth in Section 4.1(a) shall not apply to
     the following Transfers (each, a “Permitted Transfer”):
     (i)     Subject to Section 12.2(d), the Founder HoldCo shall be permitted to direct the Company to
     grant and issue Class A Ordinary Shares pursuant to the STI representing in aggregate not more than
     5.5% of the total number of issued Shares (calculated on a fully diluted basis assuming full issuance
     under the Equity Incentive Plan) (the "STI Target Number") to eligible Applicable Employees,
     selected by Founder HoldCo, to incentivise them for the best interests of the Group;

     (ii)     The Founder HoldCo shall be permitted to Transfer such number of Class B Preferred Shares
     up to another 5.5% of the total number of issued Shares (calculated on a fully diluted basis assuming
     full issuance under the Equity Incentive Plan) for purposes of discharging any contingent liabilities of
     the Founder HoldCo, Founder and their respective Affiliates provided that: (A) unless otherwise
     approved by the Majority Class A Preferred Shareholder in writing, the Class B Preferred Shares so
     Transferred shall immediately upon completion of such Transfer be automatically re-designated into
     Class B Ordinary Shares and the Directors shall ensure the register of members of the Company duly
     reflect such automatic re-designation; and (B) any Transfer proposed to be made pursuant to this
     Section 4.1(b)(ii) shall be subject to the rights of first refusal of the Class A Preferred Shareholders
     provided under Section 4.2(a)(1)-(5) and Section 4.3 and, accordingly, the provisions of Section
     4.2(a)(1)-(5) and Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(a)(ii), but
     Section 4.2(a)(6)-(10) shall not apply.

     (iii)    Any Shareholder (other than a Class A Preferred Shareholder) shall be permitted to Transfer
     any outstanding Equity Securities issued by the Company upon receipt of the prior written consent
     to such Transfer by the Majority Class A Preferred Shareholder and the Founder HoldCo, which
     consent may be granted by the Majority Class A Preferred Shareholder and the Founder HoldCo in
     their respective sole and absolute discretion, provided that after such consent is granted, the
     Transfer subject to such consent shall then be subject to the rights of first refusal and co-sale rights
     of all the Class A Preferred Shareholders and the Founder HoldCo (including the Shareholders
     granting the consent to such Transfer in the first place) provided under Section 4.2 and Section 4.3.

     (iv)    The following shall apply in relation to Transfers by relevant Class A Preferred Shareholders:
     (1)     The first Transfer by the Series A Investor of all or part of its Class A Preferred Shares in a
     single transaction after First Closing shall not be restricted in any respects and none of the
     provisions of Section 4.2 or Section 4.3 shall apply to the Transfers contemplated by this Section
     4.1(b)(iv)(1);
     (2)     Any Class A Preferred Shareholder shall, after the first Transfer set forth in clause (1) above,
     be permitted to Transfer any of its Class A Preferred Shares to any Person other than a Competitor,
     and provided that such Transfer shall be subject to the rights of first refusal and co-sale rights of the
     Founder HoldCo provided under Section 4.2 and Section 4.3 and, accordingly, the provisions of
     Section 4.2 and Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(a)(iv)(2);
     (v)     A Transfer of Class B Preferred Shares by the Founder HoldCo in accordance with Section
     5.13(b) of the Subscription Agreement, which shall automatically (without a resolution of the




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     Directors and/or Shareholders or any other action being required) be re-designated into Class A
     Ordinary Shares immediately on such Transfer being effected; and

     (vi)   Any Transfer of Equity Securities by the Founder HoldCo after a Default Notice has been
     issued in accordance with Section 12.1 and provided that all of the rights described in Section
     12.2(a) to 12.2(e) have and continue to be in effect, and further provided that such Transfer shall be
     subject to the rights of first refusal and co-sale rights of the Majority Class A Preferred Shareholder
     provided under Section 4.2 and Section 4.3 and, accordingly, the provisions of Section 4.2 and
     Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(b)(vi).

     For the avoidance of doubt, any Transfer made pursuant to Sections 4.1(b)(i), 4.1(b)(iv)(1), or
     4.1(b)(v) is not subject to or in any way restricted or limited by Section 4.2 or Section 4.3.

     8. Reserved Matters. The Shareholders shall exercise all voting rights and other powers of control
     available to them in relation to each Group Company to procure that each Group Company and/or
     its board of directors shall not, and as a separate covenant the Company shall exercise all voting
     rights and other powers of control available to it in relation to each Group Company (other than the
     Company itself) to procure that each such other Group Company and/or its board of directors shall
     not, at any time on or after the First Closing and thereafter, do or approve any of the matters set
     forth in Schedule II (Reserved Matters), in each case without the prior approval in writing of the
     Majority Class A Preferred Shareholder or a Series A Director. As a separate and independent
     covenant, the Company agrees that it shall (so far as it is legally able to do so) observe and comply
     with the provisions, prohibitions and restrictions in this Section 8.

     SCHEDULE II Reserved Matters
     (a) Subject to Section 16.12, change its name or amend its Charter Documents;

     (b) Approve any annual budget and business plan other than those relating to the Business;

     (c) Issue, repurchase or redeem (or agree to issue, repurchase or redeem) any Equity Securities or
     debt securities or amend the rights attaching to any Equity Securities or debt securities, or
     undertake any consolidation, sub-division, reclassification or conversion of any of its share capital,
     except an issuance of Equity Securities following a failure to make a Subscription Payment (as
     defined in the Subscription Agreement) and an issuance of Equity Securities in accordance with the
     Subscription Agreement (in the form entered into on the date of this Agreement).

     (d) Make any material change to the nature or scope of its business or the Business;

     (e) Declare, pay or make any dividend or distribution;

     (f) Enter into (or agree to enter into) any transaction other than in its ordinary and usual course of
     business in relation to the Business, including the disposal or transfer of any business, property or
     assets or any interests therein (other than in its ordinary and usual course of business);

     (g) Enter into (or agree to enter into) any transaction with any Connected Person, including the
     Founder, the Founder HoldCo, the Class A Ordinary Shareholders and their respective Affiliates;




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     (h) Pass any resolution that may result in its dissolution, winding-up or liquidation or any
     receivership or enter into any material debt restructuring or arrangement with its third party
     creditors;

     (i) Implement any IPO; and/or

     (j) Any matters that may have a Material Adverse Effect on it or on the Group.

     12. Default Notice
     12.1 If any of the following events occurs, the Majority Class A Preferred Shareholder may at any
     time after such occurrence give a "Default Notice" in writing to Founder HoldCo (with reasonable
     details specifying the event which the Default Notice relates to):
     ... …
     (d) the Founder ceases to own (directly or indirectly) 100% of the economic rights and 100% of the
     voting rights in any Founder Entity; or (ii) the Founder HoldCo Transfers any of its Equity Securities in
     breach of Section 4; or (iii) the Founder otherwise ceases to own (directly or indirectly) 100% of the
     economic rights and 100% voting powers with respect to any of the Class B Preferred Shares held by
     Founder HoldCo from time to time (other than in each case as a result of a Transfer of Class B
     Preferred Shares in compliance with this Agreement or pursuant to the Share Pledge Agreement)
     (each a "Change of Control Event"), provided that, with respect to this clause (d), "100% shall be
     deemed to be "50%" in the case of a involuntary Transfer of Equity Securities effected as a result of
     an enforcement event by one or more creditors against the Equity Securities;

     ……

     ___________________________

     Faraday Future

     Jerry Wang
     General Manager | Global Capital and Investment Banking

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     a   18455 S Figueroa St, Gardena, CA 90248
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     From: H. Liu [mailto:henryliuesq@gmail.com]
     Sent: Friday, January 26, 2018 1:06 PM
     To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
     Cc: DG Jiang <Dg.Jiang@ff.com>
     Subject: [EXTERNAL] Further revisions on Share Transfer Agreement




                                                                                                                                                                       HLIU004242
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     Hi Jerry,

     Please find the attached SA as further revised per your request. It looks like that what may be
     best at this point, without destroying the whole purposes and what has already been agreed on, is
     to put in some simple and necessary definitions on the restrictive time period to reflect the current
     Series A financing documents as you have stated.

     Best regards to you and DG.

     Henry




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                                DIRECTOR COMPENSATION AGREEMENT

        This Director Compensation Agreement (this “Agreement”) is made and entered into as of the
___ th day of January, 2018, by and between Yueting Jia, the indirect sole shareholder of Founder
HoldCo (as defined below) (the “Founder”), and Hong Liu (aka (Henry) Hong Liu, the “Appointee”)
(separately, a “Party” or collectively, the “Parties”), as a legally bound agreement on the Parties and on
their successors, assignees and transferees.

         1. FF Top Holding Ltd. (“Founder HoldCo”) owns an aggregate amount of 600,000,000 Class B
preferred shares of Smart King Limited (the “Company”), which in turn owns 100% of entities including,
without limitation, FF Global Holdings Ltd, Faraday & Future, Inc., LeSee entities (in Schedule I to this
Agreement), City of Sky Limited (d/b/a Faraday) and their successors, assignees and transferees. The
Parties have entered into this Agreement pursuant to which: (i) the Founder will cause Founder HoldCo
to appoint the Appointee, and the Appointee accepts such appointment, to serve as a director on the
board of directors of the Company and (ii) in exchange for the Appointee’s service as a director on the
board of directors of the Company, the Founder agrees to pay the Appointee a cash amount, or other
means of payment as may be mutually agreed by Appointee and the Founder, equal to the cash value of
shares equal to, for the purpose of calculating the cash value, 1% of the Company’s total equity shares
pre Series A dilution, namely 10,000,000.00 equity shares representing 1% of the total and all of
1,000,000,000.00 equity shares of the Company pre Series A (the “Shares” or “Stocks”) (the “Director         Commented [JW1]: Needs to discuss mutually with VJ
Compensation”), upon the reasonably earliest possible and available cash realization of the Shares           and HL to see if this is properly addressed.

including the happening of one or more of the following events: (a) a firm commitment underwritten
public offering of the Company’s stock (a “Qualified IPO”), and the sale of a sufficient number of
Founder HoldCo’s shares of the Company in or as soon as reasonably practicable following such
Qualified IPO for an amount greater than or equal to the Director Compensation; or (b) Aany                  Commented [JW2]: There will be no separate sell of
transactions including but not limited to, merger, acquisition, sale or disposal of assets other than an     asset from YT personal related to FF, only through IPO and
                                                                                                             sell shares. If an asset sale happens this is company
IPO, resulting in cash available to Founder HoldCo for the Director Compensation; and (c) an change of       behavior, not related to FF.
control in the Company resulting in cash available to Founder HoldCo for the Director Compensation.          Commented [JW3]: If there is change of control but no
The vesting of the Director Compensation is subject to the same vesting conditions as provided and           liquidation event happens, it is impossible to make the
                                                                                                             payment. Suggest not to mention to much details and we
agreed in the Employment Agreement between the Appointee and the Company dated January 25th,
                                                                                                             will discuss if this happens with a liquidation event.
2018on this same day (“EA”).
                                                                                                             Commented [JW4]: This has already been mutually
                                                                                                             agreed.
        2. The Founder represents that the Company successfully completed its Series A financing in
December 2017. It has been acknowledged by the Parties that the Director Compensation is for a full
and accepted consideration upon signing of this Agreement. It is the good faith belief and genuine
intention of the Parties that this Agreement is to promote the interests of all of the Company’s
shareholders and stakeholders.

         3. This Agreement is effective and binding upon the signing. The Parties agree that the delivery
of the Director Compensation by the Founder to the Appointee shall be in the form of wire transfer of
immediately available funds after the conditions in the preceding sentence have been satisfied. The
Founder’s performance of its obligations under this Agreement are in all respects subject to the
restrictions set forth in that certain Shareholders Agreement, dated as of November 30, 2017, as

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amended, by and among the Company, Founder HoldCo, the Founder and Season Smart Limited (the
“Agreement”). It is further understood and agreed among the Parties that the demand by the
Appointee for the delivery of the Director Compensation shall be contingent upon the satisfaction of the
conditions set forth in the preceding paragraph. If the Appointee decides to leave the Company at his
own will during his employment term as provided in the EA or his employment at the Company is
terminated by the Company during such a term based on the specific cause of a serious breach of
fiduciary duties to the Company as a senior executive of the Company after finally adjudicated against
the Appointee by a competent court in the United States (the Appointee will be fully covered by the
Company with executive indemnifications to the extent set forth in the Company’s standard form of
director indemnification agreement), any remaining unvested portion of the Director Compensation at
the time when such departure or termination effectuates will be automatically forfeited. Any delay to
enforce the terms of this Agreement and any delay to act on a breach of its term by the Appointee does
not constitute a waiver of those rights.

        [Note: 4 has already been provided in Para 3 in fiduciary duty which is in line with agreed EA.
Fiduciary duty includes and has higher confidentiality standards.] 4. The terms of this Agreement are
confidential between the parties and shall not be disclosed to anyone else except as may be necessary
to effectuate its termsmutually agreed between Founder and Appointee in writing or electronic notice.
                                                                                                              Commented [JW5]: We need to keep at least
       54. If any provision of this Agreement is ineffective in whole or in part, the remainder of this       confidentiality.

Agreement shall remain in effect. This Agreement is binding on all Parties by virtue of the conduct of
both parties and in spite of any defect or error in the formality of its execution.

      65. The rights, benefits, liabilities and responsibilities contained within the terms of this
Agreement are not assignable by any Party with the prior written agreement of the other Party.

        76. The Parties agree that this Agreement shall be governed and construed in accordance with
the laws of the State of California, and that any dispute arising out of or related to this Agreement shall
be resolved exclusively in the state or federal courts located in Los Angeles, California.

      IN WITNESS WHEREOF, the undersigned have hereunto caused this Director Compensation
Agreement to be executed as of the date first set forth above.


                                                          FOUNDER

                                                          ________________
                                                          Yueting Jia



                                                          APPOINTEE

                                                          _____________________


ACTIVE 228420980




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Confidential & Privileged

                             Hong Liu (aka (Henry) Hong Liu)




ACTIVE 228420980




                                                                           HLIU004246
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                                  #:4149




                        Exhibit 20
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                                  #:4150



  From:                            Jerry Wang (FF China)
  Sent:                            Thursday, February 1, 2018 6:08 PM CST
  To:                              H. Liu
  Subject:                         RE: [EXTERNAL] Further revisions on Share Transfer Agreement
  Attachments:                     Director Compensation Agreement.docx


  Privileged and Confidential

  Dear Mr. Liu,

  Please kindly refer the revised version. Comment from Sidley: “Thanks Jerry – this is better, but still
  carries moderate risk of breach of the shareholders agreement (and will have to be disclosed in
  connection with an IPO)”.

  Please let me know if we need to discuss in phone for further clarification, thank you.

  Best,
  Jerry

  ___________________________



  Faraday Future
  Jerry Wang
  General Manager | Global Capital and Investment Banking
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  w www.ff.com

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  From: H. Liu [mailto:henryliuesq@gmail.com]
  Sent: Thursday, February 1, 2018 5:03 AM
  To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
  Cc: DG Jiang <Dg.Jiang@ff.com>
  Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement

  Hi Jerry,

  Based on our discussions yesterday evening, please find the attached which hopefully will be the final
  version.

  Best regards to you and DG.




                                                                                                                                                                         HLIU004283
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                                  #:4151


  Henry


  On Tue, Jan 30, 2018 at 11:33 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

   Thank you Mr. Liu, please refer to brief comments and if you think it is fine I will forward to Sidley and
   discuss with them.

   ___________________________

   Faraday Future

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   General Manager | Global Capital and Investment Banking

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   From: H. Liu [mailto:henryliuesq@gmail.com]
   Sent: Tuesday, January 30, 2018 8:13 PM
   To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
   Cc: DG Jiang <Dg.Jiang@ff.com>
   Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement

   Hi Jerry,

   As spoke earlier, please find the attached.

   Best regards to you and DG.

   Henry

   On Tue, Jan 30, 2018 at 8:55 PM, H. Liu <henryliuesq@gmail.com> wrote:
     Hi Jerry: Please find my a few additional comments. Best regards to you and DG. Henry


     On Tue, Jan 30, 2018 at 8:24 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:
       Dear Mr. Liu,




                                                                                                                                                                       HLIU004284
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     Please refer to further comments based on your Redline version, and please let me know if you
     would like to schedule a call with Sidley to briefly discuss how to best describe the specific amount.

     Thanks,
     Jerry

     ___________________________

     Faraday Future

     Jerry Wang
     General Manager | Global Capital and Investment Banking

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     From: H. Liu [mailto:henryliuesq@gmail.com]
     Sent: Tuesday, January 30, 2018 4:19 PM
     To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
     Cc: DG Jiang <Dg.Jiang@ff.com>
     Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement

     Hi Jerry,

     Please find the attached quick read of the DA (Redline & Clean), for your purview.

     Best regards to you and DG.

     Henry

     On Tue, Jan 30, 2018 at 2:31 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:
       Dear Mr. Liu,

       Congratulations again for having you on board and very much looking forward working with you
       starting in near future!

       As we discussed and follow up on previous email, there are certain constrains listed below to limit
       our ability to do a direct or indirect share transfer without triggering default, which will bear
       significant losses and consequences to YT and FF. Please take a look this version drafted by




                                                                                                                                                                       HLIU004285
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      company external counsel Sidley, and I make it clear to make it unchanged as much as possible and
      reflect all business terms that we mutually agreed.

      Please let me know if we need to do a call to explain further, and Sidley is happy to arrange a
      conference call together with us to walk through and discuss solutions. Thanks and have a good
      day!

      Best,
      Jerry

      ___________________________

      Faraday Future

      Jerry Wang
      General Manager | Global Capital and Investment Banking

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      a   18455 S Figueroa St, Gardena, CA 90248
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      From: Jerry Wang (FF China)
      Sent: Friday, January 26, 2018 3:38 PM
      To: 'H. Liu' <henryliuesq@gmail.com>
      Subject: RE: [EXTERNAL] Further revisions on Share Transfer Agreement

      Dear Mr. Liu,

      Thanks again for your patience, please refer to below the terms in Series A documents that set the
      limit to share transfer. Please let us know how you would like to revise the draft to avoid triggering
      the terms and we will cooperative and have it signed ASAP once confirmed with this point.

      Thanks again for your understanding!

      Best,
      Jerry

      ---------------------------------

      4.1 Restriction on Transfers.




                                                                                                                                                                   HLIU004286
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      (a)      Shareholders. Prior to a Qualified IPO, no Shareholder shall, and shall procure that each of
      its Affiliates shall not, directly or indirectly, sell, assign, transfer, pledge, hypothecate, or otherwise
      encumber or dispose of in any way or otherwise grant any interest or right with respect to (the
      “Transfer,” “Transferring,” “Transferred,” “Transferor” and “Transferee” having meanings
      correlative to the foregoing) all or any part of any interest in any Equity Securities of the Company
      now or hereafter owned or held by such Shareholders, save as provided in Section 4.1(b) and
      provided that such Transfers are made in compliance with this Section 4.

      (b)     Permitted Transfers. The restrictions on Transfer set forth in Section 4.1(a) shall not apply
      to the following Transfers (each, a “Permitted Transfer”):
      (i)     Subject to Section 12.2(d), the Founder HoldCo shall be permitted to direct the Company to
      grant and issue Class A Ordinary Shares pursuant to the STI representing in aggregate not more
      than 5.5% of the total number of issued Shares (calculated on a fully diluted basis assuming full
      issuance under the Equity Incentive Plan) (the "STI Target Number") to eligible Applicable
      Employees, selected by Founder HoldCo, to incentivise them for the best interests of the Group;

      (ii)     The Founder HoldCo shall be permitted to Transfer such number of Class B Preferred Shares
      up to another 5.5% of the total number of issued Shares (calculated on a fully diluted basis
      assuming full issuance under the Equity Incentive Plan) for purposes of discharging any contingent
      liabilities of the Founder HoldCo, Founder and their respective Affiliates provided that: (A) unless
      otherwise approved by the Majority Class A Preferred Shareholder in writing, the Class B Preferred
      Shares so Transferred shall immediately upon completion of such Transfer be automatically re-
      designated into Class B Ordinary Shares and the Directors shall ensure the register of members of
      the Company duly reflect such automatic re-designation; and (B) any Transfer proposed to be
      made pursuant to this Section 4.1(b)(ii) shall be subject to the rights of first refusal of the Class A
      Preferred Shareholders provided under Section 4.2(a)(1)-(5) and Section 4.3 and, accordingly, the
      provisions of Section 4.2(a)(1)-(5) and Section 4.3 shall apply to the Transfers contemplated by this
      Section 4.1(a)(ii), but Section 4.2(a)(6)-(10) shall not apply.

      (iii)    Any Shareholder (other than a Class A Preferred Shareholder) shall be permitted to Transfer
      any outstanding Equity Securities issued by the Company upon receipt of the prior written consent
      to such Transfer by the Majority Class A Preferred Shareholder and the Founder HoldCo, which
      consent may be granted by the Majority Class A Preferred Shareholder and the Founder HoldCo in
      their respective sole and absolute discretion, provided that after such consent is granted, the
      Transfer subject to such consent shall then be subject to the rights of first refusal and co-sale rights
      of all the Class A Preferred Shareholders and the Founder HoldCo (including the Shareholders
      granting the consent to such Transfer in the first place) provided under Section 4.2 and Section 4.3.

      (iv)    The following shall apply in relation to Transfers by relevant Class A Preferred Shareholders:
      (1)     The first Transfer by the Series A Investor of all or part of its Class A Preferred Shares in a
      single transaction after First Closing shall not be restricted in any respects and none of the
      provisions of Section 4.2 or Section 4.3 shall apply to the Transfers contemplated by this Section
      4.1(b)(iv)(1);
      (2)     Any Class A Preferred Shareholder shall, after the first Transfer set forth in clause (1) above,
      be permitted to Transfer any of its Class A Preferred Shares to any Person other than a Competitor,
      and provided that such Transfer shall be subject to the rights of first refusal and co-sale rights of
      the Founder HoldCo provided under Section 4.2 and Section 4.3 and, accordingly, the provisions of
      Section 4.2 and Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(a)(iv)(2);




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      (v)    A Transfer of Class B Preferred Shares by the Founder HoldCo in accordance with Section
      5.13(b) of the Subscription Agreement, which shall automatically (without a resolution of the
      Directors and/or Shareholders or any other action being required) be re-designated into Class A
      Ordinary Shares immediately on such Transfer being effected; and

      (vi)   Any Transfer of Equity Securities by the Founder HoldCo after a Default Notice has been
      issued in accordance with Section 12.1 and provided that all of the rights described in Section
      12.2(a) to 12.2(e) have and continue to be in effect, and further provided that such Transfer shall
      be subject to the rights of first refusal and co-sale rights of the Majority Class A Preferred
      Shareholder provided under Section 4.2 and Section 4.3 and, accordingly, the provisions of Section
      4.2 and Section 4.3 shall apply to the Transfers contemplated by this Section 4.1(b)(vi).

      For the avoidance of doubt, any Transfer made pursuant to Sections 4.1(b)(i), 4.1(b)(iv)(1), or
      4.1(b)(v) is not subject to or in any way restricted or limited by Section 4.2 or Section 4.3.

      8. Reserved Matters. The Shareholders shall exercise all voting rights and other powers of control
      available to them in relation to each Group Company to procure that each Group Company and/or
      its board of directors shall not, and as a separate covenant the Company shall exercise all voting
      rights and other powers of control available to it in relation to each Group Company (other than
      the Company itself) to procure that each such other Group Company and/or its board of directors
      shall not, at any time on or after the First Closing and thereafter, do or approve any of the matters
      set forth in Schedule II (Reserved Matters), in each case without the prior approval in writing of the
      Majority Class A Preferred Shareholder or a Series A Director. As a separate and independent
      covenant, the Company agrees that it shall (so far as it is legally able to do so) observe and comply
      with the provisions, prohibitions and restrictions in this Section 8.

      SCHEDULE II Reserved Matters
      (a) Subject to Section 16.12, change its name or amend its Charter Documents;

      (b) Approve any annual budget and business plan other than those relating to the Business;

      (c) Issue, repurchase or redeem (or agree to issue, repurchase or redeem) any Equity Securities or
      debt securities or amend the rights attaching to any Equity Securities or debt securities, or
      undertake any consolidation, sub-division, reclassification or conversion of any of its share capital,
      except an issuance of Equity Securities following a failure to make a Subscription Payment (as
      defined in the Subscription Agreement) and an issuance of Equity Securities in accordance with the
      Subscription Agreement (in the form entered into on the date of this Agreement).

      (d) Make any material change to the nature or scope of its business or the Business;

      (e) Declare, pay or make any dividend or distribution;

      (f) Enter into (or agree to enter into) any transaction other than in its ordinary and usual course of
      business in relation to the Business, including the disposal or transfer of any business, property or
      assets or any interests therein (other than in its ordinary and usual course of business);

      (g) Enter into (or agree to enter into) any transaction with any Connected Person, including the
      Founder, the Founder HoldCo, the Class A Ordinary Shareholders and their respective Affiliates;




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      (h) Pass any resolution that may result in its dissolution, winding-up or liquidation or any
      receivership or enter into any material debt restructuring or arrangement with its third party
      creditors;

      (i) Implement any IPO; and/or

      (j) Any matters that may have a Material Adverse Effect on it or on the Group.

      12. Default Notice
      12.1 If any of the following events occurs, the Majority Class A Preferred Shareholder may at any
      time after such occurrence give a "Default Notice" in writing to Founder HoldCo (with reasonable
      details specifying the event which the Default Notice relates to):
      ... …
      (d) the Founder ceases to own (directly or indirectly) 100% of the economic rights and 100% of the
      voting rights in any Founder Entity; or (ii) the Founder HoldCo Transfers any of its Equity Securities
      in breach of Section 4; or (iii) the Founder otherwise ceases to own (directly or indirectly) 100% of
      the economic rights and 100% voting powers with respect to any of the Class B Preferred Shares
      held by Founder HoldCo from time to time (other than in each case as a result of a Transfer of Class
      B Preferred Shares in compliance with this Agreement or pursuant to the Share Pledge Agreement)
      (each a "Change of Control Event"), provided that, with respect to this clause (d), "100% shall be
      deemed to be "50%" in the case of a involuntary Transfer of Equity Securities effected as a result of
      an enforcement event by one or more creditors against the Equity Securities;

      ……

      ___________________________

      Faraday Future

      Jerry Wang
      General Manager | Global Capital and Investment Banking

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      From: H. Liu [mailto:henryliuesq@gmail.com]
      Sent: Friday, January 26, 2018 1:06 PM
      To: Jerry Wang (FF China) <Jerry.Wang@ff.com>




                                                                                                                                                                   HLIU004289
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                                  #:4157


      Cc: DG Jiang <Dg.Jiang@ff.com>
      Subject: [EXTERNAL] Further revisions on Share Transfer Agreement

      Hi Jerry,

      Please find the attached SA as further revised per your request. It looks like that what may be
      best at this point, without destroying the whole purposes and what has already been agreed on, is
      to put in some simple and necessary definitions on the restrictive time period to reflect the current
      Series A financing documents as you have stated.

      Best regards to you and DG.

      Henry




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                                  DIRECTOR COMPENSATION AGREEMENT

           This Director Compensation Agreement (this “Agreement”) is made and entered into as of the
  __ th day of JanuaryFebruary, 2018, by and between Yueting Jia, the indirect sole shareholder of
  Founder HoldCo (as defined below) (the “Founder”), and Hong Liu (aka (Henry) Hong Liu, the
  “Appointee”) (separately, a “Party” or collectively, the “Parties”), as a legally bound agreement on the
  Parties and on their successors, assignees and transferees.

           1. FF Top Holding Ltd. (“Founder HoldCo”) owns an aggregate amount of 600,000,000 Class B
  preferred shares of Smart King Limited (the “Company”), which in turn owns 100% of entities including,
  without limitation, FF Global Holdings Ltd, Faraday & Future, Inc., LeSee entities, City of Sky Limited
  (d/b/a Faraday) and their successors, assignees and transferees. The Parties have entered into this
  Agreement pursuant to which: (i) the Founder will cause Founder HoldCo to appoint the Appointee, and
  the Appointee accepts such appointment, to serve as a director with all D&O insurance and
  indemnifications on the board of directors of the Company and (ii) in exchange for the Appointee’s
  service as a director on the board of directors of the Company, the Founder agrees to pay the Appointee
  a cash amount, or other means of payment as may be mutually agreed by Appointee and the Founder,
  equal to the cash value of shares equal to, for the only purpose of calculating and computing such cash
  amount, 1% of the Company’s total equity shares pre Series A dilution, namely 10,000,000.00 equity
  shares representing 1% of the total and all of 1,000,000,000.00 equity shares of the Company pre Series
  A (the “Shares” or “Stocks”) (the “Director Compensation”), upon the reasonably earliest possible and
  available cash realization of the Shares including the happening of one or more of the following events:
  (a) a firm commitment underwritten public offering of the Company’s stock (a “Qualified IPO”), and the
  sale of a sufficient number of Founder HoldCo’s shares of the Company in or as soon as reasonably
  practicable following such Qualified IPO for an amount greater than or equal to the Director
  Compensation; or (b) any transactions including but not limited to, merger, acquisition, sale or disposal
  of assets other than an IPO, resulting in cash available to Founder HoldCo for the Director
  Compensation; and (c) a change of control in the Company resulting in cash available to Founder HoldCo
  for the Director Compensation. The vesting of the Director Compensation is subject to the same vesting
  conditions as provided and agreed in the Employment Agreement between the Appointee and the
  Company dated January 25th, 2018 (“EA”).

          2. The Founder represents that the Company successfully completed its Series A financing in
  December 2017. It has been acknowledged by the Parties that the Director Compensation is for a full
  and accepted consideration upon signing of this Agreement. It is the good faith belief and genuine
  intention of the Parties that this Agreement is to promote and safeguard the interests of all of the
  Company’s shareholders and stakeholders.

           3. This Agreement is effective and binding upon the signing. The Parties agree that the delivery
  of the Director Compensation by the Founder to the Appointee shall be in the form of wire transfer of
  immediately available funds after the conditions in the preceding sentence have been satisfied. The
  Founder’s performance of its obligations under this Agreement are in all respects subject to the
  restrictions set forth in that certain Shareholders Agreement, dated as of November 30, 2017, as

  ACTIVE 228420980




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  amended, by and among the Company, Founder HoldCo, the Founder and Season Smart Limited (the
  “Agreement”). It is further understood and agreed among the Parties that the demand by the
  Appointee for the delivery of the Director Compensation shall be contingent upon the satisfaction of the
  conditions set forth in the preceding paragraph. If the Appointee decides to leave the Company at his
  own will during his employment term as provided in the EA or his employment at the Company is
  terminated by the Company during such a term based on the specific cause of a serious breach of
  fiduciary duties to the Company as a senior executive of the Company after finally adjudicated against
  the Appointee by a competent court in the United States (the Appointee will be fully covered by the
  Company with executive indemnifications to the extent set forth in the Company’s standard form of
  director indemnification agreement), any remaining unvested portion of the Director Compensation at
  the time when such departure or termination effectuates will be automatically forfeited. Any delay to
  enforce the terms of this Agreement and any delay to act on a breach of its term by the Appointee does
  not constitute a waiver of those rights.

         4. The terms of this Agreement are confidential between the parties and shall not be disclosed
  to anyone else except mutually agreed between Founder and Appointee in writing or electronic notice.

         5. If any provision of this Agreement is ineffective in whole or in part, the remainder of this
  Agreement shall remain in effect. This Agreement is binding on all Parties by virtue of the conduct of
  both parties and in spite of any defect or error in the formality of its execution.

        6. The rights, benefits, liabilities and responsibilities contained within the terms of this
  Agreement are not assignable by any Party with the prior written agreement of the other Party.

          7. The Parties agree that this Agreement shall be governed and construed in accordance with
  the laws of the State of California, and that any dispute arising out of or related to this Agreement shall
  be resolved exclusively in the state or federal courts located in Los Angeles, California.

         8. The Parties hereby agree that this Agreement shall not be effective until, but the Parties may
  not amend this Agreement absent mutual consent prior to, the consummation of a Qualified IPO.

        IN WITNESS WHEREOF, the undersigned have hereunto caused this Director Compensation
  Agreement to be executed as of the date first set forth above.


                                                            FOUNDER

                                                            ________________
                                                            Yueting Jia



                                                            APPOINTEE



  ACTIVE 228420980




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                                  #:4161
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                                         _____________________
                                         Hong Liu (aka (Henry) Hong Liu)




  ACTIVE 228420980




                                                                           HLIU004293
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                                  #:4162




                        Exhibit 21
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                                  #:4163



  From:                  H. Liu
  Sent:                  Friday, February 2, 2018 6:18 PM CST
  To:                    Jerry Wang
  BCC:                   Liu gmail Henry H.
  Subject:               Re: [EXTERNAL] Further revisions on Share Transfer Agreement
  Attachments:           02022018Director Compensation Agreement (Final Version HL Signed)).pdf


  Hi Jerry,

  Pleases find the attached signed version.

  Best regards,

  Henry

  On Fri, Feb 2, 2018 at 5:31 PM, Jerry Wang <Jerry.Wang@ff.com> wrote:

   Dear Mr. Liu,



   Please refer to minor modification and clean version of the SA, and please let me know if this is
   OK and I will ask for final confirmation.



   Thanks,

   Jerry



   ___________________________




   Faraday Future



   Jerry Wang

   General Manager | Global Capital and Investment Banking



   e jerry.wang@ff.com

   c +1 201-354-7734 / +86 151-1690-3389

   a 18455 S Figueroa St, Gardena, CA 90248




                                                                                                       HLIU004359
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                                  #:4164


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   From: H. Liu [mailto:henryliuesq@gmail.com]
   Sent: Friday, February 2, 2018 11:07 AM
   To: Jerry Wang <Jerry.Wang@ff.com>
   Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement



   Hi Jerry,



   Please find the attached.



   Best regards,



   Henry



   On Thu, Feb 1, 2018 at 7:08 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

     Privileged and Confidential



     Dear Mr. Liu,



     Please kindly refer the revised version. Comment from Sidley: “Thanks Jerry – this is better,
     but still carries moderate risk of breach of the shareholders agreement (and will have to be
     disclosed in connection with an IPO)”.




                                                                                                                                                                       HLIU004360
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                                  #:4165




    Please let me know if we need to discuss in phone for further clarification, thank you.



    Best,

    Jerry



    ___________________________

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    From: H. Liu [mailto:henryliuesq@gmail.com]
    Sent: Thursday, February 1, 2018 5:03 AM
    To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
    Cc: DG Jiang <Dg.Jiang@ff.com>
    Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement



    Hi Jerry,




                                                                                                                                                                          HLIU004361
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                                  #:4166




    Based on our discussions yesterday evening, please find the attached which hopefully will be
    the final version.



    Best regards to you and DG.



    Henry




    On Tue, Jan 30, 2018 at 11:33 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

     Thank you Mr. Liu, please refer to brief comments and if you think it is fine I will forward to
     Sidley and discuss with them.



     ___________________________

     Faraday Future



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     General Manager | Global Capital and Investment Banking



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                                                                                                                                                                       HLIU004362
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 359 of 467 Page ID
                                  #:4167




     From: H. Liu [mailto:henryliuesq@gmail.com]
     Sent: Tuesday, January 30, 2018 8:13 PM
     To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
     Cc: DG Jiang <Dg.Jiang@ff.com>
     Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement



     Hi Jerry,



     As spoke earlier, please find the attached.



     Best regards to you and DG.



     Henry



     On Tue, Jan 30, 2018 at 8:55 PM, H. Liu <henryliuesq@gmail.com> wrote:

      Hi Jerry: Please find my a few additional comments. Best regards to you and DG. Henry




      On Tue, Jan 30, 2018 at 8:24 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

       Dear Mr. Liu,



       Please refer to further comments based on your Redline version, and please let me know if
       you would like to schedule a call with Sidley to briefly discuss how to best describe the
       specific amount.



       Thanks,

       Jerry




                                                                                                   HLIU004363
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                                  #:4168




       ___________________________

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       From: H. Liu [mailto:henryliuesq@gmail.com]
       Sent: Tuesday, January 30, 2018 4:19 PM
       To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
       Cc: DG Jiang <Dg.Jiang@ff.com>
       Subject: Re: [EXTERNAL] Further revisions on Share Transfer Agreement



       Hi Jerry,



       Please find the attached quick read of the DA (Redline & Clean), for your purview.



       Best regards to you and DG.




                                                                                                                                                                    HLIU004364
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                                  #:4169


       Henry



       On Tue, Jan 30, 2018 at 2:31 PM, Jerry Wang (FF China) <Jerry.Wang@ff.com> wrote:

        Dear Mr. Liu,



        Congratulations again for having you on board and very much looking forward working
        with you starting in near future!



        As we discussed and follow up on previous email, there are certain constrains listed
        below to limit our ability to do a direct or indirect share transfer without triggering
        default, which will bear significant losses and consequences to YT and FF. Please take a
        look this version drafted by company external counsel Sidley, and I make it clear to make
        it unchanged as much as possible and reflect all business terms that we mutually agreed.



        Please let me know if we need to do a call to explain further, and Sidley is happy to
        arrange a conference call together with us to walk through and discuss solutions. Thanks
        and have a good day!



        Best,

        Jerry



        ___________________________

        Faraday Future



        Jerry Wang

        General Manager | Global Capital and Investment Banking



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                                                                                                    HLIU004365
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                                  #:4170


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        From: Jerry Wang (FF China)
        Sent: Friday, January 26, 2018 3:38 PM
        To: 'H. Liu' <henryliuesq@gmail.com>
        Subject: RE: [EXTERNAL] Further revisions on Share Transfer Agreement



        Dear Mr. Liu,



        Thanks again for your patience, please refer to below the terms in Series A documents
        that set the limit to share transfer. Please let us know how you would like to revise the
        draft to avoid triggering the terms and we will cooperative and have it signed ASAP once
        confirmed with this point.



        Thanks again for your understanding!



        Best,

        Jerry



        ---------------------------------



        4.1 Restriction on Transfers.

        (a)     Shareholders. Prior to a Qualified IPO, no Shareholder shall, and shall procure
        that each of its Affiliates shall not, directly or indirectly, sell, assign, transfer, pledge,




                                                                                                                                                                     HLIU004366
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        hypothecate, or otherwise encumber or dispose of in any way or otherwise grant any
        interest or right with respect to (the “Transfer,” “Transferring,” “Transferred,”
        “Transferor” and “Transferee” having meanings correlative to the foregoing) all or any
        part of any interest in any Equity Securities of the Company now or hereafter owned or
        held by such Shareholders, save as provided in Section 4.1(b) and provided that such
        Transfers are made in compliance with this Section 4.



        (b)     Permitted Transfers. The restrictions on Transfer set forth in Section 4.1(a) shall
        not apply to the following Transfers (each, a “Permitted Transfer”):

        (i)     Subject to Section 12.2(d), the Founder HoldCo shall be permitted to direct the
        Company to grant and issue Class A Ordinary Shares pursuant to the STI representing in
        aggregate not more than 5.5% of the total number of issued Shares (calculated on a fully
        diluted basis assuming full issuance under the Equity Incentive Plan) (the "STI Target
        Number") to eligible Applicable Employees, selected by Founder HoldCo, to incentivise
        them for the best interests of the Group;



        (ii)     The Founder HoldCo shall be permitted to Transfer such number of Class B
        Preferred Shares up to another 5.5% of the total number of issued Shares (calculated on a
        fully diluted basis assuming full issuance under the Equity Incentive Plan) for purposes of
        discharging any contingent liabilities of the Founder HoldCo, Founder and their
        respective Affiliates provided that: (A) unless otherwise approved by the Majority Class
        A Preferred Shareholder in writing, the Class B Preferred Shares so Transferred shall
        immediately upon completion of such Transfer be automatically re-designated into Class
        B Ordinary Shares and the Directors shall ensure the register of members of the Company
        duly reflect such automatic re-designation; and (B) any Transfer proposed to be made
        pursuant to this Section 4.1(b)(ii) shall be subject to the rights of first refusal of the Class
        A Preferred Shareholders provided under Section 4.2(a)(1)-(5) and Section 4.3 and,
        accordingly, the provisions of Section 4.2(a)(1)-(5) and Section 4.3 shall apply to the
        Transfers contemplated by this Section 4.1(a)(ii), but Section 4.2(a)(6)-(10) shall not
        apply.



        (iii)   Any Shareholder (other than a Class A Preferred Shareholder) shall be permitted
        to Transfer any outstanding Equity Securities issued by the Company upon receipt of the
        prior written consent to such Transfer by the Majority Class A Preferred Shareholder and
        the Founder HoldCo, which consent may be granted by the Majority Class A Preferred
        Shareholder and the Founder HoldCo in their respective sole and absolute discretion,
        provided that after such consent is granted, the Transfer subject to such consent shall then
        be subject to the rights of first refusal and co-sale rights of all the Class A Preferred
        Shareholders and the Founder HoldCo (including the Shareholders granting the consent
        to such Transfer in the first place) provided under Section 4.2 and Section 4.3.




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        (iv)   The following shall apply in relation to Transfers by relevant Class A Preferred
        Shareholders:

        (1)     The first Transfer by the Series A Investor of all or part of its Class A Preferred
        Shares in a single transaction after First Closing shall not be restricted in any respects and
        none of the provisions of Section 4.2 or Section 4.3 shall apply to the Transfers
        contemplated by this Section 4.1(b)(iv)(1);

        (2)     Any Class A Preferred Shareholder shall, after the first Transfer set forth in
        clause (1) above, be permitted to Transfer any of its Class A Preferred Shares to any
        Person other than a Competitor, and provided that such Transfer shall be subject to the
        rights of first refusal and co-sale rights of the Founder HoldCo provided under Section
        4.2 and Section 4.3 and, accordingly, the provisions of Section 4.2 and Section 4.3 shall
        apply to the Transfers contemplated by this Section 4.1(a)(iv)(2);

        (v)     A Transfer of Class B Preferred Shares by the Founder HoldCo in accordance
        with Section 5.13(b) of the Subscription Agreement, which shall automatically (without a
        resolution of the Directors and/or Shareholders or any other action being required) be re-
        designated into Class A Ordinary Shares immediately on such Transfer being effected;
        and



        (vi)    Any Transfer of Equity Securities by the Founder HoldCo after a Default Notice
        has been issued in accordance with Section 12.1 and provided that all of the rights
        described in Section 12.2(a) to 12.2(e) have and continue to be in effect, and further
        provided that such Transfer shall be subject to the rights of first refusal and co-sale rights
        of the Majority Class A Preferred Shareholder provided under Section 4.2 and Section 4.3
        and, accordingly, the provisions of Section 4.2 and Section 4.3 shall apply to the
        Transfers contemplated by this Section 4.1(b)(vi).



        For the avoidance of doubt, any Transfer made pursuant to Sections 4.1(b)(i),
        4.1(b)(iv)(1), or 4.1(b)(v) is not subject to or in any way restricted or limited by Section
        4.2 or Section 4.3.



        8. Reserved Matters. The Shareholders shall exercise all voting rights and other powers of
        control available to them in relation to each Group Company to procure that each Group
        Company and/or its board of directors shall not, and as a separate covenant the Company
        shall exercise all voting rights and other powers of control available to it in relation to
        each Group Company (other than the Company itself) to procure that each such other
        Group Company and/or its board of directors shall not, at any time on or after the First
        Closing and thereafter, do or approve any of the matters set forth in Schedule II




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        (Reserved Matters), in each case without the prior approval in writing of the Majority
        Class A Preferred Shareholder or a Series A Director. As a separate and independent
        covenant, the Company agrees that it shall (so far as it is legally able to do so) observe
        and comply with the provisions, prohibitions and restrictions in this Section 8.



        SCHEDULE II Reserved Matters

        (a) Subject to Section 16.12, change its name or amend its Charter Documents;



        (b) Approve any annual budget and business plan other than those relating to the
        Business;



        (c) Issue, repurchase or redeem (or agree to issue, repurchase or redeem) any Equity
        Securities or debt securities or amend the rights attaching to any Equity Securities or debt
        securities, or undertake any consolidation, sub-division, reclassification or conversion of
        any of its share capital, except an issuance of Equity Securities following a failure to
        make a Subscription Payment (as defined in the Subscription Agreement) and an issuance
        of Equity Securities in accordance with the Subscription Agreement (in the form entered
        into on the date of this Agreement).



        (d) Make any material change to the nature or scope of its business or the Business;



        (e) Declare, pay or make any dividend or distribution;



        (f) Enter into (or agree to enter into) any transaction other than in its ordinary and usual
        course of business in relation to the Business, including the disposal or transfer of any
        business, property or assets or any interests therein (other than in its ordinary and usual
        course of business);



        (g) Enter into (or agree to enter into) any transaction with any Connected Person,
        including the Founder, the Founder HoldCo, the Class A Ordinary Shareholders and their
        respective Affiliates;




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        (h) Pass any resolution that may result in its dissolution, winding-up or liquidation or any
        receivership or enter into any material debt restructuring or arrangement with its third
        party creditors;



        (i) Implement any IPO; and/or



        (j) Any matters that may have a Material Adverse Effect on it or on the Group.



        12. Default Notice

        12.1 If any of the following events occurs, the Majority Class A Preferred Shareholder
        may at any time after such occurrence give a "Default Notice" in writing to Founder
        HoldCo (with reasonable details specifying the event which the Default Notice relates to):

        ... …

        (d) the Founder ceases to own (directly or indirectly) 100% of the economic rights and
        100% of the voting rights in any Founder Entity; or (ii) the Founder HoldCo Transfers
        any of its Equity Securities in breach of Section 4; or (iii) the Founder otherwise ceases to
        own (directly or indirectly) 100% of the economic rights and 100% voting powers with
        respect to any of the Class B Preferred Shares held by Founder HoldCo from time to time
        (other than in each case as a result of a Transfer of Class B Preferred Shares in
        compliance with this Agreement or pursuant to the Share Pledge Agreement) (each a
        "Change of Control Event"), provided that, with respect to this clause (d), "100% shall be
        deemed to be "50%" in the case of a involuntary Transfer of Equity Securities effected as
        a result of an enforcement event by one or more creditors against the Equity Securities;



        ……



        ___________________________

        Faraday Future



        Jerry Wang

        General Manager | Global Capital and Investment Banking




                                                                                                        HLIU004370
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                                  #:4175


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        From: H. Liu [mailto:henryliuesq@gmail.com]
        Sent: Friday, January 26, 2018 1:06 PM
        To: Jerry Wang (FF China) <Jerry.Wang@ff.com>
        Cc: DG Jiang <Dg.Jiang@ff.com>
        Subject: [EXTERNAL] Further revisions on Share Transfer Agreement



        Hi Jerry,



        Please find the attached SA as further revised per your request. It looks like that
        what may be best at this point, without destroying the whole purposes and what has
        already been agreed on, is to put in some simple and necessary definitions on the
        restrictive time period to reflect the current Series A financing documents as you have
        stated.



        Best regards to you and DG.



        Henry




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                                                                           HLIU004372
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                                   DIRECTOR COMPENSATION AGREEMENT

           This Director Compensation Agreement (this “Agreement”) is made and entered into as of the
  2nd day of February, 2018, by and between Yueting Jia, the indirect sole shareholder of Founder HoldCo
  (as defined below) (the “Founder”), and Hong Liu (aka (Henry) Hong Liu, the “Appointee”) (separately, a
  “Party” or collectively, the “Parties”), as a legally bound agreement on the Parties and on their
  successors, assignees and transferees.

          1. FF Top Holding Ltd. (“Founder HoldCo”) owns an aggregate amount of 600,000,000 Class B
  preferred shares of Smart King Limited (the “Company”), which in turn owns 100% of entities including,
  without limitation, FF Global Holdings Ltd, Faraday & Future, Inc., LeSee entities (in VIE form), City of Sky
  Limited (d/b/a Faraday) and their successors, assignees and transferees. The Parties have entered into
  this Agreement pursuant to which: (i) the Founder will cause Founder HoldCo to appoint the Appointee,
  and the Appointee accepts such appointment, to serve as a director with all D&O insurance and
  indemnifications on the board of directors of the Company and (ii) in exchange for the Appointee’s
  service as a director on the board of directors of the Company, the Founder agrees to pay the Appointee
  a cash amount, or other means of payment as may be mutually agreed by Appointee and the Founder,
  equal to the cash value of shares equal to, for the only purpose of calculating and computing such cash
  amount, 1% of the Company’s total equity shares pre Series A dilution, namely 10,000,000.00 equity
  shares representing 1% of the total and all of 1,000,000,000.00 equity shares of the Company pre Series
  A (the “Shares” or “Stocks”) (the “Director Compensation”), upon the reasonably earliest possible and
  available cash realization of the Shares including the sooner happening of one or more of the following
  events: (a) a firm commitment underwritten public offering of the Company’s stock (a “Qualified IPO”),
  and the sale of a sufficient number of Founder HoldCo’s shares of the Company in or as soon as
  reasonably practicable following such Qualified IPO for an amount greater than or equal to the Director
  Compensation; or (b) any transactions including but not limited to, merger, acquisition, sale or disposal
  of assets other than an IPO, resulting in cash available to Founder HoldCo for the Director
  Compensation; or (c) a change of control in the Company resulting in cash available to Founder HoldCo
  for the Director Compensation (“Event” or “Events”). The vesting of the Director Compensation is
  subject to the same vesting conditions as provided and agreed in the Employment Agreement between
  the Appointee and the Company dated January 25th, 2018 (“EA”).

          2. The Founder represents that the Company successfully completed its Series A financing in
  December 2017. It has been acknowledged by the Parties that the Director Compensation is for a full
  and accepted consideration upon signing of this Agreement. It is the good faith belief and genuine
  intention of the Parties that this Agreement is to promote and safeguard the interests of all of the
  Company’s shareholders and stakeholders.

          3. This Agreement is effective and binding upon the signing. The Parties agree that the delivery
  of the Director Compensation by the Founder to the Appointee shall be in the form of wire transfer of
  available funds after the conditions in the preceding sentence have been satisfied. The Founder’s
  performance of its obligations under this Agreement are in all respects subject to the restrictions set

                                                        1




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  forth in that certain Shareholders Agreement, dated as of November 30, 2017, as amended, by and
  among the Company, Founder HoldCo, the Founder and Season Smart Limited (the “Agreement”). It is
  further understood and agreed among the Parties that the demand by the Appointee for the delivery of
  the Director Compensation shall be contingent upon the satisfaction of the conditions set forth in the
  preceding paragraph. If the Appointee decides to leave the Company at his own will during his
  employment term as provided in the EA or his employment at the Company is terminated by the
  Company during such a term based on the specific cause of a serious breach of fiduciary duties to the
  Company as a senior executive of the Company after finally adjudicated against the Appointee by a
  competent court in the United States (“Departure or Termination”) (the Appointee will be fully covered
  by the Company with executive indemnifications to the extent set forth in the Company’s standard form
  of director indemnification agreement), any remaining unvested portion of the Director Compensation
  at the time when such Departure or Termination effectuates will be automatically forfeited. If the
  Appointee leaves the Company without such a Departure or Termination, any and all of the remaining
  unvested portion of the Director Compensation shall become immediately and fully vested to the
  Appointee as is similarly provided in the EA. Any delay to enforce the terms of this Agreement and any
  delay to act on a breach of its term by the Appointee does not constitute a waiver of those rights.

         4. The terms of this Agreement are confidential between the parties and shall not be disclosed
  to anyone else except mutually agreed between Founder and Appointee in writing or electronic notice.

         5. If any provision of this Agreement is ineffective in whole or in part, the remainder of this
  Agreement shall remain in effect. This Agreement is binding on all Parties by virtue of the conduct of
  both parties and in spite of any defect or error in the formality of its execution.

        6. The rights, benefits, liabilities and responsibilities contained within the terms of this
  Agreement are not assignable by any Party with the prior written agreement of the other Party.

          7. The Parties agree that this Agreement shall be governed and construed in accordance with
  the laws of the State of California, and that any dispute arising out of or related to this Agreement shall
  be resolved exclusively in the state or federal courts located in Los Angeles, California.

           8. The Parties hereby agree that the Director Compensation payment provisions in this
  Agreement shall become fully effective at the sooner of the removal and nonexistent of any current
  restrictions on the Founder or the Found Holdco to Transfer all or any part of any interest in any Equity
  Securities, or the happening of any of the Event.

                        [The remainder of this page has been intentionally left blank.]




                                                       2




                                                                                                                HLIU004374
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 372 of 467 Page ID
                                  #:4180
  Confidential & Privileged



        IN WITNESS WHEREOF, the undersigned have hereunto caused this Director Compensation
  Agreement to be executed as of the date first set forth above.


                                                    FOUNDER

                                                    ________________
                                                    Yueting Jia



                                                    APPOINTEE

                                                    _____________________
                                                    Hong Liu (aka (Henry) Hong Liu)




                                                3




                                                                                              HLIU004375
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 373 of 467 Page ID
                                  #:4181




                        Exhibit 22
    Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 374 of 467 Page ID
                                      #:4182
Liu, Hong (Henry)
From:                         Liu, Hong (Henry)
Sent:                         Wednesday, February 07, 2018 12:04 PM
To:                           Geller, Kenneth S.
Cc:                           Theiss, Paul W.
Subject:                      Wishing to resign and withdraw from Mayer Brown LLP as an Equity Partner


Dear Ken,

As I have communicated to Paul Theiss, Chairman of the Firm, on February 5, 2018, I am writing to inform you, as the
Managing Partner of the Firm, that I wish to resign and withdraw from Mayer Brown LLP as an Equity Partner, effective
on February 15, 2018.

Thank you and all,

Henry

(Henry) Hong Liu
Partner
Mayer Brown LLP
1221 Avenue of the Americas
New York, NY 10020-1001
T +1 212 506 2886
C +1 917 753 0885
F +1 212 894 5866
hliu@mayerbrown.com




 Firm of the Year                                LAW 360)
  MAYER+*BROWN




                                                            1




                                                                                                              HLIU000388
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 375 of 467 Page ID
                                  #:4183




                        Exhibit 23
         Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 376 of 467 Page ID
                                           #:4184

From:            Henry Liu [/o=First Organization/ou=Exchange Administrative Group
                 (FYDIBOHF23SPDLT)/cn=Recipients/cn=b1798900635e48188929f08cObfbdSeb-Henry]
 Sent:           2/23/2018   2:14:30 PM
To:              Sandy Gilliam [/o=First Organization/ou=Exchange Administrative Group
                 (FYDIBOHF23SPDLT)/cn=Recipients/cn=13618e78f3a64111a52f44abb0069b3d-Sandy]
Subject:         Re: In-House Counsel



Please    drop by when you have a second. Thanks.

From: Sandy Gilliam      <Sandy.Gilliam @ff.com>
Date: Thursday, February 22, 2018 at 13:59
To: Henry Liu <henry.liu@ff.com>
Subject: In-House Counsel
Hi   Henry,
To   register as In-House Counsel,   | will need your CA   address,   can   you   please send your California address to me?
Thank you in advance.




                                                                                                                               FFO0Q001202
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                                  #:4185




                          Exhibit 24
      Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 378 of 467 Page ID
                                        #:4186




         CERTIFICATE OF REGISTRATION
                      THE STATE BAR OF CALIFORNIA
            certifies that having complied with the requirements of
 California Rules of Court, Rule 9.46 and
                                           Rules the State Bar of California,
                                                        of
                                         Hong Liu
                       is   registered as In-House Counsel for
                             ,    Faraday &-Future,Inc.
         and is entitled to      engage in activities authorized by the Rules.
Registration Number: 803228
Date: 04/17/2018

                                                  Amy        ufiez, In   Director, Admissions



                                                                                                HLIU004449
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 379 of 467 Page ID
                                   #:4187
              THE STATE BAR OF CALIFORNIA
              OFFICE OF ADMISSIONS
                  180 HOWARD STREET    SAN FRANCISCO, CALIFORNIA 94105-1617
                                               +


                  845 S. FIGUEROA STREET
                                                                                                            (415) 538-2300
                                          LOS ANGELES, CALIFORNIA 90017-2515                            *
                                                                                                            (213) 765-1500

  April   18, 2018



  Hong Liu
  Faraday & Future, Inc.
  18455 S. Figueroa St.
  Gardena, CA 90248
  RE: Registered In-House Counsel          Registration
  MJP #: 803228
  File #: 351704


  Dear    Hong Liu:
  Pursuant to Rules of the State Bar Title 3, Division 3, Rule 3.370 and California Rules of Court, Rule
  9.46, you have been      approved as a “Registered In-House Counsel” effective April 17, 2018. Your
  certificate of registration is enclosed.

  You may    practice as Registered        In-House Counsel while your Determination of Moral Character
  Application is being processed.
  Your     registration                   annually. Renewal notices are emailed every December, and
                            must be renewed
  must be returned        mail with an original copy of a Certificate of Good Standing(s) from the
                            by
  state(s) in which you are admitted. Your initial annual renewal reporting date will be February 1,
  2019. Failure to comply with this requirement is grounds for revocation of your registration.

  You are also required to complete 25 hours of MCLE credit within one year of your effective date
  of registration. Your initial MCLE compliance reporting date is April 17, 2019. Failure to comply
  with this requirement is grounds for revocation of your registration. Please review the MCLE section of
  our website at http://mcle.calbar.ca.gov for more information.


  You     must   set    a profile using the
                       up                       “My State Bar Profile” portal on our website at,
  www.calbar.ca.gov.    You will soon receive a billing statement via email for your annual membership
  dues. You can pay your annual membership dues and certify MCLE compliance through your profile.
  You will need an access code to log in to your profile. To obtain an access code, contact the Member
  Service Center at (888) 800-3400.

  Please call    (213) 765-1500, and ask      to   speak   to someone in the   Eligibility Department   if you have
  questions.
 Sincerely,
Shang
   Saha
  Sherry L. Johnson
  Program Assistant II
  Office of Admissions,      Eligibility




                                                                                                                  HLIU004450
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                                  #:4188




                        Exhibit 25
1/1                                                                  # ♥ " $                       !
            Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 381 of 467 Page ID
                                              #:4189




Faraday Future Appoints Henry Liu
Global Chief Administrative Officer,
Global Executive Vice President, And
Global General Counsel
HENRY LIU TO LEAD FF'S GLOBAL LEGAL, GOVERNMENT AFFAIRS,
ADMINISTRATION, AND CAPITAL.




NEWS PROVIDED BY
Faraday Future ○
09:00 ET




LOS ANGELES, Aug. 1, 2018 /PRNewswire/ -- Faraday Future (FF) announced today that
Henry (Hong) Liu, renowned expert in international legal, banking, and regulatory
affairs, and former global equity partner at international law firm Mayer Brown LLP, has
assumed the positions of Global Chief Administrative Officer (CAO), Global Executive
Vice President, and Global General Counsel, based at the company's Gardena,
California, main campus near Los Angeles. Additionally, he serves as chair of FF's newly
created Functional Subcommittee.


                                                                                             HLIU004574
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                                               #:4190




 Henry Hong Liu, newly appointed Chief Administrative Officer (CAO), Global Executive Vice
 President, Global General Counsel at Faraday Future (FF)



With more than 25 years of professional, business, and management experience in the
United States and Asia Pacific regions, Mr. Liu is a crucial asset to FF as it heads toward
the launch of its luxury all-electric, connected, intelligent FF 91, and all subsequent
expansions of products and services. In addition, Mr. Liu is tasked with the constant
oversight and enhancement of FF corporate governance. He will be leading legal,
government affairs, administration, and capital globally.


"I have the utmost confidence in Faraday Future's mission and talents," Liu said. "With
my experience, skills, and knowledge in both the US and China, I hope to bring an
immediate infusion of leadership across global legal, government affairs, and finance to
this excellent team. Together, we can further advance FF's vision to create a shared
intelligent mobility ecosystem."


Prior to joining FF, besides an equity partner at Mayer Brown LLP based in New York, Mr.
Liu counts more than two decades of global career experience in the legal, banking,
and regulatory areas. He has been partner, managing partner, and chair of China & Asia
practice at several global law firms; managing director of investment banking at the
global investment banks of Credit Suisse First Boston (CSFB) and Donaldson, Lufkin &
Jenrette (DLJ); and has held the post of Director-General and General Counsel of the
China Securities Regulatory Commission (CSRC), China's national regulator for
securities and capital markets.



                                                                                              HLIU004575
In 2015, Mr. Liu
             Casewas   honored by TheDocument
                  2:20-cv-08035-SVW-JPR National
                                              161Law
                                                  FiledJournal
                                                        05/19/21 (NLJ)  inofthe
                                                                 Page 383    467 United
                                                                                  Page ID States as a
                                                #:4191
"Regulatory & Compliance Trailblazer". Liu was twice honored with the "Stars of Asia
Award" by BusinessWeek as China's national policymaker in 1998 and 1999 for his role in
China's economic and legal reforms, as well as during the Asia Financial Crisis, along
with Chinese and Asian national, business and financial leaders. In 1999, Liu received
the "Global Leader for Tomorrow Award" from the World Economic Forum in Davos.


Liu's formal education includes Peking University, Harvard, Stanford, and Oxford. He
holds doctorate in law and MBA degrees. He has been licensed to practice law in the US
for more than 25 years.


ABOUT FARADAY FUTURE


Faraday Future (FF) is a California-based global shared intelligent mobility ecosystem
company.


Established in May 2014, the company is headquartered in Los Angeles with R&D
centers and offices in Silicon Valley, Beijing, Shanghai, and Guangzhou. FF's vision is:
create a shared intelligent mobility ecosystem that empowers everyone to move,
connect, breathe and live freely.


The 1,000+ "Futurists" at FF bring experience from best-in-class companies spanning the
consumer electronics, auto, Internet, and energy industries. With over 4 years of R&D
development, the FF team has achieved milestones with unprecedented speed,
including having successfully turned the original FF 91 concept into a production ready
vehicle in approximately 2.5 years.


FF has brought to life three product revolutions - an "all-in-one" car, a third internet
living space, and a super car-robot. The company has developed six technological
revolutions, including vehicle platform, computing platform, autonomous driving,
powertrain, Internet, and AI.
                                                                                             HLIU004576
FOLLOW FARADAY     FUTURE:
         Case 2:20-cv-08035-SVW-JPR   Document 161 Filed 05/19/21 Page 384 of 467 Page ID
                                             #:4192


www.ff.com


www.twitter.com/faradayfuture


www.facebook.com/faradayfuture


www.instagram.com/faradayfuture


www.linkedin.com/company/faradayfuture


For More Information About Faraday Future, contact: press@ff.com


Contact:


John Schilling


PR Director


john.schilling@ff.com


SOURCE Faraday Future


Related Links

http://ff.com

    Henry Hong Liu, newly appointed Chief Administrative Officer (CAO), Global Executive Vice
                    President, Global General Counsel at Faraday Future (FF)




                                                                                            HLIU004577
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                                  #:4193




                          Exhibit 26
                              Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 386 of 467 Page ID
                                                                #:4194

  RBCOP7449 |Liu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO   8,000,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           15-Feb-2018                       FALSE
  RBCOP7449 |Liu                             $0.36 US                          |1/48th Monthly for 4 Years                      15-Feb-2029
                            10/24/2018   -              -
                                                            ISO   4,000,000                                                                                          15-Feb-2019                        FALSE
  RBCOP7449 |Liu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO   4,000,000    |1/48th Monthly for 4 Years                      15-Feb-2030                          15-Feb-2020                        FALSE
  RBCOP7449 |Liu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO   4,000,000    |1/48th Monthly for 4 Years                      15-Feb-2031                          15-Feb-2021                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      90,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          21-May-2018                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -
                                             $0.36 US   -
                                                            ISO      30,000   |1/48th Monthly for 4 Years                       21-May-2029                          21-May-2019                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2030                          21-May-2020                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2031                          21-May-2021                        FALSE
  NNGRPX9JE Johnson         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      90,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          21-May-2018                        FALSE
  NNGRPX9JE Johnson         10/24/2018   -
                                             $0.36 US   -
                                                            ISO      30,000   |1/48th Monthly for 4 Years                       21-May-2029                          21-May-2019                        FALSE
  NNGRPX9QVJE Johnson       10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2030                          21-May-2020                        FALSE
  NNGRPX9JE Johnson         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2031                          21-May-2021                        FALSE
  Y4VXO2127_ |Skibbe        10/24/2018   -

                                             $0.36 US   -

                                                            ISO      90,000   |25% @ 1 year, monthly thereafter for3 years      |24-Oct-2028                         21-May-2018                        FALSE
  Y4VX02127_|Skibbe         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      30,000   |1/48th Monthly for 4 Years                       21-May-2029                          21-May-2019                        FALSE
              |Skibbe       10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2030                          21-May-2020                        FALSE
  Y4VXO2127_|Skibbe         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2031                          21-May-2021                        FALSE
  5HJOTJK8M Fritz           10/24/2018   -

                                             $0.36 US   -
                                                            ISO     100,000   {25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          29-Jan-2018                        FALSE
  XPNLVE414 |Hsu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO      80,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          30-Apr-2018                        FALSE
  ZG2GI4RCO_|Chen
              |Guthi
                            10/24/2018
                            10/24/2018
                                         -

                                             $0.36 US   -
                                                            ISO      50,000   |25% @ 1 year, monthly thereafter for 3 years
                                                                              |25% @ 1 year, monthly thereafter for years
                                                                                                                                24-Oct-2028                          29-May-2018                        FALSE
                                         -

                                             $0.36 US   -
                                                            ISO      30,000                                                     {24-Oct-2028                         25-Jun-2018                        FALSE
  UDHJPYKHG Bullock         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      25,000   |25% @ 1 year, monthly thereafter for years       {24-Oct-2028                         7-May-2018                         FALSE
  ZPBMOVFTI {Gilliam        10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000          @ 1 year, monthly thereafter for 3 years   24-Oct-2028                           1-Jan-2018                        FALSE
                                                                              |25% @ 1 year, monthly thereafter for 3 years
  8800Y2R6W_|Hsieh          10/24/2018   -
                                             $0.36 US   -
                                                            ISO      30,000                                                     24-Oct-2028                           1-Jan-2018                        FALSE
  RZZMVKPMZ|Southammavong                -

                                             $0.36 US   -
                                                            ISO      35,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           1-Jan-2018                        FALSE
  6H203580M |Gonzales       10/24/2018       $0.36 US       ISO               |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028
                                         -              -

                                                                      5,000                                                                                          12-Mar-2018                        FALSE
            |Liu            10/24/2018   -
                                             $0.36 US   -
                                                            ISO       6,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          19-Mar-2018                        FALSE
  W6W7HI7JO_}|Wong          10/24/2018   -
                                             $0.36 US   -
                                                            ISO       5,000   |25% @ 1 year, monthly thereafter for 3 years
                                                                                                                                24-Oct-2028                           1-Apr-2018                        FALSE
  NCDXF6V1D |Bobadilla
  2UEAMQSM6]Banuelos
                            10/24/2018   -

                                             $0.36 US   -
                                                            ISO      10,000   |25% @ 1 year, monthly thereafter for 3 years
                                                                              |25% @ 1 year, monthly thereafter for years
                                                                                                                                24-Oct-2028                           16-Apr-2018                       FALSE
                            10/24/2018   -

                                             $0.36 US   -
                                                            ISO      20,000                                                     _|24-Oct-2028                        20-Feb-2018                        FALSE
  JRMNRXOAQ |Kim            10/24/2018   -
                                             $0.36 US   -
                                                            ISO       5,000   {25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           1-Jan-2018                        FALSE
  KFFMXAQDR]|Lund           10/24/2018   -

                                             $0.36 US   -
                                                            ISO      20,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           1-Jan-2018                        FALSE
  UO1FNIQDM {Chiu           10/24/2018   -
                                             $0.36 US   -
                                                            ISO       5,000          @ 1 year, monthly thereafter for 3 years   24-Oct-2028                           30-Jul-2018                       FALSE




The,          Tit
enero                                                                                  | ‘aw,                                                   Jannet Calix
                                                                                                                                                Director, Private Market   Operations
                                                                                                                                                                                                             t

                                                                                                                                                                                        jannet.calix@solium.com


                                                                                                                                                                                        222 S. Mill Avenue


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                                                                                                                                                             e
                                                                                                                                                                                        Suite 424



                                Shareworks.
                                 gal

                                                                     50       lum. Com                                                                                 mM               Tempe, AZ 85281
                                                                                                                                                                                        United States




                                                                                                                                                                                                                  HLIU006844
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                                  #:4195




                        Exhibit 27
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 388 of 467 Page ID
                                 Tuesday,
                                  #:4196 October 30, 2018 at 10:48:22 AM Pacific Daylight Time

 Subject:           Fwd: Smart   King Board Meeting Minutes
 Date:              Saturday, October 27, 2018 at 13:33:02 Pacific Daylight Time
 From:              Jarret Johnson
 To:                Henry Liu
 Attachments: Minutes of Board            Meeting of Smart King Ltd. (09.21.2018).pdf
 Here   are   the minutes that contain the    language you asked for about WARN.
Get Outlook for iOS



wonneneene   Forwarded message   ----------




From: "Jarret Johnson" <jarret.johnson@ff.com>
Date: Tue, Oct 9, 2018 at 2:04 PM -0700
Subject: Smart King Board Meeting Minutes
To: “Jerry Wang" <Jerry.Wang@ff.com>, "Henry Liu"
                                                <henry.liu@ff.com>, "Chaoying Deng" <Chaoying.Deng@ff.com>,
"Nick Sampson"<Nick@ff.com>, "Ruokun Jia" <Ruokun.Jia@ff.com>, "jamesxia@evergrande.com"
<jamesxia@evergrande.com>, "Jianjun Peng(FF China)" <jianjun.peng@ff.com>

Dear Members of the Board of Directors of Smart            King Ltd.:
Attached      please find a copy of the Minutes of the Meeting of the Board of Directors of Smart King Ltd. held
on   9/21/2018.

Regards,
Jarret Johnson
Assistant General Counsel, Transactions & Financial Services
Faraday Future
18455 S. Figueroa Street, Gardena, CA 90248
jarret.johnson@ff.com
(310) 503-1850




                                                                                                              Page 1 of 1

                                                                                                             HLIU008363
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 389 of 467 Page ID
                                  #:4197




                        Exhibit 28
                Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 390 of 467 Page ID
                                                  #:4198

       From:               Henry Liu [henry.liu@ff.com]
       Sent:               7/30/2018   9:26:16 PM
      To:                  lan Eisner [ian.eisner@ff.com]; Scott           Wang@ff.com]; Harvey Karlovac [harvey.karlovac@ff.com]
                                                                   Wang [Yining.
       cc:                 Brian Fritz [Brian.Fritz@ff.com]
       Subject:            Re: meeting recording



      | would agree with lan and that it would be in the company             as   well   as   everyone’s best interest to follow the applicable
      laws and rules.


      From: lan Eisner <ian.eisner@ff.com>
      Date: Monday, July 30, 2018 at 18:20
      To: Scott Wang <Scott.Wang@ff.com>, Harvey Karlovac <harvey.karlovac@ff.com>
      Cc: Henry Liu <henry.liu@ff.com>, Brian Fritz <Brian.Fritz@ff.com>
      Subject: Re: meeting recording
      Hi   Scott,

      Subject to any thoughts Henry might have,  froma litigation perspective, it’s our strong recommendation not to record
      ExComm   meetings. Any       recordings
                                       such    would potentially be discoverable in litigation involving the company (for
      example, ExComm meetings have been the subject of discovery in the EVelozcity litigation). We'd risk our litigation
      opponents taking statements made during ExComm meetings out of context to damage the company. The fact is that
      there have been statements made at ExComm meetings that, while well intentioned, would potentially damage the
      company if they had been recorded and produced in the context of litigation (or leaked to the media). Further, recording
      the meetings may have a chilling effect on what participants are willing to contribute at meetings. (Note that it’s my
      understanding that, under CA, the attendees would need to be informed that they are being recorded.)
      Happy to discuss further,
      lan



      Get Outlook fer iOS



      On    Mon, Jul 30, 2018      at 5:06 PM                         Wang@tf.com>
                                                -0700, "Scott Wang" <Scott.                          wrote:


        lan,    pls provide your perspective
        Best    Regards,


        Faraday Future
        Scott   Wang
        CEO Office Operation
  :     & UP2U Business Partner
                   1211


        18455 S     Figueroa St,
  : Gardena,        CA 90248


            .corm




CONFIDENTIAL                                                                                                                             FFO0Q001244
             Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 391 of 467 Page ID
                                               #:4199
      FF, inc. email may include content, whether in the body of an email or in an attachment, that is intended to be confidential. Delivery of confidential material by email not does not diminish the
  :   confidential nature of such material. All persons who believe that they have erroneously received any FF, inc. email are requested to delete such email, including any attachments. Any non-business,
  :   personal use of FF, inc. email system is solely the responsibility of the sender, and none of the content of any such email is to be attributed to FF, inc. No one who receives an email purportedly from
  :   FF, inc. should rely on the authenticity or completeness of that email, unless it is received directly from FF, inc.. No person is entitled to copy, forward or otherwise re-use any material contained in any
  :   FF, inc. email, without FF, inc.’s express written permission.




  :   From: Harvey Karlovac
      Sent: Monday, July 30, 2018 5:04 PM
      To: Scott Wang <Scott.Wang@ff.com>
      Cc: lan Eisner <ian.eisner@ff.com>
      Subject:        RE:     meeting recording

      Scott,      as a   furtherthought on this prospective course of action, may | connect you here with litigation guru, as in                                                                          FF
      may       not   necessarily want to be documenting all discussions... Thanks-
  :   Harvey Karlovac
      SeniorLegal Counsel, Trade Compliance
      Faraday Future
  :   18455 S. Figueroa St.
      Gardena, CA 90248 USA
  _
      Mobile 310.874.8732
      www.fi.com


      From: Harvey Karlovac
  _
      Sent: Friday, July 27, 2018 1:17 PM
      To: Sheryl Skibbe <sheryl.skibbe@ff.com>


  |   Subject:        RE:     meeting recording
      Hi   Sherry,       |   was   passing by Scott’s desk and shared my ideas when he asked,                                             but    we    defer to you           as   the SME!

  :   Harvey Karlovac
      SeniorLegal Counsel, Trade Compliance
      Faraday Future
  :   18455 S. Figueroa St.
      Gardena, CA 90248 USA
  _
      Mobile 310.874.8732
           ff.com


      From: Scott Wang
      Sent: Friday, July 27, 2018 1:03 PM


      CeiXiaoQuMa<Xiagou.Ma@ficom>
      Subject: meeting recording

      Sheryl and Harvey,
      YT requested to record all the key meetings so that we
             1.       Have       track record of the meetings
             2.     Can       leverage these footage for future documentaries
      Need your              help to assign a layer and guide us on how to do this within the confines of CA law.
      |     told that the recording needs to get all the consent of the attendees if the
          was                                                                                                                                   meeting is more than 3 people.
      Pls help me with the exact requirements and restrictions. E.g.
      What verbiage should we include in the meeting invite?
  _
CONFIDENTIAL                                                                                                                                                                                          FFO0Q001245
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                                                    #:4200
   What announcement we need to make at the beginning of the meeting or each new guest speaker enters the room?
   Etc.

   Best   Regards,


   Faraday Future
   Scott Wang

   CEO Office Operation
   & UP2U Business Partner
   +1919621 1211


   18455 S Figueroa St,
   Gardena, CA 90248



   FF, inc. email may include content, whether in the body of an email or in an attachment, that is intended to be confidential. Delivery of confidential material by email not does not diminish the
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                        Exhibit 29
 Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 394 of 467 Page ID
                                    #:4202
                               Wednesday, January 23, 2019 at 10:23:29 AM Paciﬁc Standard Time

 Subject: Work Responsibili.es
 Date: Wednesday, January 23, 2019 at 10:19:45 Paciﬁc Standard Time
 From: Henry Liu
 To:      YT Jia

YT:


Good morning. In response to your request on January 7, 2019, to submit you a work plan as part of the
companyʼs annual planning, I provided you on January 14 “2019 Work Thoughts and Plan” (The “Plan”,
revised version dated January 12, 2019, in Chinese as YT does not regularly use English as his working
language). The Plan provides that I would continue to perform my same management responsibilities that
I have performed since I joined the company. More than a week has passed since I submitted the Plan to
you and I have received no response to my Plan. I am concerned that you have stripped me of my job
responsibilities due to the various complaints that I have raised regarding the companyʼs failure to comply
with various state and federal laws.

As is widely known, at least since October 2018, my management responsibilities have been continuously
reduced, removed and replaced by you, and my authority and support in performing my duties have also
diminished, all without my advance knowledge or agreement. I have been very concerned about these
actions, and I have protested to you many times during our past conversations. I have previously
expressed to you my grave concern regarding the companyʼs failure to comply with the laws of the State
of California and the United States, as well as the companyʼs failure to build a best practice in corporate
governance. For example, I have directly expressed my views to you and others at the company on how
to best comply with laws regarding many company practices, including but not limited to, your improper
authorization of the recording of meetings without required consent; immigration and work permit
compliance issues which you have ignored; failing to adequately investigate sexual harassment
complaints against management especially your close associates; retaliation against employees who have
raised concerns regarding financial issues; and timely compliance with the WARN Act. I have also
constantly reminded you to resolve your personal situations as someone identified as a repeated
“Dishonest Person” by the Chinese courts, and to try to resolve your numerous personal lawsuits. I have
also advised you to address the reports about your other possible legal issues and financing dealings,
including the surprise visits by the US FBI to you in May 2018, so that these issues will not hurt the
company and its stakeholders including you yourself. I sincerely wish that you had not and would not
retaliate against me for what I have done in performing my responsibilities and duties.

I am committed to continue performing my responsibilities at the company based on contractual and legal
obligations, as well as my dedication to work with you and all colleagues to bring our company to a
success.

I look forward to hearing from you soon.

Thank you.


Henry

                                                                                                       Page 1 of 2


                                                                                                        HLIU000968
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                                  #:4203
Henry




                                                                          Page 2 of 2


                                                                           HLIU000969
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                                  #:4204



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 2   1999 Avenue of the Stars, Suite 1100
     Los Angeles, CA 90067
 3   Tel: 424.253.1266
     Email: kevin@foundationlaw.com
 4
     Amiad Kushner (pro hac vice)
 5   Akushner@seidenlawgroup.com
     Jake Nachmani (pro hac vice)
 6   Jnachmani@seidenlawgroup.com
     Seiden Law Group LLP
 7   322 Eighth Avenue, Suite 1704
     New York, NY 10001
 8   Telephone: (646) 766-1914
     Facsimile: (646) 304-5277
 9
     Attorneys for Plaintiff/Counter-Defendant,
10   Hong Liu
                         UNITED STATES DISTRICT COURT FOR
11
                       THE CENTRAL DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13
     HONG LIU,                               Case No: 2:20-cv-08035-SVW-JPR
14

15
                  Plaintiff,                 DECLARATION OF AMIAD
                                             KUSHNER IN SUPPORT OF
16                       v.                  PLAINTIFF’S CROSS MOTION FOR
17                                           SUMMARY JUDGMENT, IN SUPPORT
     FARADAY&FUTURE INC.,                    OF PLAINTIFF’S MOTION FOR
18   SMART KINGLTD., JIAWEI                  PARTIAL SUMMARY JUDGMENT,
19   WANG, and CHAOYING DENG                 AND IN OPPOSITION TO
                                             DEFENDANTS’ MOTION FOR
20
                  Defendants.                SUMMARY JUDGMENT
21

22
     FARADAY&FUTURE INC.,
23

24
                  Counterclaimant,

25                       v.
26   HONG LIU,
27
                  Counter-Defendant.
28
                                                  1
                                DECLARATION OF AMIAD KUSHNER
                                 CASE NO.: 2:20- CV-08035-SVW-JPR
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                                  #:4205



 1
     I, Amiad Kushner, declare as follows:
 2
           1.     I am a Partner at the law firm of Seiden Law Group LLP, which is counsel
 3
     of record for Plaintiff Hong Liu (“Plaintiff” or “Liu”) in the above- captioned matter. I
 4
     am admitted to practice before the courts of the State of New York, and I am admitted
 5
     pro hac vice in this matter.     I make this declaration based on my own personal
 6
     knowledge and documents in possession of my firm.
 7
           2.     I make this declaration in support of Plaintiff’s cross motion for summary
 8
     Judgement, in support of Plaintiff’s motion for partial summary judgment, and in
 9
     opposition to Defendants’ motion for summary judgment.
10
           3.     Attached to this declaration are true and correct copies of the following
11
     documents:
12

13
                  a. A true and correct copy of an e-mail sent on January 26, 2018

14
                     from Jerry Wang of Faraday&Future Inc. (“FF”) to Feifei Bian

15
                     and Vijay Sekhon of Sidley Austin LLP.

16                b. A true and correct copy of the J. Richard Supple Expert Report.
17                c. A true and correct copy of transcripts of oral arguments before
18                   Magistrate Judge Rosenbluth on May 12, 2021.
19                d. A true and correct copy of page 118 of the transcript of Mayer
20                   Brown LLP’s 30(b)(6) deposition held on April 26, 2021.
21                e. A true and correct copy of Smart King’s Responses to Plaintiff’s
22                   first four Requests for Admission.
23                f. A true and correct copy of a portion of the Smart King 30(b)(6)
24                   Deposition held on April 8, 2021.
25                g. A true and correct copy of an FF employee grant page with the
26                   Employee Grant Number 4484, showing that 8,000,000 of
27
                     Plaintiff’s options were cancelled on February 11, 2019.
28
                                                 2
                               DECLARATION OF AMIAD KUSHNER
                                CASE NO.: 2:20- CV-08035-SVW-JPR
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 1
                 h. A true and correct copy of an FF employee grant page with the
 2
                     Employee Grant Number 4485, showing that 4,000,000 of
 3
                     Plaintiff’s options were cancelled on February 11, 2019.
 4
                 i. A true and correct copy of an FF employee grant page with the
 5
                     Employee Grant Number 4486, showing that 4,000,000 of
 6
                     Plaintiff’s options were cancelled on February 11, 2019.
 7
                 j. A true and correct copy of an FF employee grant page with the
 8
                     Employee Grant Number 4487, showing that 4,000,000 of
 9
                     Plaintiff’s options were cancelled on February 11, 2019.
10
           I declare under penalty of perjury that the foregoing is, to the best of my
11
     knowledge and belief, true and correct.
12

13

14
     Dated:      New York, New York
                 May 18, 2021
15

16                                                      /s/Amiad Kushner
                                                          Amiad Kushner
17

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                                                 3
                               DECLARATION OF AMIAD KUSHNER
                                CASE NO.: 2:20- CV-08035-SVW-JPR
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                                  #:4207




                        Exhibit A
          Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 400 of 467 Page ID
                                            #:4208

  From:           Jerry Wang (FF China) [/O=FIRST ORGANIZATION/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=A13EE35D36764DFDACED9FB3DBFE2A11-JERRY]
  Sent:           1/26/2018 6:35:53 PM
  To:             Bian, Feifei [foian@sidley.com]
  cc:             Sekhon, Vijay S. [vsekhon@sidley.com]
  Subject:        RE:
                        [EXTERNA|



                                                    Also he will   sign our standard offer letter so that should   be fine to   cover

  some    basic terms in there.




  Thanks,
  Jerry


  Faraday Future
  Jerry Wang




  From: Bian, Feifei [mailto:fbian@sidley.com]
  Sent: Friday, January 26, 2018 3:31 PM
  To: Jerry Wang (FF China)       Jerry. Wang@ff.com>
  Cc: Sekhon, Vijay S. <vsekhon@sidley.com>
  Subject: RE: [EXTERNA|]


                                                                            As to the employment agreement, we noticed that
  there appears to be missing many standard provisions we would          usuaily see in a similar employment agreement. We are
  wondering if you'd like our employee benefits specialists to take      a   look?




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                                         #:4210




  FEIFEI BIAN
  Associate

  SIDLEY AUSTIN LLP




CONFIDENTIAL                                                                      FFO0Q005189
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 403 of 467 Page ID
                                         #:4211
  +1 310 595 9478
  fbian@sidley.com


          From: Jerry Wang (FF China) [mailto:Jerry.Wang@ff.com]
          Sent: Friday, January 26, 2018 3:16 PM
          To: Bian, Feifei <fbian@sidley.com>
          Cc: Sekhon, Vijay S. <vsekhon@sidley.com>
          Subject:    RE:   [EXTERNA|]



          Jerry


          Faraday Future
          Jerry Wang
            jerry wang@ff.com




          From: Bian, Feifei [mailto:fbian@sidley.com]
          Sent: Friday, January 26, 2018 12:50 PM
          To: Jerry Wang(FF China) <Jerry.Wang@ff.com>
          Cc:Sekhon, Vijay S. <vsekhon@sidley.com>
          Subject: [EXTERNA|]



          Feifei



          FEIFEI BIAN
          Associate

          SIDLEY AUSTIN LLP
          1999 Avenue of the Stars
          17th Floor
          Los Angeles, CA 90067
          +1 310 595 9478
          fbian@sidley.com
          www.sidley.com




CONFIDENTIAL                                                                      FFO0Q005190
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        DE2    OFS Is BIE 3fe IC   DIE    DIS fe BIE Ok   DIS IS Of DIC DIS fe DIS DIS 3IC DIE fe2fe IC Of IC DIS 2ISBIE 3feDIC DIC   IC   DIS fe 2IR OIC   DIS 3IC IS OIC 2IS   iS

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                        Exhibit B
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 406 of 467 Page ID
                                  #:4214


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

 ___________________________________X

 HONG LIU,                                     :               Case No. 2-20-cv-08035-SVW-JPR

                Plaintiff,                     :               Hon. Stephen V. Wilson

        v.                                     :

 FARADAY&FUTURE INC., SMART                    :
 KING LTD., JIA WEI WANG and
 CHAOYING DENG,                                :

                Defendants.                    :

 AND RELATED COUNTERCLAIM                      :

 ___________________________________X


                             EXPERT REPORT OF J. RICHARD SUPPLE, JR.


        1.      I am a partner in the New York office of Clyde & Co US LLP. Plaintiff Hong Liu

 has retained me in this matter as an expert in lawyers' professional ethics. I submit this Report

 in connection therewith.

                                            Background

        2.      My qualifications as an expert are as follows:

                a.       Since 1993, I have regularly and continuously practiced as a lawyer in the

 area of professional ethics. From 1993 to 1999, I was a Senior Staff Attorney at the

 Departmental Disciplinary Committee, Appellate Division, First Judicial Department in New

 York, where I prosecuted charges of professional misconduct against lawyers in dozens of

 matters. Since 1999, I have continuously been in private practice representing law firms and

 lawyers of all kinds and in all manner of professional ethics matters, including, but not limited to,

 advisory matters, federal and state court litigations involving alleged attorney malpractice or

 misconduct, arbitrations, and appeals. In the last 5 years, I was retained in two now-concluded


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 federal and state litigations (one in the United States District Court for the Southern District of

 New York and the other in the New York State Supreme Court, Erie County) and was qualified

 in a still-pending arbitration in New York before the American Arbitration Association where I

 testified. Because the matters settled shortly after I submitted my reports, I was not deposed

 and did not testify in the above-referenced federal and state court litigations.

                b.      In addition to practicing for clients, I was general counsel of an AmLaw

 100-sized law firm between 2017 and 2019, during which time I advised senior management of

 my now-former firm on sensitive ethics issues on a near-daily basis.

                c.      I have taught and spoken extensively on issues of professional ethics at

 continuing legal education seminars or in other conference settings across the United States

 and outside the country.

                d.      From 2004 to 2016, I was an adjunct professor of law at the Benjamin N.

 Cardozo Law School, where I taught a course each year on professional ethics.

                e.      I am a co-author of New York Attorney Discipline, Practice and Procedure

 (New York Law Journal Press), which is updated and re-published every other year, and author

 of the chapter on professional discipline in the Fifth Edition of the well-known treatise,

 Commercial Litigation in New York State Courts (Thomson Reuters), released in October 2020.

                f.      From 2010-2013, I was chair of the Professional Discipline Committee,

 New York City Bar Association.

 My curriculum vitae is attached as Exhibit A.

        3.      I am being compensated at $750 per hour for preparing this Report and, if

 necessary, for giving testimony. Associates from my firm who assist me are being

 compensated at their usual hourly rates.




                                                                                                  2
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                                                Facts

        4.      For purposes of forming my opinions and preparing this Report, I reviewed the

 following documents:

                a.      The papers comprising Faraday&Future, Inc. (“Faraday”) and Smart King

 Ltd.’s motion for summary judgment or, in the alternative, partial summary judgment, of plaintiff

 Hong Liu’s complaint, dated April 26, 2021;

                b.      Order, dated April 29, 2021;

                c.      The exhibits attached to plaintiff Hong Liu’s opposition to the motion

 described in paragraph 4(a) supra and in support of Hong Liu’s cross-motion for summary

 judgment, to be filed the same day as this Report.

        5.      I have no first-hand knowledge of facts relevant to this case. For purposes of my

 analysis, I assume the following facts to be substantially accurate.

                                              Background

        6.      Plaintiff Hong “Henry” Liu is, and at all times relevant to this Report, was an

 attorney admitted to practice in New York.

        7.      Defendant Faraday is an electric automobile company headquartered in

 California. Faraday’s indirect parent company is Defendant Smart King Ltd.

        8.      Jia Wei “Jerry” Wang is, and at all times relevant to this Report, was Vice-

 President of Capital Markets at Faraday.

        9.      Chaoying Deng is, and at all times relevant to this Report, was Vice-President of

 Administration at Faraday.

        10.     As of 2015, Liu was a partner in the New York office of the large international law

 firm Mayer Brown LLP.




                                                                                                  3
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                                 Faraday’s Retentions of Mayer Brown

         11.     In December 2015, Faraday retained Mayer Brown for regulatory matters. Mayer

 Brown’s lead partner for the Faraday engagement was Philip Recht, an attorney in Mayer

 Brown’s Los Angeles office.

         12.     On May 31, 2017, Faraday executed a second written retainer agreement with

 Mayer Brown. Recht was Mayer Brown’s lead partner for this second engagement.

         13.     On October 20, 2017, Liu sent Faraday a proposed retainer agreement for a

 range of legal services, including advice concerning capital markets, strategies, corporate,

 securities, intellectual property, wealth management matters, and “other tasks and matters as

 may be instructed by” Faraday. The proposed agreement’s signature line for Mayer Brown did

 not originally identify a specific partner.

         14.     More than two months later, on December 22, 2017, Faraday signed and

 returned the October 20 draft agreement to Recht, but not Liu. Recht forwarded the agreement

 to Liu who signed it for Mayer Brown. The fully executed agreement was thereupon sent to

 Faraday.

         15.     While at Mayer Brown, Liu was not billing partner for Faraday and personally did

 no work for Faraday, nor did he supervise the work of other Mayer Brown attorneys.

                                 Faraday Solicits Liu For Employment

         16.     On or about October 15, 2017, Faraday affirmatively contacted Liu and invited

 him to meet with Faraday in person in California.

         17.     On October 17, 2017, Liu travelled to California to meet with Faraday. At the

 meeting, Faraday discussed potential future engagements with Mayer Brown and suggested

 possible employment for Liu with the company.

         18.     On October 25, 2017, Wang sent Liu a term sheet and option valuation estimate

 relating to Faraday’s proposed employment of Liu. In addition to salary considerations, Faraday




                                                                                                 4
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 proposed that Liu receive equity interests in the company, including certain stock options, and

 that the equity interests be derived from two sources, Faraday and Yueting Jia (“Jia”), Faraday’s

 then-chief executive officer. The option valuation estimate Wang sent to Liu indicated that

 Faraday projected its value to be in the hundreds of millions to billions of United States dollars.

        19.     Before Wang sent these documents to Liu, Liu had not demanded or solicited

 equity interests in Faraday as consideration for his employment.

        20.     As of October 15, 2017, Faraday was a substantial ongoing business with its own

 in-house legal department. Faraday had also retained the law firm Sidley Austin LLP as outside

 counsel.

        21.     Between October 26 and 29, 2017, Liu and Wang discussed Liu’s potential

 employment at Faraday. Liu verbally told Wang that Faraday should be advised by independent

 counsel regarding his prospective employment and Wang responded that Faraday would be

 advised in the matter by Sidley Austin.

        22.     On November 16, 2017, Wang sent Liu documents with respect to Liu’s

 prospective employment, including a template document that invited Liu’s response to

 Faraday’s proposals for equity and options-based employment compensation. On November

 21, 2017, Liu sent Wang a term sheet that, amongst other provisions, proposed to grant Liu 3%

 of Faraday’s total equity shares.

        23.     On January 1, 2018, Wang sent Liu a proposed employment agreement. On

 January 10, 2018, Jia proposed that Faraday equity interests be conveyed to Liu in two

 separate agreements – one that would continue to be referred to as Liu’s employment

 agreement (conveying 2% of Faraday’s equity shares) and the other called a stock transfer

 agreement (later titled a director compensation agreement and transferring to Liu from Jia 1% of

 Faraday’s equity shares). Jia was not an individual client of Mayer Brown or Liu personally.




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         24.     On January 22, 2018, Wang advised Liu that Faraday’s Human Resources

 department was reviewing the proposed agreements.

         25.     On January 25, 2018, Wang advised Liu that Faraday’s legal department was

 doing a final review of the proposed agreements.

         26.     On January 26, 2018, Wang informed Liu that Sidley Austin was reviewing the

 proposed employment agreement for Faraday.

         27.     On January 26, 2018, Sidley Austin asked Wang whether Faraday wanted

 employee benefits attorneys in the firm to further review the employment agreement. Wang

 responded that Liu would be signing Faraday’s standard offer letter “so it should be fine to cover

 some basic terms in there.”

         28.     On January 26, 2018, Faraday and Liu executed Liu’s employment agreement.

         29.     Between January 26, 2018 and February 2, 2018, Faraday and Liu negotiated

 and finalized Liu’s director compensation agreement. Sidley Austin provided legal advice

 regarding this agreement to Faraday on an ongoing, continuous basis during this period.

         30.     On April 17, 2018, after commencing employment with Faraday, Liu registered as

 in-house counsel to Faraday pursuant to California Rule of Court 9.46.

                                                Analysis

         31.     My opinions below are grounded upon prevailing ethics rules and law as well as

 relevant bar opinions in New York and respected secondary sources regarding lawyers' duties

 to clients and third parties. At all times relevant for my analysis, New York’s Rules of

 Professional Conduct (hereafter, “NY Rules”) were applicable to Liu because he was licensed to

 practice law only in New York as of February 2, 2018. NY Rule 8.5(b)(2)(i) (“If the lawyer is

 licensed to practice only in this state, the rules to be applied shall be the rules of this state.”);

 N.Y. State Eth. Op. 1054 (2015) (foreign ethics laws may apply “[i]f the [New York-admitted]

 lawyer is permitted to practice in [the foreign state]”); and see Calif. Rule of Prof. Cond. 1-




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 100(D) (California disciplinary rules only apply to non-members of the California Bar when they

 are “engaged in the performance of lawyer functions in [California]”) (emphasis added).

         32.     Faraday contends that Liu’s conduct while negotiating employment violated NY

 Rules 1.8(a), 1.7 and 1.5, which respectively prohibit attorneys from: (a) transacting business

 with current clients under certain circumstances; (b) acting for a client despite an un-waived

 conflict of interest; and (c) making an agreement with a client for an excessive legal fee. The

 NY Rules are “rules of reason. They should be interpreted with reference to the purposes of

 legal representation and of the law itself.” NY Rules, Scope, cmt. [6]; see also Niesig v. Team I,

 558 N.E. 1030, 1032 (N.Y. 1990) (New York courts apply disciplinary rules in litigation “as

 guidelines to be applied with due regard for the broad range of interests at stake”), citing Foley

 & Co. v. Valderbilt, 523 F.2d 1357, 1360 (2d Cir. 1975) (Gurfein, J. concurring) (“When we

 agree that the Code applies in an equitable manner to a matter before us, we should not

 hesitate to apply it with vigor. When we find an area of uncertainty, however, we must use our

 judicial process to make our own decision in the interests of justice to all concerned.”)

         33.     In consideration of the above-recited facts, it is my professional opinion that Liu

 did not violate a duty of care to Faraday under any of the above-referenced NY Rules.

                                               Rule 1.8(a)

         34.     NY Rule 1.8(a) forbids a lawyer from “enter[ing] into a business transaction with a

 client” if the lawyer and “client” have “differing interests and if the client expects the lawyer to

 exercise professional judgment therein for the protection of the client unless” the lawyer makes

 certain written disclosures to the client, obtains consent for the transaction, and the transaction

 itself is “fair and reasonable.” Liu and Faraday did not, of course, negotiate with identical

 interests. Accordingly, as threshold conditions for NY Rule 1.8(a)’s imposition of written

 disclosure and consent requirements, it must be determined whether Faraday was a “client” of

 Liu’s for purposes of the rule, and if Faraday was Liu’s client, whether Faraday expected Liu to




                                                                                                    7
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 “exercise professional judgment” for Faraday’s protection when negotiating his employment.

 See N.Y. State Eth. Op. 913 (2012) (“Rule 1.8(a) invites a twofold inquiry. The first is whether

 the transaction itself is one in which the lawyer and client have differing interests and in which

 the client expects the lawyer to exercise the lawyer’s independent professional judgment on the

 client’s behalf. If the answers are yes, then as a second step the lawyer must assure that the

 terms are fair and reasonable” and the other writing and consent requirements in the rule are

 met) (emphasis in original).

 Whether Faraday was Liu’s “Client”

        35.     As an initial consideration, I do not believe Faraday was Liu’s client (as opposed

 to Mayer Brown’s client) for purposes of NY Rule 1.8(a).

        36.     As per the facts above, Liu personally performed or supervised no work for

 Faraday before and while negotiating his employment. All work for Faraday was done by other

 Mayer Brown attorneys. Accordingly, the only theory for finding that Faraday was Liu’s client is

 imputation; namely, that because certain Mayer Brown attorneys were acting for Faraday, Liu

 (and every other Mayer Brown attorney) should automatically be deemed Faraday’s “lawyer.”

        37.     NY Rule 1.10 deals with the circumstances under which conduct by one lawyer in

 a law firm is attributed to all other lawyers in the law firm. Rule 1.10 states that “[w]hile lawyers

 are associated in a firm, none of them shall knowingly represent a client when any one of them

 practicing alone would be prohibited from doing so by Rule 1.7, 1.8 or 1.9, unless as otherwise

 provided therein.” (emphasis added). NY Rule 1.10 does not logically encompass NY Rule

 1.8(a) because, although NY Rule 1.8(a) regulates certain transactions between lawyers and

 their clients, it does not prohibit a lawyer from representing a client. Thus, the mere fact that

 other Mayer Brown attorneys represented Faraday should not make Liu Faraday’s “lawyer” for

 purposes of a NY Rule 1.8(a) analysis. This conclusion is reinforced by the concerns underlying

 the rationale for imputing conduct between lawyers generally.




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        38.     According to the Restatement (Third) of the Law Governing Lawyers § 123, cmt.

 b:

        Imputation of conflicts of interest to affiliated lawyers reflects three concerns.
        First, lawyers in a law firm or other affiliation … ordinarily share each other's
        interests. A fee for one lawyer in a partnership, for example, normally benefits all
        lawyers in the partnership. Where a lawyer's relationship with a client creates an
        incentive to violate an obligation to another client, an affiliated lawyer will often
        have similar incentive to favor one client over the other. Second, lawyers
        affiliated as described in this Section ordinarily have access to files and other
        confidential information about each other's clients. Indeed, clients might assume
        that their confidential information will be shared among affiliated lawyers …
        Sharing confidential client information among affiliated lawyers might
        compromise the representation of one or both clients if the representations
        conflict. Third, a client would often have difficulty proving that the adverse
        representation by an affiliated lawyer was wholly isolated. Duties of confidentiality
        on the part of the affiliated lawyers prevents adequate disclosure of the
        interactions among them. Moreover, to demonstrate that the lawyer misused
        confidential information the client often would be forced to reveal the very
        information whose confidentiality the client seeks to protect. However,
        considerations of free choice of lawyers by clients and the free mobility of
        lawyers between firms or other employers caution against extending imputation
        further than necessary.

        39.     Based on the facts made known to me, none of the Restatement’s three above-

 cited concerns is relevant here. Mayer Brown’s work for Faraday did not incentivize Liu to

 negotiate a better or worse employment agreement for himself and the facts do not suggest that

 confidential information provided by Faraday to Recht (or another Mayer Brown lawyer actively

 representing Faraday) helped Liu negotiate different and more favorable employment terms with

 Faraday, which proposed employment terms to Liu on its own account. Moreover, Liu’s

 negotiation with Faraday was plainly an “isolated” matter, and Liu was not representing a client

 adverse to Faraday’s interests. Because none of the above concerns applies, the

 Restatement’s cautionary language that imputation should not unreasonably be extended to

 interfere with a lawyer’s mobility between employers is applicable.

        40.     Further, if NY Rules 1.8(a) and 1.10 were strictly construed such that Recht’s (or

 other Mayer Brown lawyers’) work for Faraday automatically made Faraday Liu’s client for

 purposes of NY Rule 1.8(a), inequitable results contrary to the “reasonable” purposes of the NY


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 Rules could follow. Law firms like Mayer Brown are enormous entities, with thousands of

 lawyers spread throughout the world. Applying NY Rule 1.8(a) in a strict liability sense, without

 regard to reason, facts and circumstances, could make lawyers who negotiate for a position with

 a sophisticated entity client, with an in-house legal team, vulnerable to an after-the-fact,

 draconian claim for recission based on the imputation of other lawyers’ conduct, even though

 the lawyer did no legal work for the client and notwithstanding that the lawyer’s firm’s

 relationship with a corporate client was literally of no moment to the negotiation or its outcome.

 A rule of ethics grounded on reason and equity would not permit such a result.

 Whether Faraday Expected Liu to Exercise Professional Judgment on its Behalf

         41.        Even if Faraday was Liu’s client, NY Rule 1.8(a) should not apply to Liu’s

 negotiations with Faraday because it was not reasonable for Liu to believe or expect that

 Faraday was relying upon him to exercise personal judgment to protect its interests when Liu

 was negotiating the terms of his prospective employment with Faraday. The issue of client

 reliance is the key element of a NY Rule 1.8(a) analysis. N.Y. State Eth. Opp. 1055 n. 1 (2015),

 the leading New York ethics opinion on the subject, sets forth the factors determinative of

 whether the client expects the lawyer to exercise reasonable professional judgment on the

 client’s behalf:

         These include (i) whether the client has other counsel in the matter, for example,
         because it is a corporation or other entity with a legal department, (ii) whether the
         lawyer is responsible for client matters in the subject area, and (iii) whether the
         client is an individual or an entity and the client’s level of sophistication in legal
         matters. We believe it is more likely that an individual client or one that is not
         sophisticated in legal matters is more likely to rely on a lawyer that does not
         represent the client in that matter than would be the case with an institutional
         client.

         42.        An application of these factors indicates that Faraday was not expecting Liu to

 exercise professional judgment on its behalf in connection with the negotiation of the

 employment agreement. Faraday had both in-house and outside counsel for its negotiation with

 Liu. Liu was not responsible for Faraday’s matters with Mayer Brown and had never done legal


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 work for Faraday. And, in contrast to an unsophisticated lay individual, Faraday was a

 sophisticated international automobile company that valued itself in terms of hundreds of

 millions or billions of United States dollars. In sum, none of the facts known to me suggest that

 Faraday was in any way dependent upon Liu. NY Rule 1.8(a) should not be applied

 prophylactically under these circumstances. See e.g. Matter of Chariff, 633 N.Y.S.2d 618, 620

 (N.Y. App. Div. 1995) (although attorney did not comply with disclosure and consent

 requirements when making a loan agreement with his client, the predecessor version of NY

 Rule 1.8(a) was not violated insofar the sophisticated businessman client was not deceived by

 his lawyer and was aware of all relevant information before making the loan”); and see N.Y. City

 Eth. Op. 2000-3 (2000) (there is “no per se ethical prohibition on the acceptance of shares or

 other securities, including options, as compensation for legal services to be rendered”).

        43.     “The crucial question is whether the defendant attorney established that the

 contract was made by the client with full knowledge of all material circumstances known to the

 attorney, and was in every respect free from fraud …” Howard v. Murray, 346 N.E.2d 238, 239

 (N.Y. 1976) (internal citations omitted). Here, Liu was in no position to take advantage of

 Faraday, and any argument that Faraday would not have agreed to the employment

 agreements it signed with Liu if only Liu had reminded it to consult its own legal counsel – as

 Faraday, in fact, was doing – seems far-fetched. “A lawyer’s legal skill and training, together

 with the relationship of trust and confidence between lawyer and client, create the possibility of

 overreaching when the lawyer participates in a … financial transaction with a client … For these

 reasons business transactions between a lawyer and client are not advisable.” NY Rule 1.8,

 cmt. [1]. Where, however, a “client” is actually represented by lawyers for a transaction, the

 client should not be heard to argue later that the lawyer on the receiving end of the transaction

 exercised professional judgment for the client’s benefit in the deal.




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                                                 Rule 1.7

         44.       NY Rule 1.7(a) states: “[A] lawyer shall not represent a client if a reasonable

 lawyer would conclude that … there is a significant risk that the lawyer’s professional judgment

 on behalf of a client will be adversely affected by the lawyer’s own financial, business, property

 or other personal interests,” unless the client consents to the representation. “When a

 reasonable lawyer would conclude that the risk of adverse effect on professional judgment is not

 a significant one, then there is no conflict …” N.Y. State Eth. Op. 1048 (2015). Put another

 way, for a risk to be “significant,” it must be more than just “possible.” See also N.Y. State Eth.

 Op. 712 (1999) (there is no conflict of interest merely because there is a “fanciful, theoretical or

 de minimis risk that the lawyer’s judgment will be affected adversely by a potentially relevant set

 of interests”).

         45.       Based on the facts and circumstances discussed above, it is my opinion that a

 reasonable lawyer would not conclude there was a “significant risk” when Liu was negotiating

 his employment terms that he would exercise professional judgment improperly for Faraday.

 For the reasons discussed above, Faraday formulated its own proposals for equity-based

 compensation, applying its own valuations, and was not looking for Liu to exercise his

 professional judgment for its benefit while negotiating Liu’s employment. Instead, Faraday

 relied on its own human resources department, in-house counsel, and outside counsel for

 professional judgment vis-à-vis Liu’s prospective employment.

         46.       Further diminishing any prospect that Liu might exercise judgment adversely to

 Faraday is that Mayer Brown’s regulatory work for Faraday bore no meaningful relationship to

 the subject of Liu’s employment negotiations. See N.Y. State Eth. Op. 994 (2013) (opining that

 Rule 1.7 was not violated where an attorney whose firm represented a school district negotiated

 for employment as a sports coach at a school in the district because there was little risk “of




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 adverse effect if … the legal work on behalf of the school district were unrelated to the lawyer’s

 work as coach”).

                                              Rule 1.5

        47.     Pursuant to NY Rule 1.5(a), a lawyer may not:

        make an agreement” to “collect an excessive or illegal fee … A fee is excessive
        when, after a review of the facts, a reasonable lawyer would be left with a definite
        and firm conclusion that the fee is excessive.” Whether or not a fee is excessive
        depends upon a non-exclusive list of factors, including “(1) the time and skill
        required, the novelty and difficulty of the questions involved, and the skill
        requisite to perform the legal service property; (2) the likelihood, if apparent or
        made known to the client, that the acceptance of the particular employment will
        preclude other employment by the lawyer; (3) the fee customarily charged in the
        locality for similar legal services; (4) the amount involved and the results
        obtained; (5) the time limitations imposed by the client or by circumstances; (6)
        the nature and length of the professional relationship with the client; (7) the
        experience, reputation and ability of the lawyer … performing the services; and
        (8) whether the fee is fixed or contingent
        .
        48.     Whether an exchange of securities for legal services would amount to an

 “excessive” fee should be considered in terms of the facts known to the lawyer when the

 agreement was made and should not be determined “with the wisdom of hindsight.” N.Y. City

 Eth. Op. 2000-3 supra; see also Lawrence v. Miller, 901 N.E.2d 1268, 1272 n. 4 (N.Y. 2008) (“In

 general, agreements entered into between competent adults, where there is no deception or

 overreaching in their making, should be enforced as written. Accordingly, the power to

 invalidate fee agreements with hindsight should be exercised only with great caution.”).

        49.     As the text of NY Rule 1.5 indicates, the test for determining whether a legal fee

 is excessive is fact-intensive and the standard for showing that a legal fee is “excessive” is

 difficult to meet. See N.Y. City Eth. Op. 2000-3 supra (determining whether a fee is excessive

 where securities are received for legal services is “more complex”). In this instance, I do not

 believe that the standard is met. Some of the NY Rule 1.5 factors are plainly inapplicable to a

 negotiation for in-house employment. But to the extent other factors may be applied, they argue

 for substantial compensation. Faraday solicited Liu to take responsibility for managing its legal




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 and administrative matters as its general counsel and chief administrative officer. Plainly, as Liu

 was already very well compensated as a senior equity partner in a large international law firm,

 Faraday was for all intents and purposes obligated to make Liu a substantial offer if it genuinely

 hoped to entice Liu to leave Mayer Brown. Further, it is generally known and understood that

 compensation for a general counsel of a substantial company is high.

        50.     The experience, reputation and ability of the lawyer is “the most important factor”

 when determining whether a legal fee is excessive. N.Y. State Eth. Op. 1004 (2015). The facts

 indicate that Liu was a senior partner at the globally respected firm Mayer Brown and had

 decades of experience. Accordingly, I do not believe, on the record presented to me, that a

 reasonable lawyer would “definitely and firmly” conclude that Liu’s acceptance of employment

 terms offered by Faraday (at the time the terms were accepted) amounted to a breach of his

 ethical obligations to Faraday under NY Rule 1.5.

                                             Conclusion

        51.      For the reasons herein, it is my professional opinion that Liu did not violate a

 duty to Faraday under NY Rules 1.8(a), 1.7 or 1.5.

 Dated: May 18, 2021

                                               J. Richard Supple, Jr.
                                               J. Richard Supple, Jr.




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                         EXHIBIT A
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                                                 J. Richard Supple Jr.
                                                c/o Clyde & Co US LLP
                                                405 Lexington Avenue
                                                 New York, NY 10174
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                                               rick.supple@clydeco.us


 Legal Experience

 Clyde & Co US LLP, New York, NY (Partner 11/19 to present)

 Represents law firms and lawyers in all kinds of professional ethics-related matters, including disciplinary and legal
 malpractice cases, partnership and fee disputes, internal investigations, disqualification and sanctions motions,
 and appeals. Also advises on risk management and regulatory compliance issues, litigation finance, lateral
 movement, and law firm partnership agreements and dissolution.

 Hinshaw & Culbertson LLP, New York, NY (Partner 3/04-11/19)

 Litigated all manner of ethics-related cases for lawyers and law firms, including at trial, arbitration and on appeal.
 Retained as an expert in matters concerning a lawyer's duty of care. Advised clients regarding litigation finance
 and risk management issues. Leader of the firm's 40+ attorney Professional Responsibility and Risk Management
 Practice Group from 1/16 to 2/19 and served as the firm's General Counsel from 3/17 to 2/19.

 Edwards & Angell, LLP, New York, NY (Counsel 5/01-2/04)

 Lead attorney in disciplinary and other professional ethics-related litigations, including appeals. Handled hearings,
 arbitrations and depositions. Also represented clients in significant class action litigation, mass tort cases,
 intellectual property matters and other commercial disputes in jurisdictions around the country.

 Beldock, Levine & Hoffman LLP, New York, NY (Associate 6/99-5/01)

 Represented clients in disciplinary, malpractice and other professional ethics-related litigations, including appeals.
 Also handled state and federal criminal cases and civil litigations involving patent and trademark issues, creditor
 rights, personal injury, and estate matters.

 Supreme Court, State of New York, Appellate Division, First Department
 Departmental Disciplinary Committee, New York, NY (Staff Attorney 3/94-6/99)

 Investigated and prosecuted complex disciplinary matters, including approximately 20 reported cases involving
 formal hearings.

 Legal Aid Society, Brooklyn, NY (9/89-3/94)

 Represented indigent defendants in state criminal cases from arraignment to trial. Lead counsel at numerous
 felony jury trials.
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 Significant Professional Affiliations

         Benjamin N. Cardozo School of Law, Adjunct Professor, 2004 – 2016

         Practising Law Institute, Faculty Member

         New York City Bar Association, Professional Discipline Committee, Chair, 2010 – 2013

 Education

         University of Wisconsin Law School, Madison, WI, J.D., 5/89

         Duke University, Durham, NC, B.A. magna cum laude, 5/85

 Authorships

         Co-author, Commercial Litigation in New York State Courts (5th ed.)

         Co-author, New York Attorney Discipline: Practice and Procedure (Biennial editions through 2020)

 Recent Speaking Presentations

         "Ethical Considerations for Attorneys in the Gig Economy," Calvary Institute, New York, NY, October 2020

         "Negotiation Ethics," New York State Attorney General's Office, New York, NY, September 2020

         "Ethics for the Negotiating Lawyer," Practising Law Institute, New York, NY, January 2013, January 2014,
         March 2015, March 2016, January 2017, January 2018, January 2019, January 2020

         "Cryptocurrency: Show Me the Money," Legal Malpractice & Risk Management Conference (LMRM),
         Chicago, IL, March 2019

         "Update – Litigation Finance," General Counsel Roundtable, Miami, FL, January 2019, Oklahoma City, OK,
         April 2019

         "It's a Jungle Out There: Managing Risks in Mid-Sized Firms," LMRM, Chicago, IL, March 2018

         "Winning the Arms Race in Big Civil Cases — the Upside and Downside of Litigation Finance," LMRM,
         Chicago, IL, March 2017

         "The 'New' New York Rules on Attorney Discipline Procedure," Practicing Law Institute, New York, NY,
         January 2017

         "Staying Out of Trouble 2016: The In-House Attorney-Client Privilege and Ethics and Technology Quiz
         Show," Practicing Law Institute, New York, NY, December 2016

         "Playing the Away Game, How Can Non-Resident New York Lawyers Comply," New York State Bar
         Association, Miami, FL, September 2016

         "Understanding the Moral Compass of In-House Lawyers," NYU Stern School of Business, New York, NY,
         July 2016
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       "Evaluation of Attorneys' Fees in Complex Litigation," New York, NY, June 2016

       "Phantom Clients and How to Exorcise Them," LMRM, Chicago, IL, March 2016

       "Ethics for the Trademark Lawyer," Practising Law Institute, New York, NY, March 2015

       "Defenses to Disqualification Motions: What Works and What Doesn't," LMRM, Chicago, IL, February 2015

       "Getting Admitted in the First and Second Departments," New York City Bar Association, New York, NY,
       October 2014

       "Attorney Discipline in New York: Structure, Process & Trends," New York City Bar Association, New York,
       NY, July 2014

       "'Playbook' Disqualifications," LMRM, Chicago, IL, March 2014

       "Staying Out of Trouble: What Every Lawyer Should Know About Ethics," Practicing Law Institute, New
       York, NY, December 2013

       "Defending Wall Street and Main Street: The Revolving Door and Lawyers as Whistleblowers," New York
       County Lawyers Association, New York, NY, November 2013

       "Attorney Discipline in New York—Four Different Departments, Four Different Approaches," New York
       State Bar Association, New York, NY, January 2013

       "Ethics in Purchases and Sales of Homes," New York State Bar Association, New York, NY, April 2013 and
       May 2015

       "Ethics and Professionalism: Best Practices for Attorneys," New York City Bar Association, New York, NY,
       April 2013, April 2014 and May 2015

       "The Disciplinary Process—How it Works," New York City Bar Association, New York, NY, July 2013
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                        Exhibit C
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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION - LOS ANGELES




          HONG LIU,                     ) CASE NO: 2:20-CV-08035-SVW-JPRx
                                        )
                         Plaintiff,     )             CIVIL
                                        )
               vs.                      )     Los Angeles, California
                                        )
          FARADAY & FUTURE, INC, ET AL, )     Wednesday, May 12, 2021
                                        )
                         Defendants.    )


             TELEPHONIC CONFERENCE RE PLAINTIFF’S EX PARTE APPLICATION
                        TO CLARIFY COURT’S MAY 3, 2021 ORDER


                       BEFORE THE HONORABLE JEAN P. ROSENBLUTH,
                            UNITED STATES MAGISTRATE JUDGE




          APPEARANCES:                 SEE PAGE 2


          Court Reporter:              Recorded; Digital

          Courtroom Deputy:            Bea Martinez

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                          EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                 42


      1   were some language in the opposition brief that was a little

      2   mushy or something.     I'm not so concerned with that.        I'm

      3   concerned that any document that Mr. Liu authored, regardless

      4   of whether it's giving advice or anything like that, that fell

      5   into those categories was produced, and Mr. Kessel has

      6   represented that they were.      So --

      7              MR. KESSEL:     And Ms. Grochow has also attested to

      8   that in Paragraph 6 of her Declaration.

      9              THE COURT:     All right.     So, we are now past

     10   Ms. Martinez's workday, so I don't want to keep her

     11   unnecessarily and I think that we have covered pretty much

     12   everything.    I will summarize what my rulings are, but does

     13   anybody have anything, you know, final that they want to say?

     14              MR. KUSHNER:     I would just like to say thank you,

     15   Your Honor, for your careful consideration of the issues and we

     16   will -- you know, as you suggested, if Judge Wilson denies

     17   summary judgment we would like the opportunity to leave or to

     18   revisit some of these rulings at that time.

     19              THE COURT:     Yeah, you might want to, you know, broach

     20   some of that with -- I'm not saying to ask for any kind of

     21   ruling from Judge Wilson, but I think it would help you and it

     22   would help me and it would help if he has -- you know, I've

     23   been speaking with him about these issues, he's aware and he's

     24   engaged, and if you get some kind of guidance from him I

     25   certainly am going to listen to that.        So, that's fine.    I'm
                          EXCEPTIONAL REPORTING SERVICES, INC
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      1   not saying I will rule in your favor, but certainly if you want

      2   to do that, that's fine.

      3              So, here's what -- Mr. Kessel, did you have any last

      4   thing that you wanted to say?

      5              MR. KESSEL:    No.

      6              THE COURT:    All right.

      7              MR. KESSEL:    No, Your Honor.

      8              THE COURT:    All right, thank you.

      9              So, here's how I'm going to rule.       I am going to deny

     10   the motion, except as -- except to the extent that I will order

     11   Defendants to supply Plaintiff with a declaration or

     12   declarations by no later than May 19th concerning the search of

     13   Mr. Bob Ye and Ms. Sheryl Skibee's email accounts stating that

     14   they have been searched and either that here are some new

     15   documents that we found and hand those over that are responsive

     16   to my Order concerning termination, or that they have been

     17   searched and after, you know, a reasonable inquiry diligent

     18   search nothing further has been found that is responsive

     19   concerning Mr. Liu's termination.

     20              All right.    Well, thank you, and I am here if you

     21   need me, but, no offense, I hope I don't hear from you for a

     22   little while.    I have other things to do.      But I am --

     23              AUTOMATED PHONE PROMPT:      A participant has left the

     24   conference.

     25              THE COURT:    All right.     Well, I guess that's the
                          EXCEPTIONAL REPORTING SERVICES, INC
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                        Exhibit D
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  1                          UNITED STATES DISTRICT COURT

  2                         CENTRAL DISTRICT OF CALIFORNIA

  3                                 WESTERN DIVISION

  4

  5          HONG LIU,                               )

  6                       Plaintiff,                 )     Case No.

  7          vs.                                     )     2:20-cv-08035-SVW-JPR

  8          FARADAY&FUTURE INC., SMART              )

  9          KING LTD., JIA WEI WANG, and            )

10           CHAOYING DENG,                          )

11                        Defendants.                )

12           ______________________________)

13           AND RELATED COUNTERCLAIM.               )

14           ______________________________)

15

16                 VIDEOTAPED 30(B)(6) DEPOSITION OF MAYER BROWN LLP

17                            TESTIMONY OF CHARLES REGAN

18                                     APRIL 26, 2021

19

20

21           REPORTED REMOTELY BY:

22

23           JANET FRENCH, CSR NO. 946

24

25           Notary Public

                                                                      Page 1

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  1            THE WITNESS:     I don't believe that I -- I did not

  2      inquire into that, and I don't know the answer to that

  3      to be honest.

  4            Q.    (BY MR. STOLPER)        The 24 clients -- I know

  5      we weren't getting into names of clients and I don't

  6      want to know the names of clients, but you mentioned

  7      there were 24 earlier that Henry was credited as the

  8      billing partner.

  9                  Faraday was not among the 24; correct?

10             MS. NOLL:    I believe this was asked and answered.

11             THE WITNESS:     So that is -- that is correct that

12       it was not among the 24 for whom he was the billing

13       partner.

14             Q.    (BY MR. STOLPER)        What would you need to do

15       to determine that Henry did not work on any Faraday

16       matters prior to his leaving Mayer Brown?

17             MS. GROCHOW:     Objection.        It's beyond the scope

18       of the topics noticed.

19             MS. NOLL:    Yes.    I object to that too.       I don't

20       understand the question.         I'm not sure it's even

21       accurate as to what Mr. Regan testified to, and it is

22       beyond the scope.      That is not something the witness

23       prepared in preparation for today.

24             Q.    (BY MR. STOLPER)        I just asked a second ago

25       if Henry worked on any Faraday matters, and you said

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                        Exhibit E
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 432 of 467 Page ID
                                                                                                                                                #:4240


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                                                                                                                 4   Facsimile: 949.622.2739
                                                                                                                 5   DANIEL N. ANZISKA, Pro Hac Vice
                                                                                                                     daniel.anziska@troutman.com
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                                                                                                                     875 Third Avenue
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                                                                                                                     mackenzie.willow-johnson@troutman.com
                                                                                                                10   TROUTMAN PEPPER HAMILTON SANDERS LLP
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                                                                                                                11   Raleigh, NC 27609
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                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13   Attorneys for Defendants
                                                                                                                     SMART KING LTD., JIAWEI WANG, and CHAOYING DENG
                                                                                                                14   and Defendant and Counterclaimant FARADAY&FUTURE INC.
                                                                                                                15                        UNITED STATES DISTRICT COURT
                                                                                                                16                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                17                                 WESTERN DIVISION
                                                                                                                18
                                                                                                                19   HONG LIU,                                  Case No. 2:20-cv-08035-SVW-JPR
                                                                                                                20                  Plaintiff,                  Honorable Stephen V. Wilson
                                                                                                                21           v.                                 DEFENDANT SMART KING
                                                                                                                                                                LTD.’S RESPONSE TO
                                                                                                                22   FARADAY&FUTURE INC.,                       PLAINTIFF’S REQUESTS FOR
                                                                                                                     SMART KING LTD., JIAWEI                    ADMISSION (SET ONE)
                                                                                                                23   WANG, and CHAOYING DENG,
                                                                                                                24                  Defendants.
                                                                                                                25
                                                                                                                     AND RELATED COUNTERCLAIM.
                                                                                                                26
                                                                                                                27
                                                                                                                28
                                                                                                                     114166222
                                                                                                                     DEFENDANT SMART KING LTD.’S RESPONSE TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 433 of 467 Page ID
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                                                                                                                 1   PROPOUNDING PARTY:                HONG LIU
                                                                                                                 2   RESPONDING PARTY:                 SMART KING LTD.
                                                                                                                 3   SET NUMBER:                       ONE
                                                                                                                 4           Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure,
                                                                                                                 5   Defendant Smart King Ltd. (“Smart King”) hereby responds to the First Set of
                                                                                                                 6   Requests for Admission (“Requests”) propounded by Plaintiff Hong Liu (“Liu”), as
                                                                                                                 7   follows:
                                                                                                                 8                             PRELIMINARY STATEMENT
                                                                                                                 9           These responses are made solely for the purpose of and in relation to this
                                                                                                                10   action. Smart King’s responses are subject to their objections to the instructions,
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                                                                                                                11   objections to the definitions, and specific objections, without waiving and expressly
                                                                                                                12   preserving all such objections. Smart King also submits these responses subject to,
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13   without intending to waive, and expressly preserving: (a) any objections as to
                                                                                                                14   competency, materiality, privilege and admissibility of any of the information
                                                                                                                15   provided; and (b) the right to object to any other discovery involving or relating to
                                                                                                                16   the subject matter of the Requests responded to herein.
                                                                                                                17           Smart King has not completed its factual and legal investigation, discovery or
                                                                                                                18   trial preparation. Consequently, the following responses are given without
                                                                                                                19   prejudice to Smart King’s right to produce subsequently discovered evidence
                                                                                                                20   relating to this action. Smart King reserves its right to amend, modify, or
                                                                                                                21   supplement its responses to the Requests as new information is obtained, or as
                                                                                                                22   Smart King otherwise deems appropriate or necessary.
                                                                                                                23                                GENERAL OBJECTIONS
                                                                                                                24
                                                                                                                             The following general objections (collectively, the “General Objections”) are
                                                                                                                25
                                                                                                                     made to each and every one of the Requests and are incorporated into each and
                                                                                                                26
                                                                                                                     every one of Smart King’s objections and responses to the Requests set forth below.
                                                                                                                27
                                                                                                                     The express assertion of any objection to any of the Requests in the Responses to
                                                                                                                28
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                                                                                                                     DEFENDANT SMART KING LTD.’S RESPONSE TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
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                                                                                                                 1   Requests section, infra, shall not waive, nor shall be construed as a waiver or
                                                                                                                 2   indication of the inapplicability of, any objection set forth in the Preliminary
                                                                                                                 3   Statement or in the General Objections. When a response to any of the Requests
                                                                                                                 4   specifically refers to a response to any earlier Request, that earlier response,
                                                                                                                 5   including any and all objections, is hereby fully incorporated by reference as if the
                                                                                                                 6   same had been set forth in length therein.
                                                                                                                 7           1.     Smart King objects to the Requests, and to each specific Request
                                                                                                                 8   therein, to the extent that they seek information that is neither relevant to the claim
                                                                                                                 9   or defense of any party in this action, nor are reasonably calculated to lead to the
                                                                                                                10   discovery of admissible evidence.
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                                                                                                                11           2.     Smart King objects to the Requests, and to each specific Request
                                                                                                                12   therein, to the extent that they are overly broad, unduly burdensome, vague and/or
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13   ambiguous to the point of oppression.
                                                                                                                14           3.     Smart King objects to the Requests, and to each specific Request
                                                                                                                15   therein, to the extent that they call for information that is protected by the attorney
                                                                                                                16   client privilege, common interest doctrine, attorney work-product doctrine, or any
                                                                                                                17   other applicable privilege, doctrine or immunity.
                                                                                                                18           4.     Smart King objects to the Requests, and to each specific Request
                                                                                                                19   therein, to the extent that they call for information that is confidential and/or
                                                                                                                20   proprietary.
                                                                                                                21           5.     Smart King objects to the Requests, and to each specific Request
                                                                                                                22   therein, to the extent that they call for information protected from discovery by any
                                                                                                                23   Constitutional, statutory and/or common law privacy right.
                                                                                                                24           9.     Each and every response and objection to each specific Request set
                                                                                                                25   forth hereinafter shall be deemed to specifically incorporate the foregoing
                                                                                                                26   Preliminary Statement and the General Objections. The express reference to or
                                                                                                                27   inclusion of any objection to any Request in no way constitutes, and should not be
                                                                                                                28
                                                                                                                     114166222                                 -2-
                                                                                                                     DEFENDANT SMART KING LTD.’S RESPONSE TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
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                                                                                                                 1   construed as a waiver, or admission of the inapplicability of, any other objection.
                                                                                                                 2                          OBJECTIONS TO INSTRUCTIONS
                                                                                                                 3           Smart King objects to each of the instructions and to the Requests in general,
                                                                                                                 4   to the extent that they call for or require Smart King to do some act that is not
                                                                                                                 5   required by the Federal Rules of Civil Procedure and the applicable Local Rules of
                                                                                                                 6   the United States District Court for the Central District of California.
                                                                                                                 7                            OBJECTIONS TO DEFINITIONS
                                                                                                                 8           1.    Smart King objects to the terms “YOU” and “YOUR” as used in the
                                                                                                                 9   Requests on the grounds that the definition is unreasonably broad. Depending upon
                                                                                                                10   Liu’s intended meaning, the definitions of those terms are vague and, subject to
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                                                                                                                11   context, are artificially narrow and unreasonably restrictive or unreasonably broad
                                                                                                                12   and overreaching. Additionally, Liu’s use of these terms, as defined, improperly
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                                                              S U I T E 1400




                                                                                                                13   seeks information protected from discovery based on a Privilege or Privacy. In
                                                                                                                14   particular, Smart King objects to these terms to the extent they include counsel for
                                                                                                                15   Smart King, other than Liu, or Smart King’s experts.
                                                                                                                16           2.    Smart King objects to the term “PERSON” and “PERSONS” because
                                                                                                                17   the definition is overly broad and unduly burdensome.
                                                                                                                18                   RESPONSES TO REQUESTS FOR ADMISSION
                                                                                                                19   REQUEST FOR ADMISSION NO. 1:
                                                                                                                20           Admit that Plaintiff was granted 20 million options in SMART KING
                                                                                                                21   pursuant to the EQUITY INCENTIVE PLAN, with an exercise price of 36 cents
                                                                                                                22   per share.
                                                                                                                23   RESPONSE TO REQUEST FOR ADMISSION NO. 1:
                                                                                                                24           Subject to and without waiving the foregoing objections, the Preliminary
                                                                                                                25   Statement, the General Objections, and the Objections to Definitions, Smart King
                                                                                                                26   responds as follows: Admitted that Liu was granted 20,000,000 options in Smart
                                                                                                                27   King, however, Liu’s Employment Agreement with Faraday&Future Inc. (“FF”)
                                                                                                                28
                                                                                                                     114166222                                 -3-
                                                                                                                     DEFENDANT SMART KING LTD.’S RESPONSE TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 436 of 467 Page ID
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                                                                                                                 1   was and is rescindable, void ab initio, and unenforceable due to Liu’s breaches of
                                                                                                                 2   that agreement, breaches of his fiduciary duties owed to FF, violations of the rules
                                                                                                                 3   of professional conduct that governed Liu’s actions as FF’s counsel and its
                                                                                                                 4   fiduciary, violation of the California Business & Professions Code, and because the
                                                                                                                 5   agreement was the product of a constructive fraud, and moreover, Liu breached the
                                                                                                                 6   fiduciary duties he owed FF as its Global Chief Administrative Officer, Global
                                                                                                                 7   General Counsel, and Global Senior Advisor and by virtue of his employment with
                                                                                                                 8   FF, Liu was in material breach of his Employment Agreement, and was therefore
                                                                                                                 9   terminated, and as such, no options in Smart King putatively available to Liu
                                                                                                                10   thereunder vested. Except as admitted, denied.
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                                                                                                                11   REQUEST FOR ADMISSION NO. 2:
                                                                                                                12           Admit that in or around October 2018, Plaintiff was granted 20 million
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13   options in SMART KING pursuant to the EQUITY INCENTIVE PLAN.
                                                                                                                14   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
                                                                                                                15           Subject to and without waiving the foregoing objections, the Preliminary
                                                                                                                16   Statement, the General Objections, and the Objections to Definitions, Smart King
                                                                                                                17   responds as follows: Admitted that Liu was granted 20,000,000 options in Smart
                                                                                                                18   King, however, Liu’s Employment Agreement with FF was and is rescindable, void
                                                                                                                19   ab initio, and unenforceable due to Liu’s breaches of that agreement, breaches of
                                                                                                                20   his fiduciary duties owed to FF, violations of the rules of professional conduct that
                                                                                                                21   governed Liu’s actions as FF’s counsel and its fiduciary, violation of the California
                                                                                                                22   Business & Professions Code, and because the agreement was the product of a
                                                                                                                23   constructive fraud, and moreover, Liu breached the fiduciary duties he owed FF as
                                                                                                                24   its Global Chief Administrative Officer, Global General Counsel, and Global
                                                                                                                25   Senior Advisor and by virtue of his employment with FF, Liu was in material
                                                                                                                26   breach of his Employment Agreement, and was therefore terminated, and as such,
                                                                                                                27   no options in Smart King putatively available to Liu thereunder vested. Except as
                                                                                                                28   admitted, denied.
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                                                                                                                     DEFENDANT SMART KING LTD.’S RESPONSE TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
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                                                                                                                 1   REQUEST FOR ADMISSION NO. 3:
                                                                                                                 2           Admit that in or around October 2018, Plaintiff was granted 20 million
                                                                                                                 3   “equity options” (as that term is used in the EMPLOYMENT AGREEMENT),
                                                                                                                 4   pursuant to the EMPLOYMENT AGREEMENT.
                                                                                                                 5   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
                                                                                                                 6           Subject to and without waiving the foregoing objections, the Preliminary
                                                                                                                 7   Statement, the General Objections, and the Objections to Definitions, Smart King
                                                                                                                 8   responds as follows: Admitted that Liu was granted 20,000,000 options in Smart
                                                                                                                 9   King, however, Liu’s Employment Agreement with FF was and is rescindable, void
                                                                                                                10   ab initio, and unenforceable due to Liu’s breaches of that agreement, breaches of
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                                                                                                                11   his fiduciary duties owed to FF, violations of the rules of professional conduct that
                                                                                                                12   governed Liu’s actions as FF’s counsel and its fiduciary, violation of the California
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13   Business & Professions Code, and because the agreement was the product of a
                                                                                                                14   constructive fraud, and moreover, Liu breached the fiduciary duties he owed FF as
                                                                                                                15   its Global Chief Administrative Officer, Global General Counsel, and Global
                                                                                                                16   Senior Advisor and by virtue of his employment with FF, Liu was in material
                                                                                                                17   breach of his Employment Agreement, and was therefore terminated, and as such,
                                                                                                                18   no options in Smart King putatively available to Liu thereunder vested. Except as
                                                                                                                19   admitted, denied.
                                                                                                                20   REQUEST FOR ADMISSION NO. 4:
                                                                                                                21           Admit that Plaintiff was never granted “equity options” (as that term is used
                                                                                                                22   in the EMPLOYMENT AGREEMENT) pursuant to the EMPLOYMENT
                                                                                                                23   AGREEMENT.
                                                                                                                24   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
                                                                                                                25           Subject to and without waiving the foregoing objections, the Preliminary
                                                                                                                26   Statement, the General Objections, and the Objections to Definitions, Smart King
                                                                                                                27   responds as follows: Denied.
                                                                                                                28
                                                                                                                     114166222                                 -5-
                                                                                                                     DEFENDANT SMART KING LTD.’S RESPONSE TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
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                        Exhibit F
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                                                                 Page 1

  1                  UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
  2      - - - - - - - - - - - - - - - - x
         HONG LIU,                        :
  3                                       :    Case Number
                Plaintiff,                :   2:20-cv-08035
  4                                       :       SVW-JPR
                vs.                       :
  5                                       :
         FARADAY&FUTURE INC., SMART       :
  6      KING LTD., JIAWEI WANG, and      :
         CHAOYING DENG,                   :
  7                                       :
                Defendants.               :
  8      - - - - - - - - - - - - - - - - x
         FARADAY&FUTURE INC.,             :
  9                                       :
                Counterclaimant,          :
10                                        :
                vs.                       :
11                                        :
         HONG LIU,                        :
12                                        :
                Counter-Defendant.        :
13                                        :
         - - - - - - - - - - - - - - - - x
14
               *Portions of the transcript are designated
15              confidential*
16                 Veritext Virtual Zoom Videotaped
17       Deposition of JIAWEI WANG, a 30(b)(6) witness, taken
18       on Thursday, April 8, 2021, held in Los Angeles,
19       California, commencing at 8:47 a.m., Pacific
20       Standard Time, before Jamie I. Moskowitz, a
21       Certified Court Reporter and Certified Livenote
22       Reporter.
23
24
25

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  1      granted to Mr. Liu?
  2              A        Yes.
  3              Q        And do you see how there's a column
  4      with the heading Outstanding?               Do you see that?
  5              A        Yes.
  6              Q        And do you see that it says 8 million
  7      are outstanding in the first row?                  Do you see that?
  8              A        Yes.
  9              Q        So does this reflect that on
10       October 24th, 2018, options to acquire 8 million
11       Smart King shares granted to Mr. Liu?
12                        MR. GOLDMAN:          Objection.       The document
13               speaks for itself.
14                        THE WITNESS:          Yes.
15       BY MR. KUSHNER:
16               Q        Let's go to the -- just the next line.
17                        Do you see a reference to cancel due
18       to termination, and on the date of February 11,
19       2019?
20               A        Yes.
21               Q        And in the column heading Outstanding,
22       do you see that it says minus 8 million?
23               A        Yes.
24               Q        Does this record reflect that on
25       February 11, 2019, 8 million Smart King options that

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  1      had been issued to Mr. Liu were canceled?              Is that
  2      correct?
  3                       MR. GOLDMAN:          Objection.   The document
  4             speaks for itself.
  5                       THE WITNESS:          Yes.
  6      BY MR. KUSHNER:
  7             Q         I'd like to show you another exhibit,
  8      Mr. Wang.
  9                       Actually, Mr. Wang, just one more --
10       one more question about this document.              I apologize.
11                        Mr. Wang, do you still have Smart King
12       Exhibit 4 in front of you?
13              A         If you mean the Solium Sharework
14       option granted to Hong Liu, the document is on
15       our -- on our screen, yes.
16              Q         Thank you.
17                        I just want to direct your attention
18       to the first page of this exhibit.
19                        Do you see a reference to employee
20       grant number?     It's -- it's towards the top of the
21       page, right under the heading Faraday Future Inc.
22              A         Yes.
23              Q         What is an employee grant number?
24              A         I don't know.
25              Q         Do you see a reference to 4484 right

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  1      after employee grant number?
  2             A         Yes.
  3                       MR. KUSHNER:          Okay.       Counsel, I would
  4             just ask that when this deposition is
  5             continued, Mr. Wang be prepared to answer the
  6             question of what -- what an employee grant
  7             number is.
  8      BY MR. KUSHNER:
  9             Q         And just another question about
10       Page 3, Mr. Wang.
11              A         Yeah.     Can you go to Page 3?
12              Q         Mr. Wang, at the very bottom of
13       Page 3, of the text on Page 3, there -- there is a
14       section entitled "Explicit Cancels."
15                        Do you see that?
16              A         Yes, I do.
17              Q         What is an explicit cancel?
18              A         I don't know.
19                        MR. KUSHNER:          Counsel, just the same
20              point about this, this -- with the question,
21              when this deposition is continued, Mr. Wang be
22              prepared to answer that question.
23                        MR. GOLDMAN:          And can I ask the court
24              reporter -- can I please ask the court reporter
25              to repeat that question just so I have it?

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  1                       THE COURT REPORTER:               Sure.
  2                       (Whereupon, the testimony was read
  3             back as requested.)
  4                       MR. GOLDMAN:          Thank you.
  5                       THE COURT REPORTER:               You're welcome.
  6      BY MR. KUSHNER:
  7             Q         Mr. Wang, I'd like to show you the
  8      next exhibit.
  9                       (Whereupon, Exhibit 5 was marked for
10              Identification.)
11       BY MR. KUSHNER:
12              Q         I'm showing you what's been marked as
13       Smart King 5.
14              A         Uh-huh.
15              Q         Do you recognize this document?
16              A         Yes, I do.
17              Q         What -- what do you recognize it to
18       be?
19              A         This is a similar report generated by
20       Solium Shareworks regarding -- to Hong Liu's option.
21              Q         Can you scroll down to the third page?
22                        Do you -- do you see that -- do you
23       see the incentive share option activity section?
24              A         Yes.
25              Q         And do you see that this reflects that

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  1      on October 24th, 2018, there was a grant of
  2      4 million Smart King options to Mr. Liu?
  3                       MR. GOLDMAN:          Objection, the document
  4             speaks for itself.
  5                       THE WITNESS:          Yes.
  6      BY MR. KUSHNER:
  7             Q         And do you see that this document
  8      reflects that on February 11th, 2019, those
  9      4 million stock options were canceled?
10                        MR. GOLDMAN:          Objection.   Again, the
11              document speaks for itself.
12                        THE WITNESS:          Yes.
13       BY MR. KUSHNER:
14              Q         Mr. Wang, can you just go back to the
15       first page of this exhibit?              Can you tell me what
16       the employee grant number is?
17              A         I don't know.
18              Q         Do you see a number next to employee
19       grant number?
20              A         Yes.
21              Q         What is that number?
22              A         It is 4485.
23                        MR. KUSHNER:          I'd like to show you
24              another exhibit.
25

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  1      BY MR. KUSHNER:
  2             Q         Actually, Mr. Wang, I apologize.             Let
  3      me just go back to Exhibit 5 for a moment.
  4                       MR. KUSHNER:          I just want to let the
  5             record reflect that Exhibit 5 has the Bates
  6             range FF2203 to 2205.
  7                       And now let's look at Exhibit 6.
  8                       (Whereupon, Exhibit 6 was marked for
  9             Identification.)
10                        MR. KUSHNER:          Just for the record,
11              Exhibit 6 has the Bates range FF2209 to FF2211.
12       BY MR. KUSHNER:
13              Q         Mr. Wang, do you recognize Exhibit 6?
14              A         Yes.
15              Q         What is Exhibit 6?
16              A         This looks like a report generated by
17       Solium Shareworks reflecting Hong Liu's option
18       grant.
19              Q         What is the -- the grant number?
20              A         If you mean how many options are
21       granted in -- according to this document, then I see
22       the granted options is 4 million.
23              Q         Yeah.     I'm referring to employee grant
24       number, which is on the first page, right under
25       Faraday Future Inc.

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  1                       Do you see that?
  2             A         Yes.
  3             Q         And what is the employee grant number?
  4                       MR. GOLDMAN:          Objection, document
  5             speaks for itself.
  6                       THE WITNESS:          It is 4486.
  7      BY MR. KUSHNER:
  8             Q         And looking now at the third page of
  9      this exhibit, does this document reflect that on
10       October 24th, 2018, Mr. Liu was -- was granted
11       options to acquire 4 million shares of Smart King?
12                        MR. GOLDMAN:          Objection, document
13              speaks for itself.
14                        THE WITNESS:          Yes.
15       BY MR. KUSHNER:
16              Q         And does this document reflect that on
17       February 11, 2019, those 4 million options were
18       canceled?
19                        MR. GOLDMAN:          Objection, document
20              speaks for itself.
21                        THE WITNESS:          Yes.
22                        MR. KUSHNER:          I'd like to show you
23              another exhibit, Mr. Wang.
24                        (Whereupon, Exhibit 7 was marked for
25              Identification.)

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  1      BY MR. KUSHNER:
  2             Q         I'm showing you what's been marked as
  3      Smart King 7.     The Bates range of this exhibit is
  4      FF2206 to 2208.
  5                       Mr. Wang, do you recognize this
  6      document?
  7             A         Yes.
  8             Q         What is it?
  9             A         This is a document generated by
10       Shareworks reflecting Hong Liu's option.
11              Q         Do you see employee grant number on
12       the first page of this document?
13              A         Yes, I do.
14              Q         What is that number?
15                        MR. GOLDMAN:          Objection, document
16              speaks for itself.
17                        THE WITNESS:          It is 4487.
18       BY MR. KUSHNER:
19              Q         Can you turn to the third page of this
20       exhibit?    Do you see the section entitled "Incentive
21       Share Option Activity"?
22                        THE COURT REPORTER:               Entitled?   I'm
23              sorry.
24                        MR. KUSHNER:          Entitled "Incentive
25              Share Option Activity."

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  1                       THE COURT REPORTER:               Thank you.
  2                       THE WITNESS:          Yes.
  3      BY MR. KUSHNER:
  4             Q         Does this reflect that on
  5      October 24th, 2018, Mr. Liu was granted options to
  6      acquire 4 million shares of Smart King stock?
  7             A         Yes.
  8             Q         And does this reflect that on
  9      February 11th, 2019, those 4 million options were
10       canceled?
11                        MR. GOLDMAN:          Objection, the document
12              speaks for itself, and a belated objection to
13              the previous question on the same grounds.
14                        THE WITNESS:          Yes.
15                        MR. KUSHNER:          Counsel, I think this
16              would be a good time for a break.
17                        MR. GOLDMAN:          Sure.       And are you going
18              to continue asking questions about these
19              documents or other confidential documents?
20              Because if not, after the break, maybe we
21              should end the confidential designation of the
22              transcript here so we don't forget about it
23              when we come back.
24                        MR. KUSHNER:          I think -- I think we're
25              done with this particular exhibit, but why

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                      516-608-2400
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 449 of 467 Page ID
                                  #:4257




                        Exhibit G
        Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 450 of 467 Page ID
                                          #:4258

  fNIN
   aN
  View     Employee
     Poweredby
                    Grant



   (Awards      Plan   participation ends 11-Feb-2019)
   Employee Number:                           RBCOP




   Employee Grant Number:                                                                   Options Granted:
   Grant Based Plan Name:                   Smart    King     LTD EP                        Options Outstanding:
   Grant Name:                              10/24/2018        -

                                                                  $0.36 US    -

                                                                                  150       Gptions Exercisable:                    0

   Grant Dale:                              24-Oct-2018

   Expiry Date:                             24-Oct-2028

   Grant Price:                             $0.36 USD
   Fund:                                    FF4‘PRIVATE_US

   Award       Type:                        Option Award USO}           -

                                                                            Privaie     -




                                            Faraday Future
   Expense Amortization
   Acceleration Date:

   Service Stari Date:

   Issued Under Rule 701:                   Yes

   Allow New       Early Exercises:         No

   Location at Time of Grant:               Not   Assigned
   ISO/CSOP        Disqualification         15-May-2018
   Date:

                                            25% (@ 1 year,          monthly
   Vesting Schedule:                        thereafter for 3        years
   Vesting Start Date:                      15-Feb-2018



   Vest Schedule        -

                            Options
                                                                                               Options
     Original               Vest Date
                                                 ‘Total
                                                                                                                                            xpire/Cancel
    Vest Date
                                        :    Potential
                                             «Vesting             Granted         Cancelled Exercised Outstanding          Disqualifying
                                                                                                                            Dispositions
                                                                                                                                              Date
                                                                                                                       _
                                             «At Date

   15-Feb-2019           15-Feb-2019                      O       2.000.000        2,000,000             0                              Q   18-May-2078
   15-Mar-2019           15-Mar-2019                               166,666          166 566                                                 15-May-2018
   15-Apr-2019           15-Apr-2019                      9        166,687          166,667                        9                    9   15-May-2078



CONFIDENTIAL                                                                                                                                   FFO0Q002200
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 451 of 467 Page ID
   15-May-2019 15-May-2019    %  166,667  #:4259
                                         166,667                 %              18-May-2018
   15-Jun-2019   15-Jun-3019        166,666     166,666                           15-May-2018
   48-Jul-2019   15-Jul-2079        168.6687    168,667                           45-May-2018
   15-Aug-2019   15-Aug-2019        166,667     168,667                           15-May-2018
   15-Sep-2019   15-Sep-2019        166,666     166,666                           15-May-2018
   15-Oct-2019   45-Oct-2049   Q    166,667     166 867            Q              15-May-2018
   15-Nov-2019   15-Nov-2019   %    166,667     166,667            %              18-May-2018
   15-Dec-3019   15-Dec-2019        166,666     166,666                           15-May-2018
   15-Jan-2020   15-Jan-2020        168.6687    168,667                           45-May-2018
   15-Feb-2020   15-Feb-2020        166,667     168,667                           15-May-2018
   45-Mar-2020   15-Mar-2020        166,666     166,666                           15-May-2018
   15-Apr-2020   15-Apr-2020   Q    166,667     166 867            Q              15-May-2018
   15-May-2020 15-May-2020     %    166,667     166,667            %              18-May-2018
   15-Jun-2020   15-Jun-3020        166,666     166,666                           15-May-2018
   48-Jul-2020   15-Jul-2020        168.6687    168,667                           45-May-2018
   15-Aug-2020   15-Aug-2020        166,667     168,667                           15-May-2018
   15-Sep-2020   15-Sep-2020        166,666     166,666                           15-May-2018
   15-Oct-2030   15-Oct-2020        166,607     166,867                           15-May-2018
   15-Nov-2020   15-Nov-2020   Q    166,667     166 867            Q              15-May-2018
   15-Dec-2026   18-Dec-2029   %    166,666     166,666            %              18-May-2018
   15-Jan-2021   15-Jan-3021        166,667     166,667                           15-May-2018
   15-Feb-2021   15-Feb-2021        168.6687    168,667                           45-May-2018
   15-Mar-2021   15-Mar-2031        166,666     166,666                           15-May-2018
   15-Apr-2031   15-Apr-2021        166,607     166,867                           15-May-2018
   15-May-2021   15-May-2021   Q    166,667     166 867            Q              15-May-2018
   15-Jun-2021   15-Jun-2021   %    166,666     166,666            %              18-May-2018
   45-Jul-2021   15-Jul-3021        166,667     166,667                           15-May-2018
   15-Aug-2021   15-Aug-2021        168.6687    168,667                           45-May-2018
   15-Sep-2021   15-Sep-2021        166,666     166,666                           15-May-2018
   15-Oct-2031   15-Oct-2021        166,607     166,867                           15-May-2018
   15-Nov-2021   15-Nov-2021   Q    166,667     166 867            Q              15-May-2018
   15-Dec-2021   15-Dec-2021   %    166,666     166,666            %              18-May-2018
   15-Jan-2022   15-Jan-3022        166,667     166,667                           15-May-2018
   15-Feb-2022   15-Feb-2022        168.6687    168,667                           45-May-2018
                                   8,009,000   8,900,000




CONFIDENTIAL                                                                         FFO0Q002201
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 452 of 467 Page ID
   incentive Share Option Activity
                             -
                                         #:4260

  bene
            Date                                     Activity                     re
                                                                                        Outstanding               Exercisable

         SO
         11-Feb-7019             Garicel due to termination                                    -8,000 000
         05-Mar-2021             Ending balance                                                         0                          0



   Explicit Cancels
    Cancel Date         Entitlement         Cancel   Type         Allocate Units From

    t1-Feb-2019        Options            Termination           Any                                                Edit   Delete

                                                                                                      8.000,000




CONFIDENTIAL                                                                                                              FFO0Q002202
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 453 of 467 Page ID
                                  #:4261




                        Exhibit H
        Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 454 of 467 Page ID
                                          #:4262

  fNIN
   aN
  View     Employee
     Poweredby
                    Grant



   (Awards      Plan   participation ends 11-Feb-2019)
   Employee Number:                       RBCOP




   Employee Grant Number:                                                                  Options Granted:                           4,000,900
   Grant Based Plan Name:               Smart   King         LTD EP                        Options Outstanding:                       Q

   Grant Name:                          10/24/2018           -

                                                                 $0.36 US   -

                                                                                150        Qotions   Exercisable:                     0

   Grant Dale:                          24-Oct-2018

   Expiry Date:                         15-Feb-2029

   Grant Price:                         $0.36 USD
   Fund:                                FF4‘PRIVATE_US

   Award       Type:                    Option Award USO}              -

                                                                           Privaie    -




                                        Faraday Future
   Expense Amortization
   Acceleration Date:

   Service Stari Dale:

   Issued Under Rule 701:               Yes

   Allow New       Early Exercises:     No

   Location at Time of Grant            Not   Assigned
   ISO/CSOP        Disqualification     15-May-2018
   Date:

   Vesting Schedule:                             Monthly for 4 Years
   Vesting Start Date:                  15-Feb-2018



   Vest Schedule        -

                            Options
                                                                                               Options
     Original                                Fotal                                                                                           xpire/Cancel
                            Vest Date
                                        | Potential                                                                          Di     lity!
                                                                                                                                                  Date
    Vest Date
                                          Vesting
                                                                 Granted        | Cancelled.    Exercised    Outstanding |
                                                                                                                             Diewositione
                                                         _
                                          At Date

   45-Mar-2019           15-Mar-2019                               83,333             8                                                      15-May-2018
   15-Apr-2019           15-Apr-2019                 %             $3,333             $3,333             0                                   18-May-2018
   15-May-2019 15-May-2019                           9             83,334             83,334                                                 15-May-2018
   15-Jun-2079           18-Jun-2019                 0             83,333             83,333             0                                   45-May-2018


CONFIDENTIAL                                                                                                                                      FFO0Q002203
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 455 of 467 Page ID
                                         #:4263
   48-Jul-2019 15-Jul-2079         83,333   83,333                              45-May-2018
   15-Aug-2019   15-Aug-2019                                                    15-May-2018
   15-Sep-2019   15-Sep-2019                                                    15-May-2018
   15-Oct-2019   45-Oct-2049   Q                                 Q              15-May-2018
   15-Nov-2019   15-Nov-2019   %                                 %              18-May-2018
   15-Dec-3019   15-Dec-2019                                                    15-May-2018
   15-Jan-2020   15-Jan-2020       83,333                                       45-May-2018
   15-Feb-2020   15-Feb-2020                                                    15-May-2018
   45-Mar-2020   15-Mar-2020                                                    15-May-2018
   15-Apr-2020   15-Apr-2020   Q                                 Q              15-May-2018
   15-May-2020 15-May-2020     %                                 %              18-May-2018
   15-Jun-2020   15-Jun-3020                                                    15-May-2018
   48-Jul-2020   15-Jul-2020                                                    45-May-2018
   15-Aug-2020   15-Aug-2020                                                    15-May-2018
   15-Sep-2020   15-Sep-2020                                                    15-May-2018
   15-Oct-2020   45-Oct-2020   Q                                 Q              15-May-2018
   15-Nov-2020   15-Nov-2020   Q                                 Q              15-May-2018
   15-Dec-2026   18-Dec-2029   %            $3,333               %              18-May-2018
   15-Jan-2021   15-Jan-3021                83,333                              15-May-2018
   15-Feb-2021   15-Feb-2021       83,334   83,334                              45-May-2018
   15-Mar-2021   15-Mar-2031                                                    15-May-2018
   15-Apr-2031   15-Apr-2021                                                    15-May-2018
   15-May-2021   15-May-2021   Q                                 Q              15-May-2018
   15-Jun-2021   15-Jun-2021   %                                 %              18-May-2018
   45-Jul-2021   15-Jul-3021                                                    15-May-2018
   15-Aug-2021   15-Aug-2021                                                    45-May-2018
   15-Sep-2021   15-Sep-2021                                                    15-May-2018
   15-Oct-2031   15-Oct-2021                                                    15-May-2018
   15-Nov-2021   15-Nov-2021   Q                                 Q              15-May-2018
   15-Dec-2021   15-Dec-2021   %                                 %              18-May-2018
   15-Jan-2022   15-Jan-3022                                                    15-May-2018
   15-Feb-2022   15-Feb-2022       83,334                                       45-May-2018
   15-Mar-2023   15-Mar-2032                                                    15-May-2018
   15-Apr-2032   15-Apr-2022                                                    15-May-2018
   15-May-2022 15-May-2022     Q                                 Q              15-May-2018
   19-Jun-2022   45-Jun-2022   %                                 %              18-May-2018


CONFIDENTIAL                                                                       FFO0Q002204
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 456 of 467 Page ID
                                         #:4264
   15-Jul-2022 15-Jul-2022    Q   83,333                         Q  83,333   0                                   15-May-2078
   15-Aug-2022    15-Aug-2022                        $3,334                                                  0   18May-2018
   15-Sep-3022    15-Sep-2022                 9      83,333         83,333                  9                9   15-May-2018
   16-Oct-2022       15-Orl-2022              0      83,333         83,333                  0                0   15-May-2018
   15-Nov-2022    15-Nov-2022                 0      83,334         83,334                  0                0   15-May-2018
   16-Dec-2022    15-Dec-2022                QO      83,333         83,333                  QO               0   15-May-2018
   15-Jan-2023    15-Jan-2023                 Q      83,333         83,333                  Q                0   15-May-2078
   18-Feb-2023    15-Feb-2023                        $3,334         83,334                                   0   18May-2018
                                                               4,000,000                    9                9



   incentive Share    Option Activity
                             -




                                                                                                           pwereisame
  betes




  bene                                                                           er




         SO
         11-Feb-7019             Garicel due to termination

         05-Mar-2021             Ending balance                                                   0                       0



   Explicit Cancels
                                            Cancel   Type       Allocate Units From   Quantity Cancelled
    11-Feb-2018        Options            Termination         Any
                                                                                                 4 000,000




CONFIDENTIAL                                                                                                        FFO0Q002205
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 457 of 467 Page ID
                                  #:4265




                        Exhibit I
        Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 458 of 467 Page ID
                                          #:4266

  fNIN
   aN
  View     Employee
     Poweredby
                    Grant



   (Awards      Plan   participation ends 11-Feb-2019)
   Employee Number:                       RBCOP




   Employee Grant Number:                                                                  Options Granted:                           4,000,900
   Grant Based Plan Name:               Smart   King         LTD EP                        Options Outstanding:                       Q

   Grant Name:                          10/24/2018           -

                                                                 $0.36 US   -

                                                                                150        Qotions   Exercisable:                     0

   Grant Dale:                          24-Oct-2018

   Expiry Date:                         15-Feb-2030

   Grant Price:                         $0.36 USD
   Fund:                                FF4‘PRIVATE_US

   Award       Type:                    Option Award USO}              -

                                                                           Privaie    -




                                        Faraday Future
   Expense Amortization
   Acceleration Date:

   Service Stari Dale:

   Issued Under Rule 701:               Yes

   Allow New       Early Exercises:     No

   Location at Time of Grant            Not   Assigned
   ISO/CSOP        Disqualification     15-May-2018
   Date:

   Vesting Schedule:                             Monthly for 4 Years
   Vesting Start Date:                  15-Feb-2020



   Vest Schedule        -

                            Options
                                                                                               Options
     Original                                Fotal                                                                                           xpire/Cancel
                            Vest Date
                                        | Potential                                                                          Di     lity!
                                                                                                                                                  Date
    Vest Date
                                          Vesting
                                                                 Granted        | Cancelled.    Exercised    Outstanding |
                                                                                                                             Diewositione
                                                         _
                                          At Date

   45-Mar-2020           15-Mar-2020                               83,333             8                                                      15-May-2018
   15-Apr-2020           15-Apr-2020                 %             $3,333             $3,333             0                                   18-May-2018
   15-May-2020 15-May-2020                           9             83,334             83,334                                                 15-May-2018
   15-Jun-2020           18-Jun-2020                 0             83,333             83,333             0                                   45-May-2018


CONFIDENTIAL                                                                                                                                      FFO0Q002209
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 459 of 467 Page ID
                                         #:4267
   48-Jul-2020 15-Jul-2020         83,333   83,333                              45-May-2018
   15-Aug-2020   15-Aug-2020                                                    15-May-2018
   15-Sep-2020   15-Sep-2020                                                    15-May-2018
   15-Oct-2020   45-Oct-2020   Q                                 Q              15-May-2018
   15-Nov-2026   15-Nov-2020   %                                 %              18-May-2018
   15-Dec-3026   15-Dec-2020                                                    15-May-2018
   15-Jan-2021   15-Jan-2021       83,333                                       45-May-2018
   15-Feb-2021   15-Feb-2021                                                    15-May-2018
   45-Mar-2024   15-Mar-3021                                                    15-May-2018
   15-Apr-2021   15-Apr-2024   Q                                 Q              15-May-2018
   15-May-2021   15-May-2021   %                                 %              18-May-2018
   15-Jun-2021   15-Jun-3024                                                    15-May-2018
   46-Jul-2021   15-Jul-2021                                                    45-May-2018
   15-Aug-2021   15-Aug-2021                                                    15-May-2018
   15-Sep-2071   15-Sep-2021                                                    15-May-2018
   15-Oct-2021   45-Oct-2021   Q                                 Q              15-May-2018
   15-Nov-2021   15-Nov-2021   Q                                 Q              15-May-2018
   15-Dec-2021   15-Dec-2021   %            $3,333               %              18-May-2018
   15-Jan-2022   15-Jan-3022                83,333                              15-May-2018
   15-Feb-2022   15-Feb-2022       83,334   83,334                              45-May-2018
   15-Mar-2023   15-Mar-2032                                                    15-May-2018
   15-Apr-2032   15-Apr-2022                                                    15-May-2018
   15-May-2022 15-May-2022     Q                                 Q              15-May-2018
   15-Jun-2022   15-Jun-2022   %                                 %              18-May-2018
   45-Jul-2022   15-Jul-3022                                                    15-May-2018
   15-Aug-2022   15-Aug-2022                                                    45-May-2018
   15-Sep-2022   15-Sep-2022                                                    15-May-2018
   15-Oct-2032   15-Oct-2022                                                    15-May-2018
   15-Nov-2022   15-Nov-2022   Q                                 Q              15-May-2018
   15-Dec-2022   15-Dec-2022   %                                 %              18-May-2018
   15-Jan-2023   15-Jan-3023                                                    15-May-2018
   15-Feb-2023   15-Feb-2023       83,334                                       45-May-2018
   15-Mar-2023   15-Mar-2033                                                    15-May-2018
   15-Apr-2033   15-Apr-2023                                                    15-May-2018
   15-May-2023 15-May-2023                                       Q              15-May-2018
   19-Jun-2023   45-Jun-2023                                     %              18-May-2018


CONFIDENTIAL                                                                       FFO0Q002210
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 460 of 467 Page ID
                                         #:4268
   15-Jul-2023 15-Jul-2023    Q   83,333                         Q  83,333   0                                   15-May-2078
   15-Aug-2023    15-Aug-2023                        $3,334                                                  0   18May-2018
   15-Sep-3023    15-Sep-2023                 9      83,333         83,333                  9                9   15-May-2018
   16-Oct-2023       15-Orl-2023              0      83,333         83,333                  0                0   15-May-2018
   15-Nov-2023    15-Nov-2023                 0      83,334         83,334                  0                0   15-May-2018
   16-Dec-2023    15-Dec-2023                QO      83,333         83,333                  QO               0   15-May-2018
   15-Jan-2024    15-Jan-2024                 Q      83,333         83,333                  Q                0   15-May-2078
   18-Feb-2024    15-Feb-2024                        $3,334         83,334                                   0   18May-2018
                                                               4,000,000                    9                9



   incentive Share    Option Activity
                             -




  bene                                                                           er
                                                                                                           pwereisame
         SO
         11-Feb-7019             Garicel due to termination

         05-Mar-2021             Ending balance                                                   0                       0



   Explicit Cancels
                                            Cancel   Type       Allocate Units From   Quantity Cancelled
    11-Feb-2018        Options            Termination         Any
                                                                                                 4 000,000




CONFIDENTIAL                                                                                                        FFO0Q002211
Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 461 of 467 Page ID
                                  #:4269




                        Exhibit J
        Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 462 of 467 Page ID
                                          #:4270

  fNIN
   aN
  View     Employee
     Poweredby
                    Grant



   (Awards      Plan   participation ends 11-Feb-2019)
   Employee Number:                       RBCOP




   Employee Grant Number:                                                                  Options Granted:                           4,000,900
   Grant Based Plan Name:               Smart   King         LTD EP                        Options Outstanding:                       Q

   Grant Name:                          10/24/2018           -

                                                                 $0.36 US   -

                                                                                150        Qotions   Exercisable:                     0

   Grant Dale:                          24-Oct-2018

   Expiry Date:                         15-Feb-2031

   Grant Price:                         $0.36 USD
   Fund:                                FF4‘PRIVATE_US

   Award       Type:                    Option Award USO}              -

                                                                           Privaie    -




                                        Faraday Future
   Expense Amortization
   Acceleration Date:

   Service Stari Dale:

   Issued Under Rule 701:               Yes

   Allow New       Early Exercises:     No

   Location at Time of Grant            Not   Assigned
   ISO/CSOP        Disqualification     15-May-2018
   Date:

   Vesting Schedule:                             Monthly for 4 Years
   Vesting Start Date:                  15-Feb-2021



   Vest Schedule        -

                            Options
                                                                                               Options
     Original                                Fotal                                                                                           xpire/Cancel
                            Vest Date
                                        | Potential                                                                          Di     lity!
                                                                                                                                                  Date
    Vest Date
                                          Vesting
                                                                 Granted        | Cancelled.    Exercised    Outstanding |
                                                                                                                             Diewositione
                                                         _
                                          At Date

   15-Mar-2024           15-Mar-2021                               83,333             8                                                      15-May-2018
   15-Apr-2027           15-Apr-2021                 %             $3,333             $3,333             0                                   18-May-2018
   15-May-2021 15-May-2021                           9             83,334             83,334                                                 15-May-2018
   15-Jun-2024           18-Jun-2024                 0             83,333             83,333             0                                   45-May-2018


CONFIDENTIAL                                                                                                                                      FFO0Q002206
       Case 2:20-cv-08035-SVW-JPR Document 161 Filed 05/19/21 Page 463 of 467 Page ID
                                         #:4271
   46-Jul-2021 15-Jul-2021         83,333   83,333                              45-May-2018
   15-Aug-2021   15-Aug-2021                                                    15-May-2018
   15-Sep-2071   15-Sep-2021                                                    15-May-2018
   15-Oct-2021   45-Oct-2021   Q                                 Q              15-May-2018
   15-Nov-2021   15-Nov-2021   %                                 %              18-May-2018
   15-Dec-3021   15-Dec-2021                                                    15-May-2018
   15-Jan-2022   15-Jan-2022       83,333                                       45-May-2018
   15-Feb-2023   15-Feb-2032                                                    15-May-2018
   15-Mar-2022   15-Mar-2022                                                    15-May-2018
   15-Apr-2022   15-Apr-2022   Q                                 Q              15-May-2018
   15-May-2022 15-May-2022     %                                 %              18-May-2018
   15-Jun-2022   15-Jun-3022                                                    15-May-2018
   48-Jul-2022   18-Jul-2022                                                    45-May-2018
   15-Aug-2022   15-Aug-2022                                                    15-May-2018
   15-Sep-2022   15-Sep-2022                                                    15-May-2018
   15-Oct-2022   45-Oct-2022   Q                                 Q              15-May-2018
   15-Nov-2022   15-Nov-2022   Q                                 Q              15-May-2018
   15-Dec-2022   15-Dec-2022   %            $3,333               %              18-May-2018
   15-Jan-2023   15-Jan-3023                83,333                              15-May-2018
   15-Feb-2023   15-Feb-2023       83,334   83,334                              45-May-2018
   15-Mar-2023   15-Mar-2033                                                    15-May-2018
   15-Apr-2033   15-Apr-2023                                                    15-May-2018
   15-May-2023 15-May-2023     Q                                 Q              15-May-2018
   15-Jun-2023   15-Jun-2023   %                                 %              18-May-2018
   45-Jul-2023   15-Jul-3023                                                    15-May-2018
   15-Aug-2023   15-Aug-2023                                                    45-May-2018
   15-Sep-2023   15-Sep-2023                                                    15-May-2018
   15-Oct-2033   15-Oct-2023                                                    15-May-2018
   15-Nov-2023   15-Nov-2023   Q                                 Q              15-May-2018
   15-Dec-2023   15-Dec-2023   %                                 %              18-May-2018
   15-Jan-2024   15-Jan-3024                                                    15-May-2018
   15-Feb-2024   15-Feb-2024       83,334                                       45-May-2018
   15-Mar-2024   15-Mar-2034                                                    15-May-2018
   15-Apr-2034   15-Apr-2024                                                    15-May-2018
   15-May-2024 15-May-2024                                       Q              15-May-2018
   19-Jun-2024   45-Jun-2024                                     %              18-May-2018


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                                         #:4272
   15-Jul-2024 15-Jul-2024    Q   83,333                         Q  83,333   0                                   15-May-2078
   15-Aug-2024    15-Aug-2024                        $3,334                                                  0   18May-2018
   15-Sep-3024    15-Sep-2024                 9      83,333         83,333                  9                9   15-May-2018
   16-Oct-2024       18-Orl-2024              0      83,333         83,333                  0                0   15-May-2018
   15-Nov-2024    15-Nov-3024                 0      83,334         83,334                  0                0   15-May-2018
   16-Dec-2024    15-Dec-2024                QO      83,333         83,333                  QO               0   15-May-2018
   15-Jan-2025    15-Jan-2025                 Q      83,333         83,333                  Q                0   15-May-2078
   18-Feb-2025    15-Feb-2025                        $3,334         83,334                                   0   18May-2018
                                                               4,000,000                    9                9



   incentive Share    Option Activity
                             -




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  betes




  bene                                                                           er




         SO
         11-Feb-7019             Garicel due to termination

         05-Mar-2021             Ending balance                                                   0                       0



   Explicit Cancels
                                            Cancel   Type       Allocate Units From   Quantity Cancelled
    11-Feb-2018        Options            Termination         Any
                                                                                                 4 000,000




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     Hong Liu
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                                                 1
                                     [PROPOSED] JUDGMENT
                                CASE NO.: 2:20- CV-08035-SVW-JPR
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                                  #:4274



 1                    UNITED STATES DISTRICT COURT FOR
 2
                     THE CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
 3
                                           Case No: 2:20-cv-08035-SVW-JPR
 4   HONG LIU,
                 Plaintiff,
 5
                                           [PROPOSED] JUDGMENT
 6
                        v.
 7
                                           JUDGE: Hon. Stephen V. Wilson
 8   FARADAY&FUTURE INC.,                  DATE: June 21, 2021
     SMART KINGLTD., JIAWEI                TIME:  1:30 p.m.
 9                                         CTRM: 10A
     WANG, and CHAOYING DENG
10

11               Defendants.
12

13   FARADAY&FUTURE INC.,
14
                 Counterclaimant,
15
                        v.
16

17   HONG LIU,
18
                 Counter-Defendant.
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                                                2
                                    [PROPOSED] JUDGMENT
                               CASE NO.: 2:20- CV-08035-SVW-JPR
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                                  #:4275



 1
           Plaintiff/Counter-Defendant Hong Liu’s (“Plaintiff” or “Liu”) cross motion for
 2
     summary judgment on Defendant/Counterclaimant Faraday&Future Inc.’s (“FF”)
 3
     Second Amended Counterclaim (ECF 95), summary judgment on FF’s and FF
 4
     Intelligent Mobility Global Holdings Ltd.’s (f/k/a Smart King Ltd. (“Smart King”))
 5
     affirmative defenses in FF and Smart King’s Second Amended Answers (ECF 93 &
 6
     94, respectively), and partial summary judgment on Count I of Plaintiff’s Complaint
 7
     (breach of contract) came before the Court for hearing on June 21, 2021 (“Motion”).
 8
           Having considered the moving and opposition papers, arguments, and all other
 9
     matters presented to the Court, the Court finds that no genuine issue of fact exists as to
10
     FF’s Second Amended Counterclaim and the affirmative defenses set forth in FF and
11
     Smart King’s Second Amended Answers, warranting summary judgment against
12

13
     Defendants. No genuine issue of fact exists as to Plaintiff’s breach of contract claim,

14
     warranting summary judgment in favor of Plaintiff.

15
           IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED and

16   JUDGMENT IS HEREBY ENTERED against Defendants and in favor of Plaintiff, on
17   FF’s Second Amended Counterclaim, on FF and Smart King’s affirmative defenses,
18   and on the liability element of Plaintiff’s breach of contract claim.
19

20         IT IS SO ORDERED AND JUDGMENT IS SO ENTERED.
21

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     Dated:
23
                                      Hon. Stephen V. Wilson
24
                                      Judge, United States District Court
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                                       [PROPOSED] JUDGMENT
                                  CASE NO.: 2:20- CV-08035-SVW-JPR
